                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

In re:                                        §   Chapter 11
                                              §
A’GACI, L.L.C.,                               §   Case No. 18-50049-rbk-11
                                              §
Debtor.                                       §

      FIRST AMENDED DISCLOSURE STATEMENT IN SUPPORT OF THE PLAN
             OF REORGANIZATION OF A’GACI, L.L.C. PURSUANT TO
                  CHAPTER 11 OF THE BANKRUPTCY CODE


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         Dated: June 5, 2018




4849-1085-3222
         TABLE OF CONTENTS

         ARTICLE I. INTRODUCTION ........................................................................................ 1 
         A.        Summary of Plan..................................................................................................... 1 
         B.        Filing of the Debtor’s Chapter 11 Case................................................................. 5 
         C.        Purpose of Disclosure Statement ........................................................................... 6 
         D.        Hearing on Approval of the Disclosure Statement .............................................. 6 
         E.        Hearing on Confirmation of the Plan.................................................................... 6 
         F.        Disclaimers............................................................................................................... 6 
         ARTICLE II. EXPLANATION OF CHAPTER 11......................................................... 8 
         A.        Overview of Chapter 11.......................................................................................... 8 
         B.        Chapter 11 Plan....................................................................................................... 8 
         ARTICLE III. VOTING PROCEDURES AND CONFIRMATION
         REQUIREMENTS ............................................................................................................ 10 
         A.        Ballots and Voting Deadline ................................................................................. 10 
         B.        Solicitation Materials ............................................................................................ 10 
         C.        Holders of Claims Entitled to Vote...................................................................... 10 
         D.        Definition of Impairment ..................................................................................... 11 
         E.        Classes Impaired or Unimpaired Under the Plan.............................................. 11 
         F.        Information on Voting and Vote Tabulations .................................................... 12 
                   1.  Transmission of Ballots to Holders of Claims ............................................. 12 
                   2.  Ballot Tabulation Procedures ....................................................................... 12 
                   3.  Execution of Ballots by Representatives ...................................................... 15 
                   4.  Waivers of Defects and Other Irregularities Regarding
                       Ballots.............................................................................................................. 15 
                   5.  Withdrawal of Ballots and Revocation ........................................................ 15 
         G.        Confirmation of Plan ............................................................................................ 16 
                   1.  Solicitation of Acceptances............................................................................ 16 
                   2.  Requirements for Confirmation of the Plan ............................................... 16 
                   3.  Acceptances Necessary to Confirm the Plan ............................................... 18 
                   4.  Cramdown ...................................................................................................... 18 
                   5.  Conditions Precedent to Confirmation and Effectiveness of
                       the Plan ........................................................................................................... 19 
         ARTICLE IV. BACKGROUND OF THE DEBTOR.................................................... 19 
         A.        Description of Debtor’s Businesses...................................................................... 19 
                   1.  History and Formation .................................................................................. 19 
                   2.  The Debtor’s Business Operations ............................................................... 19 
                   3.  Cost Structure ................................................................................................ 21 


                                                                    i
4849-1085-3222
         B.      Events Leading to the Chapter 11 Case .............................................................. 21 
         C.      The Debtor’s Prepetition Restructuring Initiatives ........................................... 22 
         ARTICLE V. DEBTOR’S ASSETS AND LIABILITIES ............................................. 23 
         A.      Prepetition Capital Structure Arrangements ..................................................... 23 
                 1.  Chase Obligations .......................................................................................... 23 
                 2.  Term Loan Credit Facility ............................................................................ 24 
                 3.  Capital Leases ................................................................................................ 25 
                 4.  General Unsecured Obligations.................................................................... 25 
         B.      Debtor’s Scheduled Amount of Claims ............................................................... 25 
         ARTICLE VI. BANKRUPTCY CASE ADMINISTRATION...................................... 26 
         A.      Early Chapter 11 Case Motions........................................................................... 26 
         B.      Professionals Employed by the Debtor ............................................................... 27 
         C.      Bar Date for Filing Proofs of Claim .................................................................... 27 
         D.      Meeting of Creditors ............................................................................................. 27 
         E.      Official Committee of Unsecured Creditors ....................................................... 28 
         F.      Store Closing Sales, Lease Negotiations, and Lease Rejections ........................ 28 
         G.      Sale and Bidding Procedures Motion.................................................................. 28 
         H.      Use of Cash Collateral .......................................................................................... 29 
         ARTICLE VII. DESCRIPTION OF THE PLAN.......................................................... 29 
         A.      Introduction ........................................................................................................... 29 
         B.      Designation of Claims and Interests/Impairment .............................................. 29 
         C.      Allowance and Treatment of Administrative Claims and Priority
                 Claims..................................................................................................................... 30 
                 1.  Administrative Claims................................................................................... 30 
                 2.  Professional Compensation Claims .............................................................. 31 
                 3.  Priority Unsecured Tax Claims .................................................................... 31 
         D.      Allowance and Treatment of Classified Claims and Interests .......................... 32 
                 1.  Allowance and Treatment of Chase Secured Claim (Class-
                     1) 32 
                 2.  Allowance and Treatment of BOA Secured Claim (Class -
                     2) 33 
                 3.  Allowance and Treatment of Other Secured Claims (Class
                     - 3) .................................................................................................................... 33 
                 4.  Allowance and Treatment of Secured Tax Claims (Class -
                     4) 33 
                 5.  Allowance and Treatment of Other Priority Unsecured
                     Claims (Class - 5) .......................................................................................... 34 
                 6.  Allowance and Treatment of General Unsecured Claims
                     (Class - 6) ........................................................................................................ 34 


                                                                   ii
4849-1085-3222
                   7.  Allowance and Treatment of A’GACI Interests (Class - 7) ....................... 35 
         E.        Procedures For Resolving Contingent, Unliquidated, and Disputed
                   Claims..................................................................................................................... 35 
                   1.  Claims Administration Responsibilities ...................................................... 35 
                   2.  Estimation of Claims ..................................................................................... 35 
                   3.  Adjustment to Claims without Objection .................................................... 36 
                   4.  Time to File Objections to Claims ................................................................ 36 
                   5.  Disallowance of Claims.................................................................................. 36 
                   6.  Amendment to Claims ................................................................................... 36 
                   7.  No Distributions Pending Allowance ........................................................... 37 
                   8.  Distributions After Allowance ...................................................................... 37 
         F.        Treatment of Executory Contracts and Unexpired Leases ............................... 37 
                   1.  Assumption and Rejection of Executory Contracts Under
                        the Plan ........................................................................................................... 37 
                   2.  Assumption of Amended Leases ................................................................... 38 
                   3.  Indemnification Obligations ......................................................................... 38 
                   4.  Claims Based on Rejection of Executory Contracts or
                        Unexpired Leases ........................................................................................... 38 
                   5.  Cure of Defaults for Assumed Executory Contracts and
                        Unexpired Leases ........................................................................................... 39 
                   6.  Preexisting Obligations to the Debtor under Executory
                        Contracts and Unexpired Leases .................................................................. 39 
                   7.  Insurance Policies .......................................................................................... 39 
                   8.  Modifications, Amendments, Supplements, Restatements,
                        or Other Agreements ..................................................................................... 40 
                   9.  Reservation of Rights .................................................................................... 40 
                   10.  Non-occurrence of Effective Date................................................................. 40 
                   11.  Contracts and Leases Entered into after the Petition Date ....................... 40 
         ARTICLE VIII. MEANS FOR EXECUTION AND IMPLEMENTATION
         OF THE PLAN .................................................................................................................. 40 
         A.        Corporate Existence.............................................................................................. 40 
         B.        Reorganized Debtor .............................................................................................. 41 
         C.        Restructuring Transactions ................................................................................. 41 
         D.        Determination of the Allowed Amount of the Chase Secured Claim ............... 42 
         E.        Sources of Plan Distributions............................................................................... 42 
                   1.  Issuance of New Membership Interests ....................................................... 42 
                   2.  New Credit Facility ........................................................................................ 43 
                   3.  Vesting of Assets in the Reorganized Debtor .............................................. 43 
         F.        Cancellation of Existing Securities and Agreements ......................................... 44 
         G.        Corporate Action .................................................................................................. 44 
         H.        New Organizational Documents .......................................................................... 44 



                                                                    iii
4849-1085-3222
         I.      Directors and Officers of the Reorganized Debtor ............................................ 45 
         J.      Effectuating Documents; Further Transactions ................................................ 45 
         K.      Section 1146 Exemption ....................................................................................... 45 
         L.      Director and Officer Liability Insurance............................................................ 46 
         M.      Employee and Retiree Benefits ............................................................................ 46 
         N.      Retained Causes of Action.................................................................................... 46 
         O.      Miscellaneous......................................................................................................... 46 
         P.      Release of Debtor .................................................................................................. 47 
         Q.      Release of Liens ..................................................................................................... 47 
         R.      Releases by Debtor ................................................................................................ 48 
         S.      Releases by the Unsecured Creditors Committee .............................................. 49 
         T.      Exculpation ............................................................................................................ 49 
         U.      Injunction............................................................................................................... 49 
         V.      Protections against Discriminatory Treatment .................................................. 50 
         W.      Reimbursement or Contribution ......................................................................... 50 
         X.      Retention of Jurisdiction ...................................................................................... 50 
         Y.      Modifications and Amendments, Revocation, or Withdrawal of the
                 Plan ......................................................................................................................... 53 
         ARTICLE IX. LEGAL PROCEEDINGS....................................................................... 53 
         A.      Chris Daiss v. A’GACI, L.L.C. ............................................................................ 53 
         B.      Infogain Corp. v. A’GACI, L.L.C. ...................................................................... 54 
         C.      Mageno v. A’GACI, L.L.C. .................................................................................. 54 
         D.      Villarreal v. A’GACI, L.L.C. ............................................................................... 54 
         E.      Recovery on Preference Actions and Other Avoidance Actions ...................... 54 
         F.      Retained Causes of Action.................................................................................... 54 
         ARTICLE X. DISTRIBUTIONS TO CREDITORS ..................................................... 55 
         A.      Allowed Administrative Claims ........................................................................... 55 
         B.      Allowed Priority Unsecured Tax Claims ............................................................ 55 
         C.      Allowed Chase Secured Claim ............................................................................. 56 
         D.      Allowed BOA Secured Claim ............................................................................... 56 
         E.      Allowed Other Secured Claims............................................................................ 56 
         F.      Allowed Secured Tax Claims ............................................................................... 56 
         G.      Allowed Other Priority Unsecured Claims......................................................... 56 


                                                                   iv
4849-1085-3222
         H.       Allowed General Unsecured Claims.................................................................... 56 
         ARTICLE XI. PROVISIONS GOVERNING DISTRIBUTIONS ............................... 57 
         A.       Timing and Calculation of Amounts to Be Distributed..................................... 57 
         B.       Disbursing Agent................................................................................................... 57 
         C.       Rights and Powers of Disbursing Agent ............................................................. 57 
                  1.  Powers of Disbursing Agent .......................................................................... 57 
                  2.  Expenses Incurred On or After the Effective Date..................................... 57 
         D.       Delivery of Distributions and Undeliverable or Unclaimed
                  Distributions .......................................................................................................... 58 
                  1.  Record Date for Distributions ...................................................................... 58 
                  2.  Delivery of Distributions in General ............................................................ 58 
                  3.  Minimum Distributions ................................................................................. 58 
                  4.  Undeliverable Distributions and Unclaimed Property ............................... 58 
         E.       Manner of Payment .............................................................................................. 58 
         F.       Distributions to Holders of Allowed Class 6 General Unsecured
                  Claims..................................................................................................................... 59 
         G.       Section 1145 Exemption ....................................................................................... 59 
         H.       Compliance with Tax Requirements ................................................................... 59 
         I.       Allocations ............................................................................................................. 60 
         J.       No Postpetition Interest on Claims ...................................................................... 60 
         K.       Foreign Currency Exchange Rate ....................................................................... 60 
         L.       Setoffs and Recoupment ....................................................................................... 60 
         M.       Claims Paid or Payable by Third Parties ........................................................... 60 
                  1.  Claims Paid by Third Parties ....................................................................... 60 
                  2.  Claims Payable by Third Parties.................................................................. 61 
                  3.  Applicability of Insurance Policies ............................................................... 61 
         ARTICLE XII. ALTERNATIVES TO THE PLAN...................................................... 61 
         A.       Chapter 7 Liquidation .......................................................................................... 61 
         B.       Dismissal ................................................................................................................ 63 
         C.       Exclusivity and Alternative Plan Potential ......................................................... 63 
         ARTICLE XIII. FEASIBILITY ...................................................................................... 63 
         ARTICLE XIV. CERTAIN RISK FACTORS TO BE CONSIDERED ...................... 63 
         A.       Bankruptcy Law Considerations ......................................................................... 64 
                  1.  Parties in Interest May Object to the Plan’s Classification
                      of Claims and Interests .................................................................................. 64 
                  2.  The Conditions Precedent to the Effective Date of the Plan
                      May Not Occur ............................................................................................... 64 


                                                                    v
4849-1085-3222
                  3.  The Debtor May Fail to Satisfy Vote Requirements .................................. 64 
                  4.  The Debtor May Not Be Able to Secure Confirmation of
                      the Plan ........................................................................................................... 64 
                  5.  The Debtor May Object to the Amount or Classification of
                      a Claim ............................................................................................................ 65 
                  6.  Risk of Non-Occurrence of the Effective Date ............................................ 65 
                  7.  Contingencies Could Affect Votes of Impaired Classes to
                      Accept or Reject ............................................................................................. 66 
                  8.  Releases, Injunctions, and Exculpation Provisions May not
                      be Approved ................................................................................................... 66 
         B.       Failure to Confirm or Consummate the Plan..................................................... 66 
         C.       Claim Estimates May Be Incorrect ..................................................................... 66 
         D.       Risks Related to Debtor’s Business and Industry Conditions .......................... 67 
         E.       Risks Relating to the New Membership Interests .............................................. 67 
                  1.  No Current Public Market for Securities .................................................... 67 
                  2.  Implied Valuation of the New Membership Interests Not
                      Intended to Represent the Trading Value of the New
                      Membership Interests .................................................................................... 67 
                  3.  No Intention to Pay Dividends ...................................................................... 68 
         F.       Inability to Obtain Financing for Exit Financing .............................................. 68 
         G.       Certain Tax Implications of the Plan .................................................................. 68 
         ARTICLE XV. CERTAIN UNITED STATES FEDERAL INCOME TAX
         CONSEQUENCES OF THE PLAN................................................................................ 68 
         A.       U.S. Federal Income Tax Consequences Under the Plan .................................. 69 
                  1.  Cancellation of Indebtedness Income .......................................................... 69 
                  2.  Gain or Loss from the Disposition of Assets ............................................... 70 
                  3.  Limitations on NOLs and Other Tax Attributes ........................................ 70 
                  4.  Alternative Minimum Tax ............................................................................ 70 
         B.       Federal Income Tax Consequences to Holders of Claims ................................. 71 
                  1.  Treatment of U.S. Holders of General Unsecured Claims ......................... 71 
         C.       Other Considerations for U.S. Holders ............................................................... 72 
                  1.  Accrued Interest............................................................................................. 72 
                  2.  Market Discount ............................................................................................ 72 
         D.       Information Reporting and Back-Up Withholding ........................................... 73 
         E.       Consequences of Ownership and Disposition of the New
                  Membership Interests ........................................................................................... 73 
         ARTICLE XVI. CONCLUSION ..................................................................................... 74 




                                                                  vi
4849-1085-3222
         EXHIBITS TO THE DISCLOSURE STATEMENT

         Exhibit 1 – Chapter 11 Plan
         Exhibit 2 – Liquidation Analysis
         Exhibit 3 – Financial Projections
         Exhibit 4 – Recovery Analysis
         Exhibit 5 – Preference Period Payments




                                                  vii
4849-1085-3222
                                          ARTICLE I.
                                        INTRODUCTION

       The Debtor1 hereby submits this Disclosure Statement for use in the solicitation of votes
on the Plan of Reorganization of A’GACI, L.L.C. Pursuant to Chapter 11 of the Bankruptcy
Code (i.e., the Plan). The Plan is annexed as Exhibit 1 to this Disclosure Statement.

        This Disclosure Statement sets forth certain relevant information regarding the Debtor’s
prepetition operations and financial history, the need to seek chapter 11 protection, significant
events that have occurred during the Chapter 11 Case, and the resultant analysis of the expected
return to the Debtor’s Creditors. This Disclosure Statement also describes terms and provisions
of the Plan, including certain alternatives to the Plan, certain effects of confirmation of the Plan,
certain risk factors associated with the Plan, and the manner in which distributions will be made
under the Plan. Additionally, this Disclosure Statement discusses the confirmation process and
the voting procedures that holders of Claims must follow for their votes to be counted.

        All descriptions of the Plan set forth in this Disclosure Statement are for summary
purposes only. To the extent of any inconsistency between this Disclosure Statement and the
Plan, the Plan shall control. You are encouraged to review the Plan in full.

     YOU ARE BEING SENT THIS DISCLOSURE STATEMENT BECAUSE YOU ARE A
CREDITOR OR OTHER PARTY IN INTEREST OF THE DEBTOR. THIS DOCUMENT
DESCRIBES A CHAPTER 11 PLAN WHICH, WHEN CONFIRMED BY THE
BANKRUPTCY COURT, WILL GOVERN HOW YOUR CLAIM OR INTEREST WILL BE
TREATED. THE DEBTOR URGES YOU TO REVIEW THE DISCLOSURE STATEMENT
AND THE PLAN CAREFULLY. THE DEBTOR BELIEVES THAT ALL CREDITORS
SHOULD VOTE IN FAVOR OF THE PLAN.

         A.      Summary of Plan

        The Plan provides for the resolution of Claims against and Interests in the Debtor and
implements a distribution scheme pursuant to the Bankruptcy Code. Distributions under the Plan
shall be made with: (1) Cash on hand, including Cash from operations; (2) the proceeds from the
New Membership Interests; (3) the New Credit Facility; and (4) the Class 6 Note, as applicable.

       Under the Plan, Claims and Interests are classified and each class has its own treatment.
The table below describes each class of Claims and Interests, which holders of Claims and




1
 Except as otherwise provided in this Disclosure Statement, capitalized terms herein have the
meaning ascribed to them in the Plan. Any capitalized term used herein that is not defined in the
Plan shall have the meaning ascribed to that term in the Bankruptcy Code or Bankruptcy Rules,
whichever is applicable.


                                                 1
4849-1085-3222
Interests belong in each class, the treatment of each class of Claims or Interests, and the expected
recovery of each holder of Claims or Interests in the respective class.2

         Summary of Plan Treatment
               Class Description                                      Treatment

           Class 1 – Chase Secured Claim              On the Effective Date, Chase shall receive,
                                              except to the extent that Chase agrees to a less
                                              favorable treatment, in full and final satisfaction,
                                              compromise, settlement, release, and discharge of
                                              and in exchange for the Chase Secured Claim,
                                              Payment in Full, in Cash, of its Allowed Class 1
                                              Claim; provided, however, that Chase shall receive
                                              no distribution for or on account of the Chase
                                              Waived Fees and such Chase Waived Fees shall be
                                              discharged without payment. Upon satisfaction of
                                              the Chase Secured Claim (minus the Chase
                                              Waived Fees) in accordance with the Plan, on the
                                              Effective Date, all liens and security interests
                                              granted to secure the Chase Secured Claim shall be
                                              terminated and released and shall be of no further
                                              force and effect.

                                                     Estimated total Allowed Class 1 Claims:
                                              $5.8 million3

                                                     Projected recovery: 100%




2
 The estimated totals contained in the Summary of Plan Treatment are based upon the Debtor’s
Schedules of Assets and Liabilities, unless otherwise provided.
3
  In the Cash Collateral Order, the Debtor stipulated that the aggregate principal amount of
$6,183,978.21 was due and owing to Chase, plus certain interest, fees, expenses, and other
charges. Since the Petition Date, Chase both received adequate protection payments under the
Cash Collateral Order (which reduced the outstanding balance of the Chase Secured Claim) and
incurred additional fees and expenses (which increased the outstanding balance of the Chase
Secured Claim). The final Allowed amount of the Chase Secured Claim as of the Effective Date
shall be determined as provided in the Plan.

                                                 2
4849-1085-3222
                  Class Description                                 Treatment

           Class 2 – BOA Secured Claim             The BOA Claim is comprised of both the
                                            BOA Secured Claim and the BOA Deficiency
                                            Claim. Class 2 consists of the BOA Secured
                                            Claim, whereas the BOA Deficiency Claim falls
                                            under Class 6 as a General Unsecured Claim.

                                                    With regard to the Class 2 BOA Secured
                                            Claim, BOA shall receive, on or after the Effective
                                            Date, except to the extent that BOA agrees to a
                                            less favorable treatment, in full and final
                                            satisfaction, compromise, settlement, release, and
                                            discharge of and in exchange for the BOA Secured
                                            Claim the collateral securing its Allowed Class 2
                                            Claim.

                                                     Projected recovery: 100%


           Class 3 – Other Secured Claims           At the option of the Debtor, each holder of
                                            an Allowed Other Secured Claim shall receive, on
                                            or after the Effective Date, except to the extent that
                                            a holder of an Allowed Other Secured Claim
                                            agrees to a less favorable treatment, in full and
                                            final satisfaction, compromise, settlement, release,
                                            and discharge of and in exchange for each Other
                                            Secured Claim, the following: (i) Payment in full
                                            in Cash of its Allowed Class 3 Claim; (ii) The
                                            collateral securing its Allowed Class 3 Claim;
                                            provided, however, any collateral remaining after
                                            satisfaction of such Allowed Class 3 Claim shall
                                            revest in the Debtor pursuant to the Plan; or (iii)
                                            Reinstatement of its Allowed Class 3 Claim.

                                                     Estimated total Allowed Class 3 Claims:
                                            $0

                                                     Projected recovery: 100%




                                                 3
4849-1085-3222
                  Class Description                                   Treatment

           Class 4 – Secured Tax Claims               At the option of the Debtor, each holder of
                                              an Allowed Secured Tax Claim shall receive, on or
                                              after the Effective Date, except to the extent that a
                                              holder of an Allowed Secured Tax Claim agrees to
                                              a less favorable treatment, in full and final
                                              satisfaction, compromise, settlement, release, and
                                              discharge of and in exchange for each Secured Tax
                                              Claim, the following: (i) Payment in full in Cash
                                              of its Allowed Class 4 Claim; (ii) The collateral
                                              securing its Allowed Class 4 Claim; provided,
                                              however, any collateral remaining after
                                              satisfaction of such Allowed Class 4 Claim shall
                                              revest in the Reorganized Debtor pursuant to the
                                              Plan; or (iii) Such other treatment consistent with
                                              the requirements of Bankruptcy Code section
                                              1129(a)(9).

                                                       Estimated total Allowed Class 4 Claims:
                                              $0

                                                       Projected recovery: 100%


       Class 5 –           Other   Priority           At the option of the Debtor, each holder of
 Unsecured Claims                             an Allowed Other Priority Unsecured Claim shall
                                              receive, on or after the Effective Date, except to
                                              the extent that a holder of an Allowed Other
                                              Priority Unsecured Claim agrees to a less
                                              favorable treatment, in full and final satisfaction,
                                              compromise, settlement, release, and discharge of
                                              and in exchange for each Other Priority Unsecured
                                              Claim, the following: (i) Payment in full in Cash
                                              of its Allowed Class 5 Claim; or (ii) Such other
                                              treatment as is consistent with the requirements of
                                              Bankruptcy Code section 1129(a)(9).

                                                       Estimated total Allowed Class 5 Claims:
                                              $0

                                                       Projected recovery: 100%




                                                   4
4849-1085-3222
                    Class Description                                  Treatment

             Class 6 - General Unsecured              Except to the extent that a holder of an
    Claims                                    Allowed General Unsecured Claim agrees to less
                                              favorable treatment, in full and final satisfaction,
                                              compromise, settlement, release, and discharge of
                                              and in exchange for each General Unsecured
                                              Claim, each holder of an Allowed Class 6 Claim
                                              shall receive (i) its Pro Rata share of the Class 6
                                              Note and (ii) its Pro Rata share of the cash
                                              proceeds, if any, from the Contingent Payment
                                              Agreement.

                                                      The Debtor has provided a preliminary
                                              estimate of General Unsecured Claims, including
                                              rejection damages, in the Recovery Analysis
                                              attached hereto as Exhibit 4.

                                                     Estimated total Allowed Class 6 Claims:
                                              $18.1 million to 19.1 million.4

                                                     Projected recovery: Approximately 20.9%
                                              to 22.1%


             Class 7 – A’GACI Interests               On the Effective Date, Class 7 Interests
                                              shall be cancelled and released without any
                                              distribution.


       More detail regarding the Debtor’s estimates of distributions on account of the General
Unsecured Claims are provided in the Recovery Analysis attached as Exhibit 4 (the “Recovery
Analysis”).

         B.       Filing of the Debtor’s Chapter 11 Case

        On January 9, 2018 (i.e., the Petition Date), the Debtor filed a voluntary petition for relief
under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Western
District of Texas, San Antonio Division. The Debtor Filed the Chapter 11 Case to preserve the
value of its estate and to restructure its financial affairs. To such end, the Debtor has continued

4
  The estimated total amount of Allowed Class 6 Claims includes trade Claims, estimated
rejection damage Claims for stores that have been rejected (plus anticipated rejection damages
from the Distribution Center), litigation Claims, and the General Unsecured Claim of American
Express. The estimated amount of Allowed Class 6 Claims does not include the BOA Deficiency
Claim.

                                                  5
4849-1085-3222
to manage its properties and is operating and managing its businesses as Debtor in possession in
accordance with sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has
been appointed in the Chapter 11 Case.

         C.      Purpose of Disclosure Statement

         Section 1125 of the Bankruptcy Code requires the Debtor to prepare and obtain court
approval of the Disclosure Statement as a prerequisite to soliciting votes on the Plan. The
purpose of the Disclosure Statement is to provide information to holders of Claims that will
assist them in deciding how to vote on the Plan.

       Approval of this Disclosure Statement does not constitute a judgment by the Bankruptcy
Court as to the desirability of the Plan or as to the value or suitability of any consideration
offered thereunder. The Bankruptcy Court’s approval does indicate, however, that the
Bankruptcy Court has determined that the Disclosure Statement contains adequate information to
permit a Creditor to make an informed judgment regarding acceptance or rejection of the Plan.

         D.      Hearing on Approval of the Disclosure Statement

       The Bankruptcy Court has set June [12], 2018 at 2:00 p.m. (prevailing Central Time), as
the time and date for the hearing (the “Disclosure Statement Hearing”) to consider approval of
this Disclosure Statement. Once commenced, the Disclosure Statement Hearing may be
adjourned or continued by announcement in open court with no further notice.

         E.      Hearing on Confirmation of the Plan

        The Bankruptcy Court has set July [26], 2018 at 2:00 p.m. (prevailing Central Time), as
the date and time for a hearing (the “Confirmation Hearing”) to determine whether the Plan has
been accepted by the requisite number of holders of Claims, and whether the other standards for
confirmation of the Plan have been satisfied. Once commenced, the Confirmation Hearing may
be adjourned or continued by announcement in open court with no further notice.

         F.      Disclaimers

     THIS DISCLOSURE STATEMENT IS PROVIDED FOR USE SOLELY BY
HOLDERS OF CLAIMS AND THEIR ADVISERS IN CONNECTION WITH THEIR
DETERMINATION TO ACCEPT OR REJECT THE PLAN. NOTHING IN THIS
DISCLOSURE STATEMENT MAY BE RELIED UPON OR USED BY ANY OTHER
ENTITY FOR ANY OTHER PURPOSE.

     THIS DISCLOSURE STATEMENT CONTAINS IMPORTANT INFORMATION
THAT MAY BEAR ON YOUR DECISION REGARDING ACCEPTING THE PLAN.
PLEASE READ THIS DOCUMENT WITH CARE.

     FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
THE REPRESENTATION OF THE DEBTOR ONLY AND NOT OF ITS ATTORNEYS,
ACCOUNTANTS OR OTHER PROFESSIONALS.         FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN SUBJECTED TO AN


                                               6
4849-1085-3222
AUDIT BY AN INDEPENDENT CERTIFIED PUBLIC ACCOUNTANT. THE FINANCIAL
PROJECTIONS AND OTHER FINANCIAL INFORMATION, WHILE PRESENTED WITH
NUMERICAL SPECIFICITY, NECESSARILY WERE BASED ON A VARIETY OF
ESTIMATES AND ASSUMPTIONS THAT ARE INHERENTLY UNCERTAIN AND MAY
BE BEYOND THE CONTROL OF THE DEBTOR’S MANAGEMENT.

      THE DEBTOR IS NOT ABLE TO CONFIRM THAT THE INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT DOES NOT INCLUDE ANY
INACCURACIES. HOWEVER, THE DEBTOR HAS MADE ITS BEST EFFORT TO
PROVIDE ACCURATE INFORMATION AND ARE NOT AWARE OF ANY INACCURACY
IN THIS DISCLOSURE STATEMENT.

     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
NOT BEEN INDEPENDENTLY INVESTIGATED BY THE BANKRUPTCY COURT AND
HAS NOT YET BEEN APPROVED BY THE BANKRUPTCY COURT. IN THE EVENT
THIS DISCLOSURE STATEMENT IS APPROVED, SUCH APPROVAL DOES NOT
CONSTITUTE A DETERMINATION BY THE BANKRUPTCY COURT OF THE FAIRNESS
OR MERITS OF THE PLAN OR OF THE ACCURACY OR COMPLETENESS OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT.

      THE ONLY REPRESENTATIONS THAT ARE AUTHORIZED BY THE DEBTOR
CONCERNING THE DEBTOR, THE VALUE OF ITS ASSETS, THE EXTENT OF ITS
LIABILITIES, OR ANY OTHER FACTS MATERIAL TO THE PLAN ARE THE
REPRESENTATIONS MADE IN THIS DISCLOSURE STATEMENT. REPRESENTATIONS
CONCERNING THE PLAN OR THE DEBTOR OTHER THAN AS SET FORTH IN THIS
DISCLOSURE STATEMENT ARE NOT AUTHORIZED BY THE DEBTOR.

     HOLDERS OF CLAIMS AND INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL, OR TAX ADVICE AND ALL SUCH HOLDERS OF CLAIMS
AND INTERESTS SHOULD CONSULT WITH THEIR OWN ADVISERS.

     THE DEBTOR HAS NO ARRANGEMENT OR UNDERSTANDING WITH ANY
BROKER, SALESMAN, OR OTHER PERSON TO SOLICIT VOTES FOR THE PLAN. NO
PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR TO MAKE ANY
REPRESENTATIONS IN CONNECTION WITH THE PLAN OTHER THAN THOSE
CONTAINED IN THIS DISCLOSURE STATEMENT AND, IF GIVEN OR MADE, SUCH
OTHER INFORMATION OR REPRESENTATIONS SHOULD NOT BE RELIED UPON AS
HAVING BEEN AUTHORIZED BY THE DEBTOR.        THE DELIVERY OF THIS
DISCLOSURE STATEMENT SHALL NOT UNDER ANY CIRCUMSTANCES CREATE
ANY IMPLICATION THAT THE INFORMATION CONTAINED HEREIN IS CORRECT AS
OF ANY TIME AFTER THE DATE HEREOF OR THAT THERE HAS BEEN NO CHANGE
IN THE INFORMATION SET FORTH HEREIN OR IN THE AFFAIRS OF THE DEBTOR
SINCE THE DATE HEREOF. ANY ESTIMATES OF CLAIMS AND INTERESTS SET
FORTH IN THIS DISCLOSURE STATEMENT MAY VARY FROM THE FINAL
AMOUNTS OF CLAIMS OR INTERESTS ALLOWED BY THE BANKRUPTCY COURT.



                                 7
4849-1085-3222
SIMILARLY, THE ANALYSIS OF ASSETS AND THE AMOUNT ULTIMATELY
REALIZED FROM THEM MAY DIFFER MATERIALLY.

      THE DESCRIPTION OF THE PLAN CONTAINED HEREIN IS INTENDED TO
BRIEFLY SUMMARIZE THE MATERIAL PROVISIONS OF THE PLAN AND IS SUBJECT
TO AND QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE PROVISIONS OF THE
PLAN.

     THE DEBTOR IS MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF
THE DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE
DEBTOR MAY SUBSEQUENTLY UPDATE THE INFORMATION IN THIS DISCLOSURE
STATEMENT, THE DEBTOR HAS NO AFFIRMATIVE DUTY TO DO SO, AND
EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD
LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION, FUTURE
EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS REVIEWING THIS DISCLOSURE
STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR REVIEW, THE
FACTS SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS DISCLOSURE
STATEMENT WAS FILED. INFORMATION CONTAINED HEREIN IS SUBJECT TO
COMPLETION, MODIFICATION, OR AMENDMENT. THE DEBTOR RESERVE THE
RIGHT TO FILE AN AMENDED OR MODIFIED PLAN AND RELATED DISCLOSURE
STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF THE PLAN.

                                      ARTICLE II.
                               EXPLANATION OF CHAPTER 11

A.       Overview of Chapter 11

       Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Under
chapter 11, a debtor in possession may seek to reorganize its business or to sell the business for
the benefit of the debtor’s Creditors and other interested parties.

        The commencement of a chapter 11 case creates an estate comprising all of the debtor’s
legal and equitable interests in property as of the date the petition is filed. Unless the bankruptcy
court orders the appointment of a trustee, a chapter 11 debtor may continue to manage and
control the assets of its estate as a “debtor in possession,” as the Debtor has done in the Chapter
11 Case since the Petition Date.

        Formulation of a chapter 11 plan is the principal purpose of a chapter 11 case. Such plan
sets forth the means for satisfying the Claims of Creditors against, and interests of equity security
holders in, the debtor.

         B.      Chapter 11 Plan

        After a plan has been filed, the holders of claims against, or equity interests in, a debtor is
permitted to vote on whether to accept or reject the plan. Chapter 11 does not require that each
holder of a claim against, or equity interest in, a debtor vote in favor of a plan in order for the
plan to be confirmed. At a minimum, however, a plan must be accepted by a majority in number


                                                  8
4849-1085-3222
and two-thirds in dollar amount of those claims actually voting from at least one class of claims
impaired under the plan. The Bankruptcy Code also defines acceptance of a plan by a class of
equity interests as acceptance by holders of two-thirds of the number of shares actually voted.

       Classes of claims or equity interests that are not “impaired” under a chapter 11 plan are
conclusively presumed to have accepted the plan, and therefore are not entitled to vote. A class
is “impaired” if the plan modifies the legal, equitable, or contractual rights attaching to the
claims or equity interests of that class. Modification for purposes of impairment does not include
curing defaults and reinstating maturity or payment in full in cash. Conversely, classes of claims
or equity interests that receive or retain no property under a plan of reorganization are
conclusively presumed to have rejected the plan, and therefore are not entitled to vote.

        Even if all classes of claims and equity interests accept a chapter 11 plan, the bankruptcy
court may nonetheless deny confirmation. Section 1129 of the Bankruptcy Code sets forth the
requirements for confirmation and, among other things, requires that a plan be in the “best
interest” of impaired and dissenting Creditors and interest holders and that the plan be feasible.
The “best interest” test generally requires that the value of the consideration to be distributed to
impaired and dissenting Creditors and interest holders under a plan may not be less than those
parties would receive if the debtor were liquidated under a hypothetical liquidation occurring
under chapter 7 of the Bankruptcy Code. A plan must also be determined to be “feasible,” which
generally requires a finding that there is a reasonable probability that the debtor will be able to
perform the obligations incurred under the plan and that the debtor will be able to continue
operations without the need for further financial reorganization or liquidation.

        The bankruptcy court may confirm a chapter 11 plan even though fewer than all of the
classes of impaired Claims and equity interests accept it. The bankruptcy court may do so under
the “cramdown” provisions of section 1129(b) of the Bankruptcy Code. In order for a plan to be
confirmed under the cramdown provisions, despite the rejection of a class of impaired claims or
interests, the proponent of the plan must show, among other things, that the plan does not
discriminate unfairly and that it is fair and equitable with respect to each impaired class of claims
or equity interests that has not accepted the plan.

        The bankruptcy court must further find that the economic terms of the particular plan
meet the specific requirements of section 1129(b) of the Bankruptcy Code with respect to the
subject objecting class. If the proponent of the plan proposes to seek confirmation of the plan
under the provisions of section 1129(b) of the Bankruptcy Code, the proponent must also meet
all applicable requirements of section 1129(a) of the Bankruptcy Code (except section 1129(a)(8)
of the Bankruptcy Code). Those requirements include the requirements that (i) the plan comply
with applicable Bankruptcy Code provisions and other applicable law, (ii) that the plan be
proposed in good faith, and (iii) that at least one impaired class of Creditors or interest holders
has voted to accept the plan.




                                                 9
4849-1085-3222
                                 ARTICLE III.
              VOTING PROCEDURES AND CONFIRMATION REQUIREMENTS

A.       Ballots and Voting Deadline

        Holders of Claims entitled to vote on the Plan will receive instructions for submitting a
Ballot to vote to accept or reject the Plan. After carefully reviewing the Disclosure Statement,
including all exhibits, each holder of a Claim or Interest (or its authorized representative) entitled
to vote should follow the instructions to indicate its vote on the Ballot. All holders of Claims (or
their authorized representatives) entitled to vote must (i) carefully review the Ballot and the
instructions for completing it, (ii) complete all parts of the Ballot, and (iii) submit the Ballot by
the deadline (i.e., the Voting Deadline) for the Ballot to be considered. Holders of Claims
entitled to vote must mail the Ballot(s) to Kurtzman Carson Consultants LLC (i.e., the Claims
and Balloting Agent) at the following address: A’GACI Ballot Processing Center, c/o KCC,
2335 Alaska Avenue, El Segundo, CA 90245. Holders of Claims may contact the Claims and
Balloting Agent by telephone at (888) 251-3076 or (310) 751-2617 (if outside of the United
States or Canada), or through the Debtor’s Chapter 11 Case website: www.kccllc.net/AGACI.

        The Bankruptcy Court has directed that, in order to be counted for voting purposes,
Ballots for the acceptance or rejection of the Plan must be received by the Claims and Balloting
Agent by no later than July [16], 2018.

     BALLOTS MUST BE SUBMITTED SO AS TO BE ACTUALLY RECEIVED BY
THE CLAIMS AND BALLOTING AGENT NO LATER THAN JULY [16], 2018. ANY
BALLOTS SUBMITTED AFTER THE VOTING DEADLINE WILL NOT BE
COUNTED.

         B.      Solicitation Materials

       The Debtor is providing a notice (which contains a link to the Plan, Disclosure Statement,
and Disclosure Statement Approval Order, including any amendment, attachment, exhibit, or
supplement related thereto) and related materials and a Ballot (i.e., the Solicitation Materials) to
record holders (as of the Voting Record Date) of the Claims in Classes 1 through 6.

         C.      Holders of Claims Entitled to Vote

       Any holder of a Claim of the Debtor whose Claim is Impaired under the Plan is entitled
to vote if either (i) the Claim has been listed in the Schedules of Assets and Liabilities in an
amount greater than zero (and the Claim is not scheduled as disputed, contingent, or
unliquidated) or (ii) the holder of a Claim has Filed a Proof of Claim (that is not contingent or in
an unknown amount) on or before the Voting Record Date.

        Any holder of a Claim as to which an objection has been Filed (and such objection is still
pending) is not entitled to vote, unless the Bankruptcy Court (on motion by a party whose Claim
is subject to an objection) temporarily allows the Claim in an amount that it deems proper for the
purpose of accepting or rejecting the Plan. Such motion must be heard and determined by the
Bankruptcy Court on or before the Voting Deadline.



                                                 10
4849-1085-3222
       In addition, a vote may be disregarded if the Bankruptcy Court determines that the
acceptance or rejection was not solicited or procured in good faith or in accordance with the
applicable provisions of the Bankruptcy Code.

         D.      Definition of Impairment

         Under section 1124 of the Bankruptcy Code, a class of Claims or equity interests is
impaired under a chapter 11 plan unless, with respect to each Claim or equity interest of such
class, the plan:

         (1)     leaves unaltered the legal, equitable, and contractual rights to which such Claim
                 or interest entitles the holder of such Claim or interest; or

         (2)     notwithstanding any contractual provision or applicable law that entitles the
                 holder of such Claim or interest to demand or receive accelerated payment of such
                 Claim or interest after the occurrence of a default:

                 (a)    cures any such default that occurred before or after the commencement of
                        the case under this title, other than a default of a kind specified in section
                        365(b)(2) of the Bankruptcy Code or of a kind that section 365(b)(2) of
                        the Bankruptcy Code expressly does not require to be cured;

                 (b)    reinstates the maturity of such Claim or interest as such maturity existed
                        before such default;

                 (c)    compensates the holder of such Claim or interest for any damages incurred
                        as a result of any reasonable reliance by such holder on such contractual
                        provision or such applicable law;

                 (d)    if such Claim or such interest arises from any failure to perform a
                        nonmonetary obligation, other than a default arising from failure to
                        operate a nonresidential real property lease subject to section 365(b)(1)(A)
                        of the Bankruptcy Code, compensates the holder of such Claim or such
                        interest (other than the debtor or an insider) for any actual pecuniary loss
                        incurred by such holder as a result of such failure; and

                 (e)    does not otherwise alter the legal, equitable, or contractual rights to which
                        such Claim or interest entitles the holder of such Claim or interest.

         E.      Classes Impaired or Unimpaired Under the Plan

       Classes 1, 2, 3, 4, 5, 6, and 7 are Impaired under the Plan. Of these Classes, holders of
Claims in Classes 1, 2, 3, 4, 5, and 6 are eligible, subject to the voting requirements described
above, to vote to accept or reject the Plan.

      Class 1 is Impaired because, among other reasons, Chase will not be paid the Chase
Waived Fees, which shall be waived and discharged. The discharge and waiver of the Chase


                                                 11
4849-1085-3222
Waived Fees alters Chase’s legal, equitable, and/or contractual rights with respect to the Chase
Secured Claim. Class 2 is Impaired because the proposed return of the collateral securing BOA’s
Allowed Class 2 Claim in full and final satisfaction, compromise, settlement, release, and
discharge of the BOA Secured Claim alters legal, equitable, and/or contractual rights of BOA
with respect to the BOA Secured Claim.

       Classes 3, 4, and 5 are Impaired because one or more of the proposed potential alternative
treatments of Classes 3, 4, and 5 alters the legal, equitable, or contractual rights of holders of
Allowed Claims in such Classes.

         Class 6 is Impaired because Allowed General Unsecured Claims will not be paid in full.

       Class 7 A’GACI Interests are Impaired and will not be entitled to any distribution under
the Plan. Holders of Interests in Class 7 are, therefore, conclusively deemed to have rejected the
Plan. Holders of Interests in Class 7 will not be entitled to vote on the Plan pursuant to section
1126(g) of the Bankruptcy Code.

         F.      Information on Voting and Vote Tabulations

                 1.     Transmission of Ballots to Holders of Claims

        Instructions for completing and submitting Ballots are being provided to all holders of
Claims entitled to vote on the Plan in accordance with the Bankruptcy Rules. Those holders of
Claims whose Claims are unimpaired under the Plan are conclusively presumed to have accepted
the Plan under section 1126(f) of the Bankruptcy Code, and therefore need not vote with regard
to the Plan. Under section 1126(g) of the Bankruptcy Code, holders of Claims who do not either
receive or retain any property under the Plan are deemed to have rejected the Plan. In the event a
holder of a Claim or Interest does not vote, the Bankruptcy Court may deem such holder of a
Claim or Interest to have accepted the Plan.

                 2.     Ballot Tabulation Procedures

        The Claims and Balloting Agent shall count all Ballots filed on account of (1) Claims in
the Schedules of Assets and Liabilities, that are not listed as contingent, unliquidated or disputed,
and are listed in an amount in excess of $0.00; (2) Proofs of Claim Filed by the Voting Record
Date that are not asserted as contingent or unliquidated, and are asserted in an amount in excess
of $0.00; and (3) the Chase Secured Claim. Aside from the Chase Secured Claim, if no Claim is
listed in the Schedules of Assets or Liabilities, and no Proof of Claim is Filed by the Voting
Record Date, such Creditor shall not be entitled to vote on the Plan on account of such Claim,
subject to the procedures below. Further, the Claims and Balloting Agent shall not count any
votes on account of Claims that are subject to an objection which has been Filed (and such
objection is still pending), unless and to the extent the Court has overruled such objection by the
Voting Record Date. The foregoing general procedures will be subject to the following
exceptions and clarifications:

                 (a) if a Claim is Allowed under the Plan or by order of the Court, such Claim is
                     Allowed for voting purposes in the Allowed amount set forth in the Plan or
                     the order;


                                                 12
4849-1085-3222
                 (b) if a Claim is listed in the Debtor’s Schedules of Assets and Liabilities or a
                     Proof of Claim is timely Filed by the Voting Record Date, and such Claim is
                     not listed or asserted as contingent, unliquidated, or disputed, and is listed or
                     asserted in an amount in excess of $0.00, such Claim is temporarily Allowed
                     for voting purposes in the amount set forth in the Debtor’s Schedules of
                     Assets and Liabilities or as asserted in the Proof of Claim;

                 (c) if a Claim is listed in the Debtor’s Schedules of Assets and Liabilities or a
                     Proof of Claim is timely Filed by the Voting Record Date, and such Claim is
                     only partially listed or asserted as contingent, unliquidated, or disputed, such
                     Claim is temporarily Allowed for voting purposes only in the amount not
                     listed or asserted as contingent, unliquidated or disputed in the Debtor’s
                     Schedules of Assets and Liabilities or in the Proof of Claim;

                 (d) if a Claim is listed in the Debtor’s Schedules of Assets and Liabilities or a
                     Proof of Claim is timely Filed by the Voting Record Date, and such Claim is
                     listed or asserted as contingent, unliquidated, or disputed, or is listed or
                     asserted for $0.00 or an undetermined amount, such Claim shall not be
                     counted for voting purposes;

                 (e) if a Claim is not listed in the Debtor’s Schedules of Assets and Liabilities and
                     a Proof of Claim is Filed after the Voting Record Date, such Claim is
                     temporarily Allowed for voting purposes only if such Creditor obtains an
                     order of the Court temporarily allowing the Claim for voting purposes prior
                     to the Voting Deadline;

                 (f) any Claim to which there remains a pending objection as of the Voting
                     Deadline, or an order has been entered granting such objection, such Claim
                     shall not be counted for voting purposes;

                 (g) if a Creditor has Filed duplicate Proofs of Claim by the Voting Record Date
                     against the Debtor, such Creditor’s Claim shall only be counted once;

                 (h) if a Proof of Claim has been amended by a later-Filed Proof of Claim, the
                     earlier-Filed Claim will not be entitled to vote, and to the extent the later-
                     Filed Proof of Claim is filed after the Voting Record Date, such later-Filed
                     Proof of Claim must have been temporarily allowed for voting purposes by
                     the Voting Record Date to be counted; and

                 (i) with respect to the Chase Secured Claim, such Chase Secured Claim (which
                     was previously Allowed as stipulated in the Cash Collateral Order) shall be
                     counted for voting purposes in the amount set forth in the Cash Collateral
                     Order.




                                                  13
4849-1085-3222
         The following procedures shall apply for tabulating votes:

                 (a) any Ballot that is otherwise timely completed, executed, and properly cast to
                     the Claims and Balloting Agent but does not indicate an acceptance or
                     rejection of the Plan, or that indicates both an acceptance and rejection of the
                     Plan, shall not be counted; if no votes to accept or reject the Plan are received
                     with respect to a particular Class that is entitled to vote on the Plan, such
                     Class shall be deemed to have voted to accept the Plan;

                 (b) if a Creditor casts more than one (1) Ballot voting the same Claim before the
                     Voting Deadline, the last properly cast Ballot received before the Voting
                     Deadline shall be deemed to reflect the voter’s intent and thus supersede any
                     prior Ballots;

                 (c) Creditors must vote all of their Claims within a particular Class to either
                     accept or reject the Plan, and may not split their votes within a particular
                     Class and thus a Ballot (or group of Ballots) within a particular Class that
                     partially accepts and partially rejects the Plan shall not be counted;

                 (d) a Creditor who votes an amount related to a Claim that has been paid or
                     otherwise satisfied in full or in part shall only be counted for the amount that
                     remains unpaid or not satisfied, and if such Claim has been fully paid or
                     otherwise satisfied, such vote will not be counted for purposes of amount or
                     number; and

                 (e) for purposes of determining whether the numerosity and amount
                     requirements of sections 1126(c) and 1126(d) of the Bankruptcy Code have
                     been satisfied, the Debtor will tabulate only those Ballots received by the
                     Voting Deadline. For purposes of the numerosity requirement of section
                     1126(c) of the Bankruptcy Code, separate Claims held by a single Creditor in
                     a particular Class shall be aggregated as if such Creditor held one (1) Claim
                     against the Debtor in such Class, and the votes related to such Claims shall be
                     treated as a single vote to accept or reject the Plan.

      The following Ballots shall not be counted or considered for any purpose in determining
whether the Plan has been accepted or rejected:

                 (a) any Ballot received after the Voting Deadline, unless the Debtor, in its
                     discretion, grants an extension of the Voting Deadline with respect to such
                     Ballot;

                 (b) any Ballot that is illegible or contains insufficient information to permit
                     identification of the voter;

                 (c) any Ballot cast by a Person that does not hold a Claim or Interest in a Class
                     that is entitled to vote to accept or reject the Plan;

                 (d) any duplicate Ballot (i.e. only original Ballots will be counted);


                                                  14
4849-1085-3222
                 (e) any unsigned Ballot or paper Ballot that does not contain an original
                     signature; and

                 (f) any Ballot transmitted to the Claims and Balloting Agent by facsimile or
                     electronic mail, unless the Debtor, in its discretion, consents to such delivery
                     method.

                 3.     Execution of Ballots by Representatives

        To the extent applicable, if a Ballot is submitted by trustees, executors, administrators,
guardians, attorneys-in-fact, officers of corporations, or others acting in a fiduciary or
representative capacity, such Persons must indicate their capacity when submitting the Ballot
and, at the Debtor’s request, must submit proper evidence satisfactory to the Debtor of their
authority to so act. For purposes of voting tabulation, a Ballot submitted by a representative
shall account for the total number of represented parties with respect to the numerosity
requirement set forth in this Article.

                 4.     Waivers of Defects and Other Irregularities Regarding Ballots

        Unless otherwise directed by the Bankruptcy Court, all questions concerning the validity,
form, eligibility (including time of receipt), acceptance, and revocation or withdrawal of Ballots
will be determined by the Debtor in its sole discretion, whose determination will be final and
binding. The Debtor reserves the right to reject any and all Ballots not in proper form, the
acceptance of which would, in the opinion of the Debtor or its counsel, be unlawful. The Debtor
further reserves the right to waive any defects or irregularities or conditions of delivery as to any
particular Ballot. Unless waived, any defects or irregularities in connection with deliveries of
Ballots must be cured within such time as the Debtor (or the Bankruptcy Court) determine.
Neither the Debtor nor any other Person will be under any duty to provide notification of defects
or irregularities with respect to deliveries of Ballots, nor will any of them incur any liability for
failure to provide such notification; provided, however, that the Debtor will indicate on the ballot
summary the Ballots, if any, that were not counted, and will provide copies of such Ballots with
the ballot summary to be submitted at the Confirmation Hearing. Unless otherwise directed by
the Bankruptcy Court, delivery of such Ballots will not be deemed to have been made until any
irregularities have been cured or waived. Unless otherwise directed by the Bankruptcy Court,
Ballots previously furnished, and as to which any irregularities have not subsequently been cured
or waived, will be invalidated.

                 5.     Withdrawal of Ballots and Revocation

        The Debtor may allow any claimant who submits a properly completed Ballot to
supersede or withdraw such Ballot on or before the Voting Deadline. In the event the Debtor
does permit such supersession or withdrawal, the claimant, for cause, may change or withdraw
its acceptance or rejection of the Plan in accordance with Bankruptcy Rule 3018(a).




                                                  15
4849-1085-3222
         G.      Confirmation of Plan

                 1.     Solicitation of Acceptances

         The Debtor is soliciting your vote.

     NO REPRESENTATIONS OR ASSURANCES, IF ANY, CONCERNING THE
DEBTOR OR THE PLAN ARE AUTHORIZED BY THE DEBTOR, OTHER THAN AS SET
FORTH IN THIS DISCLOSURE STATEMENT.      ANY REPRESENTATIONS OR
INDUCEMENTS MADE BY ANY PERSON TO SECURE YOUR VOTE, OTHER THAN
THOSE CONTAINED IN THIS DISCLOSURE STATEMENT, SHOULD NOT BE RELIED
ON BY YOU IN ARRIVING AT YOUR DECISION, AND SUCH ADDITIONAL
REPRESENTATIONS OR INDUCEMENTS SHOULD BE REPORTED TO DEBTOR’S
COUNSEL FOR APPROPRIATE ACTION.

      THIS IS A SOLICITATION SOLELY BY THE DEBTOR, AND IS NOT A
SOLICITATION BY ANY SHAREHOLDER, ATTORNEY, ACCOUNTANT, OR OTHER
PROFESSIONAL FOR THE DEBTOR. THE REPRESENTATIONS, IF ANY, MADE IN
THIS DISCLOSURE STATEMENT ARE THOSE OF THE DEBTOR AND NOT OF SUCH
SHAREHOLDERS, ATTORNEYS, ACCOUNTANTS, OR OTHER PROFESSIONALS,
EXCEPT AS MAY BE OTHERWISE SPECIFICALLY AND EXPRESSLY INDICATED.

                 2.     Requirements for Confirmation of the Plan

        At the Confirmation Hearing, the Bankruptcy Court shall determine whether the
requirements of section 1129 of the Bankruptcy Code have been satisfied, in which event the
Bankruptcy Court shall enter an order confirming the Plan. The Debtor believe that the Plan
satisfies all of the statutory requirements of the Bankruptcy Code for confirmation because,
among other things:

         (a)     The Plan complies with the applicable provisions of the Bankruptcy Code;
         (b)     The Debtor has complied with the applicable provisions of the Bankruptcy Code;
         (c)     The Plan has been proposed in good faith and not by any means forbidden by law;
         (d)     Any payment or distribution made or promised by the Debtor or by a Person
issuing securities or acquiring property under the Plan for services or for costs and expenses in
connection with the Plan has been disclosed to the Bankruptcy Court, and any such payment
made before the confirmation of the Plan is reasonable, or if such payment is to be fixed after
confirmation of the Plan, such payment is subject to the approval of the Bankruptcy Court as
reasonable;
         (e)     The Debtor has disclosed the identity and affiliation of any individual proposed to
serve, after confirmation of the Plan, as a director, officer or voting trustee of the Debtor, an
affiliate of the Debtor participating in a joint plan with the Debtor, or a successor to the Debtor
under the Plan; the appointment to, or continuance in, such office of such individual is consistent
with the interests of holders of Claims and Interests and with public policy;
         (f)     Any government regulatory commission with jurisdiction (after confirmation of
the Plan) over the rates of the Debtor has approved any rate change provided for in the Plan, or
such rate change is expressly conditioned on such approval;


                                                16
4849-1085-3222
         (g)    With respect to each Impaired Class of Claims, either each holder of a Claim or
Interest of the Class will have accepted the Plan, or will receive or retain under the Plan on
account of that Claim or Interest, property of a value, as of the Effective Date, that is not less
than the amount that such holder would so receive or retain if the Debtor were liquidated on such
date under chapter 7 of the Bankruptcy Code. If section 1111(b)(2) of the Bankruptcy Code
applies to the Claims of a Class, each holder of a Claim of that Class will receive or retain under
the Plan on account of that Claim property of a value, as of the Effective Date, that is not less
than the value of that holder’s interest in the Debtor’s interest in the property that secures that
Claim;
         (h)    Each Class of Claims will have accepted the Plan or is not Impaired under the
Plan, subject to the Debtor’s right to seek cramdown of the Plan under section 1129(b) of the
Bankruptcy Code;
         (i)    Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such Claim, the Plan provides that with respect to a Claim of a kind specified in
Bankruptcy Code §§ 507(a)(2) or (a)(3), on the Effective Date, the holder of such claim will
receive on account of such Claim equal to the Allowed amount of such Claim;
         (j)    Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such Claim, the Plan provides that with respect to a Class of Claims of a kind
specified in Bankruptcy Code §§ 507(a)(1), 507(a)(4), 507(a)(6), or 507(a)(7), each holder of a
Claim of such Class will receive (i) if such class has accepted the Plan, deferred cash payments
of a value, as of the Effective Date of the Plan, equal to the Allowed amount of such Claim, or
(ii) if such Class has not accepted the Plan, cash on the Effective Date of the Plan equal to the
Allowed amount of such Claim;
         (k)    Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such Claim, the Plan provides that with respect to a Claim of a kind specified in
Bankruptcy Code § 507(a)(8), the holder of such Claim will receive on account of such Claim
regular installment payments in cash (i) of a total value, as of the Effective Date of the Plan,
equal to the allowed amount of such Claim; (ii) over a period ending not later than 5 years after
the date of the order for relied under Bankruptcy Code §§ 301, 302, or 303; and (iii) in a manner
not less favorable than the most favored non-priority unsecured Claim provided for by the Plan
(other than cash payments made to a Class of creditors under Bankruptcy Code § 1122(b));
         (l)    Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such Claim, the Plan provides that with respect to a Secured Claim that would
otherwise meet the description of an unsecured Claim of a governmental unit under Bankruptcy
Code § 507(a)(8), but for the secured status of that Claim, the holder of that Claim will receive
on account of that Claim, cash payments, in the same manner and over the same period as
prescribed in Bankruptcy Code § 1129(a)(9)(C);
         (m)    If a Class of Claims is Impaired under the Plan, at least one such Class of Claims
will have accepted the Plan, determined without including any acceptance of the Plan by any
insider holding a Claim or Interest of that Class;
         (n)    Confirmation of the Plan is not likely to be followed by the liquidation or the need
for further financial reorganization of the Debtor or any successor to the Debtor under the Plan,
unless such liquidation or reorganization is proposed in the Plan;
         (o)    All court fees, as determined by the Bankruptcy Court at the Confirmation
Hearing, will have been paid or the Plan provides for the payment of such fees on the Effective
Date; and



                                                17
4849-1085-3222
         (p)     The Plan provides that all transfers of property shall be made in accordance with
applicable provisions of nonbankruptcy law that govern the transfer of property by a corporation
or trust that is not a moneyed, business, or commercial corporation or trust.


       The Debtor asserts that it has proposed the Plan in good faith and its believes that it has
complied, or will have complied, with all the requirements of the Bankruptcy Code governing
confirmation of the Plan.

                 3.    Acceptances Necessary to Confirm the Plan

        Voting on the Plan by each holder of an Impaired Claim (or its authorized representative)
is important. Chapter 11 of the Bankruptcy Code does not require that each holder of a Claim
vote in favor of the Plan in order for the Bankruptcy Court to confirm the Plan. Generally, under
the acceptance provisions of section 1126(a) of the Bankruptcy Code, each Class of Claims has
accepted the Plan if holders of at least two-thirds in dollar amount and more than one-half in
number of the Allowed Claims of such Class actually voting in connection with the Plan vote to
accept the Plan. Even if all Classes of Claims accept the Plan, the Bankruptcy Court may refuse
to confirm the Plan.

                 4.    Cramdown

        In the event that any Impaired Class of Claims does not accept the Plan, the Bankruptcy
Court may still confirm the Plan at the request of the Debtor if, as to each Impaired Class that has
not accepted the Plan, the Plan “does not discriminate unfairly” and is “fair and equitable.” A
chapter 11 plan does not discriminate unfairly within the meaning of the Bankruptcy Code if no
Class receives more than it is legally entitled to receive for its Claims. “Fair and equitable” has
different meanings for holders of secured and unsecured Claims and Interests.

        With respect to a Secured Claim, “fair and equitable” means either (i) the Impaired
secured Creditor retains its Liens to the extent of its Allowed Claim and receives deferred Cash
payments at least equal to the allowed amount of its Claims with a present value as of the
effective date of the plan at least equal to the value of such Creditor’s interest in the property
securing its Liens; (ii) property subject to the Lien of the Impaired secured Creditor is sold free
and clear of that Lien, with that Lien attaching to the proceeds of sale, and such Lien proceeds
must be treated in accordance with clauses (i) and (iii) hereof; or (iii) the Impaired secured
Creditor realizes the “indubitable equivalent” of its Claim under the plan.

       With respect to an Unsecured Claim, “fair and equitable” means either (i) each Impaired
Creditor receives or retains property of a value equal to the amount of its Allowed Claim or (ii)
the holders of Claims and Interests that are junior to the Claims of the dissenting class will not
receive any property under the Plan.

       With respect to Interests, “fair and equitable” means either (i) each Impaired Interest
receives or retains, on account of that Interest, property of a value equal to the greater of the
allowed amount of any fixed liquidation preference to which the holder is entitled, any fixed
redemption price to which the holder is entitled, or the value of the Interest, or (ii) the holder of



                                                 18
4849-1085-3222
any Interest that is junior to the Interest of that Class will not receive or retain under the Plan, on
account of that junior equity interest, any property.

        The Debtor believes that the Plan does not discriminate unfairly and is fair and equitable
with respect to each impaired Class of Claims and Interests. In the event at least one Class of
Impaired Claims or Interests rejects or is deemed to have rejected the Plan, the Bankruptcy Court
will determine at the Confirmation Hearing whether the Plan is fair and equitable and does not
discriminate unfairly against any rejecting Impaired Class of Claims or Interests.

                 5.     Conditions Precedent to Confirmation and Effectiveness of the Plan

        In addition to the requirements of the Bankruptcy Code, Article IX of the Plan contains
certain conditions to confirmation and effectiveness of the Plan.

                                     ARTICLE IV.
                              BACKGROUND OF THE DEBTOR

A.       Description of Debtor’s Businesses

                 1.     History and Formation

       Founded in San Antonio, Texas, A’GACI is a fast-fashion retailer of women’s apparel
and accessories. A’GACI attracts young, fashion-driven consumers through its value-pricing
and frequent introductions of new and trendy merchandise.

         A’GACI is a privately held Texas limited liability company. The Debtor’s sole members
are John Won and David Won. The Debtor was originally organized in 2001 as a Texas limited
liability company under the name of Twigland Management, LLC. In June 2007, Twigland
Management, LLC merged with Twigland Fashions, Ltd., and the company name was changed
to Twigland Fashions, LLC. Following the merger, in August 2007, Twigland Fashions, LLC
changed its name to A’GACI, L.L.C. Finally, in February 2013, Won Management, LLC merged
with A’GACI, L.L.C., resulting in the Debtor as the surviving limited liability company.

         As of the Petition Date, the following individuals were officers of the Debtor:

                  David Won                   Chief Merchandising Officer
                  Jon Won                     Chief Executive Officer
                  Mark Butterbach             Chief Financial Officer5
                  Anil Varghese               Chief Information Officer

                 2.     The Debtor’s Business Operations

       The Debtor operates specialty apparel and footwear stores under the A’GACI banner as
well as a direct-to-consumer business comprised of its e-commerce website
www.agacistore.com. Stores feature an assortment of tops, dresses, bottoms, jewelry, and
accessories sold primarily under the Debtor’s exclusive A’GACI label. In addition, the Debtor

5
    Mr. Butterbach resigned from A’GACI in March 2018.

                                                  19
4849-1085-3222
sells shoes under its sister brand labels of O’Shoes and Boutique Five. Boutique Five also
comprises a portion of apparel and accessory merchandise.

        The Debtor continually updates its merchandise and floor sets based on the latest fashion
trends. The Debtor’s target demographic is confident women who are comfortable with their
appearance and enjoy showcasing their look.

        As of January 1, 2018, the Debtor operated 76 retail stores. The Debtor’s stores are
located in fashion retail venues predominately in Texas, Florida, California, and Illinois.
Additionally, a third party operates an A’GACI franchise location in Venezuela. The Debtor’s
corporate office is located in San Antonio, Texas. In addition, the Debtor leases a 283,000 square
foot distribution center in Von Ormy, Texas (the “Distribution Center”) and office space in Los
Angeles, California in which the Debtor conducts merchandising functions. The Distribution
Center was constructed in 2016 and commenced full time operation in February 2017.

       To successfully operate its business, the Debtor must ensure that its retail stores are
continuously replenished with stock for sale to its customers. The Debtor utilizes Oracle v15 (the
“Oracle Retail System”) as an enterprise resource planning (“ERP”) tool to support
merchandising, inventory management, warehousing, distribution, and sales audit functions.
After a delayed and problematic implementation period (as described in more detail below), the
Oracle Retail System was launched around August 2017.

        The Debtor, as a fast-fashion retailer, needs to consistently remain on-trend with the
latest fashion. The Debtor tracks fashion and style bloggers and works with trend services that
forecast and monitor new trends in the marketplace. Inventory planning begins approximately six
months in advance of the applicable season. Most merchandise is purchased from vendors in
Los Angeles, California. Generally, denim, footwear, and basics are imported, while the
remainder of the goods are cut and sewn domestically. Although the Debtor’s vendor base
changes over time depending current trends in fashion and availability of goods, many of the
Debtor’s larger vendor relationships have been in place between five and eight years, with some
relationships going back as far as twenty years. The Debtor’s relationships with its vendors are
crucial to business operations.

        Typically, the Debtor places orders 4-6 weeks ahead of expected delivery to the
Distribution Center. Approximately 50% of purchases are concepts designed solely by vendors;
40% are vendor concepts that the Debtor modifies (for example, by adding a pocket); and 10%
are solely designed by the Debtor. A’GACI relies on third parties to ship inventory from vendors
to the Distribution Center, and from the Distribution Center to the Debtor’s stores. Inventory is
typically processed and shipped from the Distribution Center within one to two days of arrival.

        Both in stores and online, the Debtor utilizes an everyday low price sale methodology.
The majority of markdowns are clearance pricing discounts used to clear inventory. The Debtor
turns its inventory almost six times a year on average, which is typical of a fast fashion retailer.
For the year to date period ended November 25, 2017, the Debtor’s gross sales were
$136,204,241. Of that amount, approximately 9.4% or $12,829,350 was attributable to the
Debtor’s e-commerce business.



                                                20
4849-1085-3222
                 3.    Cost Structure

        The Debtor’s cost structure is comprised of certain fixed and variable costs. The Debtor’s
largest expense categories are cost of goods sold, employee related costs, and costs associated
with the Debtor’s real estate leases. Other expenses include, without limitation, warehousing,
shipping, advertising, maintenance, supplies, insurance, and other related items.

                 a.    Cost of Goods Sold

       The cost of goods sold for the year to date period ended November 25, 2017 was
approximately $65.9 million, resulting in a gross margin of approximately 51.6%. Freight into
the Distribution Center is realized in the month incurred and flows through cost of goods sold.
Therefore, all associated costs, such as duty and overseas freight, are included in the purchase
price.

                 b.    Employee-Related Costs

        As of the Petition Date, the Debtor employed approximately 2,100 individuals. Retail
store employees are the largest subgroup, totaling approximately 1,900. Each of the Debtor’s
store locations has between 15 and 70 employees, depending on the size and business demands
of the location. Distribution Center employees are the second largest sub-group with
approximately 160 employees. For the year to date period ended November 25, 2017, the
Debtor’s payroll and other benefit obligations for its employees totaled over approximately $31.6
million.

                 c.    Lease-Related Expenses

        The Debtor leases the Distribution Center, its merchandising office in Los Angeles,
California, and all of its store locations. The Debtor does not own any real property. Most of the
Debtor’s store leases have a fixed rental payment due in advance or require the Debtor to pay
rent based on specified percentages of sales after the Debtor achieves specified annual sales. For
the year to date period ended November 25, 2017, the Debtor’s expenses related to occupying its
leased premises totaled approximately $27.6 million.

         B.      Events Leading to the Chapter 11 Case

       Prior to the Petition Date, A’GACI’s financial performance was negatively affected by (i)
unsuccessful brick and mortar expansion efforts; (ii) a shift in consumer preference towards
online purchases; (iii) difficulties with the implementation of the Oracle Retail System; and (iv)
hurricanes that significantly impacted the Debtor’s most profitable locations.

        Beginning in 2015, the Debtor set aggressive growth targets and sought to expand its
brick and mortar locations. In the two years prior to the Petition Date, the Debtor opened 21 new
store locations across Arizona, California, Florida, Nevada, and Puerto Rico. The Debtor’s rapid
expansion into new markets spread the organization too thin to effectively respond to the rapidly
changing trends in the retail market. The Debtor’s operational struggles were compounded by
customers’ increasing preference for web-based purchases of items historically purchased at



                                               21
4849-1085-3222
shopping malls. Foot traffic in malls declined significantly during the last several years, and led
to corresponding declines in revenues at mall-based businesses like the Debtor’s.

        In an effort to equip the Debtor with the enterprise management tools necessary to
leverage its expanded store footprint, including the ability to track inventory position of
individual stores and chase profitable sales trends, the Debtor sought to implement the Oracle
Retail System in early 2016. To implement the Oracle Retail System, the Debtor retained the
services of Infogain Corporation (“Infogain”). The implementation was fraught with delay and
the system did not launch until around August 2017 after the Debtor engaged professionals to
oversee the implementation process. Even after the launch, the Debtor experienced ongoing
problems with Infogain’s implementation and has uncovered further defects in the system. Prior
to the Petition Date, the Debtor was engaged in arbitration with Infogain regarding Infogain’s
failure to provide the agreed-on services and systems and the expenses the Debtor incurred to
remedy Infogain’s flawed implementation.

        Shortly after implementation of the Oracle System, several of the Debtor’s most
profitable stores in Texas, Florida, and Puerto Rico were ravaged by Hurricane Harvey,
Hurricane Irma, and Hurricane Maria. The hurricanes caused the temporary closure of eight
stores in Texas, twelve stores in Florida, and four stores in Puerto Rico.

       The combined impact of the events above resulted in a substantial decrease in the
Debtor’s sales and earnings. For example, the Debtor’s EBITDA declined by approximately $7.2
million in the year prior to the Petition Date, from approximately $4.7 million in 2016 to
approximately negative $2.5 million in 2017. The decrease in EBITDA negatively impacted the
Debtor’s liquidity and its ability to meet obligations as they came due. Furthermore, the Debtor
also faced an impending debt maturity—the First Lien Credit Facility (defined below) was
scheduled to mature on January 30, 2018.

         C.      The Debtor’s Prepetition Restructuring Initiatives

        Throughout 2017, the Debtor engaged in a review of its business to determine how to
address its continuing liquidity constraints. As part of that review, the Debtor and its officers
and professionals considered various operational and strategic options to increase revenue and
control costs. The review also involved an analysis of the Debtor’s marketing strategy,
relationships with strategic partners, labor costs, lease expenses, and a number of other
components of the business to identify opportunities to re-direct the Debtor’s business to more
financially viable outlets while continuing to provide valuable goods and services to the Debtor’s
loyal customer base.

        A central component of the Debtor’s review was a store-by-store analysis to, among other
things, identify certain unprofitable stores to close and wind down. Prior to the Petition Date, the
Debtor was engaged in ongoing negotiations with its landlords in an effort to allow the Debtor to
more closely control fixed costs; however, those negotiations did not yield significant rent
concessions.




                                                22
4849-1085-3222
         Ultimately, the Debtor determined that shifting its focus to its more profitable stores and
its online sales warranted the closing of certain store locations. To facilitate the store closing
sales, the Debtor entered into an agreement with a store liquidator.

        In addition to planning for the store closing sales, the Debtor’s management considered
the possibilities of marketing the Debtor’s business for sale either through Bankruptcy Code
section 363 or a plan process. In January 2018, the Debtor retained SSG Advisors, LLC to assist
with exploring such efforts. The Debtor filed this Chapter 11 Case to maximize value for the
benefit of all interested parties by immediately reducing its retail footprint and conducting the
process of soliciting interest in the acquisition or refinancing of the Debtor.

                                      ARTICLE V.
                            DEBTOR’S ASSETS AND LIABILITIES

         A.      Prepetition Capital Structure Arrangements

        As of the Petition Date, A’GACI’s unaudited balance sheet reflected total assets of
approximately $82.9 million, total liabilities of approximately $62.1 million, and partners’
capital of approximately $20.8 million. The Debtor’s principal assets consist of its accounts
receivable, inventory, and fixed assets, including furniture and fixtures, information technology
assets, and leasehold improvements.

       The Debtor’s prepetition debt structure primarily consists of: (i) obligations owed to
Chase; (ii) the Term Loan Obligations (defined below); (iii) the Capital Lease Obligations
(defined below); and (iv) unsecured debt consisting of, among other things, amounts owed to
vendors and landlords.

                 1.     Chase Obligations

       Prior to the Petition Date, the following documents were executed for good and sufficient
consideration:

         (i)     Credit Agreement, dated on or about January 30, 2015 (and as
                 subsequently amended or revised), between Chase and the Debtor in
                 connection with a revolving loan in an initial commitment amount of up to
                 $10,000,000 (the “Loan”) from Chase to the Debtor and secured by
                 substantially all of the Debtor’s assets and property;

         (ii)    Pledge and Security Agreement, dated on or about January 30, 2015, from
                 the Debtor to Chase granting a pledge and security interest in substantially
                 all of the Debtor’s assets and property in order, inter alia, to secure the
                 indebtedness under the Loan;

         (iii)   Trademark Security Agreement, dated on or about January 30, 2015, from
                 the Debtor to Chase granting a security interest in certain intellectual
                 property of the Debtor and properly recorded in the United States Patent
                 and Trademark Office Under Docket No. 0013214-0007 on February 5,
                 2015;

                                                 23
4849-1085-3222
         (iv)    Power of Attorney, dated January 30, 2015, given by the Debtor in favor
                 of Chase related to, inter alia, certain intellectual property constituting
                 collateral for the Loan;

         (v)     UCC Financing Statement (as amended) (the “Financing Statement”), in
                 favor of Chase and recorded with the Secretary of State of the State of
                 Texas on February 5, 2015, under Recording No. 15-0003757755;

         (vi)    Commercial Card Classic Application & Agreement, dated October 8,
                 2012 (“Credit Card Agreement”) between Chase and the Debtor, in
                 connection with a certain revolving credit card agreement. (“Credit Card
                 Debt”).

        The documents described above, as well as all other documents related to the foregoing,
are collectively defined in the Cash Collateral Order as the “Loan Documents”. As of the Petition
Date, the aggregate principal amount of $6,183,978.21 was due and owing to Chase (consisting
of, inter alia, the current, outstanding principal balances on both the Loan and the Credit Card
Debt) (as, respectively, defined in the Cash Collateral Order), plus certain interest, fees,
expenses, and other charges under the Loan Documents.

                 2.     Term Loan Credit Facility

         A’GACI and BOA are parties to a Loan Agreement, dated as of January 19, 2017 (as
amended, restated, supplemented, or otherwise modified from time to time, the “Term Loan
Credit Agreement”). The Term Loan Credit Agreement evidences two senior secured term loan
facilities (collectively, the “Term Loan Credit Facilities”) in the original aggregate principal
amount of $5,000,000, subject to certain terms and conditions.

        Under the first Term Loan Credit Facility, BoA agreed to provide a term loan to A’GACI
in the amount of $3,496,356 with an interest rate of 3.65%. A’GACI agreed to repay principal
and interest in equal combined installments of $47,309.53 beginning on February 19, 2017, and
on the same day of each month thereafter, with the last payment obligation to occur on January
19, 2024.

       Under the second Term Loan Credit Facility, BoA agreed to provide a term loan to
A’GACI in the amount of $1,503,644 with an interest rate of 3.5%. A’GACI agreed to repay
principal and interest in equal combined installments of $33,646.10 beginning on February 19,
2017, and on the same day of each month thereafter, with the last payment obligation to occur on
January 19, 2021.

       Obligations under the Term Loan Credit Agreement are secured by the Debtor’s
equipment and fixtures at the Distribution Center. As of the Petition Date, approximately
$4,265,902 in principal amount remained outstanding under the Term Loan Credit Agreement.

      As of the Petition Date, the Debtor had deposited funds in accounts with BOA in the
amount of $194,189.64 (the “Funds”). On January 18, 2018, BOA filed Bank of America, N.A.’s


                                                 24
4849-1085-3222
Motion for Relief From the Automatic Stay With Respect to An Act Against Property;
Alternatively Request for Adequate Protection [Dkt. No. 82] (the “BOA Motion”), seeking to
exercise its rights with respect to the Funds. On February 12, 2018, the Bankruptcy Court entered
an agreed order that partially granted the BOA motion [Dkt. 158] (the “BOA Order”). Under the
BOA Order, BOA was authorized to exercise its setoff or lien rights with respect to the Funds.
However, the BOA Order also provided that any funds deposited in accounts with BOA after the
Petition Date were subject to an administrative freeze pending further order from the Bankruptcy
Court. As of the date of this Disclosure Statement, $62,193.71 of the Debtor’s funds are held in
account with BOA and subject to the administrative freeze.

                 3.    Capital Leases

        The Debtor is a party to certain capital lease arrangements for computer software and
related equipment. As of the Petition Date, the Debtor’s total capital lease obligations were
approximately $800,000 (the “Capital Lease Obligations”).

                 4.    General Unsecured Obligations

        In addition to the Debtor’s outstanding obligations under the Chase Loan Documents, the
Term Loan Credit Facilities, and the Capital Leases, the Debtor also had unsecured debt
obligations, including amounts owed to trade vendors and to landlords, among others. The
Debtor’s estimate of General Unsecured Claims is set forth in more detail in Exhibit 4 of this
Disclosure Statement.

         B.      Debtor’s Scheduled Amount of Claims

       Pursuant to the Schedules of Assets and Liabilities and based on stipulations under the
Cash Collateral Order, the Debtor has scheduled the following types and amounts of Claims in
the Chapter 11 Case:




                                               25
4849-1085-3222
                    Type of Claim                          Approximate Total Amount
                    Administrative Claims                         Unknown
                    Priority Unsecured Tax Claims                 $31,059
                    Other Priority Unsecured Claims               $0
                    Chase Secured Claim                           $6,183,9786
                    BOA Claim                                     $4,265,902
                    Other Secured Claims                          $0
                    Secured Tax Claims                            $0
                    Other Priority Unsecured Claims               $0
                    General Unsecured Claims                      $44,089,9337

       The Bar Date was May 14, 2018. The Debtor’s review and reconciliation of Proofs of
Claims is ongoing. The Debtor has provided a preliminary estimate of General Unsecured
Claims, including rejection damages, in the Recovery Analysis attached hereto as Exhibit 4.

                                      ARTICLE VI.
                             BANKRUPTCY CASE ADMINISTRATION

         A.         Early Chapter 11 Case Motions

       On or shortly after the Petition Date, the Debtor filed a number of motions to administer
the Chapter 11 Case in a timely and efficient manner. Pursuant to those motions, the Bankruptcy
Court entered orders that, among other things:

         •       Authorized the Debtor’s use of cash collateral;
         •       Authorized maintenance of existing corporate bank accounts and cash management
                 system;
         •       Authorized the Debtor to continue its insurance policies;
         •       Authorized the Debtor to pay certain prepetition tax obligations;
6
  In the Cash Collateral Order, the Debtor stipulated that the aggregate principal amount of
$6,183,978.21 was due and owing to Chase, plus certain interest, fees, expenses, and other
charges. Since the Petition Date, Chase both received adequate protection payments under the
Cash Collateral Order (which reduced the outstanding balance of the Chase Secured Claim) and
incurred additional fees and expenses (which increased the outstanding balance of the Chase
Secured Claim). The final Allowed amount of the Chase Secured Claim as of the Effective Date
shall be determined as provided in the Plan.
7
  The scheduled amount of General Unsecured Claims includes trade/vendor claims as well as
claims for deferred rent and leasehold allowances. As set forth in Exhibit 4, the Allowed
amount (as opposed to the scheduled amount) of General Unsecured Claims is substantially less
due to adjustments in the amount of deferred rent and leasehold allowances resulting from the
Debtor’s lease negotiations and related lease assumptions.

                                                    26
4849-1085-3222
         •       Designated the Chapter 11 Case as complex Chapter 11 Case;
         •       Established procedures for payment of estate professionals;
         •       Authorized the Debtor to pay or honor prepetition obligations to certain shippers,
                 warehousemen, and miscellaneous lien claimants;
         •       Authorized the Debtor to employ professionals used in the ordinary course of
                 business;
         •       Authorized the payment of certain prepetition accrued wages, salaries, medical
                 benefits, and reimbursable employee expenses;
         •       Authorized the Debtor to maintain and honor prepetition customer programs;
         •       Preserved value for the Debtor’s estate by prohibiting utility companies from altering
                 or discontinuing service on account of prepetition invoices;
         •       Extended the time within which the Debtor were required to File the Schedules of
                 Assets and Liabilities and Statement of Financial Affairs.
         •       Rejected unprofitable leases; and
         •       Authorized the Debtor to assume an agreement with a store liquidator and approved
                 procedures for store closing sales.

         B.         Professionals Employed by the Debtor

       Pursuant to orders entered by the Bankruptcy Court, the Debtor obtained approval to
employ certain Professionals including Haynes and Boone, LLP (general bankruptcy counsel);
SSG (investment banker); BRG (financial advisor); A&G (real estate consultant) and KCC
(claims and balloting agent).

         C.         Bar Date for Filing Proofs of Claim

         The general deadline for filing Proofs of Claim in the Chapter 11 Case is May 14, 2018
(i.e., the Bar Date).

       Pursuant to section 502(b)(9) of the Bankruptcy Code, the deadline for filing a Proof of
Claim by any Governmental Unit is July 9, 2018 (the “Governmental Bar Date”).

        In the event that the Debtor amends its Schedules of Assets and Liabilities, the Debtor
must give notice of such amendment to the holder of a Claim affected thereby, and the affected
Claim holder shall have the later of the Bar Date or thirty (30) days from the date on which
notice of such amendment was given to file a Proof of Claim. Further, except as otherwise set
forth in any order authorizing the rejection of an Executory Contract or Unexpired Lease, in the
event that a Claim arises with respect to the Debtor’s rejection of an Executory Contract or
Unexpired Lease, the Claim holder shall have the later of the Bar Date or thirty (30) days after
the date any order is entered authorizing the rejection of such Executory Contract or Unexpired
Lease.

         D.         Meeting of Creditors

       The meeting of Creditors required under section 341 of the Bankruptcy Code was held on
February 12, 2018, and was continued to February 26, 2018.




                                                     27
4849-1085-3222
         E.          Official Committee of Unsecured Creditors

     The Official Committee of Unsecured Creditors was appointed on January 25, 2018. The
members of the Official Committee of Unsecured Creditors are:

                    Ambiance U.S.A. Inc.
                    Day G
                    Elegance Enterprise Corporation
                    GGP Limited Partnership
                    Infogain Corporation
                    JP Original Corp.
                    Privy Inc.
                    Simon Property Group
                    Top Guy Int’l LLC
         F.          Store Closing Sales, Lease Negotiations, and Lease Rejections

        A central component of the Debtor’s strategy to maximize go-forward profitability has
been to engage in a store-by-store analysis to, among other things, identify certain unprofitable
stores to close and wind down by conducting “Store Closure Sales.” To maximize the efficiency
and net proceeds of the Store Closure Sales, the Debtor entered into an agreement with a store
liquidator and obtained court approval of procedures for conducting the Store Closure Sales.
From February 3, 2018 to March 27, 2018, the Debtor conducted Store Closure Sales at 11
stores, which generated approximately $1.4 million in sales. On April 12, 2018, the Debtor
began conducting a Store Closure Sale at an additional store location, which generated additional
sales of approximately $137,000 as of May 2, 2018.

       The Debtor has also been engaged in ongoing negotiations with its landlords in an effort
to allow the Debtor to more closely control fixed costs. As a result of those negotiations the
Debtor was able to significantly reduce monthly rent expenses and continue operations at stores
that would have otherwise been unprofitable in the absence of such negotiations.

        During the Chapter 11 Case, the Debtor was also able to reduce expenses by rejecting
certain unprofitable Leases. As of the date of the filing of this Disclosure Statement, the Debtor
has rejected 23 store leases.

         G.          Sale and Bidding Procedures Motion

         On March 1, 2018, the Bankruptcy Court entered the Order Approving Sale and Bidding
Procedures In Connection with Sale of Assets of the Debtor and Granting Related Relief [Docket
No. 188] (the “Bid Procedures Order”). Pursuant to the Bid Procedures Order, the Debtor
solicited offers for the purchase of substantially all of the assets and substantially all of the
liabilities of the Debtor.



                                                   28
4849-1085-3222
       The deadline for the submission of bids in connection with the Bid Procedures Order was
March 26, 2018 (the “Bid Deadline”). The Debtor did not receive any bids that satisfied the
requirements of the Bid Procedures Order prior to the Bid Deadline. As a result, the Debtor
cancelled the auction and the sale hearing, which had been scheduled for April 3, 2018, and
April 9, 2018, respectively, and refocused its efforts on a plan process to accomplish the
Debtor’s restructuring.

         H.      Use of Cash Collateral

       The Bankruptcy Court entered interim cash collateral orders on January 11, 2018;
January 30, 2018; and February 6, 2018; respectively, thereby allowing the Debtor to utilize
Chase’s cash collateral in accordance with the terms of the orders, which allowed the Debtor to
continue its ongoing business operations.

       On February 21, 2018, the Bankruptcy Court entered in the Chapter 11 Case the Final
Order Authorizing Use of Cash Collateral and Granting Adequate Protection [Docket No. 171],
which was subsequently amended by the First Amendment to Final Order Authorizing Use of
Cash Collateral and Granting Adequate Protection on March 29, 2018 [Docket No. 260], and
the Second Amendment to Final Order Authorizing Use of Cash Collateral and Granting
Adequate Protection, on May 10, 2018 [Docket No. 349].

       Provided that the Debtor does not commit an event of default under the Cash Collateral
Order, Chase has agreed to extend the Debtor’s authorization to use cash collateral to the earliest
to occur of (i) an order of the Court terminating the use of cash collateral, or (ii) July 31, 2018 at
11:59 p.m. (Prevailing Central Time).


                                      ARTICLE VII.
                                DESCRIPTION OF THE PLAN

         A.      Introduction

       A summary of the principal provisions of the Plan and the treatment of Classes of
Allowed Claims and Allowed Interests is outlined below. The summary is entirely qualified by
the Plan. This Disclosure Statement is only a summary of the terms of the Plan.

         B.      Designation of Claims and Interests/Impairment

        The following are the Classes of Claims and Interests designated under the Plan. In
accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional
Compensation Claims, and Priority Unsecured Tax Claims are not classified. No distribution
shall be made on account of any Claim that is not Allowed.




                                                 29
4849-1085-3222
         Classes of Claims against and Interests in the Debtor are designated as follows:

         Class – 1      Chase Secured Claim
         Class - 2      BOA Secured Claim
         Class – 3      Other Secured Claims
         Class - 4      Secured Tax Claims
         Class - 5      Other Priority Unsecured Claims
         Class - 6      General Unsecured Claims
         Class - 7      A’GACI Interests

         Claims in Classes 1, 2, 3, 4, 5, and 6 are Impaired and will be entitled to vote on the Plan.
Interests in Class 7 are Impaired and will not be eligible to receive a distribution under the Plan.
Pursuant to section 1126(g) of the Bankruptcy Code, holders of Interests in Class 7 are
conclusively presumed to have rejected the Plan and are therefore not entitled to vote to accept or
reject the Plan.

         C.      Allowance and Treatment of Administrative Claims and Priority Claims

                 1.     Administrative Claims

        Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the
Debtor or the Reorganized Debtor, as applicable, each holder of an Allowed Administrative
Claim (other than holders of Professional Compensation Claims and Claims for fees and
expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will
receive in full and final satisfaction of its Administrative Claim an amount of Cash equal to the
amount of such Allowed Administrative Claim in accordance with the following: (1) if an
Administrative Claim is Allowed on or prior to the Effective Date, on the Effective Date or as
soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); or (2) if such Administrative Claim
is not Allowed as of the Effective Date, no later than 14 days after the date on which an order
allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
thereafter.

        Except for Professional Compensation Claims, and unless previously Filed, requests for
payment of Administrative Claims must be Filed and served on the Reorganized Debtor no later
than the Administrative Claim Bar Date. Objections to such requests must be Filed and served on
the Reorganized Debtor and the requesting party by the later of (1) 30 days after the Effective
Date and (2) 30 days after the Filing of the applicable request for payment of the Administrative
Claims, if applicable. After notice and a hearing in accordance with the procedures established
by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed amounts, if any, of
Administrative Claims shall be determined by, and satisfied in accordance with an order of, the
Bankruptcy Court.

      Holders of Administrative Claims that are required to File and serve a request for such
payment of such Administrative Claims that do not file and serve such a request by the
Administrative Claim Bar Date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtor, the Reorganized Debtor or its property, and such


                                                 30
4849-1085-3222
Administrative Claims shall be deemed discharged as of the Effective Date without the need for
any objection from the Reorganized Debtor or any action by the Bankruptcy Court.

                 2.    Professional Compensation Claims

                 a.    Final Fee Applications and Payment of Professional Compensation
                       Claims

       All requests for payment of Professional Compensation Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than the
Professional Compensation Claim Bar Date; provided, however, that Ordinary Course
Professionals shall be compensated in accordance with the terms of the Ordinary Course
Professionals Order. Objections to Professional Compensation Claims must be Filed and served
on the Reorganized Debtor and the Professional to whose application the objections are
addressed no later than the Professional Compensation Claim Objection Deadline. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Compensation
Claims after notice and a hearing in accordance with the procedures established by the
Bankruptcy Court. On the Effective Date, the Reorganized Debtor shall establish the
Professional Compensation Claim Reserve for payment of Allowed Professional Compensation
Claims and shall pay such Professional Compensation Claims in Cash in the amount the
Bankruptcy Court allows from such reserve and from the Reorganized Debtor’s Cash.

                 b.    Post-Confirmation Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtor shall, in the ordinary course of business and without any further notice to or
action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
legal, professional, or other fees and expenses related to implementation of the Plan and
Consummation incurred by the Debtor. Upon the Confirmation Date, any requirement that
Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the
Debtor may employ and pay any Professional in the ordinary course of business without any
further notice to or action, order, or approval of the Bankruptcy Court.

                 3.    Priority Unsecured Tax Claims

        Except to the extent that a holder of an Allowed Priority Unsecured Tax Claim agrees to
a less favorable treatment, in full and final satisfaction, settlement, release, and discharge of and
in exchange for each Allowed Priority Unsecured Tax Claim, each holder of such Allowed
Priority Unsecured Tax Claim shall be treated in accordance with the terms set forth in section
1129(a)(9)(C) of the Bankruptcy Code; provided, however, that the Reorganized Debtor, shall
have the right to pay any Allowed Priority Unsecured Tax Claim, or the remaining balance of
any such Claim, in full in Cash at any time on or after the Effective Date, without premium or
penalty.

       To the extent that the $6,236.00 portion of Claim No. 50-3 filed by the Internal Revenue
Service on May 9, 2018, is an Allowed Priority Unsecured Tax Claim on the Effective Date, the


                                                 31
4849-1085-3222
Reorganized Debtor shall pay such priority portion of the Claim in Cash within ten (10) days of
the Effective Date. In the event that the $6,236.00 portion of Claim No. 50-3 filed by the Internal
Revenue Service on May 9, 2018, becomes an Allowed Priority Unsecured Tax Claim after the
Effective Date, then the Reorganized Debtor shall pay such priority portion of the Claim in Cash
within fourteen (14) days of such Claim becoming an Allowed Claim.

         D.      Allowance and Treatment of Classified Claims and Interests

        It is not possible to predict precisely the total amount of Claims in a particular Class or
the distributions that will ultimately be paid to holders of Claims in the different Classes because
of the variables involved in the calculations (including the results of the Claims objection
process). All estimated amounts of Claims set forth below are estimated as of the date of this
Disclosure Statement.

                 1.    Allowance and Treatment of Chase Secured Claim
                       (Class-1)

        This Class consists of the Chase Secured Claim. The Chase Secured Claim shall be
Allowed in an amount equal to the amount of the Chase Secured Claim accrued or incurred as of
the Effective Date, without setoff, deduction or counterclaim, and subject to the provisions of the
Cash Collateral Order and the Plan. Pursuant to Bankruptcy Code § 506, the Chase Secured
Claim shall include interest arising after the Petition Date as well as reasonable attorneys’ fees,
charges, expenses, and costs incurred by Chase after the Petition Date. The Chase Payoff Letter
shall establish the Allowed amount of the Chase Secured Claim in accordance with the procedure
more fully described in Article IV.D of the Plan.

        On the Effective Date, Chase shall receive, except to the extent that Chase agrees to a less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of and in exchange for the Chase Secured Claim, Payment in full, in Cash, of its Allowed Class 1
Claim; provided, however, that Chase shall receive no distribution for or on account of the Chase
Waived Fees and such Chase Waived Fees shall be discharged without payment. Upon
satisfaction of the Chase Secured Claim (minus the Chase Waived Fees) in accordance with the
Plan, on the Effective Date, all liens and security interests granted to secure the Chase Secured
Claim shall be terminated and released and shall be of no further force and effect.

         The estimated total amount of Allowed Class 1 Claims is $5.8 million.8




8
  In the Cash Collateral Order, the Debtor stipulated that the aggregate principal amount of
$6,183,978.21 was due and owing to Chase, plus certain interest, fees, expenses, and other
charges. Since the Petition Date, Chase both received adequate protection payments under the
Cash Collateral Order (which reduced the outstanding balance of the Chase Secured Claim) and
incurred additional fees and expenses (which increased the outstanding balance of the Chase
Secured Claim). The final Allowed amount of the Chase Secured Claim as of the Effective Date
shall be determined as provided in the Plan.

                                                32
4849-1085-3222
                 2.    Allowance and Treatment of BOA Secured Claim (Class - 2)

       The BOA Claim is comprised of both the BOA Secured Claim and the BOA Deficiency
Claim. The BOA Claim arises from the Debtor’s obligations under the Term Loan Credit
Agreement, which is secured by the Debtor’s equipment and fixtures at the Distribution Center.
Class 2 consists of the BOA Secured Claim, whereas the BOA Deficiency Claim falls under
Class 6 as a General Unsecured Claim.

       In full and final satisfaction, compromise, settlement, release, and discharge of and in
exchange for the Class 2 BOA Secured Claim, BOA shall receive, on or after the Effective Date,
except to the extent that BOA agrees to a less favorable treatment, the collateral securing its
Allowed Class 2 Claim.

                 3.    Allowance and Treatment of Other Secured Claims (Class - 3)

       This Class includes any Allowed Secured Claim that is not the Chase Secured Claim or
the BOA Secured Claim. Other Secured Claims shall not include any such Claims secured by
Liens that are avoidable, unperfected, subject to subordination, or otherwise unenforceable.

       At the option of the Debtor, each holder of an Allowed Other Secured Claim shall
receive, on or after the Effective Date, except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction, compromise,
settlement, release, and discharge of and in exchange for each Other Secured Claim, the
following: (i) payment in full in Cash of its Allowed Class 3 Claim; (ii) the collateral securing its
Allowed Class 3 Claim; provided, however, any collateral remaining after satisfaction of such
Allowed Class 3 Claim shall revest in the Debtor pursuant to the Plan; or (iii) reinstatement of its
Allowed Class 3 Claim.

         The estimated total amount of Allowed Class 2 Claims is $0.

                 4.    Allowance and Treatment of Secured Tax Claims (Class - 4)

        This Class includes any Allowed Secured Claim for taxes held by a Governmental Unit,
including cities, counties, school districts, and hospital districts, (a) entitled by statute to assess
taxes based on the value or use of real and personal property and to obtain an encumbrance
against such property to secure payment of such taxes or (b) entitled to obtain an encumbrance
on property to secure payment of any tax Claim specified in section 507(a)(8) of the Bankruptcy
Code. Secured Tax Claims shall not include any such Claims secured by Liens/security interests
that are avoidable, unperfected, subject to subordination, or otherwise unenforceable.

        At the option of the Debtor, each holder of an Allowed Secured Tax Claim shall receive,
on or after the Effective Date, except to the extent that a holder of an Allowed Secured Tax
Claim agrees to a less favorable treatment, in full and final satisfaction, compromise, settlement,
release, and discharge of and in exchange for each Secured Tax Claim, the following: (i)
payment in full in Cash of its Allowed Class 4 Claim; (ii) the collateral securing its Allowed
Class 4 Claim; provided, however, any collateral remaining after satisfaction of such Allowed



                                                  33
4849-1085-3222
Class 4 Claim shall revest in the Reorganized Debtor pursuant to the Plan; or (iii) such other
treatment consistent with the requirements of Bankruptcy Code section 1129(a)(9).

         The estimated total amount of Allowed Class 4 Claims is $0.

                 5.    Allowance and Treatment of Other Priority Unsecured Claims
                       (Class - 5)

        This Class includes any Allowed Unsecured Claim entitled to priority status pursuant to
section 507(a) of the Bankruptcy Code that is not (a) an Administrative Claim, (b) a Professional
Compensation Claim, or (c) a Priority Unsecured Tax Claim. For example, obligations owed to
employees for wages, salaries, benefits, and reimbursable expenses that are entitled to priority
treatment under section 507(a)(4) or (5) would be treated as Claims in Class 5.

        At the option of the Debtor, each holder of an Allowed Other Priority Unsecured Claim
shall receive, on or after the Effective Date, except to the extent that a holder of an Allowed
Other Priority Unsecured Claim agrees to a less favorable treatment, in full and final satisfaction,
compromise, settlement, release, and discharge of and in exchange for each Other Priority
Unsecured Claim, the following: (i) payment in full in Cash of its Allowed Class 5 Claim; or (ii)
such other treatment as is consistent with the requirements of Bankruptcy Code section
1129(a)(9).

         The estimated total amount of Allowed Class 5 Claims is $0.

                 6.    Allowance and Treatment of General Unsecured Claims (Class - 6)

       This Class includes any Allowed Unsecured Claim that is not: (a) an Administrative
Claim; (b) a Professional Compensation Claim; (c) a Priority Unsecured Tax Claim; or (d) an
Other Priority Unsecured Claim. General Unsecured Claims include the BOA Deficiency Claim.

        Except to the extent that a holder of an Allowed General Unsecured Claim agrees to less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of and in exchange for each General Unsecured Claim, each holder of an Allowed Class 6 Claim
shall receive (i) its Pro Rata share of the Class 6 Note and (ii) its Pro Rata share of the cash
proceeds, if any, from the Contingent Payment Agreement..

       The estimated total amount of Allowed Class 6 Claims is approximately $18.1 million to
$19.1 million. Terms of the Class 6 Note, including calculation of payments required under the
Class 6 Note, are contained in the Recovery Analysis attached to this Disclosure Statement as
Exhibit 4.

       The amount of the BOA Deficiency Claim has not been included in the Debtor’s
estimated total amount of Allowed Class 6 Claims because the Debtor does not have information
regarding the current value of BOA’s collateral, which consists of equipment and fixtures at the
Distribution Center. As referenced above, the BOA Claim is bifurcated between the BOA
Secured Claim and the BOA Deficiency Claim. As of the Petition Date, approximately
$4,265,902 in principal amount remained outstanding under the Term Loan Credit Agreement.
Hypothetically, if the BOA Deficiency Claim was included as a General Unsecured Claim with


                                                34
4849-1085-3222
an estimated range of $1 million to $3 million, then the total estimated amount of General
Unsecured Claims would increase to approximately $19.1 million to $22.1 million, resulting in
projected recoveries for General Unsecured Claims of 18.1% to 20.9%.9

                   7.        Allowance and Treatment of A’GACI Interests (Class - 7)

        This Class includes any Interest in A’GACI that existed immediately before the Effective
Date. On the Effective Date, Class 7 Interests shall be cancelled and released without any
distribution.

         E.        Procedures For Resolving Contingent, Unliquidated, and Disputed Claims

                   1.        Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan, after the Effective Date, the
Reorganized Debtor, with respect to all Interests and Claims, shall have the authority to: (1)
File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by
the Bankruptcy Court; and (3) administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. After the Effective Date, the Reorganized Debtor shall have and retain any
and all rights and defenses such Debtor had with respect to any Interests or Claims immediately
prior to the Effective Date.

                   2.        Estimation of Claims

        Before or after the Effective Date, the Debtor and the Reorganized Debtor, as applicable,
may (but are not required to) at any time request that the Bankruptcy Court estimate any
Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. Notwithstanding any provision
otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is
subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at
zero dollars unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy
Court estimates any contingent or unliquidated Claim, that estimated amount shall constitute a
maximum limitation on such Claim or Interest for all purposes under the Plan (including for
purposes of distributions), and the Reorganized Debtor may elect to pursue any supplemental
proceedings to object to any ultimate distribution on such Claim.




         9
            The estimated recovery percentages are calculated by dividing the projected recovery of $4 million from the Class 6
Note by the estimated total amount of General Unsecured Claims, including the hypothetical amount of the BOA Deficiency
Claim: $4 million / $22.1 million = 18.1%; $4 million / $19.1 million = 20.9%). See Exhibit 4 of this Disclosure Statement for
additional information regarding the projected recoveries for General Unsecured Claims.


                                                             35
4849-1085-3222
                 3.   Adjustment to Claims without Objection

       Any Claim that has been paid or satisfied, or any Claim that has been amended or
superseded, may be adjusted or expunged on the Claims Register by the Reorganized Debtor
without any further notice to or action, order, or approval of the Bankruptcy Court.

                 4.   Time to File Objections to Claims

        Except as otherwise specifically provided in the Plan, any objections to Claims shall be
Filed on or before the later of (1) 120 days after the Effective Date and (2) such other period of
limitation as may be specifically fixed by a Final Order of the Bankruptcy Court for objecting to
such claims.

                 5.   Disallowance of Claims

         Except as otherwise specifically provided in the Plan, any Claims held by Entities from
which property is recoverable under section 542, 543, 550, or 553 of the Bankruptcy Code, or
that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549,
or 724(a) of the Bankruptcy Code, shall be deemed disallowed pursuant to section 502(d) of the
Bankruptcy Code, and holders of such Claims may not receive any distributions on account of
such Claims until such time as any objection to those Claims have been settled or a Bankruptcy
Court order with respect thereto has been entered.

       All Claims Filed on account of an indemnification obligation to a director, officer, or
employee shall be deemed satisfied and expunged from the Claims Register as of the Effective
Date to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the
case may be) pursuant to the Plan, without any further notice to or action, order, or approval of
the Bankruptcy Court.

        Except as provided herein or otherwise agreed, any and all Proofs of Claim Filed after the
Bar Date shall be deemed disallowed and expunged as of the Effective Date without any further
notice to or action, order, or approval of the Bankruptcy Court, and holders of such Claims may
not receive any distributions on account of such Claims, unless on or before the Confirmation
Hearing such late Claim has been deemed timely Filed by a Final Order.

                 6.   Amendment to Claims

       On or after the Effective Date, a Claim may not be Filed or amended without the prior
authorization of the Bankruptcy Court or the Reorganized Debtor and any such new or amended
Claim Filed shall be deemed disallowed in full and expunged without any further action;
provided, however, that Governmental Units shall not be required to obtain authorization of the
Bankruptcy Court or the Reorganized Debtor to File or amend a Proof of Claim prior to July 9,
2018, which is the bar date applicable to Governmental Units pursuant to section 502(b)(9) of the
Bankruptcy Code.




                                                36
4849-1085-3222
                 7.    No Distributions Pending Allowance

       If an objection to a Claim or portion thereof is Filed, no payment or distribution provided
under the Plan shall be made on account of such Claim or portion thereof unless and until such
Disputed Claim becomes an Allowed Claim.

                 8.    Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of
the Plan. As soon as practicable after the date that the order or judgment of the Bankruptcy Court
allowing any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the
holder of such Claim the distribution (if any) to which such holder is entitled under the Plan in
accordance with the terms of the Plan or any contract, instrument, agreement, or document
created under the Plan, without any interest, dividends, or accruals to be paid on account of such
Claim unless required under applicable bankruptcy law.

         F.      Treatment of Executory Contracts and Unexpired Leases

                 1.    Assumption and Rejection of Executory Contracts Under the Plan

        On the Effective Date, except as otherwise provided herein, all Executory Contracts or
Unexpired Leases, not previously assumed or rejected pursuant to an order of the Bankruptcy
Court, will be deemed rejected, in accordance with the provisions and requirements of sections
365 and 1123 of the Bankruptcy Code, other than those Executory Contracts or Unexpired
Leases that: (1) previously were assumed or rejected by the Debtor; (2) are specifically
designated on the Schedule of Assumed Contracts and Leases Filed and served prior to
commencement of the Confirmation Hearing; (3) are subject to a motion to assume Executory
Contracts or Unexpired Leases that is pending on the Confirmation Date; or (4) are subject to a
motion to reject an Executory Contract or Unexpired Lease pursuant to which the requested
effective date of such rejection is after the Effective Date; or (5) are the subject of Article IV.M
or Article V.F. of the Plan.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order
approving the assumption of the Executory Contracts and Unexpired Leases set forth in the Plan
and the rejection of all other Executory Contracts and Unexpired Leases pursuant to sections
365(a) and 1123 of the Bankruptcy Code. Any motions to reject Executory Contracts or
Unexpired Leases pending on the Effective Date shall be subject to approval by the Bankruptcy
Court on or after the Effective Date by a Final Order. Each Executory Contract and Unexpired
Lease assumed pursuant to Article V.A of the Plan or by any order of the Bankruptcy Court,
which has not been assigned to a third party prior to the Confirmation Date, shall revest in and be
fully enforceable by the Reorganized Debtor in accordance with its terms, except as such terms
are modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing and
providing for its assumption under applicable federal law. Notwithstanding anything to the
contrary in the Plan, the Debtor or the Reorganized Debtor, as applicable, reserves the right to
alter, amend, modify, or supplement the Schedules identified in Article V of the Plan and in the
Plan Supplement at any time through and including the Effective Date.


                                                37
4849-1085-3222
                 2.   Assumption of Amended Leases

       Throughout the Chapter 11 Case, the Debtor has been engaged in negotiations with
landlords of the Debtor’s Leases. In connection with those negotiations, the Debtor and certain
landlords agreed to the terms of amendments for certain applicable Leases. The Schedule of
Assumed Contracts and Leases will identify the Leases to be assumed, as modified by such
negotiations.

                 3.   Indemnification Obligations

        All indemnification provisions, consistent with applicable law, currently in place
(whether in the by-laws, certificates of incorporation or formation, limited liability company
agreements, other organizational documents, board resolutions, indemnification agreements,
employment contracts, or otherwise) for the current directors, officers, managers, employees,
attorneys, accountants, investment bankers, and other professionals of the Debtor, as applicable,
shall be reinstated and remain intact, irrevocable, and shall survive the Effective Date on terms
no less favorable to such current directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtor than the indemnification
provisions in place prior to the Effective Date.

                 4.   Claims Based on Rejection of Executory Contracts or Unexpired
                      Leases

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
within 30 days after the later of (1) the date of entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such rejection, (2) the effective date of such
rejection, (3) the Effective Date, or (4) the date after the Effective Date that the applicable
Schedules are altered, amended, modified, or supplemented, but only with respect to any
Executory Contract or Unexpired Lease thereby affected. Any Claims arising from the rejection
of an Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such
time will be automatically disallowed, forever barred from assertion, and shall not be enforceable
against the Debtor or the Reorganized Debtor, the Estate, or its property without the need for any
objection by the Reorganized Debtor or further notice to, or action, order, or approval of the
Bankruptcy Court or any other Entity, and any Claim arising out of the rejection of the
Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and discharged,
notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All Allowed
Claims arising from the rejection of the Debtor’s Executory Contracts or Unexpired Leases shall
be classified as General Unsecured Claims and shall be treated in accordance with Article III.C.6
of the Plan.




                                               38
4849-1085-3222
                 5.   Cure of Defaults for Assumed Executory Contracts and Unexpired
                      Leases

        Any monetary defaults under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the default amount in Cash on the Effective Date, subject to the limitation
described below, or on such other terms as the parties to such Executory Contracts or Unexpired
Leases may otherwise agree. In the event of a dispute regarding (1) the amount of any payments
to cure such a default, (2) the ability of the Reorganized Debtor or any assignee to provide
“adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any
other matter pertaining to assumption, the cure payments required by section 365(b)(1) of the
Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the
dispute and approving the assumption. Pursuant to the Approval Order, the Debtor shall provide
for notices of proposed assumption and proposed cure amounts and for procedures for objecting
thereto and resolution of disputes by the Bankruptcy Court.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.
Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has
been assumed shall be deemed disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court.

                 6.   Preexisting Obligations to the Debtor under Executory Contracts and
                      Unexpired Leases

        Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall not constitute a termination of preexisting obligations owed to the Debtor or the
Reorganized Debtor, as applicable, under such Executory Contracts or Unexpired Leases. In
particular, notwithstanding any non-bankruptcy law to the contrary, the Reorganized Debtor
expressly reserves and does not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations on goods previously
purchased by the Debtor contracting from non-Debtor counterparties to rejected Executory
Contracts or Unexpired Leases.

                 7.   Insurance Policies

        Each of the Debtor’s insurance policies and any agreements, documents, or instruments
relating thereto, are treated as Executory Contracts under the Plan and, if assumed, such
insurance policies and any agreements, documents, or instruments relating thereto shall revest in
the Reorganized Debtor.




                                               39
4849-1085-3222
                 8.    Modifications, Amendments, Supplements, Restatements, or Other
                       Agreements

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.
        Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtor during the Chapter 11
Case shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

                 9.    Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Schedule of Assumed Contracts and Leases, nor anything contained in the Plan, shall constitute
an admission by the Debtor that any such contract or lease is in fact an Executory Contract or
Unexpired Lease or that the Reorganized Debtor has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption
or rejection, the Debtor or the Reorganized Debtor, as applicable, shall have 30 days following
entry of a Final Order resolving such dispute to alter its treatment of such contract or lease under
the Plan.

                 10.   Non-occurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting
Executory Contracts and Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy
Code.

                 11.   Contracts and Leases Entered into after the Petition Date

       Contracts and leases entered into after the Petition Date by the Debtor, including any
Executory Contracts and Unexpired Leases assumed by the Debtor, will be performed by the
Debtor or the Reorganized Debtor in the ordinary course of business. Accordingly, such
contracts and leases (including any assumed Executory Contracts and Unexpired Leases) will
survive and remain unaffected by entry of the Confirmation Order.

                              ARTICLE VIII.
           MEANS FOR EXECUTION AND IMPLEMENTATION OF THE PLAN

         A.      Corporate Existence

        Except as otherwise provided in the Plan, the Debtor shall continue to exist after the
Effective Date as a limited liability company with all the powers of a limited liability company


                                                40
4849-1085-3222
pursuant to Texas law and pursuant to the Debtor’s organizational documents in effect prior to
the Effective Date, except to the extent such certificate of incorporation and by-laws (or other
formation documents) are amended under the Plan or otherwise, and to the extent such
documents are amended, such documents are deemed to be amended pursuant to the Plan and
require no further action or approval (other than any requisite filings required under applicable
state, provincial, or federal law).

         B.      Reorganized Debtor

        On the Effective Date, David Won shall become the sole member and sole officer of the
Reorganized Debtor. The Reorganized Debtor shall have the authority to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under the
Plan as necessary to consummate the Plan.

         C.      Restructuring Transactions

         On the Effective Date, the Debtor or the Reorganized Debtor shall enter into any
transaction and shall take any actions as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary to effectuate the Plan,
including the issuance of all securities, notes, instruments, certificates, and other documents
required to be issued pursuant to the Plan. The actions to implement the Restructuring
Transactions may include: (1) the execution and delivery of appropriate agreements or other
documents of restructuring, conversion, disposition, transfer, arrangement, continuance,
dissolution, sale, purchase, or liquidation containing terms that are consistent with the terms of
the Plan and that satisfy the applicable requirements of applicable law and any other terms to
which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms
for which the applicable parties agree; (3) the filing of appropriate certificates or articles of
incorporation, reincorporation, merger, consolidation, conversion, amalgamation, arrangement,
continuance, or dissolution pursuant to applicable state or provincial law; and (4) all other
actions that the applicable Entities determine to be necessary, including making filings or
recordings that may be required by applicable law in connection with the Plan.

        On the Effective Date, Reorganized Debtor shall enter into the Class 6 Note and the
Contingent Payment Agreement. Confirmation of the Plan shall be deemed approval of the Class
6 Note and the Contingent Payment Agreement, and all transactions contemplated thereby, and
all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtor in connection therewith, and authorization of the Reorganized Debtor to
enter into and execute the Class 6 Note and the Contingent Payment Agreement. On the
Effective Date, the Class 6 Note and the Contingent Payment Agreement shall constitute legal,
valid, binding, and authorized obligations of the Reorganized Debtor, enforceable in accordance
with their terms.




                                                41
4849-1085-3222
         D.      Determination of the Allowed Amount of the Chase Secured Claim

        No later than two (2) Business Days after the Confirmation Date, Chase shall provide the
Debtor with the Chase Payoff Letter. The Chase Payoff Letter shall establish the Allowed
amount of the Chase Secured Claim for purposes of its treatment under the Plan; provided
however, that if the Debtor disagrees with the calculation of the Chase Secured Claim appearing
in the Chase Payoff Letter, then the Debtor must notify Chase of its disagreement within one (1)
Business Day after receiving the Chase Payoff Letter. If the Debtor does not notify Chase of any
disagreement within one (1) Business Day after receiving the Chase Payoff Letter, then the
calculation of the Chase Secured Claim set forth in the Chase Payoff Letter shall constitute the
Allowed amount of the Chase Secured Claim for all purposes. On the other hand, if the Debtor
timely notifies Chase of its disagreement with the amount set forth in the Chase Payoff Letter
and such disagreement is not resolved consensually within one (1) Business Day thereafter, then
either Chase or the Debtor may File a “Notice of Dispute Regarding the Amount of the Chase
Secured Claim” in the Chapter 11 Case on an emergency basis, and the Bankruptcy Court, after
notice and an emergency hearing, shall determine the Allowed amount of the Chase Secured
Claim. Notwithstanding the foregoing, the Debtor or the Reorganized Debtor, as applicable, may
only dispute Chase’s calculation of the amount of interest and fees due on the Chase Secured
Claim (including, without limitation, attorneys’ fees) appearing in the Chase Payoff Letter, and
any dispute shall remain in all respects subject to the provisions of the Cash Collateral Order
(including, without limitation, the Debtor’s stipulations in the Cash Collateral Order regarding,
inter alia, the aggregate principal amount owed to Chase as of the Petition Date). The procedure
outlined in this paragraph shall constitute the sole procedure for determining the Allowed
amount of the Chase Secured Claim, and Chase shall not, inter alia, be required to File any
additional notice, application, or other document in order to establish the Allowed amount of the
Chase Secured Claim.

         E.      Sources of Plan Distributions

       Distributions under the Plan shall be made with: (1) Cash on hand, including Cash from
operations; (2) the proceeds from the purchase of the New Membership Interests; (3) the New
Credit Facility; and (4) the Class 6 Note, as applicable.

                 1.    Issuance of New Membership Interests

       David Won shall purchase the New Membership Interests for a purchase price of
$250,000. In addition, David Won has agreed to the terms of the Plan, including the
Reorganized Debtors’ obligation to provide the Class 6 Note and the Contingent Payment
Agreement. The issuance of the New Membership Interests by the Reorganized Debtor is
authorized without the need for any further corporate action or without any further action by the
holders of Claims or Interests. On the Effective Date, the Debtor shall issue all securities, notes,
instruments, certificates, and other documents required to be issued on the Effective Date
pursuant to the Plan.

        All of the New Membership Interests issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable.



                                                 42
4849-1085-3222
                 2.    New Credit Facility

       The Debtor has negotiated the terms and conditions of the New Credit Facility with the
New Credit Facility Agent. Those terms and conditions are reflected in the Commitment Letter
attached to the Plan as Exhibit C. On the Effective Date, the Reorganized Debtor shall be
authorized to enter into the New Credit Facility and execute the New Credit Facility Documents
substantially in the form contained in the Plan Supplement, and any related agreements or filing
without the need for any further corporate or organizational action and without further action by
or approval of the Bankruptcy Court.

        Confirmation shall be deemed approval of the New Credit Facility (including the
transactions contemplated thereby, and all actions to be taken, undertakings to be made, and
obligations to be incurred and fees paid by the Debtor or the Reorganized Debtor in connection
therewith), to the extent not approved by the Bankruptcy Court previously, and the Reorganized
Debtor is authorized to execute and deliver those documents necessary or appropriate to obtain
the New Credit Facility, without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order, or rule or vote, consent, authorization, or approval of any
Person, subject to such modifications as the Reorganized Debtor may deem to be necessary to
consummate entry into the New Credit Facility.

        On the Effective Date, (a) upon the granting of Liens in accordance with the New Credit
Facility, the New Credit Facility Agent shall have valid, binding and enforceable Liens on the
collateral specified in the New Credit Facility Documents; and (b) upon the granting of
mortgages, pledges, Liens and other security interests in accordance with the New Credit Facility
Documents, the mortgages, pledges, Liens and other security interests granted to secure the
obligations arising under the New Credit Facility shall be granted in good faith and shall be
deemed not to constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be
subject to avoidance, and the priorities of such Liens and security interests shall be as set forth in
the New Credit Facility Documents.

                 3.    Vesting of Assets in the Reorganized Debtor

        The Liens granted under the New Credit Facility Documents, or any agreement,
instrument, or other document incorporated in the Plan, or as otherwise provided in the Plan, on
the Effective Date and, in the case of a Secured Claim, satisfaction in full of the portion of the
Secured Claim that is Allowed as of the Effective Date, all property in the Estate, all Retained
Causes of Action, and any property acquired by the Debtor pursuant to the Plan shall vest in the
Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and
after the Effective Date and, in the case of a Secured Claim, satisfaction in full of the portion of
the Secured Claim that is Allowed as of the Effective Date, except as otherwise provided in the
Plan, the Reorganized Debtor may operate its business and may use, acquire, or dispose of
property and compromise or settle any Claims, Interests, or Retained Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules. Failure to include a Cause of Action on the Schedule of Retained
Causes of Action shall not constitute a waiver or release of such Cause of Action.




                                                 43
4849-1085-3222
         F.      Cancellation of Existing Securities and Agreements

        On the Effective Date, except to the extent otherwise provided in the Plan (including the
Plan Supplement), all notes, instruments, certificates, and other documents evidencing Claims or
Interests, including credit agreements, shall be cancelled and the obligations of the Debtor and
any non-Debtor Affiliate thereunder or in any way related thereto shall be deemed satisfied in
full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled
instruments, securities, and other documentation will have no rights arising from or relating to
such instruments, securities, and other documentation, or the cancellation thereof, except the
rights provided for pursuant to the Plan.

         G.      Corporate Action

        On the Effective Date, all actions contemplated under the Plan shall be deemed
authorized and approved in all respects, including: (1) selection of David Won as the sole
director and officer of the Reorganized Debtor; (2) the distribution of the New Membership
Interests; (3) entry into the New Credit Facility Documents; (4) adoption of the New
Organizational Documents; (5) the rejection, assumption, or assumption and assignment, as
applicable, of Executory Contracts and Unexpired Leases; (6) satisfaction and payment of the
Allowed Chase Secured Claim; (7) entry into the Class 6 Note and the Contingent Payment
Agreement; and (8) all other acts or actions contemplated or reasonably necessary or appropriate
to promptly consummate the Restructuring Transactions contemplated by the Plan (whether to
occur before, on, or after the Effective Date).

        All matters provided for in the Plan involving the corporate structure of the Debtor or the
Reorganized Debtor, and any corporate action required by the Debtor or the Reorganized Debtor,
as applicable, in connection with the Plan shall be deemed to have occurred and shall be in
effect, without any requirement of further action by the security holders, directors, or officers of
the Debtor or the Reorganized Debtor, as applicable. On or (as applicable) prior to the Effective
Date, the appropriate officers of the Debtor or the Reorganized Debtor, as applicable, shall be
authorized and (as applicable) directed to issue, execute, and deliver the agreements, documents,
securities, and instruments contemplated under the Plan (or necessary or desirable to effect the
transactions contemplated under the Plan) in the name of and on behalf of the Reorganized
Debtor, including the New Membership Interests, New Organizational Documents, the New
Credit Facility Documents, the Class 6 Note, the Contingent Payment Agreement, and any and
all other agreements, documents, securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by Article IV of the Plan shall be effective
notwithstanding any requirements under non-bankruptcy law.

         H.      New Organizational Documents

       On or immediately prior to the Effective Date, the New Organizational Documents shall
be adopted as may be necessary to effectuate the transactions contemplated by the Plan. The
Reorganized Debtor will file its New Organizational Documents with the applicable Secretaries
of State and/or other applicable authorities in its respective state, province, or country of
incorporation in accordance with the corporate laws of the respective state, province, or country
of incorporation. After the Effective Date, the Reorganized Debtor may amend and restate its


                                                44
4849-1085-3222
New Organizational Documents and other constituent documents as permitted by the terms
thereof and applicable law. The New Organizational Documents shall be included in the Plan
Supplement.

         I.      Directors and Officers of the Reorganized Debtor

      As of the Effective Date, pursuant to the terms of the New Organizational Documents,
David Won will be appointed Manager and Chief Executive Officer of the Reorganized Debtor.
David Won is an Insider of the Debtor. David Won’s compensation will be set forth in the Plan
Supplement.

         J.      Effectuating Documents; Further Transactions

        On and after the Effective Date, the Reorganized Debtor, and the officers and managers
thereof, are authorized to and may issue, execute, deliver, file, or record such contracts,
securities, instruments, releases, and other agreements or documents and take such actions as
may be necessary to effectuate, implement, and further evidence the terms and conditions of the
Plan and the securities issued pursuant to the Plan in the name of and on behalf of the
Reorganized Debtor, without the need for any approvals, authorization, or consents except for
those expressly required pursuant to the Plan.

         K.      Section 1146 Exemption

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers
(whether from the Debtor to the Reorganized Debtor or to any other Person) of property under
the Plan or pursuant to: (1) the issuance, distribution, transfer, or exchange of any debt, equity
security, or other interest in the Debtor or the Reorganized Debtor; (2) the Restructuring
Transactions; (3) the creation, modification, consolidation, termination, refinancing, and/or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means; (4) the making, assignment, or recording of any lease or
sublease; (5) the grant of collateral as security for the New Credit Facility; or (6) the making,
delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax,
conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and upon entry of the Confirmation Order,
the appropriate state or local governmental officials or agents shall forego the collection of any
such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax, recordation fee, or
governmental assessment. All filing or recording officers (or any other Person with authority
over any of the foregoing), wherever located and by whomever appointed, shall comply with the
requirements of section 1146(c) of the Bankruptcy Code, shall forego the collection of any such
tax or governmental assessment, and shall accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental
assessment.


                                                45
4849-1085-3222
         L.      Director and Officer Liability Insurance

        On or before the Effective Date, the Debtor shall maintain directors and officers liability
insurance coverage following the Effective Date on terms no less favorable to the insureds than
the Debtor’s existing director and officer coverage and with an aggregate limit of liability upon
the Effective Date of no less than the aggregate limit of liability under the existing director and
officer coverage.

         M.      Employee and Retiree Benefits

         Unless otherwise provided herein, all employee wages, compensation, and benefit
programs in place as of the Effective Date with the Debtor shall be assumed by the Reorganized
Debtor and shall remain in place as of the Effective Date, and the Reorganized Debtor will
continue to honor such agreements, arrangements, programs, and plans. Notwithstanding the
foregoing, pursuant to Bankruptcy Code section 1129(a)(13), from and after the Effective Date,
all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code), if any, shall
continue to be paid in accordance with applicable law.

         N.      Retained Causes of Action

        Except as otherwise provided in the Plan, or in any contract, instrument, release, or other
agreement entered into in connection with the Plan, in accordance with Bankruptcy Code section
1123(b)(3), the Reorganized Debtor shall retain and shall have the exclusive right, authority, and
discretion to (without further order of the Bankruptcy Court) determine and to initiate, file,
prosecute, enforce, abandon, settle, compromise, release, or withdraw, or litigate to judgment
any and all Retained Causes of Action that the Debtor or the Estate may hold against any Entity,
whether arising before or after the Petition Date. The Debtor reserves and shall retain the
foregoing Retained Causes of Action notwithstanding the rejection of any Executory Contract or
Unexpired Lease during the Chapter 11 Case.

       Unless a Retained Cause of Action is expressly waived, relinquished, released,
compromised or settled in the Plan or any Final Order of the Bankruptcy Court, the Debtor
expressly reserves such Retained Cause of Action (including any counterclaims) for later
adjudication by the Reorganized Debtor; provided, however, that the Debtor has agreed, at the
request of the Unsecured Creditors Committee, not to pursue affirmative recovery of Avoidance
Actions. No preclusion doctrine, including the doctrines of res judicata, collateral, estoppel, issue
preclusion, claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches shall
apply to such Retained Causes of Action (including counterclaims) on or after the Confirmation
of the Plan. Notwithstanding the foregoing, the Debtor has agreed, at the request of the
Unsecured Creditors Committee, that neither the Debtor nor the Reorganized Debtor will pursue
affirmative recovery of Avoidance Actions. Further, neither the Debtor nor the Reorganized
Debtor will sell or otherwise assign the right to pursue the Avoidance Actions to any other party.

         O.      Miscellaneous

       Within sixty (60) days from the date of entry of the Confirmation Order, or such later
date as may be agreed by the Internal Revenue Service, the Debtor shall provide the Internal


                                                 46
4849-1085-3222
Revenue Service the following documents or information in a form reasonably acceptable to the
Internal Revenue Service: Excise tax returns (Form 720) for the 1st, 2nd, 3rd, & 4th quarters of
2012, 2013, 2016, and 2017; 1st, 3rd, and 4th quarters of 2014 2015; and 1st quarter of 2018 (the
“Excise Tax Returns”), or an affidavit or other reasonable evidence that meets the requirements
set forth in Bankruptcy Code § 1106(a)(6) showing either (i) some or all of the Excise Tax
Returns are not required under applicable law, or (ii) information reasonably acceptable to the
IRS in lieu of the Excise Tax Returns. In addition, the Debtor shall file Form 1120 for the tax
year ending January 31, 2018, by November 15, 2018.

       The Internal Revenue Service may file or amend its Proof of Claim without the prior
authorization of the Bankruptcy Court or the Reorganized Debtor for a period of 60 days
following the date that each return or affidavit set forth in above was provided to the Internal
Revenue Service.

         P.      Release of Debtor

        Pursuant to Bankruptcy Code section 1141(d), and except as otherwise specifically
provided in the Plan or in any contract, instrument, or other agreement or document
created pursuant to the Plan, the distributions, rights, and treatment that are provided in
the Plan shall be in complete satisfaction, discharge, and release, effective as of the
Effective Date, of Claims, Interests, and Causes of Action of any nature whatsoever,
including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, liens on, obligations of, rights against,
and Interests in, the Debtor or any of its assets or properties, regardless of whether any
property shall have been distributed or retained pursuant to the Plan on account of such
Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtor prior to the Effective
Date and that arise from a termination of employment, any contingent or non-contingent
liability on account of representations or warranties issued on or before the Effective Date,
and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy
Code, in each case whether or not: (1) a Proof of Claim based upon such debt or right is
Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or
Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and
Interests subject to the occurrence of the Effective Date.

         Q.      Release of Liens

        Except as otherwise provided in the Plan, or any contract, instrument, release, or
other agreement or document created pursuant to the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to the Plan and, in the case
of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed
as of the Effective Date, except for Other Secured Claims that the Debtor elects to reinstate
in accordance with Article III.C.3 hereof, all mortgages, deeds of trust, Liens, pledges, or
other security interests against any property of the Estate shall be fully released and


                                               47
4849-1085-3222
discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of
trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtor and
its successors and assigns. On and after the Effective Date, any holder of such Secured
Claim (and the applicable agents for such holder), at the expense of the Reorganized
Debtor, shall be authorized and directed to release any collateral or other property of the
Debtor (including any Cash collateral and possessory collateral) held by such holder (and
the applicable agents for such holder), and to take such actions as may be reasonably
requested by the Reorganized Debtor to evidence the release of such Lien, including the
execution, delivery, and filing or recording of such releases. The presentation or filing of
the Confirmation Order to or with any federal, state, provincial, or local agency or
department shall constitute good and sufficient evidence of, but shall not be required to
effect, the termination of such Liens.

       Without limiting the automatic release provisions of the immediately preceding
paragraph: (i) no other distribution hereunder shall be made to or on behalf of any Claim
holder unless and until such holder executes and delivers to the Debtor or Reorganized
Debtor such release of liens or otherwise turns over and releases such Cash, pledge or other
possessory liens; and (ii) any such holder that fails to execute and deliver such release of
liens within 180 days of the Effective Date shall be deemed to have no Claim against the
Debtor or its assets or property in respect of such Claim and shall not participate in any
distribution hereunder.

         R.      Releases by Debtor

       Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, on and after the Effective Date, each Released Party and the Unsecured
Creditors Committee and each of its professionals, attorneys, and financial advisors, is
deemed released and discharged by the Debtor, the Reorganized Debtor, and its Estate, in
each case on behalf of itself and its respective successors, assigns, and representatives, and
any and all other entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing entities, from any and all Causes
of Action, including any derivative claims, asserted on behalf of the Debtor, that the
Debtor, the Reorganized Debtor, or its Estate would have been legally entitled to assert in
its own right or on behalf of the holder of any Claim against, or Interest in, the Debtor or
other Entity, based on or relating to, or in any manner arising from, in whole or in part,
the Debtor, the Debtor’s in- or out-of- court restructuring efforts, the Chapter 11 Case, the
Disclosure Statement, the Plan (including the Plan Supplement), or any Restructuring
Transactions, contract, instrument, release, or other agreement or document created or
entered into in connection with the Disclosure Statement, the Plan, the filing of the Chapter
11 Case, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities
pursuant to the Plan, or the distribution of property under the Plan or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date. Notwithstanding anything
contained herein to the contrary, the foregoing release does not release any obligations of
any party under the Plan or any document, instrument, or agreement executed to
implement the Plan.


                                              48
4849-1085-3222
         S.      Releases by the Unsecured Creditors Committee

        For good and valuable consideration, on and after the Effective Date, the Unsecured
Creditors Committee is deemed to have released and discharged each Released Party from
any and all Causes of Action, whether known or unknown, including any derivative claims,
asserted on behalf of the Debtor, that the Unsecured Creditors Committee would have been
legally entitled to assert in its own right or on behalf of the holder of any Claim against a
Released Party, based on or relating to, or in any manner arising from, in whole or in part,
the Debtor, the Debtor’s in- or out-of-court restructuring efforts, the Chapter 11 Case, the
formulation, preparation, dissemination, negotiation, or filing of the Disclosure Statement,
the Plan (including the Plan Supplement), or any Restructuring Transactions, the pursuit
of Confirmation, the administration and implementation of the Plan, including the issuance
or distribution of securities pursuant to the Plan, or the distribution of property under the
Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date.
        T.     Exculpation

       The Unsecured Creditors Committee shall not have or incur any liability to any
holder of a Claim or Interest, for any act, event, or omission from the Petition Date to the
Effective Date in connection with or arising out of the Chapter 11 Case, the confirmation of
the Plan, the Consummation of the Plan, the administration of the Plan or the assets and
property to be distributed pursuant to the Plan (including unclaimed property under the
Plan), unless the Unsecured Creditors Committee’s action is determined as (i) bad faith; (ii)
actual fraud; (iii) willful misconduct; or (iv) gross negligence, in each case by a Final Order
of a court of competent jurisdiction. The Unsecured Creditors Committee may reasonably
rely upon the opinions of counsel, certified public accountants, and other experts or
professionals employed by the Debtor. Notwithstanding anything contained herein to the
contrary, the foregoing release does not release any obligations of any party under the Plan
or any document, instrument, or agreement executed to implement the Plan.

         U.      Injunction

       Except as otherwise expressly provided in the Plan or for obligations issued or
required to be paid pursuant to the Plan or the Confirmation Order, all Entities who have
held, hold, or may hold Claims or Interests that have been released, discharged, or are
subject to exculpation are permanently enjoined, from and after the Effective Date, from
taking any of the following actions against, as applicable, the Debtor, the Reorganized
Debtor, the Exculpated Parties, or the Released Parties: (1) commencing or continuing in
any manner any action or other proceeding of any kind on account of or in connection with
or with respect to any such Claims or Interests; (2) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against such
Entities on account of or in connection with or with respect to any such Claims or Interests;
(3) creating, perfecting, or enforcing any encumbrance of any kind against such Entities or
the property or the estates of such Entities on account of or in connection with or with
respect to any such Claims or Interests; (4) asserting any right of setoff, subrogation, or
recoupment of any kind against any obligation due from such Entities or against the


                                              49
4849-1085-3222
property of such Entities on account of or in connection with or with respect to any such
Claims or Interests unless such holder has Filed a motion requesting the right to perform
such setoff on or before the Effective Date, and notwithstanding an indication of a Claim or
Interest or otherwise that such holder asserts, has, or intends to preserve any right of setoff
pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with
respect to any such Claims or Interests released or settled pursuant to the Plan.

       Upon entry of the Confirmation Order, all holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, principals, and direct
and indirect Affiliates shall be enjoined from taking any actions to interfere with the
implementation or Consummation of the Plan. Each holder of an Allowed Claim or
Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions
under or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall
be deemed to have consented to the injunction provisions set forth in Article VIII.F of the
Plan.

         V.      Protections against Discriminatory Treatment

         Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtor or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, the Reorganized Debtor, or another Entity with whom the Reorganized Debtor has
been associated, solely because the Debtor has been a debtor under chapter 11 of the Bankruptcy
Code, has been insolvent before the commencement of the Chapter 11 Case (or during the
Chapter 11 Case but before the Debtor is granted or denied a discharge), or has not paid a debt
that is dischargeable in the Chapter 11 Case.

         W.      Reimbursement or Contribution

       If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
contingent as of the time of allowance or disallowance, such Claim shall be forever disallowed
and expunged notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the
Confirmation Date: (1) such Claim has been adjudicated as non-contingent or (2) the relevant
holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a
Final Order has been entered prior to the Confirmation Date determining such Claim as no
longer contingent.

         X.      Retention of Jurisdiction

       To the fullest extent permitted by applicable law, and notwithstanding the entry of the
Confirmation Order and the occurrence of the Effective Date, on and after the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating to,
the Chapter 11 Case and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code,
including jurisdiction to:


                                                 50
4849-1085-3222
                    allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
                     secured or unsecured status, or amount of any Claim or Interest, including the
                     resolution of any request for payment of any Administrative Claim and the
                     resolution of any and all objections to the secured or unsecured status, priority,
                     amount, or allowance of Claims or Interests;

                    decide and resolve all matters related to the granting and denying, in whole or in
                     part, any applications for allowance of compensation or reimbursement of
                     expenses to Professionals authorized pursuant to the Bankruptcy Code or the
                     Plan;

                    resolve any matters related to: (a) the assumption, assumption and assignment, or
                     rejection of any Executory Contract or Unexpired Lease to which the Debtor is
                     party or with respect to which the Debtor may be liable and to hear, determine,
                     and, if necessary, liquidate, any Claims arising therefrom, including Cure Claims
                     pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
                     obligation under any Executory Contract or Unexpired Lease that is assumed; (c)
                     the Reorganized Debtor amending, modifying, or supplementing, after the
                     Effective Date, pursuant to Article V of the Plan, the Schedules of Executory
                     Contracts and Unexpired Leases to be assumed or rejected or otherwise; and (d)
                     any dispute regarding whether a contract or lease is or was executory or expired;

                    ensure that distributions to holders of Allowed Claims and Allowed Interests (as
                     applicable) are accomplished pursuant to the provisions of the Plan;

                    adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                     litigated matters, and any other matters, and grant or deny any applications
                     involving the Debtor that may be pending on the Effective Date;

                    adjudicate, decide, or resolve any and all matters related to section 1141 of the
                     Bankruptcy Code;

                    enter and implement such orders as may be necessary to execute, implement, or
                     consummate the provisions of the Plan and all contracts, instruments, releases,
                     indentures, and other agreements or documents created in connection with the
                     Plan or the Disclosure Statement;

                    enter and enforce any order for the sale of property pursuant to sections 363,
                     1123, or 1146(a) of the Bankruptcy Code;

                    resolve any cases, controversies, suits, disputes, or Causes of Action that may
                     arise in connection with the Consummation, interpretation, or enforcement of the
                     Plan or any Entity’s obligations incurred in connection with the Plan;

                    issue injunctions, enter and implement other orders, or take such other actions as
                     may be necessary to restrain interference by any Entity with Consummation or
                     enforcement of the Plan;


                                                      51
4849-1085-3222
                    resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                     to the releases, injunctions, and other provisions contained in Article VIII of the
                     Plan and enter such orders as may be necessary to implement such releases,
                     injunctions, and other provisions;

                    resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                     to the repayment or return of distributions and the recovery of additional amounts
                     owed by the holder of a Claim or Interest for amounts not timely repaid pursuant
                     to Article VI.M of the Plan;

                    enter and implement such orders as are necessary if the Confirmation Order is for
                     any reason modified, stayed, reversed, revoked, or vacated;

                    determine any other matters that may arise in connection with or relate to the
                     Plan, the Disclosure Statement, the Confirmation Order, or any contract,
                     instrument, release, indenture, or other agreement or document created in
                     connection with the Plan or the Disclosure Statement;

                    enter an order concluding or closing the Chapter 11 Case;

                    adjudicate any and all disputes arising from or relating to distributions under the
                     Plan;

                    consider any modifications of the Plan, to cure any defect or omission, or to
                     reconcile any inconsistency in any Bankruptcy Court order, including the
                     Confirmation Order;

                    determine requests for the payment of Claims entitled to priority pursuant to
                     section 507 of the Bankruptcy Code;

                    hear and determine disputes arising in connection with the interpretation,
                     implementation, or enforcement of the Plan or the Confirmation Order, including
                     disputes arising under agreements, documents, or instruments executed in
                     connection with the Plan;

                    hear and determine matters concerning state, local, and federal taxes in
                     accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                    hear and determine all disputes involving the existence, nature, scope, or
                     enforcement of any exculpations, discharges, injunctions and released granted in
                     the Plan, including under Article VIII of the Plan, regardless of whether such
                     termination occurred prior to or after the Effective Date;

                    enforce all orders previously entered by the Bankruptcy Court; and

                    hear any other matter not inconsistent with the Bankruptcy Code.



                                                     52
4849-1085-3222
      The Bankruptcy Court shall not have jurisdiction over matters related to enforcement of
the New Credit Facility Documents or any rights or remedies related to the New Credit Facility.

         Y.      Modifications and Amendments, Revocation, or Withdrawal of the Plan

        Except as otherwise specifically provided in the Plan, the Debtor reserves the right to
modify the Plan, whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified
Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements of
section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure,
and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, the Debtor
expressly reserves its rights to revoke or withdraw, or, to alter, amend, or modify the Plan one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or
reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in
such matters as may be necessary to carry out the purposes and intent of the Plan.

       Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the Solicitation thereof are approved pursuant to Bankruptcy Code section 1127(a)
and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

        The Debtor reserves the right, to revoke or withdraw the Plan prior to the Confirmation
Date and to File subsequent plans of reorganization. If the Debtor revokes or withdraws the Plan,
or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void in
all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount certain of any Claim or Interest or Class of Claims or Interests),
assumption or rejection of Executory Contracts or Unexpired Leases effected under the Plan, and
any document or agreement executed pursuant to the Plan, shall be deemed null and void; and
(3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c)
constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or
any other Entity.

                                      ARTICLE IX.
                                   LEGAL PROCEEDINGS

         The following is a summary of material litigation involving the Debtor that existed on or
after the Petition Date, including potential Claims and Causes of Action that arose as a result of
the filing of the Chapter 11 Case.

         A.      Chris Daiss v. A’GACI, L.L.C.

       EEOC Charge No.: 450-2010-00712 involved a retaliation allegation against A’GACI. A
2 year Conciliation Agreement was entered into on August 26, 2018. All A’GACI obligations
under the agreement have been fulfilled, but the EEOC has the ability to review compliance
through August 25, 2018.




                                                53
4849-1085-3222
         B.      Infogain Corp. v. A’GACI, L.L.C.

        JAMS Arbitration No. 1310023361. Prior to the Petition Date, the Debtor was engaged in
arbitration with Infogain regarding Infogain’s failure to provide the agreed-on services and
systems and the expenses the Debtor has incurred to remedy Infogain’s flawed implementation.
The arbitration was stayed due to the filing of the Chapter 11 Case.

         C.      Mageno v. A’GACI, L.L.C.

        Case No. EC 068072 in the Superior Court of California, in and for the County of Los
Angeles. A’GACI was named as a defendant in the suit for alleged violations of California’s
Unruh Civil Rights Act. The Plaintiff requested that the case be dismissed with prejudice on
April 3, 2018.

         D.      Villarreal v. A’GACI, L.L.C.

        Case No. 0:18-cv-60695, United States District Court for the Southern District of Florida.
A’GACI was named as a defendant. The suit alleged violations of the Telephone Consumer
Protection Act, and was dismissed without prejudice on April 18, 2018.

         E.      Recovery on Preference Actions and Other Avoidance Actions

       During the ninety (90) days immediately preceding the Petition Date (the “Preference
Period”), while presumed insolvent, the Debtor made various payments and other transfers to
Creditors on account of antecedent debts. Some of those payments may be subject to avoidance
and recovery as preferential and/or fraudulent transfers pursuant to sections 329, 544, 545, 547,
548, 549, 550, and 553(b) of the Bankruptcy Code.

       The Debtor’s Statement of Financial Affairs identifies the parties who received payments
and transfers from the Debtor, which payments and transfers may be avoidable under the
Bankruptcy Code. The schedule of parties that received payments from the Debtor during the
Preference Period is attached hereto as Exhibit 5.

       In connection with Plan settlement, the Unsecured Creditors Committee requested that
the Debtor agree not to pursue affirmative relief of Avoidance Actions. The Debtor agreed to the
request of the Unsecured Creditors Committee. Therefore, the Debtor will not be pursuing
affirmative relief of Avoidance Actions.

     OTHER THAN AS EXPRESSLY SET FORTH IN THE PLAN, INCLUDING IN
ARTICLE 8 OF THE PLAN, THE PLAN DOES NOT, AND IS NOT INTENDED TO,
RELEASE ANY CAUSES OF ACTION, AVOIDANCE ACTIONS, OR OBJECTIONS
TO PROOFS OF CLAIM. ALL SUCH RIGHTS ARE SPECIFICALLY PRESERVED,
UNLESS SPECIFICALLY RELEASED UNDER THE PLAN.

         F.      Retained Causes of Action

       Creditors and other parties in interest should understand that certain legal rights, Claims
and causes of action the Debtor may have against them, if any exist, are retained under the Plan


                                                54
4849-1085-3222
for prosecution by the Reorganized Debtor, unless expressly released under the Plan. As such,
Creditors and other parties in interest are cautioned not to rely on (i) the absence of the listing of
any legal right, Claim or cause of action against a particular Creditor or other party in interest in
the Disclosure Statement, Plan, Schedules of Assets and Liabilities, or Statement of Financial
Affairs; or (ii) the absence of litigation or demand prior to the Effective Date as any indication
that the Debtor or the Reorganized Debtor do not possess or do not intend to prosecute a
particular legal right, Claim or Cause of Action if a particular Creditor or other party in interest
votes to accept the Plan. It is the expressed intention of the Debtor, through the Plan, to preserve
Retained Causes of Action whether now known or unknown. Pursuant to the Plan, the Schedule
of Retained Causes of Action will be filed with the Plan Supplement.

                                      ARTICLE X.
                              DISTRIBUTIONS TO CREDITORS

        The Debtor, in consultation with its advisors, has developed a preliminary estimate of
Allowed Claims. The estimates below are based on the Debtor’s Schedules and Statements of
Financial Affairs, as adjusted by payments made after the Petition Date (with Bankruptcy Court
approval), as well as negotiated claim adjustments and anticipated payments prior to the
Effective Date (subject to Bankruptcy Court Approval). The Debtor has not yet completed its
reconciliation of filed Proofs of Claim against scheduled Claims. Therefore, the estimates of
Allowed Claims are preliminary and subject to change.

         A.      Allowed Administrative Claims

       The Debtor has satisfied undisputed Administrative Claims in the ordinary course of
business. There are Professional Compensation Claims that have not yet been asserted.

       Section 503(b)(9) of the Bankruptcy Code grants administrative priority for the value of
any goods received by the debtor within twenty (20) days before the commencement of the case
in which the goods have been sold to the debtor in the ordinary course of the debtor’s business
(“503(b)(9) Claims”). The Debtor estimates that, absent negotiations with vendors, $503(b)(9)
claims would total approximately $1.7 million. The Debtor believes that approximately $1.5
million of the 503(b)(9) Claims will be paid over time.

        Additionally, “stub rent” for the period between the Petition Date and January 31, 2018
has administrative priority pursuant to Bankruptcy Code § 503. Through the Debtor’s lease
negotiations, the Debtor believes that all, or substantially all of the Debtor’s landlords will agree
to either (i) full waiver of the stub rent, or (ii) payment of the stub rent in 48 equal monthly
installments beginning in January 2019.

         B.      Allowed Priority Unsecured Tax Claims

        Section 507(a)(8) of the Bankruptcy Code provides priority treatment for allowed
unsecured Claims of Governmental Units for certain types of taxes. Pursuant to the Order
Authorizing the Debtor to Pay Prepetition Sales, Use, Property, and Other Taxes and Related
Obligations [Docket No. 37], the Debtor paid certain outstanding tax obligations owed to taxing
authorities that would have otherwise been entitled to priority treatment under section 507(a)(8)



                                                 55
4849-1085-3222
of the Bankruptcy Code. The Debtor therefore estimates that there will be minimal Allowed
Priority Unsecured Tax Claims.

         C.      Allowed Chase Secured Claim

        The Debtor estimates that distributions to Class 1, which consists of the Chase Secured
Claim, will total approximately $5.78 million on the Effective Date.10 The final Allowed amount
of the Chase Secured Claim will be determined as provided in Article IV.D of the Plan.

         D.      Allowed BOA Secured Claim

       In satisfaction, compromise, settlement, release, and discharge of and in exchange for the
BOA Secured Claim, BOA will be entitled to the return of the collateral securing its Allowed
Class 2 Claim.

         E.      Allowed Other Secured Claims

       The Debtor estimates that distributions to Class 3, which consists of any Other Secured
Claims against the Debtor, will total approximately $0 on the Effective Date.

         F.      Allowed Secured Tax Claims

       The Debtor estimates that distributions to Class 4, which consists of any Secured Tax
Claims against the Debtor, will total approximately $0 on the Effective Date.

         G.      Allowed Other Priority Unsecured Claims

       Pursuant to the Order (I) Authorizing Debtor to Pay Certain Prepetition (A) Employee
Wages, Other Compensation and Reimbursable Employee Expenses and (B) Independent
Contractor Obligations; and (II) Continue Employee Benefits Programs [Dkt. No. 50] (the
“Employee Wages Order”), the Debtor paid certain outstanding obligations owed to its
employees for wages, salaries, benefits, and reimbursable expenses that would have otherwise
been entitled to priority treatment under section 507(a)(4) or (5) of the Bankruptcy Code. The
Debtor therefore estimates that there will be minimal Allowed Other Priority Unsecured Claims.

         H.      Allowed General Unsecured Claims

      The Debtor’s estimate of distributions to Class 6, which includes the Allowed General
Unsecured Claims, are detailed in the Recovery Analysis annexed hereto as Exhibit 4.


10
   In the Cash Collateral Order, the Debtor stipulated that the aggregate principal amount of
$6,183,978.21 was due and owing to Chase, plus certain interest, fees, expenses, and other
charges. Since the Petition Date, Chase both received adequate protection payments under the
Cash Collateral Order (which reduced the outstanding balance of the Chase Secured Claim) and
incurred additional fees and expenses (which increased the outstanding balance of the Chase
Secured Claim). The final Allowed amount of the Chase Secured Claim as of the Effective Date
shall be determined as provided in the Plan.

                                               56
4849-1085-3222
                                   ARTICLE XI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

         A.      Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in the Plan (including the Plan Supplement) or otherwise
agreed to by the holder of an Allowed Claim, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter),
each holder of an Allowed Claim shall receive the full amount of the distributions that the Plan
provides for Allowed Claims (as applicable) in the applicable Class. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date. If and to the extent that there are Disputed Claims, distributions on account
of any such Disputed Claims shall be made pursuant to the provisions set forth in Article VII of
the Plan (except for the Chase Secured Claim, which shall be determined as set forth in Article
IV.D of the Plan). Except as otherwise provided in the Plan or an agreement between the Debtor
and the holder of a Claim, holders of Claims shall not be entitled to interest, dividends, or
accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

         B.      Disbursing Agent

        All distributions under the Plan shall be made by the Disbursing Agent. The Disbursing
Agent shall not be required to give any bond or surety or other security for the performance of its
duties unless otherwise ordered by the Bankruptcy Court. Additionally, in the event that the
Disbursing Agent is so otherwise ordered, all costs and expenses of procuring any such bond or
surety shall be borne by the Reorganized Debtor.

         C.      Rights and Powers of Disbursing Agent

                 1.    Powers of Disbursing Agent

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; and (c) exercise such other powers as may be vested
in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by
the Disbursing Agent to be necessary and proper to implement the provisions hereof.

                 2.    Expenses Incurred On or After the Effective Date

       Except as otherwise ordered by the Bankruptcy Court, if an entity other than the Debtor
serves as Disbursing Agent, the amount of any reasonable fees and expenses incurred by the
Disbursing Agent on or after the Effective Date (including taxes), and any reasonable
compensation and expense reimbursement claims (including reasonable attorney fees and
expenses), made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtor.



                                                57
4849-1085-3222
         D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

                 1.    Record Date for Distributions

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims shall be closed, and the Debtor shall not be required to make
any further changes in the record holders of any of the Claims. The Debtor shall have no
obligation to recognize any transfer of the Claims occurring on or after the Distribution Record
Date. The Disbursing Agent and the Debtor shall be entitled to recognize and deal for all
purposes hereunder only with those record holders stated on the transfer ledgers as of the close of
business on the Distribution Record Date, to the extent applicable.

                 2.    Delivery of Distributions in General

        Except as otherwise provided herein, the Disbursing Agent shall make distributions to
holders of Allowed Claims as of the Distribution Record Date at the address for each such holder
as indicated on the Debtor’s records as of the date of any such distribution; provided, however,
that the manner of such distributions shall be determined at the discretion of the Reorganized
Debtor; provided further, however, that the address for each holder of an Allowed Claim shall be
deemed to be the address set forth in any Proof of Claim Filed by that holder.

                 3.    Minimum Distributions

      Any distribution pursuant to the Plan on account of an Allowed Claim may be rounded
down to the nearest whole dollar. To the extent Cash is distributed under the Plan, no Cash
payment of less than $50.00 shall be made to a holder of an Allowed Claim on account of such
Allowed Claim, and such amounts shall be retained by Reorganized Debtor.

                 4.    Undeliverable Distributions and Unclaimed Property

       In the event that any distribution to any holder of Allowed Claims is returned as
undeliverable, no distribution to such holder shall be made unless and until the Disbursing Agent
has determined the then-current address of such holder, at which time such distribution shall be
made to such holder without interest; provided, however, that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one year
from the date of attempted distribution. After such date, all unclaimed property or interests in
property shall revert to the Reorganized Debtor automatically and without need for a further
order by the Bankruptcy Court (notwithstanding any applicable federal, provincial or state
escheat, abandoned, or unclaimed property laws to the contrary), and the Claim of any holder of
Claims to such property or Interest in property shall be discharged and forever barred.

         E.      Manner of Payment

       All distributions of Cash to the holders of Allowed Claims under the Plan shall be made
by the Disbursing Agent on behalf of the Debtor. At the option of the Disbursing Agent, any
Cash payment to be made under the Plan may be made by check or wire transfer or as otherwise
required or provided in applicable agreements. All distributions pursuant to Article III.C.1 shall



                                                58
4849-1085-3222
be made by the Disbursing Agent in accordance with the Chase Payoff Letter and the provisions
of Article IV.D of the Plan.

         F.      Distributions to Holders of Allowed Class 6 General Unsecured Claims

        Distributions on account of Disputed Class 6 General Unsecured Claims shall be held in
the Class 6 Disputed Claims Reserve until such Claims have been either Allowed or Disallowed.
To the extent a Disputed Class 6 General Unsecured Claim becomes Allowed, the distribution
reserved for such Claim shall be distributed to the holder thereof. To the extent a Disputed Class
6 General Unsecured Claim becomes Disallowed, the distribution reserved for such Claim shall
be distributed Pro Rata to holders of Allowed Class 6 General Unsecured Claims.

       For purposes of Article VI.F and Article III.C.6, “Pro Rata” means, as to a particular
holder of an Allowed Claim in Class 6, the ratio that the amount of such Claim held by such
Class 6 Claim holder bears to the aggregate amount of all Allowed Class 6 General Unsecured
Claims, and such ratio shall be calculated as if all Disputed Class 6 General Unsecured Claims
are Allowed Claims as of the Effective Date.

         G.      Section 1145 Exemption

        Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and distribution
of the New Membership Interests as contemplated by Article IV.E of the Plan, shall be exempt
from, among other things, the registration requirements of section 5 of the Securities Act and any
other applicable law requiring registration prior to the offering, issuance, distribution, or sale of
securities. In addition, under section 1145 of the Bankruptcy Code, such New Membership
Interests will be freely tradable in the U.S. by the recipients thereof, subject to the provisions of
section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section
2(a)(11) of the Securities Act, and subject to any restrictions in the Reorganized Debtor’s New
Organizational Documents.

         H.      Compliance with Tax Requirements

        In connection with the Plan, to the extent applicable, the Reorganized Debtor shall
comply with all tax withholding and reporting requirements imposed on it by any Governmental
Unit, and all distributions made pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, the
Reorganized Debtor and the Disbursing Agent shall be authorized to take all actions necessary to
comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
The Reorganized Debtor reserves the right to allocate all distributions made under the Plan in
compliance with all applicable wage garnishments, alimony, child support, and other spousal
awards, liens, and encumbrances.




                                                 59
4849-1085-3222
         I.      Allocations

       Distributions in respect of Allowed Claims shall be allocated first to the principal amount
of such Claims (as determined for federal income tax purposes) and then, to the extent the
consideration exceeds the principal amount of the Claims, to any portion of such Claims for
accrued but unpaid interest.

         J.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in the Plan, the Confirmation Order, or an
agreement with the Debtor (such as with respect to the Chase Secured Claim, to which non-
default, postpetition interest shall accrue), or as required by applicable bankruptcy and non-
bankruptcy law, postpetition interest shall not accrue or be paid on any prepetition Claims
against the Debtor, and no holder of a prepetition Claim against the Debtor shall be entitled to
interest accruing on or after the Petition Date on any such prepetition Claim.

         K.      Foreign Currency Exchange Rate

       Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to
the equivalent U.S. dollar value using the exchange rate for the applicable currency as published
in The Wall Street Journal, National Edition, on the Petition Date.

         L.      Setoffs and Recoupment

        Except as expressly provided in the Plan, the Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that the
Reorganized Debtor may hold against the holder of such Allowed Claim to the extent such setoff
or recoupment is either (1) agreed in amount among the Reorganized Debtor and holder of
Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court of
competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by the
Reorganized Debtor or its successor of any and all claims, rights, and Causes of Action that the
Reorganized Debtor or its successor may possess against the applicable holder. In no event shall
any holder of Claims against, or Interests in, the Debtor be entitled to recoup any such Claim or
Interest against any claim, right, or Cause of Action of the Debtor or the Reorganized Debtor, as
applicable, unless such holder actually has performed such recoupment and provided notice
thereof in writing to the Debtor in accordance with Article XII.G of the Plan on or before the
Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such
holder asserts, has, or intends to preserve any right of recoupment.

         M.      Claims Paid or Payable by Third Parties

                 1.    Claims Paid by Third Parties

       The Debtor or the Reorganized Debtor, as applicable, shall reduce in full a Claim, and
such Claim shall be disallowed without a Claims objection having to be Filed and without any


                                               60
4849-1085-3222
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the
holder of such Claim receives payment in full on account of such Claim from a party that is not
the Debtor or Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent a
holder of a Claim receives a distribution on account of such Claim and receives payment from a
party that is not the Debtor or Reorganized Debtor on account of such Claim, such holder shall,
within 14 days of receipt thereof, repay or return the distribution to the Reorganized Debtor, to
the extent the holder’s total recovery on account of such Claim from the third party and under the
Plan exceeds the amount of such Claim as of the date of any such distribution under the Plan.
The failure of such holder to timely repay or return such distribution shall result in the holder
owing the Reorganized Debtor annualized interest at the Federal Judgment Rate on such amount
owed for each Business Day after the 14-day grace period specified above until the amount is
repaid.

                 2.    Claims Payable by Third Parties

       No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtor’s insurance policies until the holder of such Allowed
Claim has exhausted all remedies with respect to such insurance policy. To the extent that one or
more of the Debtor’s insurers agrees to satisfy in full or in part a Claim (if and to the extent
adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection
having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

                 3.    Applicability of Insurance Policies

        Except as otherwise provided in the Plan, distributions to holders of Allowed Claims
shall be in accordance with the provisions of any applicable insurance policy. Unless otherwise
expressly provided in the Plan, nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtor or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute
or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by
such insurers.

                                    ARTICLE XII.
                              ALTERNATIVES TO THE PLAN

         A.      Chapter 7 Liquidation

        A straight liquidation bankruptcy or “chapter 7 case” requires liquidation of the Debtor’s
assets by an impartial trustee. In a chapter 7 case, the amount holders of General Unsecured
Claims would receive depends upon the net estate available after all of the Debtor’s assets have
been reduced to cash. The cash realized from liquidation of each of the Debtor’s assets would be
distributed in accordance with the order of distribution prescribed in section 507 of the
Bankruptcy Code. Whether a bankruptcy case is one under chapter 7 or chapter 11, Secured
Claims, Administrative Claims and Priority Claims are entitled to be paid in cash and in full
before holders of General Unsecured Claims receive any funds.


                                               61
4849-1085-3222
       If the Chapter 11 Case were converted to a case under chapter 7 of the Bankruptcy Code,
the present Claims with priority status under the Bankruptcy Code may have a priority lower
than priority Claims generated by the chapter 7 case, such as the chapter 7 trustee’s fee or the
fees of attorneys, accountants and other professionals the trustee may engage. Conversion to
chapter 7 then would create an additional layer of Claims with priority status.

        In a chapter 7 liquidation case, a fully secured Creditor would be entitled to full payment,
including interest, from the proceeds of sale of the secured Creditor’s collateral, provided the
realized value of the collateral is sufficient to pay both the principal and interest. A secured
Creditor whose collateral is insufficient to pay its Secured Claim in full will be entitled to assert
a General Unsecured Claim for its deficiency and share with holders of General Unsecured
Claims.

       If the Chapter 11 Case were converted to a case under chapter 7, the Bankruptcy Court
would appoint a trustee to liquidate the Debtor’s assets and to distribute the proceeds as
described immediately above. The chapter 7 trustee would be entitled to receive compensation
under section 326 of the Bankruptcy Code. The trustee’s fee on all monies disbursed or turned
over in the case by the trustee to parties in interest, excluding the Debtor, but including holders
of Secured Claims would not exceed (i) 25% on the first $5,000 or less, (ii) 10% on any amount
in excess of $5,000 but not in excess of $50,000, (iii) 5% on any amount in excess of $50,000
but not in excess of $1,000,000, and (iv) reasonable compensation not to exceed 3% on any
amount in excess of $1,000,000. The trustee’s fees would be paid as a cost of administration and
may be paid in full prior to the costs and expenses incurred in a chapter 11 case and prior to any
payment to holders of General Unsecured Claims.

       It is also highly likely that the chapter 7 trustee will retain his or her own attorneys and
accountants, and perhaps other professionals such as appraisers, whose fees would also constitute
Claims entitled to priority status in a chapter 7 case, with a priority that may be higher than those
Claims arising under a chapter 11 case.

         Liquidation under chapter 7 of the Bankruptcy Code would also entail the appointment of
a trustee having no experience or knowledge of the Debtor’s businesses, its records or assets. A
substantial period of education would be required in order for any chapter 7 trustee to wind up
the case effectively. Also, in the event litigation proves necessary on multiple issues, the chapter
7 trustee would likely be in an inferior position to prosecute such actions without prior
knowledge regarding the Debtor’s businesses and without any source of funding to support such
efforts.

       The Liquidation Analysis demonstrates that Creditors will receive a greater distribution
under the Plan than a hypothetical liquidation under chapter 7 of the Bankruptcy Code. The
analysis provided is believed to be reasonable and conservative. Readers are urged to review the
notes and assumptions contained in the Liquidation Analysis attached as Exhibit 2 (the
“Liquidation Analysis”).




                                                 62
4849-1085-3222
         B.      Dismissal

        If dismissal of the Chapter 11 Case were to occur, the Debtor would no longer have the
protection of the Bankruptcy Court and the applicable provisions of the Bankruptcy Code. In the
event of dismissal, it is highly unlikely that holders of General Unsecured Claims would receive
any amount on their Claims. Dismissal would force a race among Creditors to take over and
dispose of the Debtor’s available assets. Even the most diligent holders of General Unsecured
Claims would likely fail to realize any recovery on their Claims.

         C.      Exclusivity and Alternative Plan Potential

         Pursuant to section 1121 of the Bankruptcy Code, the Debtor has the exclusive right to
file a plan of reorganization on or before May 9, 2018, and the exclusive right to solicit the plan
of reorganization on or before July 8, 2018 (the “Exclusive Periods”). Because the Debtor has
Filed the Plan and seeks its confirmation during the Exclusive Periods, no other alternative plans
can be proposed or solicited at this time. Moreover, the Debtor believes that any alternative plan
would not be viable and would not provide the same recovery to Creditors as that proposed under
the current Plan. The Debtor therefore believe that the Plan is in the best interest of Creditors.

                                         ARTICLE XIII.
                                         FEASIBILITY

        The Bankruptcy Code requires the Debtor to demonstrate that confirmation of the Plan is
not likely to be followed by liquidation or the need for further financial reorganization of the
Debtor. For purposes of determining whether the Plan meets this requirement, the Debtor has
analyzed its ability to meet its obligations under the Plan. The Debtor believes and has evidence
that (1) Cash on hand, including Cash from operations; (2) the proceeds from the purchase of the
New Membership Interests; (3) the New Credit Facility; (4) the Class 6 Note, as applicable, are
sufficient to satisfy the distributions under the Plan.

        Attached as Exhibit 3 are the Debtor’s Financial Projections with respect to the
Reorganized Debtor (the “Financial Projections”). The Financial Projections show that the
Reorganized Debtor will have adequate liquidity and funding to meet its obligations. Further, the
Financial Projections evidence that the Reorganized Debtor is not likely to need financial
reorganization or liquidation. Therefore, the Debtor believes the Plan is feasible and is not likely
to be followed by subsequent liquidation or the need for further financial reorganization of the
Debtor.

                                   ARTICLE XIV.
                      CERTAIN RISK FACTORS TO BE CONSIDERED

       Creditors should carefully consider the following factors, as well as the other information
contained in this Disclosure Statement (as well as the documents delivered herewith or
incorporated by reference herein) before deciding whether to vote to accept or to reject the Plan.

        The principal purpose of the Chapter 11 Case is the formulation of the Plan, which
establishes how Claims against and Interests in the Debtor will be satisfied. Under the Plan,



                                                63
4849-1085-3222
certain Claims may receive partial distributions, and other Claims may not receive any
distributions at all. Interests will receive no distributions.

         A.      Bankruptcy Law Considerations

        The occurrence or non-occurrence of any or all of the following contingencies, and any
others, could affect distributions available to holders of Allowed Claims under the Plan but will
not necessarily affect the validity of the vote of the Impaired Classes to accept or reject the Plan
or necessarily require a re-solicitation of the votes of holders of Claims in such Impaired Classes.

                 1.    Parties in Interest May Object to the Plan’s Classification of Claims
                       and Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the
other claims or equity interests in such class. The Debtor believes that the classification of the
Claims and Interests under the Plan complies with the requirements set forth in the Bankruptcy
Code because the Debtor created Classes of Claims and Interests each encompassing Claims or
Interests, as applicable, that are substantially similar to the other Claims or Interests, as
applicable, in each such Class. Nevertheless, there can be no assurance that the Bankruptcy
Court will reach the same conclusion.

                 2.    The Conditions Precedent to the Effective Date of the Plan May Not
                       Occur

        As more fully set forth in Article IX of the Plan, the Effective Date is subject to a number
of conditions precedent. If such conditions precedent are not met or waived, the Effective Date
will not take place.

                 3.    The Debtor May Fail to Satisfy Vote Requirements

        If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan, the Debtor intends to seek, as promptly as practicable thereafter, Confirmation
of the Plan. In the event that sufficient votes are not received, the Debtor may seek to confirm an
alternative chapter 11 plan. There can be no assurance that the terms of any such alternative
chapter 11 plan would be similar or as favorable to the Holders of Allowed Claims as those
proposed in the Plan.

                 4.    The Debtor May Not Be Able to Secure Confirmation of the Plan

       Section 1129 of the Bankruptcy Code sets forth the requirements for confirmation of a
chapter 11 plan, and requires, among other things, a finding by the Bankruptcy Court that: (a)
such plan “does not unfairly discriminate” and is “fair and equitable” with respect to any non-
accepting classes; (b) confirmation of such plan is not likely to be followed by a liquidation or a
need for further financial reorganization unless such liquidation or reorganization is
contemplated by the plan; and (c) the value of distributions to non-accepting Holders of claims
and equity interests within a particular class under such plan will not be less than the value of



                                                64
4849-1085-3222
distributions such Holders would receive if the Debtor were liquidated under chapter 7 of the
Bankruptcy Code.

        There can be no assurance that the requisite acceptances to confirm the Plan will be
received. Even if the requisite acceptances are received, there can be no assurance that the
Bankruptcy Court will confirm the Plan. A non-accepting holder of an Allowed Claim might
challenge either the adequacy of this Disclosure Statement or whether the balloting procedures
and voting results satisfy the requirements of the Bankruptcy Code or Bankruptcy Rules. Even if
the Bankruptcy Court determines that this Disclosure Statement, the balloting procedures, and
voting results are appropriate, the Bankruptcy Court could still decline to confirm the Plan if it
finds that any of the statutory requirements for Confirmation are not met. If a chapter 11 plan of
reorganization is not confirmed by the Bankruptcy Court, it is unclear whether the Debtor will be
able to reorganize its business and what, if anything, holders of Allowed Claims against it would
ultimately receive on account of such Allowed Claims.

       Confirmation of the Plan is also subject to certain conditions as described in Article IX of
the Plan. If the Plan is not confirmed, it is unclear what distributions, if any, Holders of Allowed
Claims will receive on account of such Allowed Claims.

        The Debtor reserves the right to modify the terms and conditions of the Plan as necessary
for Confirmation. Any such modifications could result in less favorable treatment of any non-
accepting Class, as well as any Class junior to such non-accepting Class, than the treatment
currently provided in the Plan. Such a less favorable treatment could include a distribution of
property with a lesser value than currently provided in the Plan or no distribution whatsoever
under the Plan. There is no assurance that an alternative plan will be confirmed or that the
Chapter 11 Case will not be converted to a liquidation. Holders of Interests will receive no
recovery under the Plan or in a liquidation. If a liquidation or protracted reorganization were to
occur, there is a risk that there would be little, if any, value available for distribution to the
holders of Claims.

                 5.    The Debtor May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Debtor reserves the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied upon by any holder of a Claim where such Claim is subject to an
objection. Any holder of a Claim that is subject to an objection thus may not receive its expected
share of the estimated distributions described in this Disclosure Statement.

                 6.    Risk of Non-Occurrence of the Effective Date

      Although the Debtor believes that the Effective Date may occur quickly after the
Confirmation Date, there can be no assurance as to such timing or as to whether the Effective
Date will, in fact, occur.




                                                65
4849-1085-3222
                 7.    Contingencies Could Affect Votes of Impaired Classes to Accept or
                       Reject

         The distributions available to holders of Allowed Claims under the Plan can be affected
by a variety of contingencies, including, without limitation, whether the Bankruptcy Court orders
certain Allowed Claims to be subordinated to other Allowed Claims. The occurrence of any and
all such contingencies, which could affect distributions available to Holders of Allowed Claims
under the Plan, will not affect the validity of the vote taken by the Impaired Classes to accept or
reject the Plan or require any sort of revote by the Impaired Classes.

        The estimated Claims and creditor recoveries set forth in this Disclosure Statement are
based on various assumptions, and the actual Allowed amounts of Claims may significantly
differ from the estimates. Should one or more of the underlying assumptions ultimately prove to
be incorrect, the actual Allowed amounts of Claims may vary from the estimated Claims
contained in this Disclosure Statement. Moreover, the Debtor cannot determine with any
certainty at this time, the number or amount of Claims that will ultimately be Allowed. Such
differences may materially and adversely affect, among other things, the percentage recoveries to
holders of Allowed Claims under the Plan.

                 8.    Releases, Injunctions, and Exculpation Provisions May not be
                       Approved

        Article VIII of the Plan provides for certain releases, injunctions, and exculpations,
including a release of liens and third-party releases that may otherwise be asserted against the
Debtor, Reorganized Debtor, or Released Parties, as applicable. The releases, injunctions, and
exculpations provided in the Plan are subject to objection by parties in interest and may not be
approved. If the releases are not approved, certain Released Parties may withdraw their support
for the Plan.

         B.      Failure to Confirm or Consummate the Plan

       If the Plan is not confirmed and consummated, it is possible that an alternative plan can
be negotiated and presented to the Bankruptcy Court for approval; however, there is no
assurance that the alternative plan will be confirmed, that the Chapter 11 Case will not be
converted to a liquidation, or that any alternative chapter 11 plan could or would be formulated
on terms as favorable to the Creditors as the terms of the Plan. Holders of Interests will receive
no recovery under the Plan or in a liquidation. If a liquidation or protracted reorganization were
to occur, there is a risk that there would be little, if any, value available for distribution to the
holders of Claims.

         C.      Claim Estimates May Be Incorrect

        There can be no assurance that the estimated Allowed Claim amounts set forth herein are
correct. The actual Allowed amounts of Claims may differ from the estimates. The estimated
amounts are subject to certain risks. If one or more of these risks or uncertainties materializes, or
if underlying assumptions prove incorrect, the actual Allowed amounts of Claims may vary from
those estimated herein.



                                                 66
4849-1085-3222
         D.      Risks Related to Debtor’s Business and Industry Conditions

         The risks associated with the Debtor’s business and industry include, but are not limited
to:

                highly competitive and cyclical nature of the retail fashion industry;

                limited ability to obtain financing and pursue business opportunities because of
                 debt level;

                credit risk relating to nonperformance by customers or vendors; and

                political, regulatory, commercial and economic uncertainty.

         E.      Risks Relating to the New Membership Interests

                 1.     No Current Public Market for Securities

       There is currently no market for the New Membership Interests, and there can be no
assurance as to the development or liquidity of any market for the New Membership Interests.
The New Membership Interests to be issued under the Plan will not be listed on or traded on any
nationally recognized market or exchange as of the Effective Date.

       The Reorganized Debtor is under no obligation to list the New Membership Interests on
any national securities exchange. Therefore, there can be no assurance that the New
Membership Interests will be tradable or liquid at any time after the Effective Date. If a trading
market does not develop or is not maintained, holders of the New Membership Interests may
experience difficulty in reselling such securities or may be unable to sell them at all. Even if
such a market were to exist, the New Membership Interests could trade at prices higher or lower
than the estimated value set forth in this Disclosure Statement depending upon many factors
including, without limitation, prevailing interest rates, markets for similar securities, industry
conditions, and the performance of, and investor expectations for, the Reorganized Debtor.
Accordingly, holders of the New Membership Interests may bear certain risks associated with
holding securities for an indefinite period of time.

        Further, the New Membership Interests to be issued under the Plan have not been
registered under the Securities Act, any state securities laws or the laws of any other jurisdiction.
Absent such registration, the New Membership Interests may be offered or sold only in
transactions that are not subject to, or that are exempt from, the registration requirements of the
Securities Act and other applicable securities laws.

                 2.     Implied Valuation of the New Membership Interests Not Intended to
                        Represent the Trading Value of the New Membership Interests

       The valuation of the Reorganized Debtor is not intended to represent the trading value of
New Membership Interests in public or private markets and is subject to additional uncertainties
and contingencies, all of which are difficult to predict. Actual market prices of such securities at


                                                  67
4849-1085-3222
issuance will depend upon, among other things: (i) prevailing interest rates; (ii) conditions in the
financial markets; (iii) the anticipated initial securities holdings of prepetition creditors, some of
whom may prefer to liquidate their investment rather than hold it on a long-term basis; and (iv)
other factors that generally influence the prices of securities. The actual market price of the New
Membership Interests is likely to be volatile. Many factors, including factors unrelated to the
Reorganized Debtor’s actual operating performance and other factors not possible to predict,
could cause the market price of the New Membership Interests to rise and fall. Accordingly, the
implied value, stated herein and in the Plan, of the securities to be issued does not necessarily
reflect, and should not be construed as reflecting, values that will be attained for the New
Membership Interests in the public or private markets.

                 3.     No Intention to Pay Dividends

        Reorganized A’GACI does not anticipate paying any dividends on the New Membership
Interests as it expects to retain any future cash flows for debt reduction and to support its
operations. As a result, the success of an investment in the New Membership Interests will
depend entirely upon any future appreciation in the value of the New Membership Interests.
There is, however, no guarantee that the New Membership Interests will appreciate in value or
even maintain their initial value.

         F.      Inability to Obtain Financing for Exit Financing

        There can be no certainty that the New Credit Facility will be fully funded. The New
Credit Facility is subject to certain closing risks, and to the extent that the New Credit Facility is
not fully funded, the Debtor may be unable to consummate the Plan.

         G.      Certain Tax Implications of the Plan

        Holders of Claims should carefully review Article XV “Certain United States Federal
Income Tax Consequences of the Plan” to determine how the tax implications of the Plan may
affect such holders.


                                     ARTICLE XV.
                      CERTAIN UNITED STATES FEDERAL INCOME TAX
                             CONSEQUENCES OF THE PLAN

        The following is a summary of certain U.S. federal income tax consequences of the Plan
to the Debtor and Reorganized Debtor and certain Holders of Claims. This summary is based on
the Internal Revenue Code of 1986, as amended (the “Tax Code”), Treasury regulations
promulgated thereunder, and administrative and judicial interpretations and practice, all as in
effect on the date of this Disclosure Statement and all of which are subject to change, with
possible retroactive effect. Due to the lack of definitive judicial and administrative authority in a
number of areas, substantial uncertainty may exist with respect to some of the tax consequences
described below. No opinion of counsel has been obtained, and we do not intend to seek a ruling
from the Internal Revenue Service (the “IRS”) as to any of the tax consequences of the Plan
discussed below. Events occurring after the date of this Disclosure Statement, including changes


                                                 68
4849-1085-3222
in law and changes in administrative positions, could affect the U.S. federal income tax
consequences of the Plan. No representations are being made regarding the particular tax
consequences of the confirmation and consummation of the Plan to us or any Holder of a Claim.
There can be no assurance that the IRS will not challenge one or more of the tax consequences of
the Plan described below.

         This discussion does not purport to address all aspects of U.S. federal income taxation
that may be relevant to the Debtor or to such Holders in light of their individual circumstances.
This discussion does not address tax issues with respect to such Holders subject to special
treatment under the U.S. federal income tax laws (including, for example, non-U.S. persons,
banks, governmental authorities or agencies, pass-through entities, dealers and traders in
securities or currencies, including those that market to market, insurance companies, financial
institutions, grantor trusts, tax-exempt organizations, small business investment companies, real
estate investment trusts, regulated investment companies, persons that have a functional currency
other than the U.S. dollar, certain former citizens and long term residents of the United States,
and persons that will hold an equity interest or a security in the Debtor as part of a position in a
straddle or as part of a hedging, conversion or integrated transaction for U.S. federal income tax
purposes). In addition, this summary does not address estate tax, gift tax, Medicare tax on
investment income, alternative minimum tax, foreign, state, or local tax consequences of the
Plan.

      THE FOLLOWING SUMMARY OF CERTAIN UNITED STATES FEDERAL
INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS
NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON
THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF AN ALLOWED
CLAIM. ALL HOLDERS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS AS
TO THE U.S. FEDERAL, STATE, LOCAL AND NON-UNITED STATES TAX
CONSEQUENCES OF THE PLAN.

         A.      U.S. Federal Income Tax Consequences Under the Plan

     A’GACI has incurred, and is currently incurring, significant net operating losses
(“NOLs”); however, A’GACI’s NOLs are subject to audit and possible challenge by the IRS.

                 1.    Cancellation of Indebtedness Income

         Generally, a corporation will recognize cancellation of debt (“COD”) income upon
satisfaction of its outstanding indebtedness for total consideration less than the amount of such
indebtedness. The amount of COD income, in general, is the excess of (a) the adjusted issue
price of the indebtedness satisfied, over (b) the sum of (x) the amount of cash paid, and (y) the
issue price of any new indebtedness of the taxpayer issued and (z) the fair market value of any
other new consideration (including stock of the debtor) given in satisfaction of such indebtedness
at the time of the exchange.

       A corporation will not, however, be required to include any amount of COD income in
gross income if the corporation is a debtor under the jurisdiction of a court in a case under
chapter 11 of the Bankruptcy Code and the discharge of debt occurs pursuant to that proceeding


                                                69
4849-1085-3222
(the “Section 108(a) Exception”). Under Tax Code section 108(b), a debtor that excludes COD
income from gross income under the Section 108(a) Exception generally must reduce certain tax
attributes by the amount of the excluded COD income. In general, tax attributes are reduced in
the following order: (a) NOLs and NOL carryforwards, (b) general business and minimum tax
credit carryforwards, (c) capital loss carryforwards, (d) basis of the debtor’s assets, and (e)
foreign tax credit carryforwards. A debtor’s tax basis in its assets generally may not be reduced
below the amount of liabilities remaining immediately after the discharge of indebtedness.
NOLs for the taxable year of the discharge and NOL carryovers to such year generally are the
first attributes subject to reduction. However, a debtor may elect under Tax Code section
108(b)(5) (the “Section 108(b)(5) Election”) to reduce its basis in its depreciable property first.
If a debtor makes a Section 108(b)(5) Election, the limitation on reducing the debtor’s basis in its
assets below the amount of its remaining liabilities does not apply.

       The Debtor will likely realize COD income as a result of the Plan. Pursuant to the
Section 108(a) Exception, the Debtor does not expect to include any COD income in gross
income. Instead, the Debtor may be required to reduce certain of its tax attributes.

                 2.    Gain or Loss from the Disposition of Assets

       Certain of the Debtor’s Restructuring Transactions may constitute a taxable disposition of
such assets, and the Debtor will recognize gain or loss based on the difference between the fair
market value and the tax basis of the assets sold, transferred, or disposed.

                 3.    Limitations on NOLs and Other Tax Attributes

        Under Tax Code section 382, if a “loss corporation” (generally, a corporation with NOLs
and/or built-in losses) undergoes an “ownership change,” the amount of its pre-change losses
(including certain losses or deductions which are “built-in,” i.e., economically accrued but
unrecognized as of the date of the ownership change) that may be utilized to offset future taxable
income generally are subject to an annual limitation. Similar rules apply to a corporation’s
capital loss carryforwards and tax credits.

       The Debtor’s issuance of New Membership Interests pursuant to the Plan could result in
an ownership change for purposes of Tax Code section 382. Accordingly, assuming that the
Debtor emerges with any NOLs following the attribute reduction required under Section 108 (as
discussed above), and subject to the discussion below of certain special bankruptcy exceptions,
A’GACI’s pre-change losses may be subject to an annual limitation. This limitation applies in
addition to, and not in lieu of, any other limitation that may already or in the future be in effect
and the attribute reduction that may result from COD.

                 4.    Alternative Minimum Tax

        In general, a federal alternative minimum tax (“AMT”) is imposed on a corporation’s
alternative minimum taxable income (“AMTI”) each year at a 20% rate to the extent that such
tax exceeds the corporation’s regular federal income tax for such year. AMTI is generally equal
to regular taxable income with certain adjustments. For purposes of computing AMTI, certain
tax deductions and other beneficial allowances are modified or eliminated. In particular, even
though a corporation may otherwise be able to offset all of its taxable income for regular tax

                                                70
4849-1085-3222
purposes by available NOLs, only 90% of a corporation’s AMTI generally may be offset by its
AMT NOLs.

        In addition, if a corporation undergoes an ownership change within the meaning of Tax
Code section 382 and has a net unrealized built-in loss at the time of such change, the
corporation’s (or the consolidated group’s) aggregate basis in its assets would be reduced for
certain AMT purposes to reflect the fair market value of such assets as of the date of the
ownership change.

        Any AMT that a corporation pays generally will be allowed as a nonrefundable credit
against its regular federal income tax liability in future years when the corporation is not subject
to the AMT. Any unused credit may be carried forward indefinitely.

         B.      Federal Income Tax Consequences to Holders of Claims

        The U.S. federal income tax consequences of the Plan to U.S. Holders of Claims
(including the character, amount and timing of income, gain or loss recognized) generally will
depend upon, among other factors: (i) the manner in which the U.S. Holder acquired a Claim; (ii)
the length of time a Claim has been held; (iii) whether a Claim was acquired at a discount; (iv)
whether the U.S. Holder has taken a bad debt deduction in the current or prior years; (v) whether
the U.S. Holder has previously included accrued but unpaid interest with respect to a Claim; (vi)
the U.S. Holder’s method of tax accounting; and (vii) whether we reorganize as is expected.
Therefore, U.S. Holders of Claims are urged to consult their tax advisors for information that
may be relevant to their specific situation and circumstances and the particular tax consequences
to such Holders as a result thereof.

                 1.    Treatment of U.S. Holders of General Unsecured Claims

        The U.S. federal income tax consequences to a Holder receiving, or entitled to receive, a
payment in partial or total satisfaction of a Claim will depend on a number of factors, including
the nature of the Claim, the Holder’s method of tax accounting, and its own particular tax
situation.

        Because each Holder’s Claim and tax situation differs, Holders should consult their own
tax advisors to determine how the Plan affects them for federal, state and local tax purposes,
based on their particular tax situations. Among other things, the U.S. federal income tax
consequences of a payment to a Holder may depend initially on the nature of the original
transaction pursuant to which the Claim arose. For example, a payment in repayment of the
principal amount of a loan is generally not included in the gross income of an original lender.

        The U.S. federal income tax consequences of a payment to a Holder may also depend on
whether the item to which the payment relates has previously been included in the holder’s gross
income or has previously been subject to a loss or a worthless security or bad debt deduction. For
example, if a payment is made in satisfaction of a receivable acquired in the ordinary course of a
Holder’s trade or business, the Holder had previously included the amount of such receivable
payment in its gross income under its method of tax accounting, and had not previously claimed
a loss or a worthless security or bad debt deduction for that amount, the receipt of the payment
should not result in additional income to the holder but may result in a loss. Conversely, if the

                                                71
4849-1085-3222
Holder had previously claimed a loss or worthless security or bad debt deduction with respect to
the item previously included in income, the holder generally would be required to include the
amount of the payment in income.

        A Holder receiving a payment pursuant to the Plan in satisfaction of its Claim generally
may recognize taxable income or loss measured by the difference between (i) the amount of cash
and the fair market value (if any) of any property received by the holder (other than any
consideration attributable to a Claim for accrued but unpaid interest), including, as discussed
below, any beneficial interests in the Liquidation Trust, and (ii) its adjusted tax basis in the
Claim (other than basis attributable to accrued but unpaid interest previously included in the
holder’s taxable income). For this purpose, the adjusted tax basis may include amounts
previously included in income (less any bad debt or loss deduction) with respect to that item.
Generally, the income or loss will be ordinary income or loss, unless the Claim is a capital asset
in the Holder’s hands. Each Holder of a Claim should consult its own tax advisor to determine
whether income or loss recognized by such Holder will be ordinary or capital in nature and the
specific tax effect thereof on such Holder.

         C.      Other Considerations for U.S. Holders

                 1.    Accrued Interest

        Pursuant to the Plan, all distributions in respect of Allowed Claims will be allocated first
to the principal amount of the Allowed Claim (as determined for U.S. federal income tax
purposes), with any excess allocated to accrued but unpaid interest. However, there is no
assurance that such allocation would be respected by the IRS for U.S. federal income tax
purposes. In general, to the extent any amount received (whether Cash, or other property) by a
Holder of a debt instrument is received in satisfaction of accrued interest during its holding
period, such amount will be taxable to the Holder as interest income (if not previously included
in the holder’s gross income under the Holder’s normal method of accounting). Conversely, a
Holder generally recognizes a deductible loss to the extent any accrued interest claimed was
previously included in its gross income and is not paid in full. Each Holder of an Allowed Claim
is urged to consult its own tax advisor regarding the allocation of consideration and the taxation
or deductibility of unpaid interest for tax purposes.

                 2.    Market Discount

         Under the “market discount” provisions of the Tax Code, some or all of any gain
recognized by a U.S. Holder upon the disposition of a debt instrument of an Allowed Claim may
be treated as ordinary income (instead of capital gain), to the extent of the amount of market
discount on the debt constituting the exchanged Claim. In general, a debt instrument is
considered to have been acquired with market discount if it is acquired other than at original
issue and if the U.S. Holder’s adjusted tax basis in such instrument is less than (i) the sum of all
remaining payments to be made on the debt instrument, excluding “qualified stated interest,” or
(ii) in the case of a debt instrument issued with OID, its adjusted issue price, in each case, by at
least a de minimis amount (equal to the product of 0.25% of the sum of all remaining payments
to be made on the debt instrument, excluding qualified stated interest, and the number of
remaining whole years to maturity).


                                                72
4849-1085-3222
         Any gain recognized by a U.S. Holder on the disposition of debt instruments that it
acquired with market discount should be treated as ordinary income to the extent of the market
discount that accrued thereon while such debt instruments were considered to be held by the U.S.
Holder (unless such U.S. Holder elected to include market discount in income as it accrued). To
the extent that debt instruments that were acquired with market discount are exchanged in a tax-
free transaction for other property, any market discount that accrued on such debt instruments
(i.e., up to the time of the exchange) but was not recognized by the U.S. Holder is carried over to
the property received therefor and any gain recognized on the subsequent sale, exchange,
redemption or other disposition of such property is treated as ordinary income to the extent of
such accrued, but not recognized, market discount.

         D.      Information Reporting and Back-Up Withholding

        In general, information reporting requirements may apply to distributions or payments
under the Plan. Furthermore, all distributions to Holders of Allowed Claims under the Plan are
subject to any applicable tax withholding, including employment tax withholding. Under U.S.
federal income tax law, interest, dividends, and other reportable payments may, under certain
circumstances, be subject to “backup withholding” at the applicable withholding rate.

       Backup withholding generally applies if the Holder (a) fails to furnish its social security
number or other taxpayer identification number, (b) furnishes an incorrect taxpayer identification
number, (c) fails properly to report interest or dividends, or (d) under certain circumstances, fails
to provide a certified statement, signed under penalty of perjury, that the tax identification
number provided is its correct number and that it is not subject to backup withholding. Backup
withholding is not an additional tax but merely an advance payment, which may be refunded to
the extent it results in an overpayment of tax. Certain persons are exempt from backup
withholding, including, in certain circumstances, corporations and financial institutions. These
categories are very broad; however, there are numerous exceptions. Holders of Allowed Claims
are urged to consult their tax advisors regarding the Treasury Regulations governing backup
withholding and whether the transactions contemplated by the Plan would be subject to these
Treasury Regulations.

        In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S.
federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s
claiming a loss in excess of specified thresholds. Holders are urged to consult their tax advisors
regarding these Treasury Regulations and whether the transactions contemplated by the Plan
would be subject to these Treasury Regulations and require disclosure on the Holder’s tax
returns.

       E.        Consequences of Ownership and Disposition of the New Membership
Interests

       Holders of Interests of the Debtor should recognize a loss equal to the amount of their
adjusted basis. Holders of such Interests should consult their tax advisors as to the amount,
timing and character of such loss.



                                                 73
4849-1085-3222
     THE FOREGOING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN AND IS NOT
A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
ABOVE DISCUSSION IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT TAX
ADVICE. THE TAX CONSEQUENCES ARE IN MANY CASES UNCERTAIN AND MAY
VARY DEPENDING ON A CLAIM OR INTEREST HOLDER’S PARTICULAR
CIRCUMSTANCES. ACCORDINGLY, HOLDERS OF CLAIMS AND INTERESTS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS ABOUT THE U.S. FEDERAL,
STATE AND LOCAL AND APPLICABLE NON-U.S. INCOME AND OTHER TAX
CONSEQUENCES OF THE PLAN.

                                        ARTICLE XVI.
                                        CONCLUSION

        This Disclosure Statement provides information regarding the Debtor’s bankruptcy and
the potential benefits that might accrue to holders of Claims against the Debtor under the Plan as
proposed. The Plan is the result of extensive efforts by the Debtor and its advisors to provide the
holders of Allowed Claims with a meaningful dividend. The Debtor believes that the Plan is
feasible and will provide each holder of a Claim against the Debtor with an opportunity to
receive greater benefits than those that would be received by any other alternative. The Debtor,
therefore, urges interested parties to vote in favor of the Plan.




                                                74
4849-1085-3222
                 EXHIBIT 1 TO THE DISCLOSURE STATEMENT

                           CHAPTER 11 PLAN




4849-1085-3222
                 EXHIBIT 2 TO THE DISCLOSURE STATEMENT


                            Liquidation Analysis




4849-1085-3222
                                      Liquidation Analysis

         1. Introduction

        Section 1129(a)(7) of the Bankruptcy Code requires that the Bankruptcy Court find, as a
condition to confirmation of the Plan,11 that each holder of a Claim or Interest in each Impaired
Class: (i) has accepted the Plan; or (ii) will receive or retain under the Plan property of a value,
as of the Effective Date, that is not less than the amount that such Person would receive if the
Debtor were liquidated under chapter 7 of the Bankruptcy Code. In order to make these findings,
the Bankruptcy Court must: (1) estimate the cash proceeds (the “Liquidation Proceeds”) that a
chapter 7 trustee (the “Trustee”) would generate if each Debtor’s chapter 11 case were converted
to a chapter 7 case on the Effective Date and the Assets of such Debtor’s estate were liquidated;
(2) determine the distribution (the “Liquidation Distribution”) that each holder of a Claim or
Interest would receive from the Liquidation Proceeds under the priority scheme dictated in
chapter 7; and (3) compare each holder’s Liquidation Distribution to the distribution under the
Plan that such holder would receive if the Plan were confirmed and consummated. This analysis
is often referred to as the “best interest of creditors test.”

       Asset values discussed herein may be different than amounts referred to in the Plan. The
analysis (the “Liquidation Analysis”) is based upon certain assumptions discussed herein and in
the Disclosure Statement.

      THE DEBTOR MAKES NO REPRESENTATIONS OR WARRANTIES REGARDING
THE ACCURACY OF THE ESTIMATES AND ASSUMPTIONS CONTAINED HEREIN, OR
A TRUSTEE’S ABILITY TO ACHIEVE FORECASTED RESULTS. IN THE EVENT THAT
THE CHAPTER 11 CASE IS CONVERTED TO A CHAPTER 7 LIQUIDATION, ACTUAL
RESULTS COULD VARY MATERIALLY FROM THE ESTIMATES AND PROJECTIONS
SET FORTH IN THIS LIQUIDATION ANALYSIS.

         2. Basis of Presentation

        The Liquidation Analysis has been prepared assuming that the Debtor’s chapter 7
liquidation would commence on or about July 31, 2018 (the “Liquidation Date”). The
Liquidation Analysis represents an estimate of recovery values and percentages based upon a
hypothetical liquidation if a Trustee were appointed by the Bankruptcy Court to convert Assets
into cash. The determination of the hypothetical proceeds from the liquidation of Assets is a
highly uncertain process involving the extensive use of estimates and assumptions which,
although considered reasonable by management and their advisors, are inherently subject to
significant business, economic and competitive uncertainties and contingencies beyond the
control of the Debtor and its management. The Liquidation Analysis should be read in
conjunction with the assumptions and qualifications discussed herein and in the Disclosure
Statement.



11
  Except as otherwise provided in this Liquidation Analysis, capitalized terms herein have the
meaning ascribed to them in the Plan and the Disclosure Statement.


4849-1085-3222
        The Liquidation Analysis assumes operations would cease on the Liquidation Date and
that a liquidation would start immediately thereafter. All owned Assets including inventory and
equipment (excluding the Distribution Center equipment, which would be returned to Bank of
America in a liquidation) would be sold over a 5 week period. This Liquidation Analysis was
prepared utilizing the Debtor’s most recent financials and weekly cash flow projections.

       The cessation of business in a liquidation is likely to trigger certain Claims that otherwise
would not exist under a chapter 11 reorganization plan. For example, in the reorganization
scenario, many of the Debtor’s leases will be assumed and the landlords will have no resultant
unsecured claims. On the other hand, in a liquidation, the leases will likely be rejected and the
landlords may have significant rejection damage claims. The Liquidation Analysis also does not
include estimates for the tax consequences that may be triggered upon the liquidation and sale
events of Assets in the manner described above.

         3. Liquidation Process

       For purposes of this analysis, the Debtor’s hypothetical liquidation would be conducted
in a chapter 7 environment with the Trustee managing the bankruptcy estate of the Debtor to
maximize recovery. The Trustee’s initial step would be to develop a liquidation plan to generate
proceeds from the sale of entity specific Assets for distribution to creditors. The major
components of the liquidation are as follows:

                generation of cash proceeds from Asset sales;
                satisfying costs related to the liquidation process, such as personnel retention costs,
                 liquidation costs and Trustee, professional and other administrative fees;
                satisfying employee obligations of the Debtor; and
                distributing net proceeds generated from Asset sales to the holders of Claims and
                 Interests in accordance with the priority scheme under chapter 7 of the Bankruptcy
                 Code.

         4. Distribution of Net Proceeds to Claimants

        Any available net proceeds would be allocated to the applicable holders of Claims and
Interests in strict priority in accordance with section 726 of the Bankruptcy Code:

                Secured Claims: Claims that are paid with the proceeds of collateral to the extent
                 secured by Estate Property, including Secured Claims arising under the Debtor’s
                 secured credit facilities;
                Chapter 11 Administrative & Priority Claims: includes Claims for post-petition
                 accounts payable, accrued expenses, accrued and unpaid professional fees, Claims
                 arising under section 503(b)(9) of the Bankruptcy Code, and certain Unsecured
                 Claims entitled to priority under section 507 of the Bankruptcy Code;
                Unsecured Claims: includes non-secured, non-priority debt, including trade payables,
                 and various other unsecured liabilities; and




4849-1085-3222
                Equity: to the extent any available net proceeds remain available for distribution after
                 satisfaction in full of the foregoing classes of Claims, any equity security in the
                 Debtor as defined in section 101(16) of the Bankruptcy Code.

         5. Conclusion

        The Debtor has determined, as summarized in the following analysis, upon the Effective
Date, the Plan will provide all holders of Claims and Interests with a recovery (if any) that is not
less than what they would otherwise receive pursuant to a liquidation of the Debtor under chapter
7 of the Bankruptcy Code, and as such believes that the Plan satisfies the requirement of
1129(a)(7) of the Bankruptcy Code.

         6. Specific Notes to the Liquidation Analysis

                    a.      Cash and Cash equivalents

        Amount represents a 100% recovery of estimated cash on hand as of the Conversion
Date, per the DIP Budget. The estimate includes an additional $700,000 as a proxy for cash in
registers and in store consolidation accounts.

                    b.      Trade Accounts Receivables

        The Debtor’s net trade accounts receivable consists of credit card receivables and
receivables from the Company’s ecommerce fulfillment provider. The assumed recovery on
trade accounts receivables is 95% to 100%.

                    c.      Other Accounts Receivables

       The debtor’s other accounts receivables consist primarily of construction allowance, rent
abatement and receivables from vendors. The assumed recovery on other accounts receivables is
1.5% to 3%.

                    d.      Merchandise inventory, net

        The Debtor's estimate that total eligible inventory as of the Conversion Date will be $9.8
million per the DIP budget. Inventory is assumed to be sold "as is, where is" and recovery values
are based on third party inventory appraisal as of March 2018. The recovery shown reflects the
net orderly liquidation value ("NOLV") of the inventory, which accounts for costs related to
selling through the inventory such as occupancy, payroll, liquidation fees, freight, and other
general selling expenses. The recovery rate on inventory is assumed to be between 94.9% and
99.9%.
               e.     Net Property and Equipment

       The Debtor’s net property and equipment consists of leasehold improvements and
construction allowances, furniture and fixtures, computer software and computer equipment, and
the equipment at the distribution center. The assumed recovery on leasehold improvements and
construction allowances is 0%. The assumed recovery on furniture and fixtures and computers



4849-1085-3222
and software outside of the distribution center was 1.5% to 3%. The distribution center
equipment is the collateral for the Bank of America term loan. Hypothetical analysis assumes the
Company would return the equipment to Bank of America in a liquidation.

                 f.   Intangible Assets

       The Debtor's intangible assets consist the Company’s portfolio of trademarks, as well as
trademarks related to the Debtor's e-Commerce platform. A valuation of the Debtor's IP has not
been completed. The forced liquidation value of the Debtor's IP was assumed to be $75,000 to
$100,000.
              g.       Prepaid expenses and other current assets

       Prepaid expenses consist of several prepaid accounts, including, but not limited to:
merchandise, rent, and other miscellaneous costs. Other current assets consist of utility deposits.
The assumed recovery on prepaid expenses and other current assets is 0% to 3% and 80% to
100% on the utility deposits.

                 h.   Litigation & Preference / Avoidance Actions

        Potential recoveries from litigation and preference / avoidance actions have not yet been
quantified, and thus were not included in this Liquidation Analysis.

Senior Secured Claims

                 i.   Chase ABL

       The Liquidation Analysis assumes that total Chase ABL Facility Claims would total
approximately $5.5 million as of the Conversion Date. The analysis assumes the Chase ABL
Balance will be paid in full from liquidation proceeds prior to administrative claims.

                 j.   Bank of America Term Loan

        The Liquidation Analysis assumes that the Bank of America Term Loan claims would
total approximately $4.1 million as of the Conversion Date. The analysis assumes the Company
will make Bank of America’s collateral (the machinery and equipment at the distribution center)
available for return to the Bank in full satisfaction of Bank of America’s secured claim with any
deficiency claim treated as a General Unsecured Claim.

Chapter 7 Liquidation Costs

                 k.   Wind Down

        Wind Down expenses reflect operating costs over a 4-month period, which consists of a
1-month sale period and 3 months for the operational wind down and a tail period to cover final
expenses. The wind down budget excludes costs that are considered in the store closure and
inventory liquidation process, as discussed in Note d. above. The bulk of the budget consists of
salaries and corporate occupancy costs.



4849-1085-3222
                 l. Severance / Retention

         For the purposes of this analysis, it is assumed that a program would be put into place in
order to retain
critical employees for the wind-down of the Debtor's estate.

                 m.     Chapter 7 Professionals

        Pursuant to section 327 of the Bankruptcy Code, the Trustee, with the court’s approval,
may employ one or more attorneys, accountants, appraisers, auctioneers, or other professional
persons, that do not hold or represent an interest adverse to the estate, and that are disinterested
persons, to represent or assist the Trustee in carrying out the Trustee’s duties. This analysis
estimates that professional fees will be approximately $360,000 to $400,000, based on a
relatively straight-forward and uncontested wind-down of the Debtor’s estate.

                 n.     Chapter 7 Trustee Fees

        Pursuant to section 326 of the Bankruptcy code, the court may allow reasonable
compensation for the trustee’s services, not to exceed 25% on the first $5,000 or less, 10% on
any amount in excess of $5,000 but not in excess of $50,000, 5% on any amount in excess of
$50,000 but not in excess of $1 million, and reasonable compensation not to exceed 3% of such
moneys in excess of $1 million, upon all moneys disbursed or turned over in the case by the
trustee to parties in interest, excluding the debtor, but including holders of secured claims. For
the purpose of this analysis, the estimate for the Trustee's fees have been simplified to 3% of
gross liquidation proceeds.

General Administrative Claims

                 o.     Employee Obligations & Accrued Taxes

        Employee obligations and accrued sales tax are pre-conversion administrative claims but
are included as a case administration expense because failure to pay these expenses would likely
have an immediate and significant destabilizing effect on the orderly wind down of the Debtor's
estates. Accrued employee obligations are estimated as $778K based on run-rate expense for one
week of accrued payroll and PTO. Accrued sales tax is estimated based on the budget projections
filed as Schedule 1 of the Debtor's motion to amend the budget with respect to authorizing the
use of cash collateral.

                 p.     Ad Valorem 2018 Property Taxes

        For the purposes of this analysis it is assumed that the Company will owe property taxes
for all locations that were occupied as of January 1, 2018. Property taxes are estimated to be
approximately $472K to $572K for 2018.




4849-1085-3222
                 q.   Accrued & Unpaid Chapter 11 Professionals

        Professionals consist of advisors to the Debtor and advisors to the Unsecured Creditors
Committee. The accrued and unpaid Chapter 11 professional fees estimate is based on the budget
filed as Schedule 1 of the Second Amendment to Final Order Authorizing Use of Cash Collateral
and Granting Adequate Protection [Docket No. 349].

                 r.   Stub Rent Carve Out

        Paragraph 27 of the Final Cash Collateral Order provides that certain unpaid stub rent, up
to a maximum amount of $926,506, shall be entitled to a priority claim. This includes all
locations leased to the Debtor or managed by affiliates of Simon Property Group, General
Growth Properties, Inc., Gregory Greenfield & Associates, Ltd., Jones Lang LaSalle
Incorporated, and US Real Estate LP. The remainder of the unpaid stub rent will be treated as a
Chapter 11 Administrative Priority Claim.

Chapter 11 Administrative Priority Claims

                 s.   503(b)9 & Stub Rent Claims

        For purposes of this analysis it is assumed no agreement is reached for payment of
503(b)9 and remaining stub rent in a liquidation. As a result, those claims would be junior to the
senior secured debt and are paid using the liquidation proceeds after the senior secured debt has
been satisfied in full.

                 t.   General Unsecured Creditors

       General Unsecured Creditors’ Claims include the pre-petition accounts payable and
landlord damages claims.




4849-1085-3222
A'GACI, L.L.C.                                                         Percent         Estimated 
Ch. 7 Liquidation Analysis                              Book/
                                                                      Recovery          Recovery
                                                      Estimated 
                                               Note     Value
($ in 000s)                                                          Low     High     Low      High
I. Liquidation of Assets
Cash and Cash Equivalents                       a        827        100.0% 100.0%     827      827
Net Trade AR                                    b       1,762       95.0%   100.0%   1,674    1,762
Other AR                                        c       1,459        1.5%    3.0%      22       44
Total Recoverable AR                                    3,222       52.6%    56.1%   1,696    1,806
Merchandise Inventory, net                      d       9,776       94.9%   99.9%    9,278    9,767
Furniture and Fixtures 
                                                e        990        8.0%    10.7%     80       106
(Less DC Equipment)
Computers and Software 
                                                e       3,448       1.5%     3.0%     52       103
(Less DC Equipment)
DC Equipment                                    e       2,000       0.0%     0.0%      0        0
Total Net PP&E                                          6,438       2.0%     3.3%     131      209
Intangible Assets                               f         NA         NA      NA       75       100
Prepaid Expenses and 
                                                g       2,050       7.6%    10.0%     156      204
Other Current Assets
Litigation & Preference / 
                                                h        TBD         TBD     TBD      TBD      TBD
Avoidance Actions
Other                                                   2,050       11.3%   14.8%     231      304
Estimated Proceeds of 
                                                                                     12,163   12,913
Liquidation of Assets
Senior Secured Claims
Chase ABL Balance                               i       5,525       100.0% 100.0%    5,525    5,525
Bank of America Term Loan*                      j         ‐          N/A    N/A         ‐        ‐
Est. Proceeds Available  after Satisfaction 
                                                                                     6,639    7,389
of  Senior Secureds
III. Chapter 7 Liquidation 
Costs
Wind Down                                       k     188 ‐ 250     100.0% 100.0%     250      188
Severance / Retention                           l        50         100.0% 100.0%      50       50
Chapter 7 Wind Down 
                                                m     360 ‐ 400     100.0% 100.0%     400      360
Professionals
Chapter 7 Trustee Fees                          n     365 ‐ 387     100.0% 100.0%     365      387
Total Chapter 7 Liquidation 
                                                      969 ‐ 1,049   100.0% 100.0%    1,065     985
Costs
Est. Proceeds Available 
                                                                                     5,574    6,404
after Ch. 7 Liquidation Costs
A'GACI, L.L.C.                                            Percent         Estimated 
Ch. 7 Liquidation Analysis                  Book/
                                                         Recovery         Recovery
                                          Estimated 
                                  Note      Value
($ in 000s)                                             Low     High    Low      High

IV. Required Post‐Petition 
Payments
Sales Tax Payable                  o         778       100.0% 100.0%    778      778
Accrued Payroll in 
                                   o         628       100.0% 100.0%    628      628
Arrears and PTO
Ad Valorem 2018 
                                   p      472 ‐ 525    100.0% 100.0%    525      472
Property Taxes
Est. Accrued and 
                                   q         661       100.0% 100.0%    661      661
Unpaid Chapter 11 Professionals
Total Required Post‐Petition 
                                         2,475 ‐ 2,423 100.0% 100.0%    2,592   2,540
Payments

Est. Proceeds Available 
after Required Post‐Petition                                            2,982   3,864
Payments
V. Chapter 11 Administrative 
Priority Claims
503(b)(9) Claims                   s        1,659      87.5%   100.0%   1,452   1,659
Stub Rent                          r        1,747      87.5%   100.0%   1,529   1,747
Total Chapter 11 
                                            3,406      87.5%   100.0%   2,982   3,406
Administrative Priority Claims

Total Proceeds Available 
                                                                          ‐      458
after Wind Down
VI. Unsecured Creditors
BofA Unsecured Amount              j         TBD       0.0%     0.0%     TBD     TBD
Unpaid Pre‐Petition Rent           s        1,772      0.0%     0.0%      0       19
Lease Rejection Damages            s       31,364      0.0%     0.0%      0      330
Other Unsecured Claims             t       10,439      0.0%     0.0%      0      110
Total Claims                               43,575                         0      458
VIII. Recovery                                                          0.0%     1.1%
                 EXHIBIT 3 TO THE DISCLOSURE STATEMENT

                         FINANCIAL PROJECTIONS




                                   1
4849-1085-3222
                                       Financial Projections

       The prospective financial information included in this Disclosure Statement has been
prepared by, and is the responsibility of, the Debtor’s management team (“Management”). No
independent auditors have examined, compiled or performed any procedures with respect to the
accompanying prospective financial information.

         The Debtor does not, as a matter of course, publish its business plans, budgets or
strategies or disclose projections or forecasts of its anticipated financial positions, results of
operations or cash flows. Accordingly, the Debtor does not anticipate that it will, and disclaims
any obligation to, furnish updated business plans, budgets, strategies, projections or forecasts of
its anticipated financial positions, results of operations or cash flows to holders of Claims prior to
the Effective Date or to otherwise make such information publicly available.

       The assumptions, projections and other financial information contained in this section
contain “forward-looking statements” within the meaning of the Private Securities Litigation
Reform Act of 1995.

        The Debtor believes that the Plan meets the feasibility requirements set forth in section
1129(a)(11) of the Bankruptcy Code, as confirmation is not likely to be followed by liquidation
or the need for further financial reorganization of the Debtor or any successor under the Plan. In
connection with the planning and development of a plan of reorganization and for the purposes
of determining whether such plan would satisfy this feasibility standard, the Debtor analyzed its
ability to satisfy its financial obligations while maintaining sufficient liquidity and capital
resources.

       Management, with the assistance of their advisors, has prepared financial projections (the
“Financial Projections”) for the fiscal years 2018 through 2020 (the “Projection Period”). The
Financial Projections are based on a number of assumptions made by Management and their
advisors with respect to the potential future performance of the Reorganized Debtor’s operations
assuming the consummation of the Plan. The Financial Projections will assist each holder of a
Claim in the Debtor to determine whether to vote to accept or to reject the Plan.

        In general, as illustrated by the Financial Projections, the reduction of BOA Secured
Claim on the Debtor’s balance sheet will reduce future interest expense and in combination with
substantial lease savings, will improve future cash flows. Based on the Financial Projections, the
Debtor should have sufficient cash flow to pay and service its post-restructuring debt obligations,
including the New Credit Facility, and to operate its business. The Debtor believes that the
Confirmation Date and Effective Date are not likely to be followed by either the liquidation or
the further reorganization of the Reorganized Debtor. Accordingly, the Debtor believes that the
Plan satisfies the feasibility requirements of section 1129(a)(11) of the Bankruptcy Code.

      THESE FINANCIAL PROJECTIONS WERE NOT PREPARED WITH A VIEW
TOWARD COMPLIANCE WITH GUIDELINES ESTABLISHED BY THE AMERICAN
INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS FOR PREPARATION AND
PRESENTATION OF PROSPECTIVE FINANCIAL INFORMATION. THE PROJECTED



                                                  2
4849-1085-3222
BALANCE SHEETS DO NOT REFLECT THE IMPACT OF FRESH START ACCOUNTING,
WHICH COULD RESULT IN A MATERIAL CHANGE TO ANY OF THE PROJECTED
VALUES.

     ALTHOUGH MANAGEMENT HAS PREPARED THE FINANCIAL PROJECTIONS
IN GOOD FAITH AND BELIEVES THE ASSUMPTIONS TO BE REASONABLE, IT IS
IMPORTANT TO NOTE THAT THE DEBTOR AND THE REORGANIZED DEBTOR CAN
PROVIDE NO ASSURANCE THAT SUCH ASSUMPTIONS WILL BE REALIZED. AS
DESCRIBED IN THE DISCLOSURE STATEMENT, A VARIETY OF RISK FACTORS
COULD AFFECT THE REORGANIZED DEBTOR’S FINANCIAL RESULTS AND MUST
BE CONSIDERED. ACCORDINGLY, THE FINANCIAL PROJECTIONS SHOULD BE
REVIEWED IN CONJUNCTION WITH A REVIEW OF THE RISK FACTORS SET FORTH
IN THE DISCLOSURE STATEMENT AND THE ASSUMPTIONS DESCRIBED HEREIN,
INCLUDING ALL RELEVANT QUALIFICATIONS AND FOOTNOTES, AND ANY
RESULTING CHANGES TO THE FINANCIAL PROJECTIONS COULD BE MATERIAL.

         1. General Assumptions

       Accounting Policies: The Financial Projections may not reflect all of the adjustments
necessary to implement fresh-start accounting pursuant to Accounting Standards Certification
852-10, as issued by the Financial Accounting Standards Board.

      Plan Consummation: The Financial Projections assume that the Plan will be confirmed or
consummated on or about July 31, 2018.


       2. Assumptions with Respect to the Projected Balance Sheet and Projected Statement of
Cash Flows

       Pro forma adjustments related to emergence: The balance sheet reflects certain
adjustments related to the Debtor’s emergence from chapter 11 in accordance with the terms of
the Plan. The New Credit Facility, as contemplated in the Plan, is reflected on the balance sheet.
In addition, the Financial Projections reflect assumptions with respect to the terms of the New
Credit Facility, as the terms of that facility have not been finalized, and remain subject to
ongoing discussion and negotiation among the parties.

        Changes in net working capital: Working Capital assumptions are based on the estimated
days sales outstanding, estimated inventory turns, and historical days payable as well as on the
historical levels of prepaid and other current assets and current liabilities.

       New Credit Facility borrowings (payments): Reflects the repayment of the Chase
Secured Claim at emergence net of subsequent borrowings under the New Credit Facility to fund
the emergence and to maintain sufficient cash to satisfy daily operating requirements.

         3. Assumptions With Respect to the Projected Income Statement




                                                3
4849-1085-3222
  A'GACI 
  Business Plan – Assumptions 

                               Plan assumes that the Company will continue with 55 go‐forward 
                    
                                locations 
                               Plan assumes that the Company will closed 1 additional store by the end 
                                of May 2018 and reopen two closed stores in July to finalize the 55 store 
                                portfolio 
                               Plan assumes that the Company emerges from Bankruptcy at the end of 
      General       
                                July 2018 
                               Plan assumes that the Company will obtain a new revolving line of credit 
                                loan for up to $12.0M at exit to refinance any outstanding balance to 
                                Chase;  
                               Plan assumes there would be a $750K block on the borrowing base with 
                                similar reserves that were required on the Chase loan 
                         
                               Comp rates in the go‐forward stores are based on a gradual return to a 
                                0.0% comp rate in by the end of FY 2018, resulting in a comp rate of ‐
                                10.9% for FY '18 
                               Brick & mortar Q1’18 comp of ‐17.3%, Q2’18 comp of ‐12.8%, Q3’18 
                    
                                comp of ‐8.4%, Q4'18 comp of ‐4.0% 
                               Ecommerce forecasted comp rate of 10.4% for FY '18 as the Company 
                                continues to focus its efforts on growing this segment of the business 
                    
                                (differs from 9.9% in the IS Summary tab due to the impact of the 53rd 
                                retail week in 2017) 
                               Ecommerce Q1’18 comp of 0.6%, Q2’18 comp of 12.6%, Q3’18 comp of 
                    
                                15.0%, Q4'18 comp of 15.0% 
                               Forecasted brick and mortar comp rates of 5.0% and 3.0% in 2019 and 
                    
                                2020, respectively 
                               Forecasted ecommerce comp rates of 35.0% in 2019 and 25.0% in 2020 
                    
        Sales                   as a result of the following initiatives: 
                               Partnering with a digital based marketing agency that will help to drive 
                    
                                significant incremental sales 
                               Insourcing fulfillment, which will drastically increase the Company's 
                    
                                speed to market by as many as four weeks 
                               Continued development and investment in the Search Engine 
                    
                                Optimization program by outsourcing to a digital marketing expert 
                               Insourcing international shipping to maximize sales potential to 
                    
                                international shoppers who represent 15.0% of traffic at AGACIstore.com 
                               Creating a Spanish‐language website to continue to expand the 
                                Company's reach to its core demographic: Hispanics from California to 
                                Texas to Puerto Rico 
                               Greater utilization of social media including fashion influencers and 
                    
                                celebrities and e‐mail retargeting campaigns 
                               Mobile optimization initiatives including adding mobile payment options 



                                                    4
4849-1085-3222
                              Double the amount of "online exclusive" merchandise including apparel, 
                    
                               shoes and accessories 
                    
                              Brick & Mortar gross margin is projected to grow ~80 bps in 2018 and 
                               ~20 bps in 2019 to partially return to historical levels in the go‐forward 
                               stores and then remain flat in 2020 
       Margin 
                              Ecommerce gross margin is projected to decline slightly from 2017 to 
                               2018; projected to grow by 1.0% in 2019 and 2020 as the Company 
                               continues to focus on growing the ecommerce business 
                    
                       Selling Expense: 
                             Brick and mortar selling expense is primarily related to credit card fees, 
                                which is forecasted to remain flat as a percentage of sales through 2020 
                             Ecommerce selling expense is forecasted to remain flat as a percentage 
                                of sales through 2020 
                       Maintenance Expense: 
                             Brick and mortar maintenance expense is forecasted to decline in go‐
                                forward stores in 2018; forecasted as a percentage of sales plus 2.0% 
                                year over year growth in 2019 and 2020 
                             Ecommerce maintenance expense is forecasted to increase 20.0% in 
                                2018 as the Company continues to invest in developing its Ecommerce 
                                segment; forecasted to increase 2.0% YoY in both 2019 and 2020 
                             Corporate maintenance expense is forecasted to increase 30.0% in 2018 
                                due to software maintenance related to Oracle; forecasted to increase 
                                2.0% YoY in both 2019 and 2020 
                             DC maintenance expense is forecasted to grow 2.0% annually from 2018 
     Operating 
                                to 2020 
     Expenses 
                       Supply Expense: 
                             Brick and mortar supply expense is forecasted as percentage of sales by 
                                store plus 2.0% year over year growth from 2018 to 2020 
                             Ecommerce supply expense is forecasted as flat to 2017 in 2018; 
                                forecasted to grow by 2.0% in 2019 and 2020 
                             Corporate and DC supply expense is forecasted as a percentage of sales 
                                with an additional 2.0% growth rate annually from 2018 to 2020 
                       Occupancy Expense: 
                             Brick and mortar lease expense is forecasted based on go‐forward leases 
                                negotiated with the landlords on a store by store basis in 2018; locations 
                                with % rent leases are forecasted to grow with sales in 2019 and 2020 
                             Anticipated store rent concessions of ~$6.0M at the go‐forward store 
                                locations not including savings from waived rent cures 
                             Anticipated brick and mortar rent savings in 2019 and 2020 due to the 
                                negotiated waiver of automatic 2.0% annual rent increase in many of the 
                                leases amendments 




                                                    5
4849-1085-3222
                        Brick and mortar, Corporate and DC other occupancy expense (i.e. 
                         utilities, etc.) is forecasted  as percentage of sales by store plus 2.0% year 
                         over year growth from 2018 to 2020 
                        Corporate occupancy expense is forecasted to be flat in 2018, grow by 
                         1.5% 2019 and 3.0% in 2020 
                        Plan assumes that the Company rejects the leases for the Distribution 
                         Center and SAT office and moves to a new location that can support both 
                         functions. The new Distribution Center is assumed to be 100,000 square 
                         feet and cost $525k annually, effective beginning of August 2018, 
                         resulting in ~$1.2M in annualized rent savings 

                        DC other occupancy expense is forecasted to decline by ~50% annually, 
                         effective at the beginning of August 2018, as the company switches from 
                         a 285,000 square foot DC to a 100,000 SF DC; forecasted to grow by 2% 
                         annually in 2019 and 2020 
                       Projections do not include any potential savings from lease concessions 
                         at the L.A. Corporate Office, which the Company plans to explore 
                  Personnel Expense: 
                       Brick and mortar personnel expense is forecasted to decline in 2018 as 
                         the Company re‐evaluates staffing requirements; forecasted to increase 
                         as a percentage of sales on a store by store basis in 2019 & 2020 
                       Corporate personnel expense is forecasted to decline in 2018 as the 
                         Company right‐sizes its corporate structure for the new store base; 
                         forecasted to grow by 2.0% in 2019 and 2020 
                       DC personnel expense is forecasted to decline in 2018 as the DC will be 
                         servicing a smaller store footprint; forecasted to grow by 2.0% in 2019 
                         and 2020 
    Operating     General Expense: 
    Expenses           In August 2018, the Company plans to transitions responsibility of the 
   (Continued)           hanging and tagging process from the DC to the stores and assumes they 
                         will achieve the following savings: 
                       Brick and mortar general expense is forecasted to decline by ~$300K on 
                         an annualized basis as the Company due to the reduced freight cost 
                         associated with sending the hangers back to the DC to be reused in 
                         future shipments; other general expense is forecasted to grow 2.0% 
                         annually in go‐forward stores in 2018 through 2020 
                       DC general expense is forecasted as a % of sales and is expected to 
                         decline as the Company processes less inventory associated with the 
                         smaller store footprint with an additional 2.0% growth rate annually from 
                         2018 to 2020 
                       DC general expense is forecasted to decline by an additional $200K due 
                         to the reduced freight cost associated with lower shipping weights 
                         (Company ships ~7M hangers a year, 8 hangers = 1 pound at ~$0.27 / lb) 
                       One time DC general expense of ~$500K associated with relocating to the 
                         new distribution center and setting up the DC to handle both the manual 
                         distribution process and ecommerce fulfillment 


                                               6
4849-1085-3222
                          Ecommerce general expense expected to realize ~$1M in annualized 
                           savings related to the insourcing of fulfillment, which will partially offset 
                           the forecasted general expense growth to support ecommerce growth; 
                           2018 impact of ~$500K assuming the fulfillment is moved in house in 
                           August resulting in 6 months of savings 
                          Additional $400k in annualized Ecommerce general expense related to 
                           increased marketing spend specifically for a digital based marketing 
                           agency 
                          Other ecommerce general expense (excluding fulfillment related costs) is 
                           forecasted to grow ~18% in 2018 and ~30% in 2019 and 2020 as the 
                           Company continues to invest in growing the Ecommerce segment 
                          Corporate general expense is forecasted to grow 2.0% annually in 2018 
                           through 2020 
                    
                          Chase ABL interest expense of Libor + 325 bps with an unused fee of 50 
                           bps; BoA term loan interest expense forecasted at a blended rate of 
                           ~3.65% 
                          Plan assumes paydowns of $70K in March 2018, $280K in April 2018,  
                           $155K in May, and $85k a month in June and July consistent with the 
                    
                           Second Amendment to the Cash Collateral Order entered by the Court on 
     Financing             May 10, 2018 
                          Assumes suspension of post‐petition BoA interest and amortization 
                    
                           payments during Chapter 11 
                          Assumes BoA collateral (machinery and equipment at the Distribution 
                    
                           Center) is returned to BoA at exit 
                          Assumes new facility is funded upon emergence from Chapter 11 
                    
                          Restructuring related professional fees of an average of ~$400K per 
                           month over the period of November 2017 through June 2018 paid on an 
                    
                           accrual basis and included in the "non op (income) / expense (incl. int. 
                           expense)" line 
                          GOB Sale Consultant fees total ~$120K over the period of January to 
                           March 2018; Lease Consultant fees total ~$660K over the period of May 
                           to July 2018 
  Restructuring           Plan assumes $125K in investment banking marketing fees and an 
    and Non‐               additional $400K due in fees related to the refinancing the ABL and the 
   Operating               equity infusion 
      Costs               Plan assumes two $250K payments are made to the US Trustee over the 
                   
                           course of the restructuring process 
                          Exit costs of ~$1.1M paid at exit to cover $200K in 503b9 claims, $258K in 
                           estimated contract cures, $250K for the quarterly US Trustee fee, ~$295K 
                    
                           in stub rent due at exit, origination fees associated with the ABL 
                           refinancing, and other exit costs 
                          Exit costs are subject to change based on continued negotiation with 
                    
                           creditors 



                                                7
4849-1085-3222
                         Plan assumes ~$290K in stub rent and rent cures are deferred and paid in 
                          48 equal installments beginning in January 2019, with remaining ~$295K 
                          paid at exit 
                         Plan assumes that $1.5M of the estimated $1.7M in 503(b)(9) claims are 
                          converted into a 4‐year note paying 5% interest annually with 
                   
                          accelerating scheduled amortization payments; paid in December each 
                          year, beginning in December 2018 
                         Plan assumes the Company and the General Unsecured Creditors enter 
                          into the EBITDA Sharing agreement, in which the Company agrees to 
                   
                          share 35% of EBITDA in excess of $4M each year up to a total cap of $4M 
                          in distributions over a 10 year period from 2018‐2027 
                         Plan assumes minimal capital expenditures to maintain the current store 
                   
                          base from 2018 to 2020 




                                              8
4849-1085-3222
A'GACI Business Plan 
Income Statement ‐ Annual Summary 
$ in 000s                                                                                                      

                                                                     Income Statement 
                                              2015       2016          2017           2018          2019          2020 
                                             Actual     Actual        Actual          Fcst          Fcst          Fcst 

B&M Sales                                    155,318 168,527  148,973  112,374  116,284  119,773
Online Sales                                 13,294  14,279  15,541  17,085  23,065  28,831 
  Total Sales                                168,612 182,805  164,514  129,459  139,349  148,603

Total Cost of Sales                          81,718     87,927        81,290      63,815        68,573        73,163 
  Gross Profit                               86,894     94,756        83,224      65,644        70,776        75,440 
  Gross Margin %                             51.5%      51.8%         50.6%       50.7%         50.8%         50.8% 

Total Selling Expense                         1,961      2,427        2,028        1,728         2,008         2,199 
Total Maintenance Expense                     1,776      1,968        2,501        2,842         2,963         3,029 
Total Supply Expense                          1,966      2,406        2,163        1,579         1,627         1,681 
Total Occupancy Expense                      27,473     32,517        33,295      20,569        19,073        19,213 
Total Personnel Expense                      33,535     38,072        40,529      27,178        27,453        28,185 
Total General Expense                        10,070     11,195        10,388      10,172        10,445        12,009 
  Total Expense                              76,781     88,585        90,904      64,068        63,570        66,316 
  % of Sales                                 45.5%      48.5%         55.3%       49.5%         45.6%         44.6% 

  EBITDA                                     10,113         6,172     (7,680)         1,576         7,205         9,124 
  EBITDA Margin %                             6.0%          3.4%       ‐4.7%          1.2%          5.2%          6.1% 

D&A                                           5,808     7,143     7,997           2,630             3,604         3,410 
Non Op (Inc.) / Expense (Incl. Int. Exp.)      427      1,200    11,097           4,452             1,914         1,621 
Income Tax                                     768      (745)    (5,939)          (738)              508           992 
   Net Income                                 3,110    (1,426)  (20,835)         (4,768)            1,179         3,101 
   Net Income Margin %                        1.8%      ‐0.8%    ‐12.7%           ‐3.7%             0.8%          2.1% 

Store Count                                    61            73           76           55            55            55 




                                                       9
4849-1085-3222
A'GACI Business Plan 
Balance Sheet ‐ Annual 
Summary 
$ in 000s                                                                                                                                              

                                                                                         Balance Sheet 
                                                2015                  2016               2017                 2018                  2019                  2020 
                                               Actual                Actual             Actual                Fcst                  Fcst                  Fcst 

I. Assets 
   Current Assets 
                                                                                                                                                                     
    Cash                                  10,630                2,942              2,211                 2,333                 878                   909  
    Accounts Receivable (Excl.                                                                                                                                       
Construction. Allowance.)                 3,208                 2,414              2,833                 1,601                 1,742                 1,854  
                                                                                                                                                                        
        Construction Allowance            2,787                 1,169              539                   239                   ‐                     ‐   
                                                                                                                                                                     
        Inventory                         12,940                13,075             10,227                8,722                 9,514                 9,927  
        Prepaid (Excl. Income                                                                                                                                        
Tax)                                      2,970                 3,082              3,560                 1,763                 1,824                 1,907  
                                                                                                                                                                     
        Prepaid Income Tax                1,752                 1,466              6,739                 7,477                 6,969                 5,977  
                                                                                                                                                                  
          Total Current Assets            34,286                24,149             26,108                22,134                20,927                20,573  

                                                                                                                                                                  
        Fixed Assets                      35,188                50,423             40,668                28,987                22,110                15,239  
                                                                                                                                                                     
        Other Assets                      2,184                 3,358              3,366                 3,366                 3,366                 3,366  
                                                                                                                                                                  
          Total Assets                    71,657                77,929             70,142                54,487                46,402                39,179  

II. Liabilities 
    Current Liabilities 
                                                                                                                                                                     
        Accounts Payable ‐ Trade          4,409                 4,287              984                   4,154                 4,531                 4,828  
                                                                                                                                                                        
        Other Payables                    674                   1,689              1,402                 694                   718                   751 
                                                                                                                                                                     
        Accrued Expenses                  4,234                 4,076              3,495                 2,812                 2,910                 3,042  
                                                                                                                                                                     
        Other Current Liabilities         5,754                 4,743              4,852                 3,717                 3,853                 4,037  
                                                                                                                                                                  
          Current Liabilities             15,071                14,795             10,733                11,378                12,013                12,657  
           
           


                                                                     10
4849-1085-3222
  Non‐Current Liabilities 
                                                                                                                                                                        
      Revolving Line of Credit         ‐                     3,000                 6,100                 6,804                 3,515                 ‐   
      Other Long Term                                                                                                                                                   
Liabilities                            1,269                 2,248                 4,910                 1,564                 1,090                 631 
                                                                                                                                                                  
     Deferred Rent                     26,812                30,839                34,416                27,889                22,875                17,673  

                                                                                                                                                                  
        Total Liabilities              43,153                50,881                56,159                47,635                39,492                30,961  

III. Shareholder's Equity 
                                                                                                                                                                        
     Equity Investment                 ‐                     ‐                     ‐                     250                   250                   250  
                                                                                                                                                                  
     Partner's Capital                 28,504                27,048                13,983                6,602                 6,660                 7,967  
        Total Shareholder's                                                                                                                                       
Equity                                 28,504                27,048                13,983                6,852                 6,910                 8,217  

Total Liabilities &                                                                                                                                               
Shareholder's Equity                   71,657                77,929                70,142                54,487                46,402                39,179  




                                                                 11
4849-1085-3222
A'GACI Business Plan 
Statement of Cash Flows ‐ 
Annual Summary 
$ in 000s                                                                                                                                            
                                                                                          Cash Flow 
                                           2015                 2016                2017               2018                    2019                     2020 
                                          Actual               Actual              Actual              Fcst                    Fcst                     Fcst 
                                                                                                                                                              
Net Income                           3,110            (1,456)                 (20,835)  (4,768)                           1,179               3,101  

Non Cash Adjustments 
   Depreciation and                                                                                                                                                
amortization                         9,050                9,897               9,903                9,156                  8,618                    8,611  
   Amortization of lease                                                                                                                                        
incentives                           (3,738)              (4,104)  (4,589)                         (5,808)                (5,066)                  (5,066) 
                                                                                                                                                                    
  Straight‐line rent expense         410                  1,140               2,683                (719)                  52                       (135) 
  Loss on disposal of property                                                                                                                                         
and equipment                        ‐                    894                 8,314                ‐                      ‐                        ‐   
  Bankruptcy/ Other                                                                                                                                                    
Adjustments                          44                   210                 7,770                (2,613)                ‐                        ‐   
Subtotal Non Cash                                                                                                                                                  
Adjustments                          5,767                8,037               24,081                     17               3,604                    3,410  

Changes in operating assets 
and liabilities: 
                                                                                                                                                                    
  Receivables                        (1,930)              2,202               (419)                1,232                  (141)                    (112) 
                                                                                                                                                                    
  Inventory                          (1,452)              (136)               2,848                1,505                  (792)                    (413) 
  Prepaid expense and other                                                                                                                                           
assets                               (87)                 (456)               (478)                1,797                  (61)                     (82) 
                                                                                                                                                                      
  Prepaid income taxes               (3,688)              (456)               (5,272)              (738)                  508                      992  
                                                                                                                                                                      
  Accounts payables                  (105)                (289)               (3,303)              3,169                  377                      297  
                                                                                                                                                                       
  Accrued liabilities                154                  1,023               (287)                (707)                  24                       32  
                                                                                                                                                                      
  Accrued expenses                   ‐                    ‐                   (581)                (682)                  98                       132  
                                                                                                                                                                      
  Other Current Liabilities          241                  132                 109                  (1,135)                136                      183  
Total Change in Current                                                                                                                                               
Assets & Liabilities                 (6,867)              2,021               (7,383)              4,441                  149                      1,028  
Net cash (used in) provided                                                                                                                                        
by operating activities              2,009                8,602               (4,137)              (310)                  4,932                    7,539  


                                                                 12
4849-1085-3222
                                                                                     Cash Flow 
                                      2015               2016                2017                 2018                                   2019                    2020 
                                   Actual               Actual             Actual                 Fcst                                   Fcst                    Fcst 
Cash flows from Investing 
activities: 
   Net proceeds from lease                                                                                                                                                       
incentives                         8,954              7,324              6,114               300                                    239                      (0) 
   Purchase of property and                                                                                                                                               
equipment                          (12,975)  (26,027)  (8,462)                               2,525                                  (1,741)                  (1,741) 
   New store straight‐line rent                                                                                                                                                  
/ Other Assets                     (22)               (89)               ‐                   ‐                                      ‐                        ‐   
Net cash used in investing                                                                                                                                                
activities                         (4,042)  (18,791)  (2,349)  2,825                                                                (1,502)                  (1,741) 

Cash flows from financing 
activities: 
  Change in LT Notes Payable                                                                                                                                                  
and Capitalized Leases                           (510)               2,501              2,663                (3,346)                (474)                    (459) 
                                                                                                                                                                                 
  Deferred taxes                                 ‐                   ‐                  ‐                    ‐                      ‐                        ‐   
  Net proceeds from                                                                                                                                                              
capitalized lease obligations                    ‐                   ‐                  ‐                    ‐                      ‐                        ‐   
                                                                                                                                                                          
  Change in Debt                                 ‐                   ‐                  3,100                704                    (3,289)                  (3,515) 
  Change in Equity                                                                                                                                                               
Investment                                       ‐                   ‐                  ‐                    250                    ‐                        ‐   
                                                                                                                                                                              
   EBITDA Share Plan                             ‐                   ‐                  ‐                    ‐                      (1,122)                  (1,793) 
                                                                                                                                                                                 
  Other                                          ‐                   ‐                  (8)                  ‐                      ‐                        ‐   
Net cash (used in) provided                                                                                                                                               
by financing activities                          (510)               2,501              5,754                (2,392)                (4,885)                  (5,767) 

Net (decrease) increase in cash                                                                                                                                         
and cash equivalents                             (2,543)            (7,688)            (731)             122                        (1,455)             30 

                                                                                                                                                                             
Cash ‐ Beginning of Year                         13,173             10,630             2,942                 2,211                  2,333                    878  
  Net (decrease) increase in                                                                                                                                                 
cash                                             (2,543)            (7,688)            (731)                 122                    (1,455)                  30  
                                                                                                                                                                             
Cash ‐ End of Year                               10,630             2,942              2,211                 2,333                  878                      909  




                                                                           13
4849-1085-3222
                 EXHIBIT 4 TO THE DISCLOSURE STATEMENT

                          RECOVERY ANALYSIS




                                   1
4849-1085-3222
                        Recovery Analysis – General Unsecured Claims

        Except to the extent that a holder of an Allowed General Unsecured Claim agrees to less
favorable treatment, in full and final satisfaction, compromise, settlement, release, and discharge
of and in exchange for each General Unsecured Claim, each holder of an Allowed Class 6 Claim
shall receive (i) its Pro Rata share of the Class 6 Note and (ii) its Pro Rata share of the cash
proceeds, if any, from the Contingent Payment Agreement.

       The Class 6 Note, which will be included in the Plan Supplement, will be an interest-free,
unsecured note payable to the holders of Allowed Class 6 Claims on a pro rata basis in the
amount of $4.0 million over a repayment period of up to ten years. The Class 6 Note shall be
held by the Reorganized Debtor on behalf of holders of Allowed Class 6 Claims.

         A mandatory repayment (the “EBITDA Contribution”) shall be made within thirty (30)
days of each annual anniversary of the Effective Date during the term of the Class 6 Note, but
only if the Reorganized Debtor’s EBITDA exceeds $4,000,000 (the “EBITDA Threshold”) for
the immediately preceding twelve-month period. The amount of the annual EBITDA
Contribution shall equal 35% of the excess of the Reorganized Debtor’s EBITDA over the
EBITDA Threshold for the immediately preceding twelve-month period. The Reorganized
Debtor’s obligation to make annual EBITDA Contributions will continue until the earlier of: (i)
the date on which the Class 6 Note is paid in full, (ii) the occurrence of a Change of Control, or
(iii) the date is the tenth (10th) anniversary of the Effective Date (the “Class 6 Maturity Date”).
Any outstanding face amount of the Class 6 Note shall become due and payable upon the Class 6
Maturity Date. In addition to the mandatory repayments described above, the Reorganized
Debtor shall have the right to make voluntary repayments against the face amount of the Class 6
Note.

        For purposes of calculating the EBITDA Contribution, “EBITDA” means, the sum of net
income for such period, plus (i) all interest expense for such period, plus (ii) all federal, state and
local taxes actually paid in such period, plus (iii) depreciation expenses for such period, plus (iv)
amortization expenses for such period. For the avoidance of doubt, the following income and
expense categories will not be included in the calculation of EBITDA during the EBITDA
sharing period: (i) one time and non-recurring in the ordinary course of business charges and
income; (ii) fees and costs associated with the Plan including all payments made pursuant to the
Plan; and (iii) extraordinary maintenance expenses related to the physical assets of the business.
Prior to each repayment, the Reorganized Debtor will provide information supporting the
Reorganized Debtor’s calculation of the EBITDA Contribution to the Committee Co-Chairs.

       In addition, solely in the event of a Change of Control of the Reorganized Debtor, holders
of Allowed Class 6 Claims may be entitled to receive their Pro Rata share of the cash proceeds of
the Contingent Payment Agreement. The Contingent Payment Agreement setting forth the entire
terms and conditions of any such cash payment will be filed with the Plan Supplement.

       In summary, if a Change of Control occurs and the total proceeds of that transaction are
in excess of a $12.5 million total enterprise value, then Allowed Class 6 Claims will be entitled
to a Pro Rata cash payment of 35% of the proceeds in excess over the $12.5 million total



                                                  2
4849-1085-3222
enterprise value. The Contingent Payment Agreement does not contemplate the transfer of any
equity in the Reorganized Debtor to holders of Allowed Class 6 Claims.

        The Contingent Payment Agreement expires at the earlier of: (i) ten years from the
Effective Date; or (ii) the date on which the Class 6 Note is paid in full, meaning that the Claims
pool of Class 6 Claims is fully reconciled and the entire $4 million Class 6 Note is distributed to
holders of Allowed Class 6 Claims. After the tenth anniversary of the Effective Date, the
Contingent Payment Agreement no longer has any force or effect, and any Change of Control
after such time period will not entitle holders of Allowed Class 6 Claims to any distributions
under the Contingent Payment Agreement.

        The maximum cash payment under the Contingent Payment Agreement is capped at the
full amount of Allowed Class 6 Claims, meaning that no holder of an Allowed Class 6 Claim
will receive more that 100% of their Allowed Claim if a cash payment obligation under the
Contingent Payment Agreement is triggered.

       With the assistance of its Professionals, the Debtor has undertaken a preliminary estimate
of potential Class 6 General Unsecured Claims. The Debtor estimates that the amount of Class 6
General Unsecured Claims will total approximately $18.1 million to $19.1 million. This
estimate is preliminary because the Debtor has not yet completed its reconciliation of filed
Proofs of Claim against scheduled Claims. This amount includes unpaid trade payables, landlord
claims (for stores that have been rejected, plus the Distribution Center), litigation claims, credit
card claims, and various other Unsecured Claims. The estimate does not include the BOA
Deficiency Claim,

       Based on a projected recovery of $4 million from the Class 6 Note as shown in the table
below, the Debtor’s estimated recovery for Allowed Class 6 claims is approximately 20.9% ($4
million / $19.1 million) to 22.1% ($4 million / $18.1 million).




                                                 3
4849-1085-3222
                 4
4849-1085-3222
                        EXHIBIT 5

                 Preference Period Payments




4849-1085-3222
                                                                                In re: A'GACI, L.L.C.
                                                                                 Case No. 18-50049
                                                                                    Attachment 3
                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                              Reason for payment or transfer (e.g.
                                                                                                                                                                              Secured debt, Unsecured loan
                                                                                                                                                             Total amount     repayments, Suppliers or vendors,
Creditor's name         Address 1                           Address 2                    City                   State   Zip             Country   Date       or value         Services, or Other)
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     11/01/2017     $11,834.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     11/03/2017     $26,367.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     11/10/2017      $9,582.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     11/16/2017     $18,792.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     11/28/2017     $17,610.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     12/01/2017     $16,401.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     12/05/2017     $10,039.20   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     12/21/2017      $6,237.60   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     12/27/2017     $17,897.00   Suppliers, Vendors, or Services
26 INTERNATIONAL        1500 S. Griffith Avenue                                          Los Angeles            CA      90021                     1/5/2018        $3,750.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     09/30/2017      $5,756.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/04/2017      $9,854.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/05/2017     $37,730.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/07/2017     $19,760.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/12/2017     $40,651.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/14/2017     $38,880.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/19/2017     $35,917.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     10/24/2017     $25,407.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/02/2017      $8,530.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/04/2017     $20,016.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/13/2017     $52,631.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/14/2017      $4,095.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/18/2017     $30,609.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/22/2017     $36,132.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/25/2017     $29,263.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     11/30/2017      $9,012.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     12/06/2017     $13,459.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     12/12/2017     $11,132.00   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     12/19/2017      $2,505.25   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     01/04/2018     $25,064.50   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     01/05/2018     $79,309.75   Suppliers, Vendors, or Services
88 STITCHES             Nextrade Inc dba 88 Stitches        3160 W 5th St #305           Los Angeles            CA      90020                     1/8/2018       $62,952.50   Suppliers, Vendors, or Services
A & G REALTY PARTNERS   445 Broadway Rd                     Suite 410                    Melville               NY      11747                     1/8/2018       $20,000.00   Restructuring Professionals
A ELLEN                 807 E 12th St Suite 118                                          Los Angeles            CA      90021                     12/05/2017      $5,177.50   Suppliers, Vendors, or Services
A ELLEN                 807 E 12th St Suite 118                                          Los Angeles            CA      90021                     01/03/2018     $23,598.25   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/21/2017      $9,698.10   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/24/2017      $1,794.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/26/2017     $11,920.50   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/27/2017      $3,456.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/28/2017     $28,083.30   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     10/31/2017      $7,644.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/04/2017     $15,341.25   Suppliers, Vendors, or Services
A Peach                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/7/2017       $3,705.30   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/08/2017     $15,941.25   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/09/2017        $747.50   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/14/2017     $18,000.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/15/2017      $4,000.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/16/2017      $4,275.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/18/2017     $12,252.50   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/25/2017      $5,415.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     11/29/2017        $263.52   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     12/08/2017      $4,560.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     12/09/2017     $10,422.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     12/12/2017     $10,836.00   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     12/13/2017      $5,529.75   Suppliers, Vendors, or Services
A PEACH                 ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                     12/15/2017      $8,640.00   Suppliers, Vendors, or Services



                                                                                      Page 1 of 35                                                                                                   2/22/2018 11:02 AM
                                                                                                                                                                                                           AGACI SOFA 3
                                                                          In re: A'GACI, L.L.C.
                                                                           Case No. 18-50049
                                                                              Attachment 3
                                              Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                    Reason for payment or transfer (e.g.
                                                                                                                                                                    Secured debt, Unsecured loan
                                                                                                                                                  Total amount      repayments, Suppliers or vendors,
Creditor's name   Address 1                           Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                12/20/2017      $1,417.50    Suppliers, Vendors, or Services
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                12/22/2017     $24,140.00    Suppliers, Vendors, or Services
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                12/26/2017      $2,608.50    Suppliers, Vendors, or Services
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                12/29/2017     $11,308.00    Suppliers, Vendors, or Services
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                01/05/2018        $483.00    Suppliers, Vendors, or Services
A PEACH           ANB Apparel, Inc., dba A Peach      735 e. 12th st ste.106       Los Angeles            CA      90021                1/8/2018       $29,785.50    Suppliers, Vendors, or Services
A3 DESIGN         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                10/20/2017      $7,848.75    Suppliers, Vendors, or Services
A3 DESIGN         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                10/21/2017      $2,100.00    Suppliers, Vendors, or Services
A3 DESIGN         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                11/03/2017     $22,331.70    Suppliers, Vendors, or Services
A3 DESIGN         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                11/10/2017     $10,164.00    Suppliers, Vendors, or Services
A3 Design         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                11/22/2017      $9,426.50    Suppliers, Vendors, or Services
A3 DESIGN         SK Graphics Inc dba A3 Design       1612 E 14th Street           Los Angeles            CA      90021                12/16/2017      $1,080.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                10/13/2017     $22,317.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                10/18/2017     $25,532.10    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                10/20/2017     $22,998.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                10/27/2017     $18,212.75    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                10/31/2017      $1,230.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                11/3/2017      $41,062.50    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                11/7/2017       $9,760.50    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                11/10/2017        $696.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                11/14/2017     $41,253.25    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                11/22/2017      $1,845.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/6/2017      $33,608.10    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/6/2017      $26,172.00    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/7/2017       $7,436.10    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/15/2017     $29,149.50    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/21/2017     $18,789.00    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                12/27/2017     $14,208.00    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                1/4/2018        $3,360.00    Suppliers, Vendors, or Services
Active USA        1807 E. 48th Place                                               Los Angeles            CA      90058                1/5/2018        $6,060.00    Suppliers, Vendors, or Services
ACTIVE USA        1807 E. 48th Place                                               Los Angeles            CA      90058                1/5/2018        $2,700.00    Suppliers, Vendors, or Services
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/12/2017      $2,138.51    GARNISHMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/12/2017    $314,198.16    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/13/2017     $13,801.50    401K CONTRIBUTION
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/13/2017      $1,420.00    401K LOAN PAYMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/16/2017      $1,774.82    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/24/2017        $773.87    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/25/2017      $1,297.57    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/26/2017      $1,827.68    GARNISHMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/26/2017    $323,630.20    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/30/2017     $13,044.24    401K CONTRIBUTION
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/30/2017      $1,246.44    401K LOAN PAYMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           10/31/2017        $642.05    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/3/2017           $71.07   PAYROLL FEES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/9/2017       $1,843.88    GARNISHMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/9/2017     $309,944.01    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/10/2017     $11,992.19    401K CONTRIBUTION
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/10/2017      $1,246.44    401K LOAN PAYMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/22/2017     $13,093.86    401K CONTRIBUTION
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/22/2017      $1,246.44    401K LOAN PAYMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/22/2017      $1,843.76    GARNISHMENTS
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/22/2017    $331,649.34    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/27/2017        $912.71    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/28/2017        $323.19    PAYROLL TAXES
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/29/2017          $77.24   401K CONTRIBUTION
ADP               PO Box 842875                                                    Boston                 MA      02284-2875           11/30/2017        $880.21    PAYROLL TAXES



                                                                                Page 2 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                 AGACI SOFA 3
                                                                         In re: A'GACI, L.L.C.
                                                                          Case No. 18-50049
                                                                             Attachment 3
                                             Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                   Reason for payment or transfer (e.g.
                                                                                                                                                                   Secured debt, Unsecured loan
                                                                                                                                                 Total amount      repayments, Suppliers or vendors,
Creditor's name    Address 1                         Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/6/2017           $46.95   PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/7/2017       $1,556.23    GARNISHMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/7/2017     $372,240.13    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/8/2017           $71.07   PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/11/2017     $12,911.67    401K CONTRIBUTION
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/11/2017      $1,330.96    401K LOAN PAYMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/12/2017      $5,343.05    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/13/2017      $1,187.30    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/15/2017        $471.01    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/21/2017      $1,330.15    GARNISHMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/21/2017    $334,430.45    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/26/2017     $12,703.77    401K CONTRIBUTION
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/26/2017      $1,301.00    401K LOAN PAYMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/27/2017    $103,834.14    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           12/28/2017      $1,391.83    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/3/2018          $420.56    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/4/2018        $1,802.77    GARNISHMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/4/2018      $374,833.34    PAYROLL TAXES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/5/2018       $12,233.22    401K CONTRIBUTION
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/5/2018        $1,326.32    401K LOAN PAYMENTS
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/5/2018            $71.07   PAYROLL FEES
ADP                PO Box 842875                                                  Boston                 MA      02284-2875           1/5/2018          $421.56    PAYROLL TAXES
ADP, Inc           PO Box 842875                                                  Boston                 MA      02284-2875           12/13/2017      $6,795.89    Suppliers, Vendors, or Services
A-Ellen Inc        807 E 12th St Suite 118                                        Los Angeles            CA      90021                11/14/2017     $13,350.00    Suppliers, Vendors, or Services
All About Me       2727 Long Beach Avenue                                         Los Angeles            CA      90058                10/20/2017     $16,981.00    Suppliers, Vendors, or Services
Almost Famous      Wells Fargo                       PO BOX 842674                Boston                 MA      02284-2674           10/13/2017     $16,287.00    Suppliers, Vendors, or Services
Almost Famous      Wells Fargo                       PO BOX 842674                Boston                 MA      02284-2674           10/27/2017     $17,437.50    Suppliers, Vendors, or Services
Almost Famous      Wells Fargo                       PO BOX 842674                Boston                 MA      02284-2674           11/3/2017      $14,921.00    Suppliers, Vendors, or Services
Almost Famous      Wells Fargo                       PO BOX 842674                Boston                 MA      02284-2674           11/7/2017      $13,125.75    Suppliers, Vendors, or Services
Almost Famous      Wells Fargo                       PO BOX 842674                Boston                 MA      02284-2674           11/10/2017      $1,462.50    Suppliers, Vendors, or Services
Alythea            1016 S. Towne Ave #106                                         Los Angeles            CA      90021                10/20/2017        $552.00    Suppliers, Vendors, or Services
Alythea            1016 S. Towne Ave #106                                         Los Angeles            CA      90021                10/27/2017      $1,995.30    Suppliers, Vendors, or Services
Alythea            1016 S. Towne Ave #106                                         Los Angeles            CA      90021                10/31/2017      $5,474.00    Suppliers, Vendors, or Services
Alythea            1016 S. Towne Ave #106                                         Los Angeles            CA      90021                11/10/2017      $4,852.25    Suppliers, Vendors, or Services
Alythea            1016 S. Towne Ave #106                                         Los Angeles            CA      90021                11/14/2017      $1,460.00    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                10/13/2017     $33,510.60    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                10/18/2017     $43,840.20    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                10/20/2017     $14,097.90    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                10/27/2017     $55,780.20    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                10/31/2017     $19,412.10    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/3/2017      $88,066.75    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/7/2017      $13,210.80    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/10/2017     $34,180.80    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/14/2017     $53,877.05    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/17/2017      $3,635.25    Suppliers, Vendors, or Services
Ambiance Apparel   2415 E. 15th Street                                            Los Angeles            CA      90021                11/22/2017     $21,893.50    Suppliers, Vendors, or Services
                   ATTN Express Mail Remittance
American Express   Processing                        1200 W 7th St L2-200         Los Angeles            CA      90017                10/26/2017     $20,477.39 Suppliers, Vendors, or Services
                   ATTN Express Mail Remittance
American Express   Processing                        1200 W 7th St L2-200         Los Angeles            CA      90017                11/9/2017       $3,152.57 Suppliers, Vendors, or Services
                   ATTN Express Mail Remittance
American Express   Processing                        1200 W 7th St L2-200         Los Angeles            CA      90017                12/5/2017         $892.86 Suppliers, Vendors, or Services
                   ATTN Express Mail Remittance
American Express   Processing                        1200 W 7th St L2-200         Los Angeles            CA      90017                12/19/2017      $1,184.99 Suppliers, Vendors, or Services
                   ATTN Express Mail Remittance
American Express   Processing                        1200 W 7th St L2-200         Los Angeles            CA      90017                1/4/2018        $1,656.77 Suppliers, Vendors, or Services



                                                                               Page 3 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                AGACI SOFA 3
                                                                                               In re: A'GACI, L.L.C.
                                                                                                Case No. 18-50049
                                                                                                   Attachment 3
                                                                   Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                              Reason for payment or transfer (e.g.
                                                                                                                                                                                              Secured debt, Unsecured loan
                                                                                                                                                                              Total amount    repayments, Suppliers or vendors,
Creditor's name                      Address 1                             Address 2                    City                   State Zip               Country   Date         or value        Services, or Other)
                                     Attn Legal Dept.                      2049 Century Park East       Los Angeles            CA    90067
ANNAPOLIS MALL                                                             41st Fl.                                                                              11/13/2017      $31,136.63   RENT
Ann's Trading Co                     4461 S. Santa Fe Ave                                               Los Angeles            CA     90058                      10/13/2017       $4,620.00   Suppliers, Vendors, or Services
Ann's Trading Co                     4461 S. Santa Fe Ave                                               Los Angeles            CA     90058                      10/20/2017         $703.50   Suppliers, Vendors, or Services
Ann's Trading Co                     4461 S. Santa Fe Ave                                               Los Angeles            CA     90058                      10/27/2017       $3,796.92   Suppliers, Vendors, or Services
APJ Solutions LLC                                                                                                                                                11/28/2017      $14,666.00   Suppliers, Vendors, or Services
APJ Solutions LLC                                                                                                                                                12/19/2017          $94.39   Suppliers, Vendors, or Services
APJ Solutions LLC                                                                                                                                                12/27/2017      $20,332.00   Suppliers, Vendors, or Services
APJ Solutions LLC                                                                                                                                                1/3/2018         $9,344.61   Suppliers, Vendors, or Services
APOLLO APPAREL                       1407 Broadway                         Suite # 2000                 New York               NY     10018                      12/23/2017      $52,108.00   Suppliers, Vendors, or Services
APOLLO APPAREL                       1407 Broadway                         Suite # 2000                 New York               NY     10018                      12/30/2017      $14,960.00   Suppliers, Vendors, or Services
APOLLO APPAREL                       1407 Broadway                         Suite # 2000                 New York               NY     10018                      01/04/2018       $2,736.00   Suppliers, Vendors, or Services
ARIZONA DEPT OF REV                  PO Box 29085                                                       Phoenix                AZ     85038-9079                 10/20/2017      $16,510.95   SALES TAX
ARIZONA DEPT OF REV                  PO Box 29085                                                       Phoenix                AZ     85038-9079                 11/20/2017      $13,583.55   SALES TAX
ARIZONA DEPT OF REV                  PO Box 29085                                                       Phoenix                AZ     85038-9079                 11/28/2017          $60.00   SALES TAX
ARIZONA DEPT OF REV                  PO Box 29085                                                       Phoenix                AZ     85038-9079                 12/20/2017      $19,764.75   SALES TAX
                                                                           #80-43 Paya Lebar
Aspire Systems Consulting Pte        60, Paya Lebar Road                   Square                       Singapore                     409051           Singapore 11/2/2017       $64,130.00 Suppliers, Vendors, or Services
                                                                           #80-43 Paya Lebar
Aspire Systems Consulting Pte        60, Paya Lebar Road                   Square                       Singapore                     409051           Singapore 11/22/2017      $10,880.00 Suppliers, Vendors, or Services
                                                                           #80-43 Paya Lebar
Aspire Systems Consulting Pte        60, Paya Lebar Road                   Square                       Singapore                     409051     Singapore 11/24/2017            $18,980.00   Suppliers, Vendors, or Services
Assurant                             PO Box 843201                                                      Kansas City            MO     64184                11/2/2017             $10,038.63   Suppliers, Vendors, or Services
Assurant                             PO Box 843201                                                      Kansas City            MO     64184                12/6/2017             $10,091.19   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           10/18/2017               $345.00   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           10/20/2017               $122.33   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           11/2/2017             $16,506.07   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           11/8/2017              $2,614.61   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           11/9/2017                $431.75   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           12/8/2017              $6,016.02   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           12/13/2017               $345.00   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           12/19/2017               $200.96   Suppliers, Vendors, or Services
AT & T Box 5019                      P. O. Box 5019                                                     Carol Stream           IL     60197-5019           12/27/2017            $13,213.12   Suppliers, Vendors, or Services
Avenues Mall, LLC                    867550 Reliable Parkway                                            Chicago                IL     60686-0075           11/3/2017             $42,387.56   Rent
Avenues Mall, LLC                    867550 Reliable Parkway                                            Chicago                IL     60686-0075           12/1/2017             $42,387.56   Rent
AVERY DENNISON RBIS MENTOR      OH   PO Box 608                                                         Dayton                 OH     45401                10/24/2017             $4,643.94   Suppliers, Vendors, or Services
AVERY DENNISON RBIS MENTOR      OH   PO Box 608                                                         Dayton                 OH     45401                10/31/2017             $2,714.37   Suppliers, Vendors, or Services
AVERY DENNISON RBIS MENTOR      OH   PO Box 608                                                         Dayton                 OH     45401                11/03/2017             $5,492.61   Suppliers, Vendors, or Services
AVERY DENNISON RBIS MENTOR      OH   PO Box 608                                                         Dayton                 OH     45401                12/02/2017             $1,818.60   Suppliers, Vendors, or Services
AVERY DENNISON RBIS MENTOR      OH   PO Box 608                                                         Dayton                 OH     45401                12/16/2017               $888.06   Suppliers, Vendors, or Services
AWIN Inc                             PO Box 845591                                                      Boston                 MA     02284-5591           11/8/2017             $13,406.36   Suppliers, Vendors, or Services
AWIN Inc                             PO Box 845591                                                      Boston                 MA     02284-5591           11/14/2017            $27,245.33   Suppliers, Vendors, or Services
AWIN Inc                             PO Box 845591                                                      Boston                 MA     02284-5591           11/22/2017            $24,187.94   Suppliers, Vendors, or Services
AWIN Inc                             PO Box 845591                                                      Boston                 MA     02284-5591           11/28/2017            $13,406.36   Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      10/13/2017      $11,279.50 Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      10/18/2017      $29,480.10 Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      10/20/2017      $25,416.00 Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      10/27/2017      $10,416.00 Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      10/31/2017      $20,652.75 Suppliers, Vendors, or Services

Banjul Inc                           C/O General Business Credit           110 E 9th Street, # A-1126 Los Angeles              CA     90079                      11/3/2017       $28,529.00 Suppliers, Vendors, or Services



                                                                                                     Page 4 of 35                                                                                                      2/22/2018 11:02 AM
                                                                                                                                                                                                                             AGACI SOFA 3
                                                                                           In re: A'GACI, L.L.C.
                                                                                            Case No. 18-50049
                                                                                               Attachment 3
                                                               Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                          Reason for payment or transfer (e.g.
                                                                                                                                                                                          Secured debt, Unsecured loan
                                                                                                                                                                          Total amount    repayments, Suppliers or vendors,
Creditor's name                  Address 1                                Address 2                 City                   State Zip               Country   Date         or value        Services, or Other)

Banjul Inc                       C/O General Business Credit              110 E 9th Street, # A-1126 Los Angeles           CA     90079                      11/7/2017        $4,668.75 Suppliers, Vendors, or Services

Banjul Inc                       C/O General Business Credit              110 E 9th Street, # A-1126 Los Angeles           CA     90079                      11/14/2017      $34,272.00   Suppliers, Vendors, or Services
BANK OF AMERICA                  100 N. Tryon St.                                                    Charlotte             NC     28202                      10/19/2017      $80,955.63   LOAN PYMT
BANK OF AMERICA                  100 N. Tryon St.                                                    Charlotte             NC     28202                      11/20/2017      $80,955.63   LOAN PYMT
BANK OF AMERICA                  100 N. Tryon St.                                                    Charlotte             NC     28202                      12/19/2017      $80,955.63   LOAN PYMT
BD COLLECTION                                                                                                                                                11/06/2017      $45,747.60   Suppliers, Vendors, or Services
BD COLLECTION                                                                                                                                                11/20/2017      $12,642.00   Suppliers, Vendors, or Services
BD COLLECTION                                                                                                                                                12/13/2017      $11,284.00   Suppliers, Vendors, or Services
BDO USA LLP                      P.O. Box 31001-0860                                                Pasadena               CA     91110-0860                 10/18/2017       $6,774.00   Suppliers, Vendors, or Services
BDO USA LLP                      P.O. Box 31001-0860                                                Pasadena               CA     91110-0860                 11/2/2017       $10,000.00   Suppliers, Vendors, or Services
BE COOL                          Davar US Inc dba Be Cool                 1016 S Towne Ave #116     Los Angeles            CA     90021                      11/01/2017      $14,421.00   Suppliers, Vendors, or Services
BE COOL                          Davar US Inc dba Be Cool                 1016 S Towne Ave #116     Los Angeles            CA     90021                      11/07/2017         $467.95   Suppliers, Vendors, or Services
BE COOL                          Davar US Inc dba Be Cool                 1016 S Towne Ave #116     Los Angeles            CA     90021                      11/18/2017         $828.00   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      09/30/2017       $4,752.00   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      10/17/2017       $3,690.00   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      10/24/2017       $2,160.00   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      10/31/2017       $5,394.00   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      11/01/2017      $15,315.50   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      11/07/2017       $2,517.50   Suppliers, Vendors, or Services
BEAUTY 21 COSMETICS              2021 South Archibald Ave                                           Ontario                CA     91761                      11/30/2017      $33,005.50   Suppliers, Vendors, or Services

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      11/28/2017      $50,000.00 Restructuring Professionals

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      12/13/2017     $129,129.13 Restructuring Professionals

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      12/20/2017     $109,568.08 Restructuring Professionals

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      12/21/2017      $57,297.92 Restructuring Professionals

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      12/27/2017     $149,255.46 Restructuring Professionals

BERKELEY RESEARCH GROUP          75 State Street 18th Floor, Suite 1805                             Boston                 MA     02109                      1/4/2018       $200,000.00   Restructuring Professionals
Best Security Industries, Inc.   755 NW 17th Avenue, Ste. 101                                       Delray Beach           FL     33445                      10/26/2017      $55,986.90   Suppliers, Vendors, or Services
BETTER BE                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      10/13/2017      $10,842.00   Suppliers, Vendors, or Services
BETTER BE                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      10/27/2017      $10,897.60   Suppliers, Vendors, or Services
Better Be                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      11/10/2017       $1,472.25   Suppliers, Vendors, or Services
BETTER BE                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      11/29/2017         $936.00   Suppliers, Vendors, or Services
BETTER BE                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      12/07/2017         $936.00   Suppliers, Vendors, or Services
BETTER BE                        1537 E. Adams Blvd                                                 Los Angeles            CA     90011                      12/13/2017       $2,994.00   Suppliers, Vendors, or Services
BG&A,LLC                         933 N La Brea, 4th Floor                                           Los Angeles            CA     90038                      10/18/2017      $10,525.00   Suppliers, Vendors, or Services
BG&A,LLC                         933 N La Brea, 4th Floor                                           Los Angeles            CA     90038                      12/13/2017       $5,000.00   Suppliers, Vendors, or Services
BG&A,LLC                         933 N La Brea, 4th Floor                                           Los Angeles            CA     90038                      12/27/2017       $5,000.00   Suppliers, Vendors, or Services
Blossom Clothing, Inc.           110 E. 9th Street # A 804                                          Los Angeles            CA     90079                      10/27/2017      $29,759.80   Suppliers, Vendors, or Services
BLU PEPPER BLU PEPPE             1801 E. 50th St                                                    Los Angeles            CA     90058                      11/28/2017       $9,009.00   Suppliers, Vendors, or Services
BLU PEPPER BLU PEPPE             1801 E. 50th St                                                    Los Angeles            CA     90058                      12/02/2017       $5,024.25   Suppliers, Vendors, or Services
BLU PEPPER BLU PEPPE             1801 E. 50th St                                                    Los Angeles            CA     90058                      12/14/2017      $20,951.65   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      10/01/2017       $1,497.00   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      10/28/2017       $4,201.80   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      10/29/2017      $18,955.25   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      11/05/2017       $5,700.00   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      11/08/2017      $19,647.80   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      11/11/2017         $426.00   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      11/19/2017       $9,333.00   Suppliers, Vendors, or Services
BLUE BLUSH CLOTHING              1015 Crocker St. Unit Q20                                          Los Angeles            CA     90021                      12/03/2017       $2,784.00   Suppliers, Vendors, or Services



                                                                                                 Page 5 of 35                                                                                                      2/22/2018 11:02 AM
                                                                                                                                                                                                                         AGACI SOFA 3
                                                                                                      In re: A'GACI, L.L.C.
                                                                                                       Case No. 18-50049
                                                                                                          Attachment 3
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                    Reason for payment or transfer (e.g.
                                                                                                                                                                                                    Secured debt, Unsecured loan
                                                                                                                                                                                   Total amount     repayments, Suppliers or vendors,
Creditor's name                           Address 1                               Address 2                    City                   State Zip               Country   Date       or value         Services, or Other)
BLUE BLUSH CLOTHING                       1015 Crocker St. Unit Q20                                            Los Angeles            CA    90021                       12/16/2017     $44,243.00   Suppliers, Vendors, or Services
BLUE PLANET INTERNAT                                                                                                                                                    11/09/2017      $7,537.20   Suppliers, Vendors, or Services
BLUE PLANET INTERNAT                                                                                                                                                    11/29/2017      $2,550.00   Suppliers, Vendors, or Services
BLUE PLANET INTERNAT                                                                                                                                                    12/06/2017      $6,780.00   Suppliers, Vendors, or Services
Bluebonnet Electric Cooperative           1916 West San Antonio                                                Lockhart               TX     78644                      10/18/2017      $2,092.39   Suppliers, Vendors, or Services
Bluebonnet Electric Cooperative           1916 West San Antonio                                                Lockhart               TX     78644                      11/2/2017       $2,834.18   Suppliers, Vendors, or Services
Bluebonnet Electric Cooperative           1916 West San Antonio                                                Lockhart               TX     78644                      11/28/2017        $224.71   Suppliers, Vendors, or Services
Bluebonnet Electric Cooperative           1916 West San Antonio                                                Lockhart               TX     78644                      12/27/2017      $1,559.92   Suppliers, Vendors, or Services

Bluemint                                  Galaxy Trim, Inc dba Bluemint           1105 Towne Ave., Suite 4 Los Angeles                CA     90021                      10/20/2017       $520.00 Suppliers, Vendors, or Services

Bluemint                                  Galaxy Trim, Inc dba Bluemint           1105 Towne Ave., Suite 4 Los Angeles                CA     90021                      10/27/2017      $3,198.00 Suppliers, Vendors, or Services

Bluemint                                  Galaxy Trim, Inc dba Bluemint           1105 Towne Ave., Suite 4 Los Angeles                CA     90021                      10/31/2017     $11,960.00 Suppliers, Vendors, or Services
BPC Henderson LLC                         PO Box 72006                                                      Cleveland                 OH     44192-0006                 11/3/2017      $28,366.75 Suppliers, Vendors, or Services
Brandon Shopping Centers Partners, Ltd.   PO Box 532615                                                     Atlanta                   GA     30353-2615                 11/3/2017      $29,184.25 Rent
                                                                                  c/o Bank of America, File
Broward Mall LLC                          Attn Accts Receivable                   51066                     Los Angeles               CA     90074                      11/3/2017      $27,650.10 Rent
                                                                                  c/o Bank of America, File
Broward Mall LLC                          Attn Accts Receivable                   51066                     Los Angeles               CA     90074                      12/1/2017     $27,650.10    Rent
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 10/25/2017   $103,755.00    SALES TAX
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 11/21/2017    $82,781.00    SALES TAX
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 11/29/2017       $134.77    SALES TAX
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 11/30/2017       $135.00    SALES TAX
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 12/13/2017     $1,872.62    SALES TAX
CA DEPT OF REV                            PO BOX 942879                                                     Sacramento                CA     94279-0001                 12/21/2017   $107,257.00    SALES TAX
Cape Robbin Inc                           C/O Hana Financial                      Dept. LA 24406            Pasadena                  CA     91185-4406                 10/18/2017     $1,680.00    Suppliers, Vendors, or Services
Cape Robbin Inc                           C/O Hana Financial                      Dept. LA 24406            Pasadena                  CA     91185-4406                 10/20/2017     $1,952.40    Suppliers, Vendors, or Services
Cape Robbin Inc                           C/O Hana Financial                      Dept. LA 24406            Pasadena                  CA     91185-4406                 11/3/2017      $1,099.40    Suppliers, Vendors, or Services
Cape Robbin Inc                           C/O Hana Financial                      Dept. LA 24406            Pasadena                  CA     91185-4406                 11/22/2017     $5,364.00    Suppliers, Vendors, or Services
Carmin                                    1013 Crocker Street #7                                            Los Angeles               CA     90021                      10/31/2017       $840.00    Suppliers, Vendors, or Services
Carmin                                    1013 Crocker Street #7                                            Los Angeles               CA     90021                      11/10/2017    $16,905.00    Suppliers, Vendors, or Services
Carmin                                    1013 Crocker Street #7                                            Los Angeles               CA     90021                      11/22/2017    $10,290.00    Suppliers, Vendors, or Services
CBL SM-Brownsville, LLC                   Sunrise Mall, CBL#0608                  PO Box 955607             St Louis                  MO     63195-5607                 12/14/2017    $48,707.07    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 10/09/2017    $13,938.36    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 10/13/2017        $26.00    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 10/16/2017      $413.62     Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 10/27/2017      $649.08     Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 10/30/2017     $1,287.54    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 11/02/2017     $1,078.12    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 11/27/2017    $16,760.35    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 11/28/2017        $59.54    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 12/08/2017        $97.46    Suppliers, Vendors, or Services
CDW Direct Vernon Hi Vernon Hills    IL   PO Box 75723                                                      Chicago                   IL     60675-5723                 12/20/2017      $429.83     Suppliers, Vendors, or Services
Cegid Corporation                         2701 Loker Avenue, W, Ste 240                                     Carlsbad                  CA     92010                      10/13/2017    $64,224.24    Suppliers, Vendors, or Services
Celine by Champion                        1016 Towne Ave # 111                                              Los Angeles               CA     90031                      10/18/2017       $627.42    Suppliers, Vendors, or Services
Celine by Champion                        1016 Towne Ave # 111                                              Los Angeles               CA     90031                      10/27/2017     $8,037.00    Suppliers, Vendors, or Services
Celine by Champion                        1016 Towne Ave # 111                                              Los Angeles               CA     90031                      11/3/2017      $5,927.20    Suppliers, Vendors, or Services
CELLO JEANS                               1001 Towne Ave., # 103                                            LOS ANGELES               CA     90021                      10/31/2017     $7,605.00    Suppliers, Vendors, or Services
CELLO JEANS                               1001 Towne Ave., # 103                                            LOS ANGELES               CA     90021                      12/15/2017     $3,657.00    Suppliers, Vendors, or Services
CELLO JEANS                               1001 Towne Ave., # 103                                            LOS ANGELES               CA     90021                      12/27/2017    $27,508.80    Suppliers, Vendors, or Services
CELLO JEANS                               1001 Towne Ave., # 103                                            LOS ANGELES               CA     90021                      12/30/2017     $3,024.00    Suppliers, Vendors, or Services
CHASE BANK                                                                                                                                                              11/1/2017     $20,520.12    INTEREST PD
CHASE BANK                                                                                                                                                              12/1/2017     $26,060.30    INTEREST PD
CHASE BANK                                                                                                                                                              1/2/2018      $32,075.17    INTEREST PD
Cherry Mellow Inc                         777 East 12th Street Unit 1-6                                        Los Angeles            CA     90021                      10/20/2017    $15,432.15    Suppliers, Vendors, or Services



                                                                                                            Page 6 of 35                                                                                                     2/22/2018 11:02 AM
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                                                                                                  In re: A'GACI, L.L.C.
                                                                                                   Case No. 18-50049
                                                                                                      Attachment 3
                                                                      Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                Reason for payment or transfer (e.g.
                                                                                                                                                                                                Secured debt, Unsecured loan
                                                                                                                                                                               Total amount     repayments, Suppliers or vendors,
Creditor's name                       Address 1                               Address 2                    City                   State   Zip             Country   Date       or value         Services, or Other)
Cherry Mellow Inc                     777 East 12th Street Unit 1-6                                        Los Angeles            CA      90021                     10/27/2017      $1,797.00   Suppliers, Vendors, or Services
Cherry Mellow Inc                     777 East 12th Street Unit 1-6                                        Los Angeles            CA      90021                     11/10/2017     $33,996.75   Suppliers, Vendors, or Services
Cherry Mellow Inc                     777 East 12th Street Unit 1-6                                        Los Angeles            CA      90021                     11/14/2017     $28,672.50   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     10/13/2017      $3,384.00   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     10/20/2017      $1,630.80   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     10/27/2017        $805.50   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     10/31/2017      $2,960.25   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     11/3/2017       $2,705.70   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     11/7/2017       $1,329.60   Suppliers, Vendors, or Services
Chocolate Jewellery.com               10W 33RD STREET #230                                                 New York               NY      10001                     11/10/2017        $446.40   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     10/13/2017      $4,027.50   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     10/18/2017      $7,526.40   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     10/27/2017      $2,499.00   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     10/31/2017        $696.00   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     11/3/2017      $19,108.00   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     11/7/2017      $30,491.15   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     11/10/2017     $10,647.90   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     11/14/2017     $55,785.10   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     11/22/2017     $12,393.00   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     12/15/2017     $47,889.85   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     1/5/2018        $3,999.00   Suppliers, Vendors, or Services
Chocolate U.S.A.                      732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     1/8/2018       $20,581.75   Suppliers, Vendors, or Services
CHOCOLATE USA                         732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     1/5/2018        $3,999.00   Suppliers, Vendors, or Services
CHOCOLATE USA                         732 E. 10th Street                      STE 106                      Los Angeles            CA      90021                     1/8/2018       $20,581.75   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     10/16/2017     $71,773.45   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     10/18/2017     $47,975.25   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/01/2017     $29,075.60   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/08/2017     $62,217.05   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/10/2017     $23,664.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/14/2017     $54,699.40   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/20/2017     $21,752.85   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/21/2017     $61,808.45   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     11/29/2017      $7,068.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     12/04/2017     $13,404.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     12/07/2017     $11,475.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     12/20/2017      $9,273.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     12/21/2017      $3,096.00   Suppliers, Vendors, or Services
CI SONO BY CAVALINI                   1536 S. Alameda St                                                   Los Angeles            CA      90021                     12/22/2017      $1,188.00   Suppliers, Vendors, or Services
                                                                              6716 Grade Lane Bldg 9,
Citi Bank                             ATTNExpress Mail Remit Process          Ste 910                      Louiseville            KY      40213                     10/26/2017      $1,063.51 Suppliers, Vendors, or Services
                                                                              6716 Grade Lane Bldg 9,
Citi Bank                             ATTNExpress Mail Remit Process          Ste 910                      Louiseville            KY      40213                     11/28/2017      $5,595.54 Suppliers, Vendors, or Services
                                                                              6716 Grade Lane Bldg 9,
Citi Bank                             ATTNExpress Mail Remit Process          Ste 910                      Louiseville            KY      40213                     1/2/2018        $3,229.17   Suppliers, Vendors, or Services
Citrus Park Mall Owner LLC            PO Box 532627                                                        Atlanta                GA      30353-2627                11/3/2017      $30,322.58   Rent
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     11/8/2017      $34,672.82   Suppliers, Vendors, or Services
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     11/28/2017     $67,327.50   Suppliers, Vendors, or Services
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     12/6/2017      $10,965.55   Suppliers, Vendors, or Services
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     12/13/2017     $19,775.03   Suppliers, Vendors, or Services
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     12/19/2017     $11,440.39   Suppliers, Vendors, or Services
City Logistics & Transportation Inc   PO Box 894833                                                        Los Angeles            CA      90189                     12/27/2017     $33,267.99   Suppliers, Vendors, or Services
City Public Service                   P.O. Box 2678                                                        San Antonio            TX      78289-0001                10/20/2017     $11,679.95   Suppliers, Vendors, or Services
City Public Service                   P.O. Box 2678                                                        San Antonio            TX      78289-0001                11/14/2017      $3,406.99   Suppliers, Vendors, or Services
City Public Service                   P.O. Box 2678                                                        San Antonio            TX      78289-0001                12/8/2017       $9,442.38   Suppliers, Vendors, or Services
City Public Service                   P.O. Box 2678                                                        San Antonio            TX      78289-0001                12/13/2017      $1,554.13   Suppliers, Vendors, or Services
City Public Service                   P.O. Box 2678                                                        San Antonio            TX      78289-0001                12/19/2017      $5,522.65   Suppliers, Vendors, or Services



                                                                                                        Page 7 of 35                                                                                                     2/22/2018 11:02 AM
                                                                                                                                                                                                                               AGACI SOFA 3
                                                                                    In re: A'GACI, L.L.C.
                                                                                     Case No. 18-50049
                                                                                        Attachment 3
                                                        Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                              Reason for payment or transfer (e.g.
                                                                                                                                                                              Secured debt, Unsecured loan
                                                                                                                                                            Total amount      repayments, Suppliers or vendors,
Creditor's name            Address 1                            Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
ComEd                      P. O. Box 6111                                                    Carol Stream           IL      60197-6111           10/18/2017      $2,208.11    Suppliers, Vendors, or Services
ComEd                      P. O. Box 6111                                                    Carol Stream           IL      60197-6111           10/20/2017      $1,185.41    Suppliers, Vendors, or Services
ComEd                      P. O. Box 6111                                                    Carol Stream           IL      60197-6111           11/9/2017         $790.19    Suppliers, Vendors, or Services
ComEd                      P. O. Box 6111                                                    Carol Stream           IL      60197-6111           11/14/2017      $3,320.43    Suppliers, Vendors, or Services
ComEd                      P. O. Box 6111                                                    Carol Stream           IL      60197-6111           12/19/2017      $3,766.93    Suppliers, Vendors, or Services
CoolSprings Mall, LLC      PO Box 74906                                                      Cleveland              OH      44194-4906           11/3/2017      $37,155.42    Rent
CoolSprings Mall, LLC      PO Box 74906                                                      Cleveland              OH      44194-4906           12/1/2017      $37,155.42    Rent
Co-Pack, Inc.              150 W. Carob Street                                               Compton                CA      90220                11/8/2017      $15,803.49    Suppliers, Vendors, or Services
Co-Pack, Inc.              150 W. Carob Street                                               Compton                CA      90220                12/27/2017     $36,075.00    Suppliers, Vendors, or Services
Co-Pack, Inc.              150 W. Carob Street                                               Compton                CA      90220                1/5/2018        $5,307.57    Suppliers, Vendors, or Services
Coral-CS Ltd Associates    867520 Reliable Parkway                                           Chicago                IL      60686-0075           11/3/2017      $29,754.87    Rent
Coral-CS Ltd Associates    867520 Reliable Parkway                                           Chicago                IL      60686-0075           12/1/2017      $29,754.87    Rent
Coyote Logistics LLC       PO Box 742636                                                     Atlanta                GA      30374                11/28/2017      $8,898.25    Suppliers, Vendors, or Services
Coyote Logistics LLC       PO Box 742636                                                     Atlanta                GA      30374                12/6/2017       $6,650.00    Suppliers, Vendors, or Services
Coyote Logistics LLC       PO Box 742636                                                     Atlanta                GA      30374                12/13/2017      $2,250.00    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    09/30/2017      $7,448.67    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    10/20/2017     $21,529.34    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    11/07/2017     $32,570.20    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    11/30/2017     $13,051.45    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    12/20/2017     $19,736.57    Suppliers, Vendors, or Services
CPI ONE POINT                                                                                                                                    12/30/2017      $7,749.60    Suppliers, Vendors, or Services
CS Inc dba Chesterline     9900 Bell Ranch Dr #105                                           Santa Fe Springs       CA      90670                10/20/2017      $4,002.00    Suppliers, Vendors, or Services
CS Inc dba Chesterline     9900 Bell Ranch Dr #105                                           Santa Fe Springs       CA      90670                10/27/2017      $3,497.80    Suppliers, Vendors, or Services
CS Inc dba Chesterline     9900 Bell Ranch Dr #105                                           Santa Fe Springs       CA      90670                10/31/2017      $1,140.00    Suppliers, Vendors, or Services
Cyrus JM Corp              29 West 30th Street, 4th Floor                                    New York               NY      10001                10/13/2017      $1,080.00    Suppliers, Vendors, or Services
Cyrus JM Corp              29 West 30th Street, 4th Floor                                    New York               NY      10001                10/20/2017        $540.00    Suppliers, Vendors, or Services
Cyrus JM Corp              29 West 30th Street, 4th Floor                                    New York               NY      10001                11/3/2017       $4,333.96    Suppliers, Vendors, or Services
Cyrus JM Corp              29 West 30th Street, 4th Floor                                    New York               NY      10001                11/7/2017         $728.00    Suppliers, Vendors, or Services
Cyrus JM Corp              29 West 30th Street, 4th Floor                                    New York               NY      10001                11/14/2017      $2,069.98    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           10/26/2017      $3,185.80    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           11/8/2017       $3,161.93    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           11/14/2017          $64.32   Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           11/28/2017      $3,185.80    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           12/6/2017         $267.36    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           12/13/2017      $3,559.27    Suppliers, Vendors, or Services
Dahill Industries          P.O. Box 205354                                                   Dallas                 TX      75320-5354           1/2/2018        $3,737.25    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                10/13/2017      $8,536.82    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                10/27/2017      $8,625.80    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                10/31/2017      $1,487.20    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                11/7/2017      $10,376.28    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                11/10/2017        $366.00    Suppliers, Vendors, or Services
David & Young Group Corp   903 Castle Rd                                                     Secaucus               NJ      07094                11/17/2017     $10,563.50    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           10/13/2017     $56,401.00    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           10/18/2017      $6,004.00    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           10/27/2017    $111,757.00    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           10/31/2017     $17,839.60    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           11/3/2017      $74,234.60    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           11/7/2017         $434.00    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           11/10/2017        $604.80    Suppliers, Vendors, or Services
Day G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           11/14/2017     $50,930.75    Suppliers, Vendors, or Services
DAY G                      c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           1/8/2018        $4,080.00    Suppliers, Vendors, or Services
DAY G WAREHOUSE            c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           12/02/2017     $49,234.50    Suppliers, Vendors, or Services
DAY G WAREHOUSE            c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           12/05/2017     $49,213.25    Suppliers, Vendors, or Services
DAY G WAREHOUSE            c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           12/06/2017     $34,476.00    Suppliers, Vendors, or Services
DAY G WAREHOUSE            c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           12/07/2017     $44,453.00    Suppliers, Vendors, or Services
DAY G WAREHOUSE            c/o Prime Business Credit, Inc       PO Box 741084                Los Angeles            CA      90074-1084           12/15/2017     $24,823.50    Suppliers, Vendors, or Services



                                                                                          Page 8 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                           AGACI SOFA 3
                                                                                                   In re: A'GACI, L.L.C.
                                                                                                    Case No. 18-50049
                                                                                                       Attachment 3
                                                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                            Reason for payment or transfer (e.g.
                                                                                                                                                                                            Secured debt, Unsecured loan
                                                                                                                                                                           Total amount     repayments, Suppliers or vendors,
Creditor's name                              Address 1                         Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
DAY G WAREHOUSE                              c/o Prime Business Credit, Inc    PO Box 741084                Los Angeles            CA      90074-1084           12/22/2017     $49,716.25   Suppliers, Vendors, or Services
DAY G WAREHOUSE                              c/o Prime Business Credit, Inc    PO Box 741084                Los Angeles            CA      90074-1084           12/23/2017     $46,479.75   Suppliers, Vendors, or Services
DAY G WAREHOUSE                              c/o Prime Business Credit, Inc    PO Box 741084                Los Angeles            CA      90074-1084           01/03/2018      $6,872.25   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                10/13/2017        $172.90   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                10/18/2017     $19,793.30   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                10/20/2017      $7,686.00   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                10/27/2017        $800.80   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                11/3/2017         $200.00   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                11/7/2017       $1,393.60   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                11/17/2017     $35,692.69   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                11/22/2017      $1,427.50   Suppliers, Vendors, or Services
De Novo Imports Inc.                         51 Harts Way, 2nd Floor                                        Secaucus               NJ      07094                12/1/2017      $15,697.60   Suppliers, Vendors, or Services
DEBUT                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           10/20/2017      $1,128.00   Suppliers, Vendors, or Services
DEBUT                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           10/28/2017     $36,795.00   Suppliers, Vendors, or Services
Debut                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           11/10/2017      $1,128.00   Suppliers, Vendors, or Services
Debut                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           11/14/2017        $320.00   Suppliers, Vendors, or Services
DEBUT                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           12/01/2017        $577.50   Suppliers, Vendors, or Services
DEBUT                                        c/o Prime Business Credit Inc     PO Box 741084                Los Angeles            CA      90074-1084           12/09/2017      $1,421.00   Suppliers, Vendors, or Services
Deerbrook Mall, LLC                          SDS-12-3048                       PO Box 86                    Minneapolis            MN      55486-3048           11/13/2017     $30,004.00   Rent
Deerbrook Mall, LLC                          SDS-12-3048                       PO Box 86                    Minneapolis            MN      55486-3048           12/6/2017      $30,004.00   Rent
Del Amo Fashion Center Op Company, LLC       PO Box 409657                                                  Atlanta                GA      30384-9657           11/3/2017      $42,012.62   Rent
Del Amo Fashion Center Op Company, LLC       PO Box 409657                                                  Atlanta                GA      30384-9657           12/1/2017      $42,012.62   Rent
Dell Financial Services                      PAYMENT PROCESSING CTR.           P.O. Box 5292                Carol Stream           IL      60197-5292           11/2/2017       $4,043.99   Suppliers, Vendors, or Services
Dell Financial Services                      PAYMENT PROCESSING CTR.           P.O. Box 5292                Carol Stream           IL      60197-5292           12/13/2017      $8,087.98   Suppliers, Vendors, or Services
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                10/11/2017        $517.50   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                10/19/2017      $3,517.18   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                10/24/2017     $47,200.53   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                11/16/2017     $23,769.47   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                11/17/2017      $1,138.50   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                11/20/2017      $1,959.71   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                11/22/2017     $33,469.91   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                12/12/2017      $5,077.52   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                12/18/2017     $54,000.00   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                12/20/2017      $5,958.39   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                12/22/2017     $65,770.50   SALES TAX
DEPT DE HACIENDA                             Edificio Intendente Ramirez       10 Paseo Covadonga           San Juan               PR      00901                1/2/2018       $63,000.00   SALES TAX
DMA                                          P.O. Box 1627                                                  Indianapolis           IN      46206-1627           11/6/2017       $4,333.45   TAXES
DMA                                          P.O. Box 1627                                                  Indianapolis           IN      46206-1627           11/24/2017     $16,736.96   TAXES
DMA                                          P.O. Box 1627                                                  Indianapolis           IN      46206-1627           12/11/2017      $3,005.93   TAXES
DMA                                          P.O. Box 1627                                                  Indianapolis           IN      46206-1627           1/3/2018      $397,884.39   TAXES
DND Fashion Inc                              DND Fashion Inc dba Anna Shoes    18521 Railroad St            City of Industry       CA      91748                10/13/2017        $207.00   Suppliers, Vendors, or Services
DND Fashion Inc                              DND Fashion Inc dba Anna Shoes    18521 Railroad St            City of Industry       CA      91748                10/27/2017      $4,077.60   Suppliers, Vendors, or Services
DND Fashion Inc                              DND Fashion Inc dba Anna Shoes    18521 Railroad St            City of Industry       CA      91748                11/3/2017         $465.60   Suppliers, Vendors, or Services
DND Fashion Inc                              DND Fashion Inc dba Anna Shoes    18521 Railroad St            City of Industry       CA      91748                11/10/2017     $31,720.10   Suppliers, Vendors, or Services
DND Fashion Inc                              DND Fashion Inc dba Anna Shoes    18521 Railroad St            City of Industry       CA      91748                11/17/2017      $1,843.00   Suppliers, Vendors, or Services
Do & Be Clothing Inc                         1016 South Towne Ave              STE # 101                    Los Angeles            CA      90021                10/18/2017      $7,295.75   Suppliers, Vendors, or Services
DO + BE COLLECTION                           1016 South Towne Ave              STE # 101                    Los Angeles            CA      90021                10/11/2017     $19,731.25   Suppliers, Vendors, or Services
DO+BE COLLECTION                             1016 South Towne Ave              STE # 101                    Los Angeles            CA      90021                11/21/2017     $22,986.40   Suppliers, Vendors, or Services
DO+BE COLLECTION                             1016 South Towne Ave              STE # 101                    Los Angeles            CA      90021                12/19/2017      $2,422.75   Suppliers, Vendors, or Services
Dolphin Mall Associates, LLC                 Department 189501                 PO Box 67000                 Detroit                MI      48267-1895           11/3/2017     $100,930.29   Rent
Dolphin Mall Associates, LLC                 Department 189501                 PO Box 67000                 Detroit                MI      48267-1895           12/1/2017     $100,930.29   Rent
Donald R. Borg Construction Co               930 Morse Ave                                                  Schaumburg             IL      60193                10/12/2017     $61,017.85   Suppliers, Vendors, or Services
Double Zero                                  1015 S. Crocker St. #Q-28                                      Los Angeles            CA      90021                10/18/2017        $405.00   Suppliers, Vendors, or Services
Double Zero                                  1015 S. Crocker St. #Q-28                                      Los Angeles            CA      90021                11/7/2017      $35,874.25   Suppliers, Vendors, or Services
Douglas Christopher Love Construction, Inc   18351 Beach Blvd., Suite H                                     Huntington Beach       CA      92648                10/18/2017      $4,559.90   Suppliers, Vendors, or Services
Douglas Christopher Love Construction, Inc   18351 Beach Blvd., Suite H                                     Huntington Beach       CA      92648                11/14/2017      $5,692.37   Suppliers, Vendors, or Services



                                                                                                         Page 9 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                                         AGACI SOFA 3
                                                                                                      In re: A'GACI, L.L.C.
                                                                                                       Case No. 18-50049
                                                                                                          Attachment 3
                                                                          Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                    Reason for payment or transfer (e.g.
                                                                                                                                                                                                    Secured debt, Unsecured loan
                                                                                                                                                                                   Total amount     repayments, Suppliers or vendors,
Creditor's name                              Address 1                            Address 2                    City                   State   Zip             Country   Date       or value         Services, or Other)
Douglas Christopher Love Construction, Inc   18351 Beach Blvd., Suite H                                        Huntington Beach       CA      92648                     11/22/2017        $300.00   Suppliers, Vendors, or Services
Douglas Christopher Love Construction, Inc   18351 Beach Blvd., Suite H                                        Huntington Beach       CA      92648                     12/6/2017         $830.00   Suppliers, Vendors, or Services
DUELLE FASHION                               717 Stanford Ave                                                  Los Angeles            CA      90021                     11/06/2017     $10,387.80   Suppliers, Vendors, or Services
DUELLE FASHION                               717 Stanford Ave                                                  Los Angeles            CA      90021                     11/16/2017      $7,296.00   Suppliers, Vendors, or Services
DUELLE FASHION                               717 Stanford Ave                                                  Los Angeles            CA      90021                     11/21/2017      $5,200.00   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     10/10/2017     $10,090.08   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     10/13/2017     $14,866.68   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     11/09/2017      $2,138.40   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     11/23/2017     $11,835.48   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     11/28/2017      $2,158.92   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     11/29/2017      $3,965.76   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/01/2017     $39,894.36   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/02/2017     $23,950.08   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/06/2017     $13,407.84   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/07/2017     $17,664.00   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/09/2017      $7,033.92   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/13/2017      $1,419.60   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/20/2017      $1,146.96   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     12/22/2017     $12,458.31   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     01/03/2018      $8,436.50   Suppliers, Vendors, or Services
EAST LION CORPORATIO                         18525 Railroad Street                                             City of Industry       CA      91748                     01/05/2018     $16,909.20   Suppliers, Vendors, or Services

EklecCo NewCo LLC                            M&T Bank                             PO Box 8000, Dept. #535 Buffalo                     NY      14267                     11/3/2017      $25,518.11 Rent

EklecCo NewCo LLC                            M&T Bank                             PO Box 8000, Dept. #535      Buffalo                NY      14267                     12/1/2017      $25,518.11   Rent
Elad Import Inc.dba Daniel Jeans             Elad Import, Inc.dba Daniel Jeans    788 E 12th Street            Los Angeles            CA      90021                     10/20/2017       $350.00    Suppliers, Vendors, or Services
Elad Import Inc.dba Daniel Jeans             Elad Import, Inc.dba Daniel Jeans    788 E 12th Street            Los Angeles            CA      90021                     10/27/2017     $18,676.80   Suppliers, Vendors, or Services
Elad Import Inc.dba Daniel Jeans             Elad Import, Inc.dba Daniel Jeans    788 E 12th Street            Los Angeles            CA      90021                     11/3/2017         $784.00   Suppliers, Vendors, or Services
Elad Import Inc.dba Daniel Jeans             Elad Import, Inc.dba Daniel Jeans    788 E 12th Street            Los Angeles            CA      90021                     11/10/2017     $15,704.80   Suppliers, Vendors, or Services
Elad Import Inc.dba Daniel Jeans             Elad Import, Inc.dba Daniel Jeans    788 E 12th Street            Los Angeles            CA      90021                     11/14/2017     $12,138.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     10/13/2017      $4,860.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     10/18/2017     $26,400.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     10/20/2017     $86,689.55   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     10/31/2017     $25,820.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     11/3/2017      $32,393.10   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     11/7/2017      $20,520.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     11/10/2017      $1,044.00   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     11/14/2017     $63,420.75   Suppliers, Vendors, or Services
Elegance Enterprise Corp                     18217 RailRoad Street                                             City of Industry       CA      91748                     11/22/2017     $30,712.50   Suppliers, Vendors, or Services
Elegant Footwear                             Hana Financial, Inc                  Dept LA 24406                Pasadena               CA      91185                     11/17/2017      $6,632.25   Suppliers, Vendors, or Services
Elegant Footwear                             Hana Financial, Inc                  Dept LA 24406                Pasadena               CA      91185                     11/22/2017     $10,258.85   Suppliers, Vendors, or Services
Elite Model                                  345 North Maple Dr. #397                                          Beverly Hills          CA      90210                     11/28/2017      $7,200.00   Suppliers, Vendors, or Services
Elite Model Management Miami LLC             245 Fifth Avenue, Fl 24                                           New York               NY      10016                     11/8/2017       $7,200.00   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     10/13/2017     $10,812.00   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     10/20/2017      $6,545.00   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     10/27/2017      $5,792.75   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     10/31/2017     $16,719.00   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     11/10/2017         $67.00   Suppliers, Vendors, or Services
Emvlem Inc dba Whisper                       1744 S. Santee St.                                                Los Angeles            CA      90015                     11/14/2017      $7,950.00   Suppliers, Vendors, or Services
ENCINA BUSINESS CREDIT                       123 North Wacker Suite 2400                                       Chicago                IL      60606                     11/30/2017     $50,000.00   Restructuring Professionals
ENCINA BUSINESS CREDIT                       123 North Wacker Suite 2400                                       Chicago                IL      60606                     12/6/2017      $27,000.00   Restructuring Professionals
ENCINA BUSINESS CREDIT                       123 North Wacker Suite 2400                                       Chicago                IL      60606                     12/18/2017     $25,000.00   Restructuring Professionals
Enterprise Eagle Pass Associates, LP         PO Box 205948                                                     Dallas                 TX      75320-5948                10/25/2017     $18,617.35   Suppliers, Vendors, or Services
Enterprise Eagle Pass Associates, LP         PO Box 205948                                                     Dallas                 TX      75320-5948                11/24/2017     $18,617.35   Suppliers, Vendors, or Services
ENTRY                                        1530 E 25th Street                                                Los Angeles            CA      90011                     10/31/2017     $41,588.50   Suppliers, Vendors, or Services
ENTRY                                        1530 E 25th Street                                                Los Angeles            CA      90011                     11/15/2017     $61,554.25   Suppliers, Vendors, or Services



                                                                                                           Page 10 of 35                                                                                                     2/22/2018 11:02 AM
                                                                                                                                                                                                                                   AGACI SOFA 3
                                                                                                In re: A'GACI, L.L.C.
                                                                                                 Case No. 18-50049
                                                                                                    Attachment 3
                                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                         Reason for payment or transfer (e.g.
                                                                                                                                                                                         Secured debt, Unsecured loan
                                                                                                                                                                        Total amount     repayments, Suppliers or vendors,
Creditor's name                      Address 1                              Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
ENTRY                                1530 E 25th Street                                                  Los Angeles            CA      90011                11/16/2017     $60,971.75   Suppliers, Vendors, or Services
ENTRY                                1530 E 25th Street                                                  Los Angeles            CA      90011                11/25/2017     $32,372.50   Suppliers, Vendors, or Services
ENTRY                                1530 E 25th Street                                                  Los Angeles            CA      90011                12/27/2017     $58,932.25   Suppliers, Vendors, or Services
Entry Inc. dba Alt B                 766 E. 12th St. #C                                                  Los Angeles            CA      90021                10/18/2017     $27,577.25   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                10/05/2017      $5,408.25   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                11/02/2017        $472.50   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                11/18/2017        $981.00   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                11/29/2017      $1,483.50   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                12/01/2017      $1,462.50   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                12/12/2017      $1,251.00   Suppliers, Vendors, or Services
ESSUE CLOTHING                       1100 S. San Pedro # B7                                              Los Angeles            CA      90015                12/15/2017        $720.00   Suppliers, Vendors, or Services
Event                                c/o Hana Financial                     Dept. LA 24406               Pasadena               CA      91185-4406           11/22/2017      $6,560.75   Suppliers, Vendors, or Services
Event                                c/o Hana Financial                     Dept. LA 24406               Pasadena               CA      91185-4406           1/6/2018        $4,401.20   Suppliers, Vendors, or Services
Ever                                 1458 S. San Pedro St #129                                           Los Angeles            CA      90015                10/20/2017      $3,182.50   Suppliers, Vendors, or Services
Ever                                 1458 S. San Pedro St #129                                           Los Angeles            CA      90015                10/27/2017      $3,812.20   Suppliers, Vendors, or Services
Exclusive Artists Management, Inc.   7700 Sunset Blvd., Suite 205                                        Los Angeles            CA      90046                10/13/2017      $3,300.00   Suppliers, Vendors, or Services
Exclusive Artists Management, Inc.   7700 Sunset Blvd., Suite 205                                        Los Angeles            CA      90046                11/28/2017      $2,200.00   Suppliers, Vendors, or Services
Exclusive Artists Management, Inc.   7700 Sunset Blvd., Suite 205                                        Los Angeles            CA      90046                12/6/2017       $1,100.00   Suppliers, Vendors, or Services
Exclusive Artists Management, Inc.   7700 Sunset Blvd., Suite 205                                        Los Angeles            CA      90046                12/13/2017        $550.00   Suppliers, Vendors, or Services
Exclusive Artists Management, Inc.   7700 Sunset Blvd., Suite 205                                        Los Angeles            CA      90046                1/4/2018        $8,250.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       09/29/2017        $750.07   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       09/30/2017        $758.47   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/02/2017        $750.51   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/05/2017        $750.10   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/07/2017        $750.50   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/08/2017        $750.34   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/10/2017        $750.04   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/12/2017        $750.16   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/14/2017        $750.40   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/16/2017        $750.35   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/21/2017        $751.13   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/24/2017        $750.97   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/25/2017        $751.53   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/27/2017        $751.33   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/28/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/29/2017        $750.01   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       10/31/2017      $1,022.22   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/02/2017        $750.49   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/03/2017        $750.06   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/06/2017        $750.24   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/08/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/10/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/13/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/15/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/16/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/18/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/19/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/21/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/22/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/23/2017      $1,500.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/24/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/25/2017      $1,500.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/26/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/27/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/28/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                       11/29/2017        $750.00   Suppliers, Vendors, or Services



                                                                                                     Page 11 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                                      AGACI SOFA 3
                                                                                            In re: A'GACI, L.L.C.
                                                                                             Case No. 18-50049
                                                                                                Attachment 3
                                                                Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                          Reason for payment or transfer (e.g.
                                                                                                                                                                                          Secured debt, Unsecured loan
                                                                                                                                                                         Total amount     repayments, Suppliers or vendors,
Creditor's name                     Address 1                           Address 2                    City                   State Zip               Country   Date       or value         Services, or Other)
FACEBK                                                                                                                                                        11/30/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/01/2017        $392.77   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/06/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/07/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/08/2017        $750.43   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/09/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/10/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/11/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/13/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/14/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/16/2017        $750.17   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/18/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/20/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/23/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/26/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/29/2017        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        12/31/2017        $435.60   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        01/02/2018        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        01/06/2018        $750.00   Suppliers, Vendors, or Services
FACEBK                                                                                                                                                        01/08/2018        $749.79   Suppliers, Vendors, or Services
Factor Model Management L.A. Inc    400 N. Michigan Ave Ste 700                                      Chicago                IL     60611                      11/8/2017       $2,400.00   Suppliers, Vendors, or Services
Factor Model Management L.A. Inc    400 N. Michigan Ave Ste 700                                      Chicago                IL     60611                      11/22/2017      $2,400.00   Suppliers, Vendors, or Services
Factor Model Management L.A. Inc    400 N. Michigan Ave Ste 700                                      Chicago                IL     60611                      11/28/2017      $2,400.00   Suppliers, Vendors, or Services
Factor Model Management L.A. Inc    400 N. Michigan Ave Ste 700                                      Chicago                IL     60611                      1/4/2018        $4,800.00   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      10/20/2017     $26,788.54   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      10/27/2017      $8,977.61   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      10/31/2017     $20,285.82   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      11/3/2017      $20,796.00   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      11/7/2017       $3,570.50   Suppliers, Vendors, or Services
Fame Accessories                    948 Crocker St #6                                                Los Angeles            CA     90021                      11/14/2017      $8,102.75   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      10/05/2017      $2,241.86   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      10/19/2017        $747.29   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      11/08/2017      $2,311.20   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      11/10/2017      $1,437.54   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      12/09/2017      $1,992.76   Suppliers, Vendors, or Services
FANTAS EYES INC                     40 Camptown Road                                                 Maplewood              NJ     07040                      12/28/2017      $1,550.45   Suppliers, Vendors, or Services
Fashion Avenue Sweater Knits. LLC   525 Seventh Ave., Suite 400                                      New York               NY     40018                      11/16/2017     $74,471.00   Suppliers, Vendors, or Services
Fashion Daily                       Margaret Kim dba Fashion Daily      401 N Serrano Ave #304       Los Angeles,           CA     90004                      10/26/2017      $4,000.00   Suppliers, Vendors, or Services
Fashion Daily                       Margaret Kim dba Fashion Daily      401 N Serrano Ave #304       Los Angeles,           CA     90004                      11/30/2017      $3,000.00   Suppliers, Vendors, or Services
Fashion Daily                       Margaret Kim dba Fashion Daily      401 N Serrano Ave #304       Los Angeles,           CA     90004                      12/28/2017      $3,000.00   Suppliers, Vendors, or Services
Fashion Queen Mania Inc             800 E 12th Street #402                                           Los Angeles            CA     90021                      10/27/2017      $1,282.50   Suppliers, Vendors, or Services
Fashion Queen Mania Inc             800 E 12th Street #402                                           Los Angeles            CA     90021                      11/14/2017      $9,929.75   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      10/13/2017      $3,595.80   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      10/20/2017     $20,926.20   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      10/27/2017     $18,683.80   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      11/3/2017      $28,106.45   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      11/7/2017       $4,005.00   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      11/14/2017      $4,816.00   Suppliers, Vendors, or Services
Fashion Vitamin Inc.                2641 Nevin Ave                                                   Los Angeles            CA     90011                      11/17/2017        $553.50   Suppliers, Vendors, or Services
FAVLUX BY DOUBLE ZER                Double Zero Inc dba FAVLUX          5808 Wilmington Ave          Huntington Park        CA     90058                      11/10/2017     $16,650.00   Suppliers, Vendors, or Services
FAVLUX BY DOUBLE ZER                Double Zero Inc dba FAVLUX          5808 Wilmington Ave          Huntington Park        CA     90058                      11/14/2017     $11,677.50   Suppliers, Vendors, or Services
FAVLUX BY DOUBLE ZER                Double Zero Inc dba FAVLUX          5808 Wilmington Ave          Huntington Park        CA     90058                      12/08/2017      $4,042.50   Suppliers, Vendors, or Services
FEDEX                               2200 FORWARD DRIVE                                               HARRISON               AK     72601-2004                 09/30/2017        $584.73   Suppliers, Vendors, or Services
FEDEX                               2200 FORWARD DRIVE                                               HARRISON               AK     72601-2004                 10/02/2017        $399.25   Suppliers, Vendors, or Services
FEDEX                               2200 FORWARD DRIVE                                               HARRISON               AK     72601-2004                 10/04/2017        $271.27   Suppliers, Vendors, or Services
FEDEX                               2200 FORWARD DRIVE                                               HARRISON               AK     72601-2004                 10/05/2017        $159.27   Suppliers, Vendors, or Services



                                                                                                 Page 12 of 35                                                                                                   2/22/2018 11:02 AM
                                                                                                                                                                                                                       AGACI SOFA 3
                                                                   In re: A'GACI, L.L.C.
                                                                    Case No. 18-50049
                                                                       Attachment 3
                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                             Reason for payment or transfer (e.g.
                                                                                                                                                             Secured debt, Unsecured loan
                                                                                                                                           Total amount      repayments, Suppliers or vendors,
Creditor's name   Address 1                    Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/07/2017          $32.28   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/10/2017          $24.61   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/11/2017          $21.99   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/11/2017          $23.29   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/12/2017          $51.92   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/14/2017      $1,046.73    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/16/2017        $146.33    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/17/2017          $59.81   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/18/2017          $96.52   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/18/2017          $31.83   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/19/2017          $63.80   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/21/2017        $135.95    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/23/2017          $38.56   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/24/2017          $68.03   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/25/2017        $325.43    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/26/2017          $68.27   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/28/2017        $408.36    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/31/2017        $762.55    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           10/31/2017          $30.34   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/02/2017        $172.69    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/03/2017          $27.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/04/2017          $84.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/07/2017          $25.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/09/2017          $32.21   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/11/2017      $1,020.01    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/13/2017          $15.52   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/14/2017          $89.09   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/15/2017        $164.18    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/16/2017          $99.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/16/2017          $63.66   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/17/2017          $30.11   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/18/2017        $144.93    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/21/2017          $23.26   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/22/2017          $31.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/23/2017      $1,032.68    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/25/2017        $197.40    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/27/2017        $203.60    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/28/2017          $71.61   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           11/29/2017        $149.75    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/01/2017          $30.18   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/02/2017          $64.67   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/4/2017           $31.91   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/06/2017          $32.36   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/07/2017          $31.90   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/10/2017      $1,395.21    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/11/2017        $187.56    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/12/2017        $160.43    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/13/2017        $146.13    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/14/2017        $124.90    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/15/2017          $30.56   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/17/2017        $183.16    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/19/2017          $29.78   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/20/2017          $32.36   Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/23/2017      $1,285.75    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/26/2017        $114.68    Suppliers, Vendors, or Services
FEDEX             2200 FORWARD DRIVE                                        HARRISON               AK      72601-2004           12/28/2017        $232.32    Suppliers, Vendors, or Services



                                                                        Page 13 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                          AGACI SOFA 3
                                                                                           In re: A'GACI, L.L.C.
                                                                                            Case No. 18-50049
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                                                                                                                                                                                     Reason for payment or transfer (e.g.
                                                                                                                                                                                     Secured debt, Unsecured loan
                                                                                                                                                                   Total amount      repayments, Suppliers or vendors,
Creditor's name                 Address 1                              Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           12/30/2017        $257.97    Suppliers, Vendors, or Services
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           01/01/2018          $49.28   Suppliers, Vendors, or Services
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           1/2/2018            $72.36   Suppliers, Vendors, or Services
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           01/04/2018          $33.71   Suppliers, Vendors, or Services
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           01/06/2018      $1,684.32    Suppliers, Vendors, or Services
FEDEX                           2200 FORWARD DRIVE                                                  HARRISON               AK      72601-2004           01/08/2018        $731.64    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                10/18/2017      $3,477.80    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                10/20/2017      $1,680.15    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                10/27/2017      $3,773.10    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                11/3/2017       $4,553.66    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                11/14/2017      $2,570.40    Suppliers, Vendors, or Services
Fiesta Collection               1261 Broadway                          Suite 810                    New York               NY      10001                11/17/2017        $273.00    Suppliers, Vendors, or Services
FL DEPT OF REV                  5050 W. Tennessee Street                                            Tallahassee            FL      32399-0135           10/20/2017    $140,777.98    SALES TAX
FL DEPT OF REV                  5050 W. Tennessee Street                                            Tallahassee            FL      32399-0135           11/20/2017    $132,917.79    SALES TAX
FL DEPT OF REV                  5050 W. Tennessee Street                                            Tallahassee            FL      32399-0135           11/21/2017     $12,748.00    SALES TAX
FL DEPT OF REV                  5050 W. Tennessee Street                                            Tallahassee            FL      32399-0135           12/20/2017    $168,688.91    SALES TAX
Florida Mall Assoc., LTD.       PO Box 406360                                                       Atlanta                GA      30384-6360           11/3/2017      $27,373.79    Rent
Florida Mall Assoc., LTD.       PO Box 406360                                                       Atlanta                GA      30384-6360           12/1/2017      $27,373.79    Rent
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           10/20/2017      $7,006.76    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           11/2/2017       $5,794.00    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           11/8/2017       $1,270.28    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           11/22/2017      $5,975.12    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           11/28/2017      $3,059.23    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           12/6/2017       $1,124.44    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           12/19/2017      $3,454.45    Suppliers, Vendors, or Services
Florida Power & Light Company   General Mail Facility                                               Miami                  FL      33188-0001           12/27/2017      $4,202.46    Suppliers, Vendors, or Services
FLYING TOMATO                                                                                                                                           10/06/2017      $7,083.00    Suppliers, Vendors, or Services
FLYING TOMATO                                                                                                                                           10/14/2017     $12,771.00    Suppliers, Vendors, or Services
FLYING TOMATO                                                                                                                                           10/27/2017      $6,930.00    Suppliers, Vendors, or Services
FLYING TOMATO                                                                                                                                           12/15/2017     $10,065.00    Suppliers, Vendors, or Services
                                                                       11 East 26th Street, 14th
Ford Models, Inc                Attn Accounts Receivable               Floor                        New York               NY      10010                10/13/2017      $5,400.00 Suppliers, Vendors, or Services
                                                                       11 East 26th Street, 14th
Ford Models, Inc                Attn Accounts Receivable               Floor                        New York               NY      10010                11/14/2017      $3,675.00 Suppliers, Vendors, or Services
                                                                       11 East 26th Street, 14th
Ford Models, Inc                Attn Accounts Receivable               Floor                        New York               NY      10010                12/6/2017       $1,800.00 Suppliers, Vendors, or Services
                                                                       11 East 26th Street, 14th
Ford Models, Inc                Attn Accounts Receivable               Floor                        New York               NY      10010                12/27/2017      $3,900.00 Suppliers, Vendors, or Services
                                                                       11 East 26th Street, 14th
Ford Models, Inc                Attn Accounts Receivable               Floor                        New York               NY      10010                1/4/2018        $3,600.00    Suppliers, Vendors, or Services
FOREVER LINKINTERNAT            c/o Capital Business Credit, Inc.      PO Box 100895                Atlanta                GA      30384                10/14/2017       $693.00     Suppliers, Vendors, or Services
FOREVER LINKINTERNAT            c/o Capital Business Credit, Inc.      PO Box 100895                Atlanta                GA      30384                10/25/2017     $15,264.00    Suppliers, Vendors, or Services
FOREVER LINKINTERNAT            c/o Capital Business Credit, Inc.      PO Box 100895                Atlanta                GA      30384                11/28/2017     $37,609.50    Suppliers, Vendors, or Services
FOREVER LINKINTERNAT            c/o Capital Business Credit, Inc.      PO Box 100895                Atlanta                GA      30384                12/01/2017      $9,720.00    Suppliers, Vendors, or Services
FOREVER LINKINTERNAT            c/o Capital Business Credit, Inc.      PO Box 100895                Atlanta                GA      30384                12/28/2017      $1,872.00    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                10/13/2017     $20,961.00    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                10/18/2017     $29,850.90    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                10/20/2017        $926.50    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                10/27/2017        $667.20    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                10/31/2017     $25,575.70    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                11/3/2017      $14,943.95    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                11/7/2017      $74,508.15    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                11/10/2017     $93,797.50    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                11/14/2017     $28,317.30    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                11/22/2017     $11,229.25    Suppliers, Vendors, or Services
Fortune Dynamic                 21923 Ferrero Parkway                                               City of Industry       CA      91789                12/1/2017      $41,998.50    Suppliers, Vendors, or Services



                                                                                                Page 14 of 35                                                                                                 2/22/2018 11:02 AM
                                                                                                                                                                                                                    AGACI SOFA 3
                                                                                             In re: A'GACI, L.L.C.
                                                                                              Case No. 18-50049
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                                                                 Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                           Reason for payment or transfer (e.g.
                                                                                                                                                                                           Secured debt, Unsecured loan
                                                                                                                                                                          Total amount     repayments, Suppliers or vendors,
Creditor's name                  Address 1                               Address 2                    City                   State   Zip             Country   Date       or value         Services, or Other)
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     10/18/2017     $14,516.40   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     10/20/2017      $7,060.90   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     10/27/2017     $11,399.60   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     10/31/2017      $5,736.00   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     11/10/2017      $5,180.90   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     11/14/2017     $24,531.50   Suppliers, Vendors, or Services
G Mini Inc.                      777 E 10th Street Suite 112                                          Los Angeles            CA      90021                     11/17/2017      $7,185.75   Suppliers, Vendors, or Services
                                                                         1100 S. San Pedro St
Ganji                            Ganji Apparel, Inc. dba Ganji           #N06                         Los Angeles            CA      90015                     10/20/2017       $384.00 Suppliers, Vendors, or Services
                                                                         1100 S. San Pedro St
Ganji                            Ganji Apparel, Inc. dba Ganji           #N06                         Los Angeles            CA      90015                     10/31/2017       $566.40 Suppliers, Vendors, or Services
                                                                         1100 S. San Pedro St
Ganji                            Ganji Apparel, Inc. dba Ganji           #N06                         Los Angeles            CA      90015                     11/10/2017      $8,019.80 Suppliers, Vendors, or Services
                                                                         1100 S. San Pedro St
Ganji                            Ganji Apparel, Inc. dba Ganji           #N06                         Los Angeles            CA      90015                     11/22/2017      $1,048.80   Suppliers, Vendors, or Services
Gaza Inc                         807 E 12th St #146                                                   Los Angeles            CA      90021                     10/20/2017        $215.00   Suppliers, Vendors, or Services
Gaza Inc                         807 E 12th St #146                                                   Los Angeles            CA      90021                     10/31/2017      $4,917.50   Suppliers, Vendors, or Services
Gaza Inc                         807 E 12th St #146                                                   Los Angeles            CA      90021                     11/3/2017         $394.20   Suppliers, Vendors, or Services
Gaza Inc                         807 E 12th St #146                                                   Los Angeles            CA      90021                     11/10/2017      $3,738.00   Suppliers, Vendors, or Services
Gaza Inc                         807 E 12th St #146                                                   Los Angeles            CA      90021                     11/17/2017        $131.00   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     11/09/2017      $5,524.00   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     11/15/2017      $2,418.60   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     11/16/2017      $3,024.00   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     11/17/2017      $3,132.60   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     12/19/2017      $4,152.80   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     12/28/2017      $1,980.00   Suppliers, Vendors, or Services
GINA GROUP                       10 West 33rd Street 3rd Floor                                        New York               NY      10001                     01/04/2018      $1,380.40   Suppliers, Vendors, or Services
Ginger Green Inc                 1015 S. Crocker St #Q-16                                             Los Angeles            CA      90021                     10/20/2017        $396.00   Suppliers, Vendors, or Services
Ginger Green Inc                 1015 S. Crocker St #Q-16                                             Los Angeles            CA      90021                     11/10/2017      $8,462.25   Suppliers, Vendors, or Services
Ginger Green Inc                 1015 S. Crocker St #Q-16                                             Los Angeles            CA      90021                     11/22/2017        $165.00   Suppliers, Vendors, or Services
Glimcher Westshore, LLC          c/o Washington Prime Group              180 East Broad Street        Columbus               OH      43215                     11/3/2017      $27,485.66   Rent
Gloria Hernandez                 12803 West Ave. # 9108                                               San Antonio            TX      78216                     10/25/2017      $7,020.00   Suppliers, Vendors, or Services
Gloria Hernandez                 12803 West Ave. # 9108                                               San Antonio            TX      78216                     11/21/2017     $14,400.00   Suppliers, Vendors, or Services
Gloria Hernandez                 12803 West Ave. # 9108                                               San Antonio            TX      78216                     12/18/2017     $46,000.00   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   10/11/2017      $8,636.40   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   10/25/2017     $21,375.00   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   11/07/2017     $24,648.75   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   11/21/2017      $4,464.00   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   12/02/2017      $1,642.75   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   12/21/2017      $2,460.00   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   12/23/2017      $5,564.50   Suppliers, Vendors, or Services
GOLDEN TOUCH                                                                                                                                                   01/06/2018      $1,845.00   Suppliers, Vendors, or Services
Gordon Brothers Retail Partner   10218 N. Port Washington Road                                        Mequon                 WI      53092                     1/8/2018       $50,000.00   Restructuring Professionals
                                 c/o Excel Property Mgmt Services,
Gran Plaza, LP                   Inc.                                    PO Box 2027                  Long Beach             CA      90801                     11/3/2017      $34,378.13   Rent
Granite                          Client ID# 311                          P.O. Box 983119              Boston                 MA      02298-3119                11/2/2017       $4,887.33   Suppliers, Vendors, or Services
Granite                          Client ID# 311                          P.O. Box 983119              Boston                 MA      02298-3119                12/19/2017      $6,031.67   Suppliers, Vendors, or Services
Grapevine Mills Mall, LP         3000 Grapevine Mills Parkway                                         Grapevine              TX      76051                     11/3/2017      $10,982.50   Rent
Grapevine Mills Mall, LP         3000 Grapevine Mills Parkway                                         Grapevine              TX      76051                     12/1/2017      $13,180.92   Rent
Grapevine Mills Mall, LP         3000 Grapevine Mills Parkway                                         Grapevine              TX      76051                     12/29/2017     $10,000.00   Rent
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                10/20/2017      $2,876.36   Suppliers, Vendors, or Services
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                11/2/2017       $3,979.14   Suppliers, Vendors, or Services
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                11/8/2017       $2,583.43   Suppliers, Vendors, or Services
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                11/22/2017      $4,141.55   Suppliers, Vendors, or Services
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                11/28/2017      $2,634.70   Suppliers, Vendors, or Services
Green Mountain Energy-Dallas     DEPT 1233                               P.O. BOX 121233              Dallas                 TX      75312-1233                12/8/2017       $2,403.23   Suppliers, Vendors, or Services



                                                                                                  Page 15 of 35                                                                                                     2/22/2018 11:02 AM
                                                                                                                                                                                                                          AGACI SOFA 3
                                                                                            In re: A'GACI, L.L.C.
                                                                                             Case No. 18-50049
                                                                                                Attachment 3
                                                                Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                      Reason for payment or transfer (e.g.
                                                                                                                                                                                      Secured debt, Unsecured loan
                                                                                                                                                                    Total amount      repayments, Suppliers or vendors,
Creditor's name                Address 1                                Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
Green Mountain Energy-Dallas   DEPT 1233                                P.O. BOX 121233              Dallas                 TX      75312-1233           12/27/2017      $1,311.81    Suppliers, Vendors, or Services
Guidance Solutions Inc         4134 Del Rey Avenue                                                   Marina Del Rey         CA      90292                11/8/2017      $12,800.00    Suppliers, Vendors, or Services
Guidance Solutions Inc         4134 Del Rey Avenue                                                   Marina Del Rey         CA      90292                12/13/2017      $5,760.00    Suppliers, Vendors, or Services
H&D Accessories Inc            952 Towne Ave. #A                                                     Los Angeles            CA      90021                10/20/2017      $1,560.00    Suppliers, Vendors, or Services
H&D Accessories Inc            952 Towne Ave. #A                                                     Los Angeles            CA      90021                10/27/2017     $11,128.00    Suppliers, Vendors, or Services
H&D Accessories Inc            952 Towne Ave. #A                                                     Los Angeles            CA      90021                11/17/2017      $5,428.90    Suppliers, Vendors, or Services
Hana Commercial Finance Inc    1000 Wilshire Blvd, 20th Floor                                        Los Angeles            CA      90017                10/11/2017    $275,000.00    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           10/18/2017      $9,273.75    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           10/20/2017     $10,020.60    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           10/27/2017     $21,003.75    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           10/31/2017      $7,799.20    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           11/3/2017      $50,261.90    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           11/7/2017      $60,008.60    Suppliers, Vendors, or Services
Have Fashion Inc.              c/o Hana Financial, Inc.                 Dept. LA 24406               Pasadena               CA      91185-4406           1/6/2018        $4,403.00    Suppliers, Vendors, or Services
HAWAII DEPT OF REV                                                                                                                                       10/24/2017      $4,920.39    SALES TAX
HAWAII DEPT OF REV                                                                                                                                       11/22/2017      $3,257.85    SALES TAX
HAWAII DEPT OF REV                                                                                                                                       12/22/2017      $4,025.13    SALES TAX
Hawaiian Electric Company      PO Box 3978                                                           Honolulu               HI      96812-3978           10/18/2017      $2,904.17    Suppliers, Vendors, or Services
Hawaiian Electric Company      PO Box 3978                                                           Honolulu               HI      96812-3978           11/14/2017      $2,975.46    Suppliers, Vendors, or Services
Hawaiian Electric Company      PO Box 3978                                                           Honolulu               HI      96812-3978           12/13/2017      $2,590.59    Suppliers, Vendors, or Services
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           10/18/2017        $405.00    Suppliers, Vendors, or Services
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           11/2/2017      $35,000.00    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           11/14/2017     $12,602.60    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           11/28/2017     $71,509.88    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           12/8/2017      $41,560.52    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           12/13/2017     $45,000.00    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           12/20/2017    $131,488.58    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           1/3/2018       $72,921.12    Restructuring Professionals
Haynes & Boone, LLP            Accounting Department                    P.O. BOX 841399              Dallas                 TX      75284-1399           1/4/2018      $225,000.00    Restructuring Professionals
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           10/13/2017     $28,455.00    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           10/20/2017     $20,112.30    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           10/27/2017     $74,190.40    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           10/31/2017        $804.36    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           11/3/2017       $3,417.00    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           11/7/2017       $1,774.50    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           11/10/2017     $13,885.85    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           11/14/2017     $33,927.00    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           11/17/2017    $129,540.05    Suppliers, Vendors, or Services
Heart & Hips                   c/o Hana Financial, Inc.                 Dept LA 24406                Pasadena               CA      91185-4406           1/6/2018      $100,277.40    Suppliers, Vendors, or Services
HG Galleria, LLC               Houston Galleria                         2088 Paysphere Circle        Chicago                IL      60674                11/3/2017      $39,954.55    Rent
HG Galleria, LLC               Houston Galleria                         2088 Paysphere Circle        Chicago                IL      60674                12/1/2017      $45,655.06    Rent
HG Galleria, LLC               Houston Galleria                         2088 Paysphere Circle        Chicago                IL      60674                12/19/2017          $66.20   Rent
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                10/06/2017        $840.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                10/25/2017      $4,725.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                11/14/2017      $4,782.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                11/16/2017      $3,514.50    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                11/22/2017        $486.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                11/23/2017        $118.75    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                12/01/2017        $176.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                12/08/2017        $630.00    Suppliers, Vendors, or Services
HOT & DELICIOUS HOT            1015 S. Crocker St. #Q-9                                              Los Angeles            CA      90021                01/07/2018      $2,676.00    Suppliers, Vendors, or Services
Hulen Mall, LLC                SDS-12-2776                              PO Box 86                    Minneapolis            MN      55486-2776           11/3/2017      $15,893.94    Rent
Hulen Mall, LLC                SDS-12-2776                              PO Box 86                    Minneapolis            MN      55486-2776           12/1/2017      $15,893.94    Rent
Hunter Building Corp           14609 Kimberley Lane                                                  Houston                TX      77079                12/6/2017      $33,000.00    Suppliers, Vendors, or Services
HYFVE                          5808 Wilmington Ave                                                   Los Angeles            CA      90058                11/10/2017      $2,010.00    Suppliers, Vendors, or Services
HYFVE                          5808 Wilmington Ave                                                   Los Angeles            CA      90058                11/14/2017     $21,868.50    Suppliers, Vendors, or Services



                                                                                                 Page 16 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                                   AGACI SOFA 3
                                                                                          In re: A'GACI, L.L.C.
                                                                                           Case No. 18-50049
                                                                                              Attachment 3
                                                              Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                   Reason for payment or transfer (e.g.
                                                                                                                                                                                   Secured debt, Unsecured loan
                                                                                                                                                                  Total amount     repayments, Suppliers or vendors,
Creditor's name                  Address 1                             Address 2                   City                   State   Zip        Country   Date       or value         Services, or Other)
HYFVE INC                        5808 Wilmington Ave                                               Los Angeles            CA      90058                10/13/2017        $474.00   Suppliers, Vendors, or Services
HYFVE INC                        5808 Wilmington Ave                                               Los Angeles            CA      90058                10/18/2017     $12,985.50   Suppliers, Vendors, or Services
HYFVE INC                        5808 Wilmington Ave                                               Los Angeles            CA      90058                10/20/2017      $6,037.20   Suppliers, Vendors, or Services
HYFVE INC                        5808 Wilmington Ave                                               Los Angeles            CA      90058                10/27/2017      $7,570.50   Suppliers, Vendors, or Services
HYFVE INC                        5808 Wilmington Ave                                               Los Angeles            CA      90058                10/31/2017      $6,746.20   Suppliers, Vendors, or Services
I JOAH                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           10/07/2017     $22,532.50   Suppliers, Vendors, or Services
I Joah                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           10/13/2017        $963.50   Suppliers, Vendors, or Services
I Joah                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           10/18/2017      $1,710.00   Suppliers, Vendors, or Services
I Joah                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           10/20/2017        $690.00   Suppliers, Vendors, or Services
I Joah                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           11/22/2017     $16,330.00   Suppliers, Vendors, or Services
I JOAH                           c/o Prime Business Credit, Inc        P.O. BOX 741084             Los Angeles            CA      90074-1084           12/28/2017      $3,301.00   Suppliers, Vendors, or Services
ICY HOT LINGERIE                                                                                                                                       10/17/2017      $1,935.00   Suppliers, Vendors, or Services
ICY HOT LINGERIE                                                                                                                                       10/24/2017      $7,590.00   Suppliers, Vendors, or Services
ICY HOT LINGERIE                                                                                                                                       11/15/2017     $16,050.00   Suppliers, Vendors, or Services
ICY HOT LINGERIE                                                                                                                                       11/21/2017      $2,624.00   Suppliers, Vendors, or Services
ICY HOT LINGERIE                                                                                                                                       11/22/2017      $1,950.00   Suppliers, Vendors, or Services
Idea Design Concepts Inc         60 Commerce Way                                                   Hackensack             NJ      07601                10/13/2017      $3,547.80   Suppliers, Vendors, or Services
Idea Design Concepts Inc         60 Commerce Way                                                   Hackensack             NJ      07601                10/27/2017      $1,444.80   Suppliers, Vendors, or Services
Idea Design Concepts Inc         60 Commerce Way                                                   Hackensack             NJ      07601                12/6/2017       $3,448.89   Suppliers, Vendors, or Services
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           10/16/2017     $11,147.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           10/20/2017     $10,091.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           10/23/2017     $11,147.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           11/7/2017      $12,295.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           11/15/2017     $12,295.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           11/20/2017      $6,574.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           11/22/2017     $18,045.22   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           11/30/2017     $12,295.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           12/6/2017      $16,719.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           12/15/2017     $16,719.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           12/22/2017     $16,719.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           1/2/2018       $16,719.00   SALES TAX
IL DEPT OF REV                   P.O. Box 19045                                                    Springfield            IL      62794-9045           1/8/2018       $25,288.00   SALES TAX
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                10/13/2017      $3,939.00   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                10/18/2017      $6,910.40   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                10/20/2017      $5,343.00   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                10/27/2017     $11,882.30   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                11/3/2017       $6,451.25   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                11/7/2017       $1,550.00   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                11/10/2017      $4,639.20   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                11/14/2017      $9,533.25   Suppliers, Vendors, or Services
Illuma Fashion Inc               1141 S Boyle Ave Suite 201                                        Los Angeles            CA      90023                11/22/2017      $9,000.20   Suppliers, Vendors, or Services
Imperial Irrigation District     333 East Barioni Blvd                 PO Box 937                  Imperial               CA      92251-0937           10/20/2017      $2,529.49   Suppliers, Vendors, or Services
Imperial Irrigation District     333 East Barioni Blvd                 PO Box 937                  Imperial               CA      92251-0937           11/22/2017      $2,247.35   Suppliers, Vendors, or Services
Imperial Irrigation District     333 East Barioni Blvd                 PO Box 937                  Imperial               CA      92251-0937           12/27/2017      $2,112.53   Suppliers, Vendors, or Services
                                 c/o CBL & Associates Management,      2030 Hamilton Place Blvd.
Imperial Valley Mall, LLC        Inc.                                  Ste. 500                    Chattanooga            TN      37421-6000           11/3/2017      $20,265.02 Rent
                                 c/o CBL & Associates Management,      2030 Hamilton Place Blvd.
Imperial Valley Mall, LLC        Inc.                                  Ste. 500                    Chattanooga            TN      37421-6000           12/1/2017      $20,265.02   Rent
Ina Fashion                      Katia Fashion, Inc. dba Ina Fashion   754 E 12th Street #3        Los Angeles            CA      90021                10/27/2017      $8,668.25   Suppliers, Vendors, or Services
Ina Fashion                      Katia Fashion, Inc. dba Ina Fashion   754 E 12th Street #3        Los Angeles            CA      90021                10/31/2017        $510.00   Suppliers, Vendors, or Services
Ina Fashion                      Katia Fashion, Inc. dba Ina Fashion   754 E 12th Street #3        Los Angeles            CA      90021                11/3/2017         $483.75   Suppliers, Vendors, or Services
Ina Fashion                      Katia Fashion, Inc. dba Ina Fashion   754 E 12th Street #3        Los Angeles            CA      90021                11/10/2017     $11,302.25   Suppliers, Vendors, or Services
International Environmental Ma   24516 Network Place                                               Chicago                IL      60673-1245           10/26/2017      $4,228.22   Suppliers, Vendors, or Services
International Environmental Ma   24516 Network Place                                               Chicago                IL      60673-1245           11/28/2017      $4,228.22   Suppliers, Vendors, or Services
International Environmental Ma   24516 Network Place                                               Chicago                IL      60673-1245           1/3/2018        $4,304.71   Suppliers, Vendors, or Services
International Intimates Inc.     31 West 34th Street. 9th Floor                                    New York               NY      10001                10/18/2017      $4,849.50   Suppliers, Vendors, or Services



                                                                                               Page 17 of 35                                                                                                2/22/2018 11:02 AM
                                                                                                                                                                                                                  AGACI SOFA 3
                                                                                               In re: A'GACI, L.L.C.
                                                                                                Case No. 18-50049
                                                                                                   Attachment 3
                                                                   Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                         Reason for payment or transfer (e.g.
                                                                                                                                                                                         Secured debt, Unsecured loan
                                                                                                                                                                       Total amount      repayments, Suppliers or vendors,
Creditor's name                   Address 1                                Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
International Intimates Inc.      31 West 34th Street. 9th Floor                                        New York               NY      10001                10/27/2017     $17,623.20    Suppliers, Vendors, or Services
International Intimates Inc.      31 West 34th Street. 9th Floor                                        New York               NY      10001                10/31/2017      $4,845.60    Suppliers, Vendors, or Services
International Intimates Inc.      31 West 34th Street. 9th Floor                                        New York               NY      10001                11/14/2017      $8,185.50    Suppliers, Vendors, or Services
International Intimates Inc.      31 West 34th Street. 9th Floor                                        New York               NY      10001                11/22/2017      $7,364.10    Suppliers, Vendors, or Services
International Intimates Inc.      31 West 34th Street. 9th Floor                                        New York               NY      10001                12/1/2017       $8,499.60    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                10/13/2017     $12,718.50    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                10/18/2017      $4,410.00    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                10/27/2017     $59,416.75    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                10/31/2017     $15,570.75    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                11/3/2017       $3,816.00    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                11/7/2017      $12,784.50    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                11/10/2017        $607.50    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                11/17/2017      $2,817.90    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                11/22/2017      $4,660.00    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                12/1/2017      $24,132.10    Suppliers, Vendors, or Services
Iris                              3317 E 50th Street                                                    Vernon                 CA      90058                12/13/2017     $35,289.25    Suppliers, Vendors, or Services
J. Cat Beauty Enterprise LLC      9890 Pioneer Blvd.                                                    Santa Fe Springs       CA      90670                10/13/2017      $5,472.00    Suppliers, Vendors, or Services
J. Cat Beauty Enterprise LLC      9890 Pioneer Blvd.                                                    Santa Fe Springs       CA      90670                10/18/2017      $1,008.00    Suppliers, Vendors, or Services
J. Cat Beauty Enterprise LLC      9890 Pioneer Blvd.                                                    Santa Fe Springs       CA      90670                10/27/2017     $10,858.50    Suppliers, Vendors, or Services
J. Cat Beauty Enterprise LLC      9890 Pioneer Blvd.                                                    Santa Fe Springs       CA      90670                10/31/2017        $432.00    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                10/24/2017     $15,169.10    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                11/10/2017          $48.00   Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                11/22/2017     $48,066.65    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                11/24/2017     $21,198.45    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                12/19/2017      $7,755.60    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                12/24/2017        $902.70    Suppliers, Vendors, or Services
JANUARY 7 CLOTHING                735 E. 12th St. #104                                                  Los Angeles            CA      90021                12/29/2017      $3,510.00    Suppliers, Vendors, or Services
January 7 Clothing Inc            735 E. 12th St. #104                                                  Los Angeles            CA      90021                11/7/2017       $7,188.40    Suppliers, Vendors, or Services
January 7 Clothing Inc            735 E. 12th St. #104                                                  Los Angeles            CA      90021                1/5/2018        $4,082.40    Suppliers, Vendors, or Services
January 7 Clothing Inc            735 E. 12th St. #104                                                  Los Angeles            CA      90021                1/6/2018       $43,571.40    Suppliers, Vendors, or Services
JEALOUS TOMATO                    1100 S.SAN PEDRO #D-7                                                 Los Angeles            CA      90015                10/06/2017     $15,321.00    Suppliers, Vendors, or Services
JEALOUS TOMATO                    1100 S.SAN PEDRO #D-7                                                 Los Angeles            CA      90015                10/07/2017     $29,932.50    Suppliers, Vendors, or Services
JEALOUS TOMATO                    1100 S.SAN PEDRO #D-7                                                 Los Angeles            CA      90015                11/02/2017      $1,554.00    Suppliers, Vendors, or Services
JEALOUS TOMATO                    1100 S.SAN PEDRO #D-7                                                 Los Angeles            CA      90015                11/07/2017      $3,300.00    Suppliers, Vendors, or Services
Jealous Tomato/Dola Fashion Inc   1100 S.SAN PEDRO #D-7                                                 Los Angeles            CA      90015                11/7/2017       $9,129.00    Suppliers, Vendors, or Services
Jennifer Troy                     3113 S Charmwood Dr.                                                  Port Huron             MI      48060                11/1/2017       $3,250.00    Suppliers, Vendors, or Services
Jennifer Troy                     3113 S Charmwood Dr.                                                  Port Huron             MI      48060                11/30/2017      $3,250.00    Suppliers, Vendors, or Services
Jennifer Troy                     3113 S Charmwood Dr.                                                  Port Huron             MI      48060                12/28/2017      $3,250.00    Suppliers, Vendors, or Services
Ji Eun Lim                        7193 NE Rocky Brook Street                                            Hillsboro              OR      97124                10/26/2017      $3,500.00    Suppliers, Vendors, or Services
Ji Eun Lim                        7193 NE Rocky Brook Street                                            Hillsboro              OR      97124                11/30/2017      $3,500.00    Suppliers, Vendors, or Services
Ji Eun Lim                        7193 NE Rocky Brook Street                                            Hillsboro              OR      97124                12/28/2017      $3,500.00    Suppliers, Vendors, or Services
Ji Ji Collection Inc              2027 Laura Ave                                                        Huntington Park        CA      90255                10/31/2017        $486.50    Suppliers, Vendors, or Services
Ji Ji Collection Inc              2027 Laura Ave                                                        Huntington Park        CA      90255                11/10/2017        $556.00    Suppliers, Vendors, or Services
Ji Ji Collection Inc              2027 Laura Ave                                                        Huntington Park        CA      90255                11/22/2017     $10,355.50    Suppliers, Vendors, or Services
JK Artists                        324 S. Beverly Drive #198                                             Beverly Hills          CA      90212-4801           11/14/2017      $1,200.00    Suppliers, Vendors, or Services
JK Artists                        324 S. Beverly Drive #198                                             Beverly Hills          CA      90212-4801           1/4/2018        $6,900.00    Suppliers, Vendors, or Services
JOA BLUPEPPER MOONRI              1801 E. 50th St                                                       Los Angeles            CA      90058                11/17/2017     $10,017.00    Suppliers, Vendors, or Services
JOA BLUPEPPER MOONRI              1801 E. 50th St                                                       Los Angeles            CA      90058                11/18/2017      $3,577.50    Suppliers, Vendors, or Services
JOA BLUPEPPER MOONRI              1801 E. 50th St                                                       Los Angeles            CA      90058                12/23/2017     $24,982.80    Suppliers, Vendors, or Services
JOA BLUPEPPER MOONRI              1801 E. 50th St                                                       Los Angeles            CA      90058                12/29/2017     $24,471.00    Suppliers, Vendors, or Services
Joyful Jewelry, Inc.              55 Midtown Bridge Approach                                            Hackensack             NJ      07601                10/13/2017      $1,755.00    Suppliers, Vendors, or Services
Joyful Jewelry, Inc.              55 Midtown Bridge Approach                                            Hackensack             NJ      07601                10/18/2017        $660.00    Suppliers, Vendors, or Services
Joyful Jewelry, Inc.              55 Midtown Bridge Approach                                            Hackensack             NJ      07601                10/27/2017      $4,860.20    Suppliers, Vendors, or Services
JP ORIGINAL CORP                  19101 E. Walnut Drive North                                           City of Industry       CA      91748                10/13/2017        $414.00    Suppliers, Vendors, or Services
JP ORIGINAL CORP                  19101 E. Walnut Drive North                                           City of Industry       CA      91748                10/18/2017      $5,792.40    Suppliers, Vendors, or Services
JP ORIGINAL CORP                  19101 E. Walnut Drive North                                           City of Industry       CA      91748                10/20/2017     $12,616.20    Suppliers, Vendors, or Services



                                                                                                    Page 18 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                                      AGACI SOFA 3
                                                                                                        In re: A'GACI, L.L.C.
                                                                                                         Case No. 18-50049
                                                                                                            Attachment 3
                                                                            Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                 Reason for payment or transfer (e.g.
                                                                                                                                                                                                 Secured debt, Unsecured loan
                                                                                                                                                                                Total amount     repayments, Suppliers or vendors,
Creditor's name                              Address 1                              Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                10/31/2017    $324,893.70   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                11/3/2017      $81,232.50   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                11/7/2017      $27,847.95   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                11/10/2017     $17,621.40   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                11/14/2017      $1,602.40   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                11/22/2017      $7,790.50   Suppliers, Vendors, or Services
JP ORIGINAL CORP                             19101 E. Walnut Drive North                                         City of Industry       CA      91748                12/1/2017     $110,816.55   Suppliers, Vendors, or Services
Julie Campbell                               855 Oneonta Dr.                                                     Los Angeles            CA      90065                11/1/2017       $3,000.00   Suppliers, Vendors, or Services
Julie Campbell                               855 Oneonta Dr.                                                     Los Angeles            CA      90065                11/30/2017      $3,000.00   Suppliers, Vendors, or Services
JULIE CAMPBELL                               855 Oneonta Dr.                                                     Los Angeles            CA      90065                12/1/2017       $3,000.00   Suppliers, Vendors, or Services
Julie Campbell                               855 Oneonta Dr.                                                     Los Angeles            CA      90065                12/28/2017      $3,000.00   Suppliers, Vendors, or Services
K TOO USA                                    1152 Crocker St.                                                    Los Angeles            CA      90021                11/01/2017      $2,433.50   Suppliers, Vendors, or Services
K TOO USA                                    1152 Crocker St.                                                    Los Angeles            CA      90021                11/15/2017      $6,831.00   Suppliers, Vendors, or Services
K TOO USA                                    1152 Crocker St.                                                    Los Angeles            CA      90021                11/19/2017      $7,750.05   Suppliers, Vendors, or Services
Kafe Design                                  807 E. 12th Street Unit #108                                        Los Angeles            CA      90021                11/14/2017      $6,900.00   Suppliers, Vendors, or Services
Keter Environment Service                    PO Box 417468                                                       Boston                 MA      02241-7468           10/18/2017     $15,326.29   Suppliers, Vendors, or Services
Keter Environment Service                    PO Box 417468                                                       Boston                 MA      02241-7468           10/26/2017     $15,326.29   Suppliers, Vendors, or Services
Keter Environment Service                    PO Box 417468                                                       Boston                 MA      02241-7468           11/14/2017     $15,556.20   Suppliers, Vendors, or Services
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                10/16/2017     $14,379.49   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                10/25/2017     $18,914.80   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                11/8/2017       $2,463.45   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                11/16/2017     $14,379.49   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                11/30/2017     $52,176.19   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                12/11/2017      $2,463.45   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                12/18/2017     $14,379.49   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                12/26/2017     $18,914.80   CAPITAL LEASE
KEY EQUIP                                    1000 South Mccaslin Blvd                                            Superior               CO      80027                1/2/2018       $33,261.39   CAPITAL LEASE
                                                                                    9339 Genesee Ave, Suite
Killeen Mall, LLC                            c/o Trigild                            130                     San Diego                   CA      92121                11/3/2017      $13,307.71 Rent
                                                                                    9339 Genesee Ave, Suite
Killeen Mall, LLC                            c/o Trigild                            130                     San Diego                   CA      92121                12/1/2017      $13,307.71   Rent
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                10/13/2017      $7,874.50   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                10/18/2017     $11,559.70   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                10/20/2017     $12,376.55   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                10/27/2017      $4,243.20   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                11/7/2017       $6,454.40   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                11/14/2017      $2,522.80   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                11/17/2017      $2,517.20   Suppliers, Vendors, or Services
Kimera International Inc dba Liliana Shoes   18400 San Jose Ave.                                            City of Industry            CA      91748                12/1/2017      $30,180.70   Suppliers, Vendors, or Services
Knitwork Productions/Say What                1639 Centre Street                                             Ridgewood                   NY      11385                10/18/2017      $8,983.50   Suppliers, Vendors, or Services
Knitwork Productions/Say What                1639 Centre Street                                             Ridgewood                   NY      11385                11/14/2017     $47,063.55   Suppliers, Vendors, or Services
Kronos Incorporated                          900 Chelmsford Street                                          Lowell                      MA      01851                10/13/2017      $3,487.95   Suppliers, Vendors, or Services
Kronos Incorporated                                                                                                                                                  12/13/2017      $5,399.08   Suppliers, Vendors, or Services
KTKK Inc                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                10/13/2017      $5,649.00   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                10/27/2017     $17,931.00   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                10/28/2017     $10,228.75   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                11/04/2017     $30,442.05   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                11/06/2017      $7,113.75   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                11/21/2017     $15,111.50   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                12/19/2017      $4,180.00   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                01/02/2018      $7,500.35   Suppliers, Vendors, or Services
KTKK INC                                     1740 S Los Angeles St #204                                          Los Angeles            CA      90015                1/8/2018       $34,644.75   Suppliers, Vendors, or Services
Kurtzman Carson Consultants LLC              2235 Alaska Ave                                                     El Segundo             CA      90245                12/14/2017     $20,000.00   Restructuring Professionals
L.A. Models                                  7700 Sunset Boulevard                                               Los Angeles            CA      90046                11/8/2017       $2,400.00   Suppliers, Vendors, or Services
L.A. Models                                  7700 Sunset Boulevard                                               Los Angeles            CA      90046                1/4/2018        $7,200.00   Suppliers, Vendors, or Services
LA REYNA           LOS ANGELES          CA   721 E. 12th St # 2                                                  Los Angeles            CA      90021                01/04/2018     $23,112.50   Suppliers, Vendors, or Services



                                                                                                             Page 19 of 35                                                                                                2/22/2018 11:02 AM
                                                                                                                                                                                                                                AGACI SOFA 3
                                                                                                 In re: A'GACI, L.L.C.
                                                                                                  Case No. 18-50049
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                                                                     Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                               Reason for payment or transfer (e.g.
                                                                                                                                                                                               Secured debt, Unsecured loan
                                                                                                                                                                              Total amount     repayments, Suppliers or vendors,
Creditor's name                       Address 1                              Address 2                    City                   State Zip               Country   Date       or value         Services, or Other)
LA3ACCESSORIES                                                                                                                                                     11/02/2017      $3,630.00   Suppliers, Vendors, or Services
LA3ACCESSORIES                                                                                                                                                     11/11/2017     $32,717.16   Suppliers, Vendors, or Services
LA3ACCESSORIES                                                                                                                                                     11/17/2017     $12,029.64   Suppliers, Vendors, or Services
LA3ACCESSORIES                                                                                                                                                     11/22/2017      $9,289.56   Suppliers, Vendors, or Services
LA3ACCESSORIES                                                                                                                                                     11/29/2017      $4,888.20   Suppliers, Vendors, or Services
LA3ACCESSORIES                                                                                                                                                     12/29/2017      $5,778.00   Suppliers, Vendors, or Services
                                                                             726 E 12th Street, Unit
Labanga                               DT Los Angeles Inc dba Labanga         113                          Los Angeles            CA     90021                      10/27/2017      $1,860.00 Suppliers, Vendors, or Services
                                                                             726 E 12th Street, Unit
Labanga                               DT Los Angeles Inc dba Labanga         113                          Los Angeles            CA     90021                      10/31/2017       $936.00 Suppliers, Vendors, or Services
                                                                             726 E 12th Street, Unit
Labanga                               DT Los Angeles Inc dba Labanga         113                          Los Angeles            CA     90021                      11/7/2017        $560.00 Suppliers, Vendors, or Services
                                                                             726 E 12th Street, Unit
Labanga                               DT Los Angeles Inc dba Labanga         113                          Los Angeles            CA     90021                      11/10/2017     $4,590.00    Suppliers, Vendors, or Services
Lac Bleu Inc.                         1001 Towne Ave # 114                                                Los Angeles            CA     90021                      10/20/2017       $680.00    Suppliers, Vendors, or Services
Lac Bleu Inc.                         1001 Towne Ave # 114                                                Los Angeles            CA     90021                      10/27/2017     $6,799.20    Suppliers, Vendors, or Services
Lac Bleu Inc.                         1001 Towne Ave # 114                                                Los Angeles            CA     90021                      10/31/2017     $3,568.00    Suppliers, Vendors, or Services
Lakeline Developers                   867895 Reliable Parkway                                             Chicago                IL     60686-0078                 11/3/2017     $21,894.04    Rent
Lakeline Developers                   867895 Reliable Parkway                                             Chicago                IL     60686-0078                 12/1/2017     $21,894.04    Rent
LAON FASHION CORP                     Main Office/Warehouse                  15 Liberty Street            Little Ferry           NJ     07040                      12/06/2017     $7,575.00    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      10/13/2017       $777.00    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      10/20/2017     $4,820.40    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      10/27/2017    $13,630.75    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      10/31/2017     $8,235.00    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      11/10/2017     $2,880.00    Suppliers, Vendors, or Services
Le Meilleur Inc.                      3055 Fruitland Ave                                                  Los Angeles            CA     90058                      11/22/2017       $102.00    Suppliers, Vendors, or Services
LEASE DIRECT WEBPAY (CISCO CAPITAL)   PO Box 41602                                                        Philadelphia           PA     19101                      12/4/2017      $8,267.39    CAPITAL LEASE
LEASE DIRECT WEBPAY (CISCO CAPITAL)   PO Box 41602                                                        Philadelphia           PA     19101                      1/3/2018       $8,267.39    CAPITAL LEASE
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      10/13/2017    $10,876.30    Suppliers, Vendors, or Services
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      10/18/2017     $2,531.40    Suppliers, Vendors, or Services
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      10/20/2017    $94,538.80    Suppliers, Vendors, or Services
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      10/31/2017   $109,585.75    Suppliers, Vendors, or Services
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      11/7/2017     $45,093.15    Suppliers, Vendors, or Services
Legend Footwear Inc.                  19445 E. Walnut Dr. North                                           City of Industry       CA     91789                      11/22/2017       $468.00    Suppliers, Vendors, or Services
LEVANTE USA                                                                                                                                                        10/18/2017    $14,399.00    Suppliers, Vendors, or Services
LEVANTE USA                                                                                                                                                        11/04/2017     $1,875.50    Suppliers, Vendors, or Services
LEVANTE USA                                                                                                                                                        11/11/2017     $4,013.75    Suppliers, Vendors, or Services
                                      Andree International Inc dba
Limerance Co                          Limerance                              1015 Crocker St Suite Q-6 Los Angeles               CA     90021                      10/18/2017      $5,404.00 Suppliers, Vendors, or Services
                                      Andree International Inc dba
Limerance Co                          Limerance                              1015 Crocker St Suite Q-6 Los Angeles               CA     90021                      10/27/2017      $1,725.00 Suppliers, Vendors, or Services
                                      Andree International Inc dba
Limerance Co                          Limerance                              1015 Crocker St Suite Q-6 Los Angeles               CA     90021                      11/7/2017        $810.00 Suppliers, Vendors, or Services
                                      Andree International Inc dba
Limerance Co                          Limerance                              1015 Crocker St Suite Q-6 Los Angeles               CA     90021                      11/14/2017      $4,230.00   Suppliers, Vendors, or Services
LINKEDIN                                                                                                                                                           12/18/2017     $19,267.95   Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      10/13/2017        $180.04   Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      10/18/2017     $18,127.00   Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      11/2/2017        $180.32    Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      11/14/2017        $999.90   Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      12/6/2017       $6,398.91   Suppliers, Vendors, or Services
Listrak                               100 West Millport Road                                              Lititz                 PA     17543                      12/19/2017     $18,127.06   Suppliers, Vendors, or Services
LISTRAK                               100 West Millport Road                                              Lititz                 PA     17543                      12/04/2017        $463.11   Suppliers, Vendors, or Services
LISTRAK                               100 West Millport Road                                              Lititz                 PA     17543                      01/06/2018     $12,775.97   Suppliers, Vendors, or Services
LOUISE PARIS                          C/O MILBERG FACTORS, INC.              99 PARK AVENUE               NEW YORK               NY     10016                      10/27/2017     $26,954.00   Suppliers, Vendors, or Services
LOUISE PARIS                          C/O MILBERG FACTORS, INC.              99 PARK AVENUE               NEW YORK               NY     10016                      11/7/2017      $22,974.00   Suppliers, Vendors, or Services



                                                                                                       Page 20 of 35                                                                                                    2/22/2018 11:02 AM
                                                                                                                                                                                                                              AGACI SOFA 3
                                                                                In re: A'GACI, L.L.C.
                                                                                 Case No. 18-50049
                                                                                    Attachment 3
                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                         Reason for payment or transfer (e.g.
                                                                                                                                                                         Secured debt, Unsecured loan
                                                                                                                                                        Total amount     repayments, Suppliers or vendors,
Creditor's name          Address 1                          Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
LOUISE PARIS             C/O MILBERG FACTORS, INC.          99 PARK AVENUE               NEW YORK               NY      10016                11/14/2017      $8,691.00   Suppliers, Vendors, or Services
LOVE LETTER              Rosenthal & Rosenthal, Inc.        PO Box 88926                 Chicago                IL      60695-1926           1/8/2018       $71,020.40   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           10/18/2017     $45,388.00   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           10/20/2017     $18,347.00   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           10/27/2017     $33,786.25   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           11/7/2017     $141,853.30   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           11/10/2017      $7,087.50   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           11/14/2017     $16,815.00   Suppliers, Vendors, or Services
Love Letter Collection   c/o Rosenthal & Rosenthal Inc      PO Box 88926                 Chicago                IL      60695-1926           11/17/2017        $938.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                09/29/2017     $19,290.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                09/30/2017     $26,178.75   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/05/2017     $44,137.60   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/06/2017      $5,500.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/07/2017     $20,613.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/11/2017      $1,815.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/12/2017     $12,476.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/17/2017     $89,305.75   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/18/2017     $16,784.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/24/2017      $8,796.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/26/2017      $9,308.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                10/28/2017     $48,290.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/01/2017      $5,985.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/04/2017      $5,510.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/08/2017        $780.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/09/2017     $37,966.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/11/2017        $810.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/15/2017      $8,792.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/18/2017      $8,282.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/21/2017     $18,850.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/22/2017     $13,065.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/23/2017     $71,643.95   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/25/2017     $16,567.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/28/2017     $31,283.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                11/29/2017     $12,113.75   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/01/2017      $9,360.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/04/2017     $69,230.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/05/2017     $69,929.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/06/2017     $31,770.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/08/2017     $17,074.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/09/2017     $14,400.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/12/2017     $23,845.75   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/14/2017     $24,683.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/16/2017      $1,260.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/19/2017     $23,758.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/20/2017      $1,260.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/21/2017     $60,906.35   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/22/2017     $21,870.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/27/2017     $55,419.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/28/2017     $10,150.00   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/29/2017     $34,060.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                12/30/2017     $19,130.50   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                01/04/2018     $28,830.25   Suppliers, Vendors, or Services
LOVE NOTE                333 Westminster Ave # 103                                       Los Angeles            CA      90020                1/8/2018       $42,681.00   Suppliers, Vendors, or Services
Love Republic            1172 S. Crocker St                                              Los Angeles            CA      90021                10/27/2017      $8,665.00   Suppliers, Vendors, or Services
Love Republic            1172 S. Crocker St                                              Los Angeles            CA      90021                10/31/2017      $7,273.00   Suppliers, Vendors, or Services
Love Republic            1172 S. Crocker St                                              Los Angeles            CA      90021                11/10/2017     $10,563.00   Suppliers, Vendors, or Services



                                                                                     Page 21 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                      AGACI SOFA 3
                                                                                   In re: A'GACI, L.L.C.
                                                                                    Case No. 18-50049
                                                                                       Attachment 3
                                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                            Reason for payment or transfer (e.g.
                                                                                                                                                                            Secured debt, Unsecured loan
                                                                                                                                                           Total amount     repayments, Suppliers or vendors,
Creditor's name             Address 1                          Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                11/01/2017     $16,512.00   Suppliers, Vendors, or Services
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                11/08/2017        $936.00   Suppliers, Vendors, or Services
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                11/11/2017     $24,367.50   Suppliers, Vendors, or Services
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                11/28/2017     $12,568.00   Suppliers, Vendors, or Services
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                12/02/2017     $52,591.50   Suppliers, Vendors, or Services
LOVE SONG APPAREL           800 E 12TH ST #120                                              Los Angeles            CA      90021                12/14/2017     $11,868.00   Suppliers, Vendors, or Services
Love Tree                   c/o Finance One, Inc.              PO Box 740952                Los Angeles            CA      90074                11/10/2017      $5,977.00   Suppliers, Vendors, or Services
Love Tree                   c/o Finance One, Inc.              PO Box 740952                Los Angeles            CA      90074                11/22/2017     $17,397.83   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                10/13/2017      $2,340.00   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                10/27/2017      $2,651.00   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                10/31/2017      $1,070.16   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                11/7/2017       $1,584.00   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                11/10/2017      $3,456.00   Suppliers, Vendors, or Services
LUCENT                      5515 Daniels St.                                                Chino                  CA      91710                11/14/2017        $684.00   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                11/15/2017      $6,359.00   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                11/17/2017      $9,625.80   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                12/06/2017        $953.75   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                12/09/2017      $6,816.00   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                12/11/2017     $15,434.30   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                12/16/2017      $2,073.25   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                12/20/2017      $6,546.75   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                01/03/2018     $20,093.50   Suppliers, Vendors, or Services
LULUMARI                    754 E. 12th St. #2                                              Los Angeles            CA      90021                01/04/2018     $16,728.50   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                10/18/2017      $1,165.50   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                10/20/2017     $10,381.00   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                10/31/2017      $2,760.00   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                11/10/2017      $3,370.00   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                11/14/2017     $14,141.50   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                11/17/2017      $8,419.75   Suppliers, Vendors, or Services
Lulumari Inc                754 E. 12th St. #2                                              Los Angeles            CA      90021                11/22/2017        $437.50   Suppliers, Vendors, or Services
LVLA Apparel                c/o Hana Financial, Inc.           Dept LA 24406                Pasadena               CA      91185-4406           10/13/2017      $2,838.00   Suppliers, Vendors, or Services
LVLA Apparel                c/o Hana Financial, Inc.           Dept LA 24406                Pasadena               CA      91185-4406           10/27/2017      $1,854.40   Suppliers, Vendors, or Services
LVLA Apparel                c/o Hana Financial, Inc.           Dept LA 24406                Pasadena               CA      91185-4406           11/10/2017      $2,680.00   Suppliers, Vendors, or Services
LVLA Apparel                c/o Hana Financial, Inc.           Dept LA 24406                Pasadena               CA      91185-4406           11/22/2017      $5,350.50   Suppliers, Vendors, or Services
LVLA Apparel                c/o Hana Financial, Inc.           Dept LA 24406                Pasadena               CA      91185-4406           1/6/2018       $18,873.75   Suppliers, Vendors, or Services
Macerich Lubbock, LP        South Plains Mall                  PO Box 849437                Los Angeles            CA      90084-9437           11/3/2017      $50,700.91   Rent
Macerich Lubbock, LP        South Plains Mall                  PO Box 849437                Los Angeles            CA      90084-9437           12/1/2017      $50,700.91   Rent
Machi Footwear Inc          15302 E. Valley Blvd.                                           City of Industry       CA      91746                11/14/2017     $10,234.55   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                10/17/2017     $11,040.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                10/24/2017      $4,200.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                10/27/2017     $36,084.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                10/28/2017      $6,900.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                10/31/2017      $1,620.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                11/15/2017      $6,450.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                12/05/2017     $15,066.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                12/06/2017      $4,050.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                12/12/2017      $8,586.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                12/20/2017     $15,264.00   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                01/03/2018      $3,547.20   Suppliers, Vendors, or Services
MACHINE JEANS               1015 S Crocker St #R26                                          LOS ANGELES            CA      90021                1/8/2018       $14,580.00   Suppliers, Vendors, or Services
Mall at Gurnee Mills, LLC   6170 West Grand Avenue                                          Gurnee                 IL      60031                11/3/2017       $3,372.43   Rent
Mall at Gurnee Mills, LLC   6170 West Grand Avenue                                          Gurnee                 IL      60031                12/1/2017       $4,675.35   Rent
Mall at Ingram Park, LLC    PO Box 402936                                                   Atlanta                GA      30384-2936           11/3/2017      $48,355.44   Rent
Mall at Ingram Park, LLC    PO Box 402936                                                   Atlanta                GA      30384-2936           12/1/2017      $49,759.98   Rent
Mall at Katy Mills, LP      PO Box 100554                                                   Atlanta                GA      30384-0554           11/3/2017      $27,812.63   Rent
Mall at Katy Mills, LP      PO Box 100554                                                   Atlanta                GA      30384-0554           12/1/2017      $26,613.93   Rent



                                                                                        Page 22 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                         AGACI SOFA 3
                                                                                              In re: A'GACI, L.L.C.
                                                                                               Case No. 18-50049
                                                                                                  Attachment 3
                                                                  Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                       Reason for payment or transfer (e.g.
                                                                                                                                                                                       Secured debt, Unsecured loan
                                                                                                                                                                      Total amount     repayments, Suppliers or vendors,
Creditor's name                    Address 1                              Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
Mall at Miami International, LLC   PO Box 643171                                                       Pittsburgh             PA      15264-3171           11/3/2017      $29,706.01   Rent
Mall at Miami International, LLC   PO Box 643171                                                       Pittsburgh             PA      15264-3171           12/1/2017      $29,706.01   Rent
Mall at Valle Vista, LLC           c/o WP Glimcher Inc.                   180 East Broad Street        Columbus               OH      43215                11/3/2017       $8,616.69   Rent
Mall del Norte, LLC                CBL #0414                              PO Box 955607                St Louis               MO      63195-5607           11/3/2017      $28,956.08   Rent
Mall del Norte, LLC                CBL #0414                              PO Box 955607                St Louis               MO      63195-5607           12/1/2017      $28,956.08   Rent
MARGARET KIM (FASHION DAILY)       401 N. Serrano Ave #304                                             Los Angeles            CA      90004                10/27/2017      $4,000.00   Suppliers, Vendors, or Services
MARGARET KIM (FASHION DAILY)       401 N. Serrano Ave #304                                             Los Angeles            CA      90004                12/1/2017       $3,000.00   Suppliers, Vendors, or Services
                                                                          1100 S. San Pedro St. # D-
MARINEBLU SOIEBL                   Latulle Corp dba Soieblu               6                          Los Angeles              CA      90015                09/30/2017      $3,120.00 Suppliers, Vendors, or Services
                                                                          1100 S. San Pedro St. # D-
MARINEBLU SOIEBL                   Latulle Corp dba Soieblu               6                          Los Angeles              CA      90015                10/21/2017     $16,471.00 Suppliers, Vendors, or Services
                                                                          1100 S. San Pedro St. # D-
MARINEBLU SOIEBL                   Latulle Corp dba Soieblu               6                          Los Angeles              CA      90015                11/01/2017      $7,841.00 Suppliers, Vendors, or Services
                                                                          1100 S. San Pedro St. # D-
MARINEBLU SOIEBL                   Latulle Corp dba Soieblu               6                          Los Angeles              CA      90015                11/18/2017      $1,620.00   Suppliers, Vendors, or Services
MARYLAND DEPT OF REV                                                                                                                                       10/20/2017     $13,489.41   SALES TAX
MARYLAND DEPT OF REV                                                                                                                                       11/22/2017     $12,129.79   SALES TAX
MARYLAND DEPT OF REV                                                                                                                                       12/20/2017     $11,372.07   SALES TAX
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                11/07/2017        $750.00   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                11/11/2017     $11,400.00   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                11/18/2017      $6,670.00   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                11/21/2017      $3,570.00   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                12/06/2017      $2,682.50   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                12/08/2017      $8,868.00   Suppliers, Vendors, or Services
MEBON                              1001 Towne Ave #115                                                 Los Angeles            CA      90021                12/09/2017      $8,787.50   Suppliers, Vendors, or Services
Memorial City Mall, LP             303 Memorial City, Suite 303                                        Houston                TX      77024                11/3/2017       $5,000.00   Rent
Memorial City Mall, LP             303 Memorial City, Suite 303                                        Houston                TX      77024                12/1/2017       $5,000.00   Rent
Meridian Services Inc              1018 El Dorado Dr                                                   Fullerton              CA      92835                11/14/2017      $5,499.41   Suppliers, Vendors, or Services
Meridian Services Inc              1018 El Dorado Dr                                                   Fullerton              CA      92835                11/22/2017      $3,147.59   Suppliers, Vendors, or Services
Meridian Services Inc              1018 El Dorado Dr                                                   Fullerton              CA      92835                12/19/2017      $2,885.18   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                10/13/2017     $34,193.91   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                10/17/2017     $11,597.62   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                10/24/2017     $20,195.49   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                11/7/2017      $32,952.13   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                11/10/2017     $36,630.80   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                11/14/2017     $16,104.08   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                11/21/2017      $9,415.48   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                11/28/2017     $18,911.77   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                12/5/2017      $14,146.76   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                12/8/2017      $35,982.03   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                12/12/2017     $21,776.33   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                12/19/2017      $5,125.12   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                12/27/2017     $17,086.07   Suppliers, Vendors, or Services
MERITAIN HEALTH                    P.O. Box 8000 Dept 207                                              Buffalo                NY      14267                1/3/2018       $17,539.08   Suppliers, Vendors, or Services
Mesilla Valley Mall, LLC           PO Box 645577                                                       Cincinnati             OH      45264-5577           11/3/2017      $19,103.62   Rent
Mesilla Valley Mall, LLC           PO Box 645577                                                       Cincinnati             OH      45264-5577           12/1/2017      $19,103.62   Rent
Metlife Group Benefits             PO Box 14593                                                        Lexington              KY      40512                11/8/2017      $10,221.98   Suppliers, Vendors, or Services
Metlife Group Benefits             PO Box 14593                                                        Lexington              KY      40512                12/6/2017      $18,210.81   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/03/2017     $18,110.90   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/04/2017     $13,686.40   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/07/2017      $1,953.00   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/14/2017     $16,672.50   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/20/2017     $22,794.00   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                10/26/2017      $1,880.20   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                11/07/2017      $5,150.40   Suppliers, Vendors, or Services
MICHEL                             727 E. PICO BLVD. SUITE 7                                           LOS ANGELES            CA      90021                11/11/2017      $6,183.00   Suppliers, Vendors, or Services



                                                                                                   Page 23 of 35                                                                                                2/22/2018 11:02 AM
                                                                                                                                                                                                                      AGACI SOFA 3
                                                                                   In re: A'GACI, L.L.C.
                                                                                    Case No. 18-50049
                                                                                       Attachment 3
                                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                            Reason for payment or transfer (e.g.
                                                                                                                                                                            Secured debt, Unsecured loan
                                                                                                                                                           Total amount     repayments, Suppliers or vendors,
Creditor's name             Address 1                          Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                11/17/2017      $1,350.00   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                11/30/2017      $6,274.80   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                12/16/2017      $2,733.75   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                12/17/2017      $4,142.25   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                12/22/2017     $19,941.00   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                12/23/2017     $27,224.85   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                01/03/2018     $20,837.20   Suppliers, Vendors, or Services
MICHEL                      727 E. PICO BLVD. SUITE 7                                       LOS ANGELES            CA      90021                01/04/2018      $1,860.00   Suppliers, Vendors, or Services
Midland Park Mall, LP       PO Box 643378                                                   Pittsburgh             PA      15264-3378           11/3/2017      $32,218.99   Rent
Midland Park Mall, LP       PO Box 643378                                                   Pittsburgh             PA      15264-3378           12/1/2017      $36,285.25   Rent
Milpitas Mills, LP          PO Box 409714                                                   Atlanta                GA      30384-9714           11/3/2017      $30,242.98   Rent
Milpitas Mills, LP          PO Box 409714                                                   Atlanta                GA      30384-9714           12/1/2017      $30,242.98   Rent
Mind Code/Mono B            747 E 10th St # 107                                             Los Angeles            CA      90021                10/31/2017        $869.50   Suppliers, Vendors, or Services
Mind Code/Mono B            747 E 10th St # 107                                             Los Angeles            CA      90021                11/10/2017      $3,024.00   Suppliers, Vendors, or Services
Mind Code/Mono B            747 E 10th St # 107                                             Los Angeles            CA      90021                11/14/2017      $7,049.50   Suppliers, Vendors, or Services
MINE (EDGE CLOTHING) INC.   1801 E. 50th Street                                             Los Angeles            CA      90058                10/27/2017     $17,219.65   Suppliers, Vendors, or Services
MINE (EDGE CLOTHING) INC.   1801 E. 50th Street                                             Los Angeles            CA      90058                10/31/2017      $1,076.75   Suppliers, Vendors, or Services
MINE (EDGE CLOTHING) INC.   1801 E. 50th Street                                             Los Angeles            CA      90058                11/7/2017       $5,724.00   Suppliers, Vendors, or Services
MINE (EDGE CLOTHING) INC.   1801 E. 50th Street                                             Los Angeles            CA      90058                11/10/2017      $1,156.00   Suppliers, Vendors, or Services
Miss 21 Imports             Shop21 Inc DBA Miss 21 Imports     1239 Broadway Fl 2           New York               NY      10001                10/13/2017        $724.50   Suppliers, Vendors, or Services
Miss 21 Imports             Shop21 Inc DBA Miss 21 Imports     1239 Broadway Fl 2           New York               NY      10001                10/27/2017      $7,920.00   Suppliers, Vendors, or Services
Miss 21 Imports             Shop21 Inc DBA Miss 21 Imports     1239 Broadway Fl 2           New York               NY      10001                11/7/2017       $9,960.00   Suppliers, Vendors, or Services
Miss 21 Imports             Shop21 Inc DBA Miss 21 Imports     1239 Broadway Fl 2           New York               NY      10001                11/10/2017        $840.00   Suppliers, Vendors, or Services
Miss 21 Imports             Shop21 Inc DBA Miss 21 Imports     1239 Broadway Fl 2           New York               NY      10001                11/14/2017      $1,884.75   Suppliers, Vendors, or Services
Miss Avenue Inc             777 E. 10th St #121                                             Los Angeles            CA      90021                10/27/2017     $30,596.25   Suppliers, Vendors, or Services
Miss Avenue Inc             777 E. 10th St #121                                             Los Angeles            CA      90021                11/7/2017      $15,194.25   Suppliers, Vendors, or Services
Miss Avenue Inc             777 E. 10th St #121                                             Los Angeles            CA      90021                11/14/2017     $25,318.50   Suppliers, Vendors, or Services
Miss Avenue Inc             777 E. 10th St #121                                             Los Angeles            CA      90021                11/17/2017      $3,150.00   Suppliers, Vendors, or Services
MJ Accessories LLC          1410 Broadway Suite 301                                         New York               NY      10018                11/3/2017       $3,816.00   Suppliers, Vendors, or Services
MJ Accessories LLC          1410 Broadway Suite 301                                         New York               NY      10018                11/14/2017      $3,500.00   Suppliers, Vendors, or Services
MMS TRADING                 5390 Rickenbacker Rd                                            Bell                   CA      90201                10/31/2017     $19,525.00   Suppliers, Vendors, or Services
MMS TRADING                 5390 Rickenbacker Rd                                            Bell                   CA      90201                11/10/2017      $3,480.00   Suppliers, Vendors, or Services
MOAC Mall Holdings, LLC     NW 5826                            PO Box 1450                  Minneapolis            MN      55485-5826           11/3/2017      $92,399.58   Rent
Model Two Mgmt LLC          8000 Sunset Blvd, Ste A201                                      Los Angeles            CA      90046                1/4/2018       $12,000.00   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                09/29/2017      $8,000.00   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                10/12/2017        $881.40   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                10/13/2017      $1,685.50   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                10/20/2017        $705.00   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                10/27/2017        $246.75   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                11/16/2017      $1,303.75   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                12/02/2017        $323.75   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                12/08/2017        $236.25   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                12/14/2017      $2,403.00   Suppliers, Vendors, or Services
MONOB MIND CODE             747 E 10th St # 107                                             Los Angeles            CA      90021                12/16/2017      $1,487.50   Suppliers, Vendors, or Services
MS BUBBLES                  2731 S Alameda Sreet                                            Los Angeles            CA      90058                1/5/2018       $15,007.50   Suppliers, Vendors, or Services
Network Tech Property LLC   PO Box 206093                                                   Dallas                 TX      75320-6093           10/25/2017     $19,344.50   Rent
Network Tech Property LLC   PO Box 206093                                                   Dallas                 TX      75320-6093           11/24/2017     $19,344.50   Rent
New Mode                    1100 S. San Pedro Street           # O-10                       Los Angeles            CA      90015                10/18/2017        $243.00   Suppliers, Vendors, or Services
New Mode                    1100 S. San Pedro Street           # O-10                       Los Angeles            CA      90015                10/27/2017      $6,142.50   Suppliers, Vendors, or Services
New Mode                    1100 S. San Pedro Street           # O-10                       Los Angeles            CA      90015                11/7/2017      $26,305.50   Suppliers, Vendors, or Services
New World Beauty Inc        10532 Acacia St Suite B8-B10                                    Rancho Cucamonga       CA      91730                10/20/2017     $12,045.60   Suppliers, Vendors, or Services
Next Management, LLC.       15 Watts Street                                                 New York               NY      10013                12/27/2017     $12,000.00   Suppliers, Vendors, or Services
Nicki Frates                806 North Alfred St. Apt 4                                      West Hollywood         CA      90069                11/1/2017       $7,598.58   Suppliers, Vendors, or Services
Nicki Frates                806 North Alfred St. Apt 4                                      West Hollywood         CA      90069                11/30/2017      $7,598.58   Suppliers, Vendors, or Services
NICKI FRATES                806 North Alfred St. Apt 4                                      West Hollywood         CA      90069                12/1/2017       $7,598.58   Suppliers, Vendors, or Services
Nicki Frates                806 North Alfred St. Apt 4                                      West Hollywood         CA      90069                12/28/2017      $7,598.58   Suppliers, Vendors, or Services



                                                                                        Page 24 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                         AGACI SOFA 3
                                                                                In re: A'GACI, L.L.C.
                                                                                 Case No. 18-50049
                                                                                    Attachment 3
                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                       Reason for payment or transfer (e.g.
                                                                                                                                                                       Secured debt, Unsecured loan
                                                                                                                                                        Total amount repayments, Suppliers or vendors,
Creditor's name        Address 1                            Address 2                    City                   State   Zip        Country   Date       or value       Services, or Other)
NM DEPT OF REV         Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           10/23/2017      $6,355.40 SALES TAX
NM DEPT OF REV         Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           11/22/2017      $5,403.96 SALES TAX
NM DEPT OF REV         Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           12/22/2017      $6,877.11 SALES TAX
                                                            2049 Century Park East
NORTH COUNTY           Attn Legal Dept.                     41st Fl.                     Los Angeles            CA      90067                11/13/2017     $33,030.96   RENT
North Star Mall, LLC   SDS-12-2770                          PO Box 86                    Minneapolis            MN      55486-2770           11/3/2017      $61,088.29   Rent
North Star Mall, LLC   SDS-12-2770                          PO Box 86                    Minneapolis            MN      55486-2770           12/1/2017      $61,088.29   Rent
NV E TAX               Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           10/23/2017     $19,757.50   SALES TAX
NV E TAX               Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           11/21/2017     $16,049.19   SALES TAX
NV E TAX               Business Tax                         P. O. Box 52674              Phoenix                AZ      85072-2674           12/21/2017     $19,533.69   SALES TAX
NV Energy              PO Box 30086                                                      Reno                   NV      89520                10/18/2017      $1,761.18   Suppliers, Vendors, or Services
NV Energy              PO Box 30086                                                      Reno                   NV      89520                11/9/2017       $1,240.17   Suppliers, Vendors, or Services
NV Energy              PO Box 30086                                                      Reno                   NV      89520                11/14/2017      $1,483.07   Suppliers, Vendors, or Services
NV Energy              PO Box 30086                                                      Reno                   NV      89520                12/19/2017      $2,953.45   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/04/2017     $13,836.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/06/2017     $32,760.65   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/07/2017     $65,460.65   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/08/2017     $25,002.25   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/09/2017      $6,560.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/10/2017     $13,500.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/14/2017      $7,823.25   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/15/2017     $25,080.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/17/2017     $16,801.25   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/18/2017      $3,240.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/22/2017      $9,269.50   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                11/30/2017      $3,240.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/04/2017     $26,190.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/12/2017      $4,100.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/13/2017      $1,080.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/14/2017      $3,793.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/15/2017      $3,525.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/16/2017     $25,274.70   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/19/2017     $11,202.20   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/21/2017      $3,864.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                12/23/2017     $23,811.00   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                01/04/2018     $19,712.50   Suppliers, Vendors, or Services
NYLON APPAREL          c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                01/05/2018      $7,385.25   Suppliers, Vendors, or Services
Nylon Apparel Inc      c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                10/13/2017      $5,168.00   Suppliers, Vendors, or Services
Nylon Apparel Inc      c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                10/18/2017      $4,180.00   Suppliers, Vendors, or Services
Nylon Apparel Inc      c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                10/27/2017      $3,814.48   Suppliers, Vendors, or Services
Nylon Apparel Inc      c/o Prime Business Credit Inc        PO Box 741084                Los Angeles            CA      90074                10/31/2017     $11,471.20   Suppliers, Vendors, or Services
NYS TAX                Corp - V                             PO Box 15163                 Albany                 NY      12212-5163           10/20/2017     $19,518.00   SALES TAX
NYS TAX                Corp - V                             PO Box 15163                 Albany                 NY      12212-5163           11/20/2017     $15,166.00   SALES TAX
NYS TAX                Corp - V                             PO Box 15163                 Albany                 NY      12212-5163           11/22/2017      $2,210.00   SALES TAX
NYS TAX                Corp - V                             PO Box 15163                 Albany                 NY      12212-5163           12/20/2017     $19,894.14   SALES TAX
OBOE                   1015 S. Crocker St., Unit R-34                                    Los Angeles            CA      90021                10/13/2017      $3,870.75   Suppliers, Vendors, or Services
OBOE                   1015 S. Crocker St., Unit R-34                                    Los Angeles            CA      90021                10/27/2017      $2,132.00   Suppliers, Vendors, or Services
OBOE                   1015 S. Crocker St., Unit R-34                                    Los Angeles            CA      90021                11/10/2017        $936.00   Suppliers, Vendors, or Services
OBOE                   1015 S. Crocker St., Unit R-34                                    Los Angeles            CA      90021                11/14/2017      $1,221.50   Suppliers, Vendors, or Services
Oh Yes Fashion         855 W. Walnut St.                                                 Compton                CA      90220                10/13/2017        $526.50   Suppliers, Vendors, or Services
Oh Yes Fashion         855 W. Walnut St.                                                 Compton                CA      90220                10/18/2017      $3,544.50   Suppliers, Vendors, or Services
Oh Yes Fashion         855 W. Walnut St.                                                 Compton                CA      90220                10/27/2017      $6,857.25   Suppliers, Vendors, or Services
Oh Yes Fashion         855 W. Walnut St.                                                 Compton                CA      90220                11/7/2017       $6,970.50   Suppliers, Vendors, or Services
Oh Yes Fashion         855 W. Walnut St.                                                 Compton                CA      90220                11/14/2017      $3,800.00   Suppliers, Vendors, or Services
                       C/O CIT Group/Commercial
Oli J. Inc             Services, Inc.                       P.O. Box 1036                Charlotte              NC      28201-1036           10/13/2017      $7,380.00 Suppliers, Vendors, or Services



                                                                                     Page 25 of 35                                                                                                2/22/2018 11:02 AM
                                                                                                                                                                                                        AGACI SOFA 3
                                                                                                  In re: A'GACI, L.L.C.
                                                                                                   Case No. 18-50049
                                                                                                      Attachment 3
                                                                      Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                 Reason for payment or transfer (e.g.
                                                                                                                                                                                                 Secured debt, Unsecured loan
                                                                                                                                                                                 Total amount    repayments, Suppliers or vendors,
Creditor's name                       Address 1                               Address 2                    City                   State Zip               Country   Date         or value        Services, or Other)
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 10/20/2017      $33,184.20 Suppliers, Vendors, or Services
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 10/27/2017       $1,026.00 Suppliers, Vendors, or Services
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 11/10/2017       $8,118.00 Suppliers, Vendors, or Services
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 11/14/2017      $58,873.20 Suppliers, Vendors, or Services
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 11/17/2017       $8,208.00 Suppliers, Vendors, or Services
                                      C/O CIT Group/Commercial
Oli J. Inc                            Services, Inc.                          P.O. Box 1036                Charlotte              NC     28201-1036                 11/22/2017         $342.00   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      10/25/2017       $8,130.00   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      10/26/2017       $4,840.00   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      11/02/2017       $3,091.50   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      11/05/2017       $1,477.50   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      11/15/2017       $3,311.00   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      12/12/2017         $630.00   Suppliers, Vendors, or Services
ON TWELFTH                            Starland Inc dba On Twelfth             748 E 12th Street Unit 2     Los Angeles            CA     90021                      12/19/2017       $9,569.80   Suppliers, Vendors, or Services
One by One Apparel Inc                796 E 12th St                                                        Los Angeles            CA     90021                      10/13/2017         $981.00   Suppliers, Vendors, or Services
One by One Apparel Inc                796 E 12th St                                                        Los Angeles            CA     90021                      10/31/2017       $1,759.25   Suppliers, Vendors, or Services
One by One Apparel Inc                796 E 12th St                                                        Los Angeles            CA     90021                      11/10/2017       $5,671.00   Suppliers, Vendors, or Services
Orange                                919 S. Towne Ave                                                     Los Angeles            CA     90021                      10/27/2017       $8,610.00   Suppliers, Vendors, or Services
Orange                                919 S. Towne Ave                                                     Los Angeles            CA     90021                      11/7/2017       $19,094.55   Suppliers, Vendors, or Services
Orange                                919 S. Towne Ave                                                     Los Angeles            CA     90021                      11/14/2017      $24,096.40   Suppliers, Vendors, or Services
OVI 00-08031043758 LOS ANGELES   CA   777 E 10th St #118                                                   Los Angeles            CA     90021                      11/08/2017         $726.00   Suppliers, Vendors, or Services
OVI 00-08031043758 LOS ANGELES   CA   777 E 10th St #118                                                   Los Angeles            CA     90021                      12/02/2017      $20,097.00   Suppliers, Vendors, or Services
Oxford South Park Mall, LLC           PO Box 934706                                                        Atlanta                GA     31193-4706                 11/3/2017       $28,879.17   Rent
Oxford South Park Mall, LLC           PO Box 934706                                                        Atlanta                GA     31193-4706                 12/1/2017       $28,879.17   Rent
Papermoon LLC                         c/o Prime Business Credit Inc           PO Box 741084                Los Angeles            CA     90074-1084                 10/18/2017       $4,401.00   Suppliers, Vendors, or Services
Papermoon LLC                         c/o Prime Business Credit Inc           PO Box 741084                Los Angeles            CA     90074-1084                 10/20/2017       $5,790.00   Suppliers, Vendors, or Services
Papermoon LLC                         c/o Prime Business Credit Inc           PO Box 741084                Los Angeles            CA     90074-1084                 10/27/2017       $2,574.25   Suppliers, Vendors, or Services
Papermoon LLC                         c/o Prime Business Credit Inc           PO Box 741084                Los Angeles            CA     90074-1084                 11/7/2017          $170.00   Suppliers, Vendors, or Services
Papermoon LLC                         c/o Prime Business Credit Inc           PO Box 741084                Los Angeles            CA     90074-1084                 11/22/2017       $2,656.50   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      10/13/2017         $678.60   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      10/18/2017         $970.50   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      10/20/2017         $396.50   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      10/27/2017       $2,150.00   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      10/31/2017         $582.40   Suppliers, Vendors, or Services
Paragon Design Group                  477 S Dean Street                                                    Englewood              NJ     07631                      11/17/2017       $1,789.20   Suppliers, Vendors, or Services
Park Mall L.L.C.                      Park Place                              SDS-12-1377                  Minneapolis            MN     55486                      11/3/2017       $10,412.86   Rent
Parks at Arlington, LLC               SDS-12-2881                             PO Box 86                    Minneapolis            MN     55486-2881                 11/3/2017       $55,624.85   Rent
Parks at Arlington, LLC               SDS-12-2881                             PO Box 86                    Minneapolis            MN     55486-2881                 12/1/2017       $54,743.84   Rent
Passport/Ms Bubbles                   2731 S Alameda Sreet                                                 Los Angeles            CA     90058                      1/5/2018        $15,007.50   Suppliers, Vendors, or Services
Pearland Town Center, LP              CBL #0689                               PO Box 955607                St Louis               MO     63195-5607                 11/3/2017       $23,864.84   Rent
Pearland Town Center, LP              CBL #0689                               PO Box 955607                St Louis               MO     63195-5607                 12/1/2017       $23,864.84   Rent
PEPCO                                 PO Box 13608                                                         Philadelphia           PA     19101                      10/20/2017       $2,486.34   Suppliers, Vendors, or Services
PEPCO                                 PO Box 13608                                                         Philadelphia           PA     19101                      11/14/2017       $2,490.43   Suppliers, Vendors, or Services
PEPCO                                 PO Box 13608                                                         Philadelphia           PA     19101                      12/13/2017       $1,998.02   Suppliers, Vendors, or Services
PEREZ & MALIK                         115 E. Travis St                                                     San Antonio            TX     78205                      10/19/2017       $3,250.00   Suppliers, Vendors, or Services
PEREZ & MALIK                         115 E. Travis St                                                     San Antonio            TX     78205                      10/26/2017       $3,685.00   Suppliers, Vendors, or Services

PFP Holding Company IV, LLC           Shamrock/Outlets at the Border, LLC PO Box 844032                    Los Angeles            CA     90084-4032                 11/3/2017       $38,518.45 Rent

PFP Holding Company IV, LLC           Shamrock/Outlets at the Border, LLC PO Box 844032                    Los Angeles            CA     90084-4032                 12/1/2017       $38,518.45 Rent
Play Network, Inc                     P. O. Box 204515                                                     Dallas                 TX     75320-4515                 10/18/2017       $3,618.26 Suppliers, Vendors, or Services



                                                                                                       Page 26 of 35                                                                                                      2/22/2018 11:02 AM
                                                                                                                                                                                                                                AGACI SOFA 3
                                                                                           In re: A'GACI, L.L.C.
                                                                                            Case No. 18-50049
                                                                                               Attachment 3
                                                               Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                Reason for payment or transfer (e.g.
                                                                                                                                                                                Secured debt, Unsecured loan
                                                                                                                                                                 Total amount repayments, Suppliers or vendors,
Creditor's name                     Address 1                          Address 2                    City                   State Zip        Country   Date       or value       Services, or Other)
Play Network, Inc                   P. O. Box 204515                                                Dallas                 TX    75320-4515           11/14/2017      $3,618.38 Suppliers, Vendors, or Services
                                                                       2049 Century Park East
PLAZA BONITA                        Attn Legal Dept.                   41st Fl.                     Los Angeles            CA     90067               11/13/2017     $32,048.33   RENT
Plaza Del Caribe                    Attn Accts Recevable               PO Box 363268                San Juan               PR     00936-3268          11/3/2017      $40,552.72   Suppliers, Vendors, or Services
Plaza Las Americas                  PO Box 363268                                                   San Juan               PR     000936-236          11/3/2017      $71,902.86   Suppliers, Vendors, or Services
POLLY & ESTHER BOUTI                                                                                                                                  11/21/2017      $2,808.00   Suppliers, Vendors, or Services
POLLY & ESTHER BOUTI                                                                                                                                  12/28/2017      $9,876.60   Suppliers, Vendors, or Services
Poof                                CIT Group/Commercial Services      PO BOX 1036                  Charlotte              NC     28201-1036          10/27/2017      $8,743.00   Suppliers, Vendors, or Services
Poof                                CIT Group/Commercial Services      PO BOX 1036                  Charlotte              NC     28201-1036          11/7/2017       $9,100.80   Suppliers, Vendors, or Services
Poof                                CIT Group/Commercial Services      PO BOX 1036                  Charlotte              NC     28201-1036          11/22/2017     $18,327.50   Suppliers, Vendors, or Services
Popular 21                          747 East 10th Street Unit 111                                   Los Angeles            CA     90021               10/13/2017      $2,511.00   Suppliers, Vendors, or Services
Popular 21                          747 East 10th Street Unit 111                                   Los Angeles            CA     90021               10/27/2017      $3,807.00   Suppliers, Vendors, or Services
Popular 21                          747 East 10th Street Unit 111                                   Los Angeles            CA     90021               11/17/2017      $4,515.00   Suppliers, Vendors, or Services
Potters Pot Inc                     800 E. 12th St. #140                                            Los Angeles            CA     90021               11/7/2017       $8,633.70   Suppliers, Vendors, or Services
Potters Pot Inc                     800 E. 12th St. #140                                            Los Angeles            CA     90021               11/10/2017        $558.25   Suppliers, Vendors, or Services
PP*MMS                                                                                                                                                12/22/2017      $4,416.00   Suppliers, Vendors, or Services
PP*MMS                                                                                                                                                01/04/2018      $4,232.40   Suppliers, Vendors, or Services
Precision Waste Solutions, LLC      PO BOX 18856                                                    Shreveport             LA     71138               10/26/2017      $3,831.84   Suppliers, Vendors, or Services
Precision Waste Solutions, LLC      PO BOX 18856                                                    Shreveport             LA     71138               12/6/2017       $3,831.84   Suppliers, Vendors, or Services
Precision Waste Solutions, LLC      PO BOX 18856                                                    Shreveport             LA     71138               12/27/2017      $1,230.58   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               10/03/2017     $79,913.00   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               10/12/2017      $5,150.75   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               10/17/2017     $30,701.50   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               10/30/2017    $109,986.25   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               11/10/2017     $26,561.75   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               11/20/2017     $73,336.25   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               12/04/2017     $57,376.50   Suppliers, Vendors, or Services
PRIVY                               933 Towne Ave # 104                                             Los Angeles            CA     90021               12/18/2017     $51,021.75   Suppliers, Vendors, or Services
Project 28 Clothing LLC             c/o CIT Group                      PO Box 1036                  Charlotte              NC     28201               10/20/2017      $7,314.60   Suppliers, Vendors, or Services
Project 28 Clothing LLC             c/o CIT Group                      PO Box 1036                  Charlotte              NC     28201               10/27/2017     $11,051.50   Suppliers, Vendors, or Services
Propose/Noble U                     1100 S. SAN PEDRO ST.              #A-14                        LOS ANGELES            CA     90015               10/13/2017     $13,036.00   Suppliers, Vendors, or Services
Propose/Noble U                     1100 S. SAN PEDRO ST.              #A-14                        LOS ANGELES            CA     90015               10/27/2017        $720.00   Suppliers, Vendors, or Services
Propose/Noble U                     1100 S. SAN PEDRO ST.              #A-14                        LOS ANGELES            CA     90015               11/10/2017      $1,047.60   Suppliers, Vendors, or Services
Propose/Noble U                     1100 S. SAN PEDRO ST.              #A-14                        LOS ANGELES            CA     90015               11/22/2017      $2,811.30   Suppliers, Vendors, or Services
Remedy Intelligent Staffing         P.O. Box 809474                                                 Chicago                IL     60680               10/26/2017      $2,651.84   Suppliers, Vendors, or Services
Remedy Intelligent Staffing         P.O. Box 809474                                                 Chicago                IL     60680               11/8/2017      $12,680.08   Suppliers, Vendors, or Services
Remedy Intelligent Staffing         P.O. Box 809474                                                 Chicago                IL     60680               11/28/2017      $8,159.76   Suppliers, Vendors, or Services
Remedy Intelligent Staffing         P.O. Box 809474                                                 Chicago                IL     60680               12/6/2017      $10,805.99   Suppliers, Vendors, or Services
Rio Grande Valley Premium Outlets   PO Box 822324                                                   Philadelphia           PA     19182-2324          11/3/2017      $23,321.11   Rent
Rio Grande Valley Premium Outlets   PO Box 822324                                                   Philadelphia           PA     19182-2324          12/1/2017      $22,841.11   Rent
RM MFG CO                           7401 N. Oak Park Ave                                            Niles                  IL     60714               11/25/2017     $59,652.00   Suppliers, Vendors, or Services
RM MFG CO                           7401 N. Oak Park Ave                                            Niles                  IL     60714               12/07/2017      $4,125.00   Suppliers, Vendors, or Services
RNK Jewelry                         115 West 29th St                                                New York               NY     10001               10/31/2017      $1,980.00   Suppliers, Vendors, or Services
RNK Jewelry                         115 West 29th St                                                New York               NY     10001               11/3/2017       $3,153.45   Suppliers, Vendors, or Services
RNK Jewelry                         115 West 29th St                                                New York               NY     10001               11/7/2017       $8,040.25   Suppliers, Vendors, or Services
RNK Jewelry                         115 West 29th St                                                New York               NY     10001               11/10/2017      $1,452.10   Suppliers, Vendors, or Services
RNK Jewelry                         115 West 29th St                                                New York               NY     10001               11/14/2017     $11,133.60   Suppliers, Vendors, or Services
Robe Abito Inc.                     1211 Long Beach Ave #101                                        Los Angeles            CA     90021               10/13/2017      $5,838.75   Suppliers, Vendors, or Services
Robe Abito Inc.                     1211 Long Beach Ave #101                                        Los Angeles            CA     90021               10/27/2017        $580.50   Suppliers, Vendors, or Services
Robe Abito Inc.                     1211 Long Beach Ave #101                                        Los Angeles            CA     90021               11/3/2017       $2,760.00   Suppliers, Vendors, or Services
Rock N. Rose                        807 E. 12th St.                    Suite 138                    Los Angeles            CA     90021               10/18/2017      $9,799.20   Suppliers, Vendors, or Services
Rock N. Rose                        807 E. 12th St.                    Suite 138                    Los Angeles            CA     90021               11/7/2017       $9,466.80   Suppliers, Vendors, or Services
Rock N. Rose                        807 E. 12th St.                    Suite 138                    Los Angeles            CA     90021               11/14/2017        $207.00   Suppliers, Vendors, or Services
Rock N. Rose                        807 E. 12th St.                    Suite 138                    Los Angeles            CA     90021               11/22/2017     $14,520.40   Suppliers, Vendors, or Services
Rolling Oaks Mall, LLC              c/o WP Glimcher Inc.               180 East Broad Street        Columbus               OH     43215               11/3/2017       $7,043.62   Rent




                                                                                                Page 27 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                                 AGACI SOFA 3
                                                                                               In re: A'GACI, L.L.C.
                                                                                                Case No. 18-50049
                                                                                                   Attachment 3
                                                                   Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                              Reason for payment or transfer (e.g.
                                                                                                                                                                                              Secured debt, Unsecured loan
                                                                                                                                                                              Total amount    repayments, Suppliers or vendors,
Creditor's name                    Address 1                               Address 2                    City                   State Zip               Country   Date         or value        Services, or Other)
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      10/13/2017       $1,178.00 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      10/20/2017      $20,627.15 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      10/27/2017         $840.00 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      10/31/2017       $9,266.00 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      11/3/2017          $869.20 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      11/14/2017      $15,477.40 Suppliers, Vendors, or Services
                                                                           1100 S. San Pedro St #
RolyPoly                           Will B Inc dba RolyPoly                 B5                           Los Angeles            CA     90015                      11/22/2017      $24,438.20   Suppliers, Vendors, or Services
RSM ROC & Company                  PO Box 10528                                                         San Juan               PR     00922-0528                 11/28/2017      $19,812.00   Suppliers, Vendors, or Services
RSM ROC & Company                  PO Box 10528                                                         San Juan               PR     00922-0528                 12/19/2017         $520.00   Suppliers, Vendors, or Services
RUDECOSMETI                        1636 W 8th Street Suite 100                                          Los Angeles            CA     90017                      11/11/2017      $13,171.20   Suppliers, Vendors, or Services
RUDECOSMETI                        1636 W 8th Street Suite 100                                          Los Angeles            CA     90017                      12/08/2017       $1,560.00   Suppliers, Vendors, or Services
S & G Apparel                      727 E. Pico Blvd, Suite 1 & 2                                        Los Angeles            CA     90021                      10/13/2017       $5,030.10   Suppliers, Vendors, or Services
S & G Apparel                      727 E. Pico Blvd, Suite 1 & 2                                        Los Angeles            CA     90021                      10/20/2017       $4,738.50   Suppliers, Vendors, or Services
S&R GLOBAL FASHION                                                                                                                                               10/04/2017      $20,400.00   Suppliers, Vendors, or Services
S&R GLOBAL FASHION                                                                                                                                               12/21/2017       $3,465.00   Suppliers, Vendors, or Services
S&R GLOBAL FASHION                                                                                                                                               12/28/2017       $3,386.25   Suppliers, Vendors, or Services
SACE                               1200 S. San Pedro ST. #105                                           Los Angeles            CA     90015                      11/10/2017       $7,542.00   Suppliers, Vendors, or Services
SACE                               1200 S. San Pedro ST. #105                                           Los Angeles            CA     90015                      11/18/2017       $3,915.00   Suppliers, Vendors, or Services
SACE                               1200 S. San Pedro ST. #105                                           Los Angeles            CA     90015                      12/02/2017       $2,754.00   Suppliers, Vendors, or Services
SACE                               1200 S. San Pedro ST. #105                                           Los Angeles            CA     90015                      12/08/2017       $2,250.00   Suppliers, Vendors, or Services
SACE                               1200 S. San Pedro ST. #105                                           Los Angeles            CA     90015                      12/15/2017       $4,500.00   Suppliers, Vendors, or Services
Saf Group Management Inc           PO Box 428                                                           Rockville Centre       NY     11571                      10/18/2017       $5,296.11   Suppliers, Vendors, or Services
Saf Group Management Inc           PO Box 428                                                           Rockville Centre       NY     11571                      10/26/2017         $320.00   Suppliers, Vendors, or Services
Saf Group Management Inc           PO Box 428                                                           Rockville Centre       NY     11571                      11/22/2017       $3,907.94   Suppliers, Vendors, or Services
Salt & Pepper                      1015 Crocker St #Q-7                                                 Los Angeles            CA     90021                      11/7/2017       $16,231.50   Suppliers, Vendors, or Services
San Antonio Merchant Shippers      4300 Loop 410 NE, Ste 150                                            San Antonio            TX     78218                      11/9/2017        $7,193.62   Suppliers, Vendors, or Services
San Antonio Merchant Shippers      4300 Loop 410 NE, Ste 150                                            San Antonio            TX     78218                      11/17/2017       $4,904.20   Suppliers, Vendors, or Services
San Joy Inc                        1100 S San Pedro St G3                                               Los Angeles            CA     90015                      10/13/2017       $1,224.00   Suppliers, Vendors, or Services
San Joy Inc                        1100 S San Pedro St G3                                               Los Angeles            CA     90015                      10/27/2017       $3,325.75   Suppliers, Vendors, or Services
San Joy Inc                        1100 S San Pedro St G3                                               Los Angeles            CA     90015                      11/7/2017        $4,489.50   Suppliers, Vendors, or Services
San Joy Inc                        1100 S San Pedro St G3                                               Los Angeles            CA     90015                      11/10/2017         $954.00   Suppliers, Vendors, or Services
San Joy Inc                        1100 S San Pedro St G3                                               Los Angeles            CA     90015                      11/14/2017       $3,105.00   Suppliers, Vendors, or Services
San Marcos Premium Outlets, L.P.   PO Box 776300                                                        Chicago                IL     60677-6300                 11/3/2017       $15,030.12   Rent
San Marcos Premium Outlets, L.P.   PO Box 776300                                                        Chicago                IL     60677-6300                 12/1/2017       $15,030.12   Rent
SANS SOUCI                         1100 S.San Pedro ST.#A-1                                             Los Angeles            CA     90015                      10/31/2017        $765.00    Suppliers, Vendors, or Services
SANS SOUCI                         1100 S.San Pedro ST.#A-1                                             Los Angeles            CA     90015                      11/22/2017      $12,808.75   Suppliers, Vendors, or Services
SANS SOUCI                         1100 S.San Pedro ST.#A-1                                             Los Angeles            CA     90015                      12/01/2017      $10,866.25   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 10/13/2017       $2,550.16   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 10/20/2017       $1,855.55   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 11/9/2017        $6,955.50   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 11/22/2017       $1,941.27   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 12/8/2017        $5,904.97   Suppliers, Vendors, or Services
SDGE-San Diego Gas & Electric      PO Box 25111                                                         Santa Ana              CA     92799-5111                 12/27/2017       $2,268.86   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 10/04/2017      $66,553.35   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 10/14/2017      $24,221.70   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 10/24/2017       $2,244.00   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 10/25/2017      $10,471.80   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 10/31/2017      $11,401.50   Suppliers, Vendors, or Services
SHINE IMPORTS                      Dept. LA 24406                                                       Pasadena               CA     91185-4406                 11/17/2017       $4,852.50   Suppliers, Vendors, or Services



                                                                                                    Page 28 of 35                                                                                                      2/22/2018 11:02 AM
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                                                                                      In re: A'GACI, L.L.C.
                                                                                       Case No. 18-50049
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                                                          Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                               Reason for payment or transfer (e.g.
                                                                                                                                                                               Secured debt, Unsecured loan
                                                                                                                                                              Total amount     repayments, Suppliers or vendors,
Creditor's name                  Address 1                        Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/18/2017      $7,545.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/21/2017      $2,637.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/22/2017      $5,499.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/23/2017        $318.60   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/29/2017      $8,635.80   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           11/30/2017        $214.20   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/01/2017      $1,440.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/05/2017     $10,955.70   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/08/2017      $1,236.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/20/2017        $859.50   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/21/2017      $2,117.20   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/27/2017      $2,208.90   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           12/28/2017     $17,542.80   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           01/04/2018     $14,817.00   Suppliers, Vendors, or Services
SHINE IMPORTS                    Dept. LA 24406                                                Pasadena               CA      91185-4406           1/5/2018        $1,638.00   Suppliers, Vendors, or Services
Shine Imports - C/O Hana Finan   Dept. LA 24406                                                Pasadena               CA      91185-4406           10/13/2017     $14,016.30   Suppliers, Vendors, or Services
Shine Imports - C/O Hana Finan   Dept. LA 24406                                                Pasadena               CA      91185-4406           11/7/2017         $279.25   Suppliers, Vendors, or Services
Shine Imports - C/O Hana Finan   Dept. LA 24406                                                Pasadena               CA      91185-4406           11/17/2017     $14,214.00   Suppliers, Vendors, or Services
Shine Imports - C/O Hana Finan   Dept. LA 24406                                                Pasadena               CA      91185-4406           11/22/2017      $1,440.00   Suppliers, Vendors, or Services
Shine Imports - C/O Hana Finan   Dept. LA 24406                                                Pasadena               CA      91185-4406           1/5/2018        $1,638.00   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                09/29/2017      $3,484.80   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                10/24/2017     $20,025.60   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                11/01/2017        $422.40   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                12/01/2017     $12,565.90   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                12/07/2017     $56,549.00   Suppliers, Vendors, or Services
SHOE MAGNATE INC                 18560 E. San Jose Ave.                                        City of Industry       CA      91748                12/14/2017     $66,384.55   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                10/13/2017      $6,237.00   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                10/18/2017      $2,829.00   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                10/27/2017      $1,746.00   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                11/3/2017         $508.80   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                11/7/2017       $4,579.20   Suppliers, Vendors, or Services
Shoe Republic LA                 131 Brea Canyon Road                                          Waltnut                CA      91789                11/10/2017      $1,814.50   Suppliers, Vendors, or Services
SHOP 17 0142                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/09/2017     $43,615.45   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                10/23/2017     $41,017.25   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                10/24/2017      $7,847.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                10/25/2017     $95,898.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                10/28/2017     $19,418.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/02/2017     $95,693.75   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/03/2017    $166,353.25   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/04/2017     $59,264.25   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/07/2017     $18,328.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/13/2017     $88,940.80   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/15/2017     $11,934.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/18/2017     $35,631.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/21/2017     $26,353.75   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/28/2017     $15,826.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                11/30/2017     $55,621.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/01/2017      $2,709.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/05/2017     $15,881.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/12/2017      $6,216.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/19/2017     $35,826.00   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/20/2017    $162,337.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/21/2017      $4,936.80   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/23/2017     $48,445.50   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                12/29/2017     $25,816.40   Suppliers, Vendors, or Services
SHOP 17 0851                     1027 Towne Ave.                                               Los Angeles            CA      90021                01/04/2018     $21,932.50   Suppliers, Vendors, or Services



                                                                                           Page 29 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                            AGACI SOFA 3
                                                                                             In re: A'GACI, L.L.C.
                                                                                              Case No. 18-50049
                                                                                                 Attachment 3
                                                                 Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                      Reason for payment or transfer (e.g.
                                                                                                                                                                                      Secured debt, Unsecured loan
                                                                                                                                                                     Total amount     repayments, Suppliers or vendors,
Creditor's name                        Address 1                          Address 2                   City                   State   Zip        Country   Date       or value         Services, or Other)
Shop17                                 1027 Towne Ave.                                                Los Angeles            CA      90021                1/8/2018       $20,923.50   Suppliers, Vendors, or Services
Simon Prop. Grp.(TX) LP                867925 Reliable Parkway                                        Chicago                IL      60686-0079           11/3/2017     $175,919.55   Rent
Simon Prop. Grp.(TX) LP                867925 Reliable Parkway                                        Chicago                IL      60686-0079           12/1/2017     $177,075.63   Rent
Simon Property Group(TX) LP            867640 Reliable Parkway                                        Chicago                IL      60686-0076           11/3/2017      $32,977.56   Rent
Simon Property Group(TX) LP            867640 Reliable Parkway                                        Chicago                IL      60686-0076           12/1/2017      $30,613.09   Rent
Simon Property Grp(TX) LP              867620 Reliable Parkway                                        Chicago                IL      60686-0076           11/3/2017      $48,870.36   Rent
Simon Property Grp(TX) LP              867620 Reliable Parkway                                        Chicago                IL      60686-0076           12/1/2017      $49,676.83   Rent
Sir Speedy Printing                    701 Pine Avenue                                                Long Beach             CA      90813                11/2/2017       $2,745.23   Suppliers, Vendors, or Services
Sir Speedy Printing                    701 Pine Avenue                                                Long Beach             CA      90813                11/28/2017      $4,790.36   Suppliers, Vendors, or Services
Sneak Peek Inc.                        c/o Hana Financial                 Dept LA 24406               Pasadena               CA      91185-4406           11/10/2017      $4,216.70   Suppliers, Vendors, or Services
Sneak Peek Inc.                        c/o Hana Financial                 Dept LA 24406               Pasadena               CA      91185-4406           11/14/2017      $3,733.50   Suppliers, Vendors, or Services
SOUTH SHORE MALL                                                                                                                                          11/13/2017     $34,880.85   RENT

SP * OMG ACCESSORIES                   2045 West Grand Avenue Suite 202                               Chicago                IL      60612                11/28/2017      $5,731.80 Suppliers, Vendors, or Services

SP * OMG ACCESSORIES                   2045 West Grand Avenue Suite 202                               Chicago                IL      60612                12/09/2017      $6,750.00   Suppliers, Vendors, or Services
SRMF Town Square Owner LLC             P.O. BOX 748550                                                Los Angeles            CA      90074-8550           11/3/2017      $32,951.55   Rent
STELLA LIM                             7193 NE Rocky Brrok Street                                     Hilsboro               OR      97124                10/27/2017      $3,500.00   Suppliers, Vendors, or Services
STELLA LIM                             7193 NE Rocky Brrok Street                                     Hilsboro               OR      97124                12/1/2017       $3,500.00   Suppliers, Vendors, or Services
Stephanie Susanne Burton               1826 Palomino Drive                                            West Covina            CA      91791                10/20/2017      $8,520.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           10/20/2017     $10,011.60   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           10/21/2017      $7,200.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           10/25/2017     $29,250.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           10/26/2017     $20,804.73   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           10/31/2017     $61,620.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/03/2017     $12,889.50   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/04/2017      $7,584.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/10/2017      $6,080.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/22/2017     $31,919.50   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           12/09/2017     $15,378.00   Suppliers, Vendors, or Services
STYLE MELODY                           c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           01/03/2018      $1,440.00   Suppliers, Vendors, or Services
Style Melody Inc.                      c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/10/2017     $12,217.95   Suppliers, Vendors, or Services
Style Melody Inc.                      c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/14/2017        $408.00   Suppliers, Vendors, or Services
Style Melody Inc.                      c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/17/2017      $7,894.80   Suppliers, Vendors, or Services
Style Melody Inc.                      c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           11/22/2017     $17,049.50   Suppliers, Vendors, or Services
Style Melody Inc.                      c/o Finance One, Inc.              PO Box 740952               Los Angeles            CA      90074-0952           1/8/2018        $2,136.00   Suppliers, Vendors, or Services
Sunland Park Mall, LLC                 c/o WP Glimcher Inc.               180 East Broad Street       Columbus               OH      43215                11/3/2017      $17,057.98   Rent
SUNNY SUNGLASSES                       3569 East Vernon Ave.                                          Vernon                 CA      90058                09/30/2017      $1,110.00   Suppliers, Vendors, or Services
SUNNY SUNGLASSES                       3569 East Vernon Ave.                                          Vernon                 CA      90058                10/19/2017      $4,971.84   Suppliers, Vendors, or Services
SUNNY SUNGLASSES                       3569 East Vernon Ave.                                          Vernon                 CA      90058                10/21/2017        $808.20   Suppliers, Vendors, or Services
Sunrise Mills (MLP), LP                PO Box 277861                                                  Atlanta                GA      30384-7861           11/3/2017      $64,556.06   Rent
Sunrise Mills (MLP), LP                PO Box 277861                                                  Atlanta                GA      30384-7861           12/1/2017      $64,556.06   Rent
Sunvalley Shopping Center LLC          Department 57901                   PO Box 67000                Detroit                MI      48267-0579           11/3/2017      $44,275.99   Rent
SuperStar Apparel Inc.                 SuperStar Apparel Inc.dba Cameo    726 E 12th Street #110      Los Angeles            CA      90021                10/18/2017     $15,727.50   Suppliers, Vendors, or Services
SUSTAINABLE SOLUTIONS GROUP            Dept # 40299                                                   Atlanta                GA      30374-0209           1/8/2018       $25,000.00   Restructuring Professionals
Sustainable Solutions Group LLC        Dept # 40299                                                   Atlanta                GA      30374-0209           11/2/2017       $1,748.02   Restructuring Professionals
Sustainable Solutions Group LLC        Dept # 40299                                                   Atlanta                GA      30374-0209           12/6/2017       $1,748.02   Restructuring Professionals
Sweet Rain Apparel dba Jump Clothing   2615 Fruitland Ave                                             Vernon                 CA      90058                10/20/2017     $14,221.25   Suppliers, Vendors, or Services
Sweet Rain Apparel dba Jump Clothing   2615 Fruitland Ave                                             Vernon                 CA      90058                11/17/2017      $2,146.50   Suppliers, Vendors, or Services
Taylor Communications Inc              PO Box 95340                                                   Chicago                IL      60694                10/13/2017      $1,925.86   Suppliers, Vendors, or Services
Taylor Communications Inc              PO Box 95340                                                   Chicago                IL      60694                11/22/2017      $9,757.10   Suppliers, Vendors, or Services
Taylor Communications Inc              PO Box 95340                                                   Chicago                IL      60694                12/19/2017      $1,877.87   Suppliers, Vendors, or Services
TCF JULES & ASSOC                      P.O. Box 4130                                                  Hopkins                MN      55343-0498           12/1/2017      $11,718.46   CAPITAL LEASE
TCF JULES & ASSOC                      P.O. Box 4130                                                  Hopkins                MN      55343-0498           1/2/2018       $11,718.46   CAPITAL LEASE
TECO Tampa Electric                    PO Box 31318                                                   Tampa                  FL      33631-3318           11/2/2017       $3,239.37   Suppliers, Vendors, or Services
TECO Tampa Electric                    PO Box 31318                                                   Tampa                  FL      33631-3318           11/14/2017      $1,300.62   Suppliers, Vendors, or Services



                                                                                                   Page 30 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                                     AGACI SOFA 3
                                                                                           In re: A'GACI, L.L.C.
                                                                                            Case No. 18-50049
                                                                                               Attachment 3
                                                               Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                    Reason for payment or transfer (e.g.
                                                                                                                                                                                    Secured debt, Unsecured loan
                                                                                                                                                                   Total amount     repayments, Suppliers or vendors,
Creditor's name                  Address 1                             Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
TECO Tampa Electric              PO Box 31318                                                       Tampa                  FL      33631-3318           11/28/2017      $1,853.01   Suppliers, Vendors, or Services
TECO Tampa Electric              PO Box 31318                                                       Tampa                  FL      33631-3318           12/19/2017      $1,128.62   Suppliers, Vendors, or Services
TECO Tampa Electric              PO Box 31318                                                       Tampa                  FL      33631-3318           12/27/2017      $8,755.02   Suppliers, Vendors, or Services
TEEN BELL                        906 E. 60th St.                                                    Los Angeles            CA      90001                11/15/2017     $45,664.25   Suppliers, Vendors, or Services
TEEN BELL                        906 E. 60th St.                                                    Los Angeles            CA      90001                12/17/2017     $29,342.55   Suppliers, Vendors, or Services
TEEN BELL                        906 E. 60th St.                                                    Los Angeles            CA      90001                12/19/2017      $3,100.00   Suppliers, Vendors, or Services
TEEN BELL                        906 E. 60th St.                                                    Los Angeles            CA      90001                12/31/2017      $1,125.00   Suppliers, Vendors, or Services
TEEN BELL                        906 E. 60th St.                                                    Los Angeles            CA      90001                01/04/2018      $2,072.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                10/13/2017      $2,016.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                10/20/2017        $155.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                10/27/2017     $11,718.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                10/31/2017     $19,575.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                11/3/2017      $45,753.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                11/7/2017       $4,121.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                11/10/2017     $13,686.00   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                11/14/2017     $25,009.95   Suppliers, Vendors, or Services
Teenbell                         906 E. 60th St.                                                    Los Angeles            CA      90001                12/4/2017      $49,900.35   Suppliers, Vendors, or Services
TEENBELL                         906 E. 60th St.                                                    Los Angeles            CA      90001                1/5/2018       $11,163.25   Suppliers, Vendors, or Services
TENN DEPT OF REV                 Adrew Jackson State Office Bld        500 Deaderick Street         Nashville              TN      37242                10/13/2017      $2,356.00   SALES TAX
TENN DEPT OF REV                 Adrew Jackson State Office Bld        500 Deaderick Street         Nashville              TN      37242                10/23/2017     $23,307.00   SALES TAX
TENN DEPT OF REV                 Adrew Jackson State Office Bld        500 Deaderick Street         Nashville              TN      37242                11/21/2017     $19,227.00   SALES TAX
TENN DEPT OF REV                 Adrew Jackson State Office Bld        500 Deaderick Street         Nashville              TN      37242                11/22/2017      $1,114.00   SALES TAX
TENN DEPT OF REV                 Adrew Jackson State Office Bld        500 Deaderick Street         Nashville              TN      37242                12/21/2017     $22,490.00   SALES TAX
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           10/12/2017      $1,142.06   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           10/17/2017      $1,172.53   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           10/19/2017        $589.53   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           11/14/2017      $1,142.06   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           11/17/2017      $1,172.53   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           11/21/2017        $589.53   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           12/12/2017      $1,142.06   INSURANCE PREMIUMS
TEXAS LIFE INS                   P.O. Box 830                                                       Waco                   TX      76703-0830           12/19/2017      $1,762.06   INSURANCE PREMIUMS
TEXNET                                                                                                                                                  10/20/2017    $517,840.54   SALES TAX
TEXNET                                                                                                                                                  11/20/2017    $431,952.87   SALES TAX
TEXNET                                                                                                                                                  12/20/2017    $535,922.38   SALES TAX
THE CLOTHING COMPANY             1105 Towne Ave #103                                                Los Angeles            CA      90021                10/25/2017     $15,614.00   Suppliers, Vendors, or Services
THE CLOTHING COMPANY             1105 Towne Ave #103                                                Los Angeles            CA      90021                11/11/2017      $1,700.00   Suppliers, Vendors, or Services
THE CLOTHING COMPANY             1105 Towne Ave #103                                                Los Angeles            CA      90021                12/02/2017      $4,542.50   Suppliers, Vendors, or Services
THE CLOTHING COMPANY             1105 Towne Ave #103                                                Los Angeles            CA      90021                12/05/2017      $2,526.00   Suppliers, Vendors, or Services
The Creme Shop                   819 S. Gladys Ave                                                  Los Angeles            CA      90021                10/13/2017      $1,710.00   Suppliers, Vendors, or Services
The Creme Shop                   819 S. Gladys Ave                                                  Los Angeles            CA      90021                10/18/2017     $11,613.60   Suppliers, Vendors, or Services
The Creme Shop                   819 S. Gladys Ave                                                  Los Angeles            CA      90021                10/27/2017      $2,901.60   Suppliers, Vendors, or Services
The Creme Shop                   819 S. Gladys Ave                                                  Los Angeles            CA      90021                11/3/2017      $26,261.55   Suppliers, Vendors, or Services
The Domain Mall II, LLC          PO Box 402408                                                      Atlanta                GA      30384-2408           11/3/2017      $14,765.23   Rent
The Domain Mall II, LLC          PO Box 402408                                                      Atlanta                GA      30384-2408           12/1/2017      $13,427.15   Rent
The Dotcom Team LLC                                                                                                                                     1/4/2018       $16,819.31   Suppliers, Vendors, or Services
THE HARTFORD                     P.O. Box 660916                                                    Dallas                 TX      75266-0916           10/23/2017     $77,272.00   Suppliers, Vendors, or Services
The Lions Model Management LLC   286 5th Avenue 12th Floor                                          New York               NY      10001                11/8/2017       $1,800.00   Suppliers, Vendors, or Services
THE LIONS MODEL MGMT             286 5th Avenue 12th Floor                                          New York               NY      10001                1/8/2018       $10,800.00   Suppliers, Vendors, or Services
The Only Agency                  20 W 22nd Street, Suite 701                                        New York               NY      10010                11/8/2017       $2,200.00   Suppliers, Vendors, or Services
The Only Agency                  20 W 22nd Street, Suite 701                                        New York               NY      10010                12/6/2017       $3,300.00   Suppliers, Vendors, or Services
The Only Agency                  20 W 22nd Street, Suite 701                                        New York               NY      10010                1/4/2018        $1,100.00   Suppliers, Vendors, or Services

The Sang                         Encore USA dba The Sang               807 E. 12th St. Suite 135    Los Angeles            CA      90021                10/13/2017     $22,251.60 Suppliers, Vendors, or Services

The Sang                         Encore USA dba The Sang               807 E. 12th St. Suite 135    Los Angeles            CA      90021                10/18/2017     $25,517.50 Suppliers, Vendors, or Services




                                                                                                Page 31 of 35                                                                                              2/22/2018 11:02 AM
                                                                                                                                                                                                                 AGACI SOFA 3
                                                                                       In re: A'GACI, L.L.C.
                                                                                        Case No. 18-50049
                                                                                           Attachment 3
                                                           Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                      Reason for payment or transfer (e.g.
                                                                                                                                                                                      Secured debt, Unsecured loan
                                                                                                                                                                      Total amount    repayments, Suppliers or vendors,
Creditor's name                 Address 1                           Address 2                   City                   State Zip               Country   Date         or value        Services, or Other)

The Sang                        Encore USA dba The Sang             807 E. 12th St. Suite 135   Los Angeles            CA     90021                      10/20/2017       $1,387.50 Suppliers, Vendors, or Services

The Sang                        Encore USA dba The Sang             807 E. 12th St. Suite 135   Los Angeles            CA     90021                      10/27/2017         $551.25 Suppliers, Vendors, or Services

The Sang                        Encore USA dba The Sang             807 E. 12th St. Suite 135   Los Angeles            CA     90021                      11/3/2017        $1,388.25   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      10/13/2017      $20,909.10   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      10/20/2017       $5,254.50   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      10/27/2017      $33,047.80   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      10/31/2017       $1,901.90   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      11/7/2017       $19,752.77   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      11/10/2017         $666.00   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      11/14/2017      $17,664.00   Suppliers, Vendors, or Services
The Timing Inc                  1100 S. San Pedro St. #A-8                                      Los Angeles            CA     90015                      11/17/2017          $85.20   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      10/13/2017      $17,419.70   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      10/18/2017       $3,740.00   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      10/20/2017       $5,045.50   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      10/27/2017      $60,494.75   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      10/31/2017       $7,258.00   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      11/7/2017       $24,488.25   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      11/14/2017      $19,404.50   Suppliers, Vendors, or Services
The Vintage Shop                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      11/17/2017       $9,123.75   Suppliers, Vendors, or Services
THE VINTAGE SHOP                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      11/18/2017      $93,263.50   Suppliers, Vendors, or Services
THE VINTAGE SHOP                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      12/07/2017      $42,358.75   Suppliers, Vendors, or Services
THE VINTAGE SHOP                1015 S. Crocker St. # R-14                                      Los Angeles            CA     90021                      12/15/2017       $4,357.25   Suppliers, Vendors, or Services
Thor Palmer House Retail, LLC   PO Box 310541                                                   Des Moines             IA     50331-0541                 11/3/2017       $19,017.91   Rent
Thor Palmer House Retail, LLC   PO Box 310541                                                   Des Moines             IA     50331-0541                 12/1/2017       $16,529.09   Rent
THT BODY INTIMATES              148 West 37th Street 8th Floor                                  New York               NY     10018                      10/24/2017       $4,032.00   Suppliers, Vendors, or Services
THT BODY INTIMATES              148 West 37th Street 8th Floor                                  New York               NY     10018                      11/01/2017       $2,100.00   Suppliers, Vendors, or Services
THT BODY INTIMATES              148 West 37th Street 8th Floor                                  New York               NY     10018                      11/15/2017      $10,332.00   Suppliers, Vendors, or Services
TK Jewelry Imports LLC          1270 Broadway Suite 906                                         New York               NY     10001                      10/13/2017       $7,438.80   Suppliers, Vendors, or Services
TK Jewelry Imports LLC          1270 Broadway Suite 906                                         New York               NY     10001                      11/7/2017        $2,880.00   Suppliers, Vendors, or Services
TM Willow Bend Shops, LP        PO Box 205297                                                   Dallas                 TX     75320-5297                 11/3/2017       $20,829.76   Rent
Together Clothing               1100 S. San Pedro St G-07                                       Los Angeles            CA     90015                      10/20/2017       $1,120.00   Suppliers, Vendors, or Services
Together Clothing               1100 S. San Pedro St G-07                                       Los Angeles            CA     90015                      10/27/2017      $22,529.00   Suppliers, Vendors, or Services
Together Clothing               1100 S. San Pedro St G-07                                       Los Angeles            CA     90015                      11/7/2017       $13,936.00   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      10/18/2017       $1,380.00   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      10/20/2017      $13,936.50   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      10/27/2017      $35,265.25   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      11/3/2017        $9,209.25   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      11/7/2017        $3,890.25   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      11/14/2017      $30,195.60   Suppliers, Vendors, or Services
TOP 10                          1016 S. Towne Ave., #104                                        Los Angeles            CA     90021                      11/17/2017      $63,603.85   Suppliers, Vendors, or Services
                                A La Mode Clothing Co Inc dba Top
Top Chic                        Chic                                1015 Crocker St. # Q-5      Los Angeles            CA     90021                      10/18/2017       $8,839.60 Suppliers, Vendors, or Services
                                A La Mode Clothing Co Inc dba Top
Top Chic                        Chic                                1015 Crocker St. # Q-5      Los Angeles            CA     90021                      10/20/2017       $2,850.75 Suppliers, Vendors, or Services
                                A La Mode Clothing Co Inc dba Top
Top Chic                        Chic                                1015 Crocker St. # Q-5      Los Angeles            CA     90021                      11/22/2017         $308.00   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      10/13/2017       $5,793.00   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      10/18/2017       $9,249.00   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      10/20/2017      $21,708.00   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      10/27/2017       $6,100.50   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      10/31/2017     $372,715.50   Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      11/3/2017         $936.00    Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc       333 Brea Canyon Rd                                              City of Industry       CA     91789                      11/7/2017       $66,188.25   Suppliers, Vendors, or Services



                                                                                             Page 32 of 35                                                                                                     2/22/2018 11:02 AM
                                                                                                                                                                                                                     AGACI SOFA 3
                                                                                   In re: A'GACI, L.L.C.
                                                                                    Case No. 18-50049
                                                                                       Attachment 3
                                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                             Reason for payment or transfer (e.g.
                                                                                                                                                                             Secured debt, Unsecured loan
                                                                                                                                                           Total amount      repayments, Suppliers or vendors,
Creditor's name             Address 1                          Address 2                    City                   State   Zip        Country   Date       or value          Services, or Other)
Top Guy Int'l Trading Inc   333 Brea Canyon Rd                                              City of Industry       CA      91789                11/14/2017     $54,815.50    Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc   333 Brea Canyon Rd                                              City of Industry       CA      91789                11/17/2017     $47,662.45    Suppliers, Vendors, or Services
Top Guy Int'l Trading Inc   333 Brea Canyon Rd                                              City of Industry       CA      91789                11/22/2017        $765.00    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                10/18/2017      $9,921.60    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                10/20/2017     $48,975.45    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                10/27/2017     $56,343.40    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                10/31/2017     $11,077.10    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                11/3/2017       $2,471.05    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                11/14/2017      $1,253.00    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                11/17/2017     $14,752.50    Suppliers, Vendors, or Services
Tovia                       1228 1/2 S. San Pedro St                                        Los Angeles            CA      90015                12/1/2017      $32,289.40    Suppliers, Vendors, or Services
Town East Mall, LLC         SDS-12-1514                        PO Box 86                    Minneapolis            MN      55486-1514           11/13/2017     $26,067.83    Rent
Town East Mall, LLC         SDS-12-1514                        PO Box 86                    Minneapolis            MN      55486-1514           12/8/2017      $26,312.01    Rent
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                10/18/2017     $24,755.75    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                10/20/2017     $30,539.25    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                10/27/2017      $1,710.00    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                10/31/2017     $14,314.25    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                11/3/2017       $9,165.00    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                11/14/2017     $65,369.50    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                11/17/2017        $924.00    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                11/22/2017     $20,180.00    Suppliers, Vendors, or Services
Trac                        2019 E 48TH ST                                                  Vernon                 CA      90058                12/1/2017      $19,851.75    Suppliers, Vendors, or Services
Tramever Inc                c/o FTC Commercial Corp.           PO Box 51228                 Los Angeles            CA      90051-5528           10/27/2017      $4,995.00    Suppliers, Vendors, or Services
Tramever Inc                c/o FTC Commercial Corp.           PO Box 51228                 Los Angeles            CA      90051-5528           10/31/2017      $5,505.00    Suppliers, Vendors, or Services
Tramever Inc                c/o FTC Commercial Corp.           PO Box 51228                 Los Angeles            CA      90051-5528           11/3/2017       $1,584.00    Suppliers, Vendors, or Services
Tramever Inc                c/o FTC Commercial Corp.           PO Box 51228                 Los Angeles            CA      90051-5528           11/14/2017      $6,845.20    Suppliers, Vendors, or Services
Travelers                   Travelers CL Remittance Center     PO Box 660317                Dallas                 TX      75266-0317           11/2/2017      $50,118.50    Suppliers, Vendors, or Services
Travelers                   Travelers CL Remittance Center     PO Box 660317                Dallas                 TX      75266-0317           11/8/2017      $41,475.10    Suppliers, Vendors, or Services
Travelers                   Travelers CL Remittance Center     PO Box 660317                Dallas                 TX      75266-0317           12/8/2017      $41,475.10    Suppliers, Vendors, or Services
Tucson Mall LLC             SDS-12-2082                        PO Box 86                    Minneapolis            MN      55486-2082           11/3/2017      $34,470.54    Rent
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           10/20/2017      $4,253.05    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           10/28/2017      $1,056.47    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           11/16/2017      $1,059.76    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/14/2017      $1,841.50    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/18/2017      $1,841.50    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/21/2017      $1,379.64    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/22/2017        $517.50    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/27/2017      $1,831.50    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/28/2017      $4,420.15    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/29/2017     $14,031.68    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           12/29/2017      $1,750.50    Suppliers, Vendors, or Services
ULINE                       Attn Accounts Receivable           PO Box 88741                 Chicago                IL      60680-1741           1/5/2018        $8,588.28    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           10/16/2017     $54,968.62    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           10/17/2017      $3,237.30    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           10/23/2017     $53,686.88    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           10/29/2017     $59,665.67    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/6/2017      $66,130.14    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/06/2017          $10.49   Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/13/2017     $66,216.64    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/15/2017          $11.34   Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/17/2017      $2,621.49    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/20/2017     $70,240.51    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/27/2017     $16,547.07    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           11/29/2017        $254.81    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           12/4/2017      $61,803.40    Suppliers, Vendors, or Services
UPS                         P.O. Box 650690                                                 Dallas                 TX      75265-0690           12/11/2017     $56,696.42    Suppliers, Vendors, or Services



                                                                                        Page 33 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                          AGACI SOFA 3
                                                                                           In re: A'GACI, L.L.C.
                                                                                            Case No. 18-50049
                                                                                               Attachment 3
                                                               Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                    Reason for payment or transfer (e.g.
                                                                                                                                                                                    Secured debt, Unsecured loan
                                                                                                                                                                   Total amount     repayments, Suppliers or vendors,
Creditor's name                  Address 1                             Address 2                    City                   State   Zip        Country   Date       or value         Services, or Other)
UPS                              P.O. Box 650690                                                    Dallas                 TX      75265-0690           12/18/2017     $62,072.68   Suppliers, Vendors, or Services
UPS                              P.O. Box 650690                                                    Dallas                 TX      75265-0690           12/26/2017     $58,564.21   Suppliers, Vendors, or Services
UPS                              P.O. Box 650690                                                    Dallas                 TX      75265-0690           1/2/2018       $40,233.58   Suppliers, Vendors, or Services
UPS                              P.O. Box 650690                                                    Dallas                 TX      75265-0690           1/8/2018       $45,345.50   Suppliers, Vendors, or Services
USEF RELP Medio, LLC             P.O. Box 207004                                                    Dallas                 TX      75320-7004           10/25/2017     $95,942.21   Rent
USEF RELP Medio, LLC             P.O. Box 207004                                                    Dallas                 TX      75320-7004           11/24/2017     $98,417.21   Rent
USI Insurance Services LLC       P.O. Box 61187                                                     Virginia Beach         VA      23466                10/18/2017      $4,750.00   Suppliers, Vendors, or Services
USI Insurance Services LLC       P.O. Box 61187                                                     Virginia Beach         VA      23466                11/8/2017       $4,750.00   Suppliers, Vendors, or Services
USI Insurance Services LLC       P.O. Box 61187                                                     Virginia Beach         VA      23466                12/13/2017      $4,750.00   Suppliers, Vendors, or Services
USI Insurance Services LLC       P.O. Box 61187                                                     Virginia Beach         VA      23466                1/8/2018      $391,576.10   Suppliers, Vendors, or Services
Vault Sportswear Inc.            1407 Broadway, Rm 2107                                             New York               NY      10018                10/27/2017     $16,341.50   Suppliers, Vendors, or Services
Vault Sportswear Inc.            1407 Broadway, Rm 2107                                             New York               NY      10018                11/10/2017      $3,720.00   Suppliers, Vendors, or Services
Vault Sportswear Inc.            1407 Broadway, Rm 2107                                             New York               NY      10018                11/14/2017      $4,284.75   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           10/14/2017      $6,038.19   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           11/02/2017     $11,981.97   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           11/09/2017      $9,905.62   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           11/18/2017     $11,351.35   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           12/07/2017     $10,786.03   Suppliers, Vendors, or Services
VICTORY PACKAGING                P.O. Box 840727                                                    Dallas                 TX      75284-0727           12/29/2017      $9,111.86   Suppliers, Vendors, or Services
VIVA USA                         DTE Trading Inc dba Viva USA          430 Madera Street            San Gabriel            CA      91776                12/19/2017     $37,950.10   Suppliers, Vendors, or Services
VIVA USA                         DTE Trading Inc dba Viva USA          430 Madera Street            San Gabriel            CA      91776                12/20/2017      $9,320.25   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                10/18/2017      $1,956.50   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                10/20/2017        $360.00   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                10/31/2017        $348.00   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                11/3/2017         $540.00   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                11/7/2017         $552.00   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                11/10/2017      $9,247.50   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                11/14/2017        $696.00   Suppliers, Vendors, or Services
Vivace                           726 E 12th St.                        #116                         Los Angeles            CA      90021                11/22/2017        $973.25   Suppliers, Vendors, or Services
                                 Colate Collection Inc dba Vizio       800 E.12th Street Suite
Vizio Fashion                    Fashion                               #105                         Los Angeles            CA      90021                10/20/2017      $7,402.90 Suppliers, Vendors, or Services
                                 Colate Collection Inc dba Vizio       800 E.12th Street Suite
Vizio Fashion                    Fashion                               #105                         Los Angeles            CA      90021                10/27/2017      $7,962.75   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                10/13/2017      $4,462.50   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                10/27/2017     $28,915.75   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                10/31/2017      $6,435.00   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                11/7/2017      $13,925.10   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                11/10/2017     $25,304.25   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                11/14/2017     $14,107.50   Suppliers, Vendors, or Services
Wax Jean                         2415 E. 15th Street                                                Los Angeles            CA      90021                12/1/2017         $315.00   Suppliers, Vendors, or Services
WELLS FARGO LEASE                PO Box 7777                                                        San Francisco          CA      94120-7777           10/11/2017      $4,361.84   LEASE ON XEROX COPIER
WELLS FARGO LEASE                PO Box 7777                                                        San Francisco          CA      94120-7777           11/13/2017      $4,361.84   LEASE ON XEROX COPIER
WELLS FARGO LEASE                PO Box 7777                                                        San Francisco          CA      94120-7777           12/11/2017      $4,361.84   XEROX COPIER
Westland Mall, LLC               PO Box 865019                                                      Orlando                FL      32886-5019           10/25/2017     $28,323.89   Rent
Westland Mall, LLC               PO Box 865019                                                      Orlando                FL      32886-5019           11/24/2017     $28,323.89   Rent
WestMoon                         1188 S. San Pedro St., Ste. T                                      Los Angeles            CA      90015                10/20/2017      $9,764.00   Suppliers, Vendors, or Services
WestMoon                         1188 S. San Pedro St., Ste. T                                      Los Angeles            CA      90015                10/27/2017     $78,427.90   Suppliers, Vendors, or Services
WestMoon                         1188 S. San Pedro St., Ste. T                                      Los Angeles            CA      90015                10/31/2017      $8,960.00   Suppliers, Vendors, or Services
WestMoon                         1188 S. San Pedro St., Ste. T                                      Los Angeles            CA      90015                11/17/2017     $18,517.90   Suppliers, Vendors, or Services
Westwood Footwear - C/O Hana F   18955 Railroad Street                                              City of Industry       CA      91748                10/31/2017     $17,498.00   Suppliers, Vendors, or Services
WHEATON PLAZA                    PO Box 55275                                                       Los Angeles            CA      90074-5275           11/13/2017     $35,109.11   RENT
Wilhelmina West Inc.             300 Park Avenue South                 2nd floor                    New York               NY      10010                1/4/2018       $27,000.00   Suppliers, Vendors, or Services
Willington Investment LLC        4715 S. Alameda St                                                 Los Angeles            CA      90058                10/25/2017     $24,190.47   Rent
Willington Investment LLC        4715 S. Alameda St                                                 Los Angeles            CA      90058                11/24/2017     $24,190.47   Rent
Willowbrook Mall (TX), LLC       SDS-12-3092                           PO Box 86                    Minneapolis            MN      55486-3092           11/3/2017      $39,519.67   Rent
Willowbrook Mall (TX), LLC       SDS-12-3092                           PO Box 86                    Minneapolis            MN      55486-3092           12/1/2017      $39,519.67   Rent



                                                                                                 Page 34 of 35                                                                                               2/22/2018 11:02 AM
                                                                                                                                                                                                                   AGACI SOFA 3
                                                                                In re: A'GACI, L.L.C.
                                                                                 Case No. 18-50049
                                                                                    Attachment 3
                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                               Reason for payment or transfer (e.g.
                                                                                                                                                                               Secured debt, Unsecured loan
                                                                                                                                                               Total amount    repayments, Suppliers or vendors,
Creditor's name       Address 1                             Address 2                 City                      State Zip               Country   Date         or value        Services, or Other)
                                                            203 W. Martin Luther King
Wishlist              Chas Group Inc dba Wishlist           Jr. Blvd                  Los Angeles               CA     90037                      11/10/2017       $7,080.00   Suppliers, Vendors, or Services
Woodfield Mall LLC    7409 Solution Center                                            Chicago                   IL     60677-7004                 11/3/2017       $45,373.07   Rent
Woodfield Mall LLC    7409 Solution Center                                            Chicago                   IL     60677-7004                 12/1/2017       $45,373.07   Rent
Wow Knit Inc          3100 S Grand Avenue                                             Los Angeles               CA     90007                      10/18/2017       $2,956.50   Suppliers, Vendors, or Services
Wow Knit Inc          3100 S Grand Avenue                                             Los Angeles               CA     90007                      10/27/2017       $8,129.75   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      09/30/2017       $1,536.05   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      10/07/2017       $1,560.00   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      10/13/2017         $333.72   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      10/14/2017       $1,240.00   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      10/31/2017       $1,530.11   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      12/01/2017         $546.00   Suppliers, Vendors, or Services
XTAREN                1126 S. Crocker Street                                          Los Angeles               CA     90021                      12/09/2017         $555.06   Suppliers, Vendors, or Services
Xtaren Inc.           1126 S. Crocker Street                                          Los Angeles               CA     90021                      10/13/2017       $1,107.68   Suppliers, Vendors, or Services
Xtaren Inc.           1126 S. Crocker Street                                          Los Angeles               CA     90021                      11/10/2017       $1,540.00   Suppliers, Vendors, or Services
Xtaren Inc.           1126 S. Crocker Street                                          Los Angeles               CA     90021                      11/14/2017       $2,799.05   Suppliers, Vendors, or Services
Xtaren Inc.           1126 S. Crocker Street                                          Los Angeles               CA     90021                      11/22/2017       $1,857.60   Suppliers, Vendors, or Services
YMI JEANSWEAR         1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      1/8/2018        $43,029.60   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/02/2017      $60,447.05   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/03/2017      $15,369.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/16/2017      $61,404.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/17/2017      $13,440.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/23/2017      $47,965.20   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/24/2017       $7,626.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      10/29/2017      $12,000.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/05/2017      $12,474.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/09/2017      $13,890.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/13/2017      $41,124.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/16/2017      $11,232.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/23/2017      $31,800.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      11/29/2017      $57,111.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/05/2017      $49,500.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/06/2017       $8,475.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/08/2017      $13,455.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/13/2017      $39,384.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/19/2017      $14,649.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/20/2017      $99,000.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/24/2017       $9,594.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/27/2017      $12,637.80   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/28/2017       $2,520.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/29/2017       $8,568.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      12/31/2017       $2,829.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      01/03/2018      $10,836.00   Suppliers, Vendors, or Services
YMI JEANSWEAR INC     1155 S. Boyle Avenue                                            Los Angeles               CA     90023                      01/04/2018      $11,601.00   Suppliers, Vendors, or Services
YTC Mall Owner, LLC   26074 Network Place                                             Chicago                   IL     60673-1260                 11/3/2017       $28,088.25   Rent




                                                                                     Page 35 of 35                                                                                                      2/22/2018 11:02 AM
                                                                                                                                                                                                              AGACI SOFA 3
                                                                           In re: A'GACI, L.L.C.
                                                                            Case No. 18-50049
                                                                              Attachment 4
                                 Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                     Total amount             Reasons for payment or
Insider's name     Address 1                      City        State Zip   Date       or value                 transfer                       Relationship to debtor
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX    78249   2/3/2017      $5,605.13           Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX    78249 2/17/2017       $5,605.13           Payroll                        Chief Financial Officer
                                                                                                              Payroll & Expense
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249     3/3/2017        $6,711.99   Reimbursement                  Chief Financial Officer
                                                                                                              Payroll & Expense
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    3/17/2017        $5,687.27   Reimbursement                  Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    3/31/2017        $5,605.13   Payroll                        Chief Financial Officer
                                                                                                              Payroll & Expense
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    4/14/2017        $6,566.40   Reimbursement                  Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    4/28/2017        $5,443.23   Payroll                        Chief Financial Officer
                                                                                                              Payroll & Expense
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    5/12/2017        $6,418.37   Reimbursement                  Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249    5/26/2017        $5,443.23   Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio TX        78249     6/9/2017        $5,443.23   Payroll                        Chief Financial Officer
                                                                                                              Payroll & Expense
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    6/23/2017       $5,930.41    Reimbursement                  Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249     7/7/2017       $5,108.79    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    7/21/2017       $5,040.94    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249     8/4/2017       $5,086.18    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    8/18/2017       $5,086.18    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249     9/1/2017       $5,293.43    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/15/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/29/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/13/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/27/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/10/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/24/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249    12/8/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/22/2017       $5,586.07    Payroll                        Chief Financial Officer
Butterbach, Mark   12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/26/2017      $48,407.70    Bonus                          Chief Financial Officer
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    1/20/2017       $3,632.60     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249     2/3/2017       $3,632.60     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    2/17/2017       $3,632.89     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249     3/3/2017       $3,632.88     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/17/2017       $3,632.89     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/31/2017       $3,632.88     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/14/2017       $3,632.89     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/28/2017       $3,632.89     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/12/2017       $3,756.56     Payroll                       David Won's son in law
Kim, Sung P        12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/26/2017       $3,694.71     Payroll                       David Won's son in law


                                                                                 Page 1 of 5                                                                   2/22/2018 1:46 PM
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                                                                         In re: A'GACI, L.L.C.
                                                                          Case No. 18-50049
                                                                            Attachment 4
                               Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                         Total amount Reasons for payment or
Insider's name   Address 1                      City          State   Zip     Date       or value       transfer                           Relationship to debtor
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249     6/9/2017      $3,694.71 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    6/23/2017      $3,694.72 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249     7/7/2017      $3,694.71 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    7/21/2017      $3,694.72 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249     8/4/2017      $3,694.71 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    8/18/2017      $3,694.71 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249     9/1/2017      $3,694.72 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/15/2017      $3,719.71 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/29/2017      $3,749.03 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/13/2017      $3,749.03 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/27/2017      $4,033.23 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/10/2017      $4,123.19 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/24/2017      $4,123.19 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249    12/8/2017      $4,123.19 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/22/2017      $4,123.19 Payroll                            David Won's son in law
Kim, Sung P      12460 Network Blvd., Ste 106   San Antonio   TX      78249     1/5/2018      $3,694.72 Payroll                            David Won's son in law
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    1/31/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    2/28/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    3/31/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    4/26/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232     6/1/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    6/26/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    7/24/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    8/28/2017      $3,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232    9/29/2017      $2,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232   10/26/2017      $2,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232   11/28/2017      $2,000.00 Business consultant                John Won and David Won’s sister
Kimm, June       2111 River Hollow Dr           San Antonio   TX      78232     1/3/2018      $2,000.00 Business consultant                John Won and David Won’s sister
Varghese, Anil   12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/26/2017      $3,526.73 Payroll                            Director of Information Technology
Varghese, Anil   12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/26/2017        $135.79 PA Tax Refunded                    Director of Information Technology
Varghese, Anil   12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/27/2017      $5,000.00 Moving Expenses                    Director of Information Technology
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    1/20/2017     $11,018.31 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     2/3/2017     $11,018.33 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    2/17/2017     $11,018.31 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     3/3/2017     $11,018.32 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/17/2017     $11,162.50 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/31/2017     $12,503.07 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/14/2017     $12,520.24 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/25/2017    $127,907.98 Reimbursable expenses              Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/28/2017     $12,520.24 Payroll                            Chief Merchandising Officer


                                                                               Page 2 of 5                                                                  2/22/2018 1:46 PM
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                                                                         In re: A'GACI, L.L.C.
                                                                          Case No. 18-50049
                                                                            Attachment 4
                               Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                         Total amount Reasons for payment or
Insider's name   Address 1                      City          State   Zip     Date       or value       transfer                           Relationship to debtor
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/12/2017     $12,416.39 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/26/2017     $27,611.00 Payroll & Bonus                    Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     6/9/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    6/23/2017     $16,602.85 Payroll & Exp Reimb.               Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     7/7/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    7/21/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     8/4/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    8/18/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     9/1/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/15/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/29/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/13/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/27/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/31/2017     $40,608.65 Reimbursable expenses              Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/10/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/24/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249    12/8/2017     $12,329.85 Payroll                            Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/15/2017     $21,260.92 Reimbursable expenses              Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/22/2017     $27,657.16 Payroll & Bonus                    Chief Merchandising Officer
Won, David J     12460 Network Blvd., Ste 106   San Antonio   TX      78249     1/5/2018     $11,064.48 Payroll                            Chief Merchandising Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    1/20/2017     $13,141.36 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     2/3/2017     $13,141.37 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    2/10/2017      $3,448.50 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    2/17/2017     $13,121.07 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     3/3/2017     $13,121.08 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     3/6/2017        $536.20 Reimbursable Expenses              Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     3/9/2017      $1,487.35 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    3/17/2017     $13,121.08 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    3/31/2017     $14,405.90 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     4/6/2017      $3,324.56 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    4/14/2017     $14,430.23 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/16/2017      $4,113.85 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    4/28/2017     $14,430.23 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     5/6/2017      $2,238.61 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    5/12/2017     $14,328.80 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/16/2017      $2,641.80 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    5/26/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     6/6/2017      $1,158.80 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     6/9/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    6/16/2017      $1,369.18 Reimbursable Expenses              Chief Executive Officer


                                                                               Page 3 of 5                                                                  2/22/2018 1:46 PM
                                                                                                                                                               AGACI SOFA 4
                                                                         In re: A'GACI, L.L.C.
                                                                          Case No. 18-50049
                                                                            Attachment 4
                               Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                         Total amount Reasons for payment or
Insider's name   Address 1                      City          State   Zip     Date       or value       transfer                           Relationship to debtor
Won, John        3 Westminster Ct               San Antonio   TX      78257    6/23/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     7/6/2017      $1,521.85 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     7/7/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    7/16/2017      $2,267.47 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    7/21/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     8/4/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     8/6/2017        $968.72 Reimbursable Expenses              Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    8/16/2017      $1,141.97 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    8/18/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     9/1/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     9/6/2017        $653.66 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    9/15/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/16/2017      $5,149.93 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    9/29/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    10/6/2017        $243.59 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257   10/13/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/16/2017      $1,391.96 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257   10/27/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    11/6/2017      $1,063.51 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257   11/10/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/16/2017      $3,152.57 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257   11/24/2017     $11,984.34 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249    12/6/2017      $5,595.54 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257    12/8/2017     $27,357.60 Payroll & Back Pay                 Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/16/2017        $892.86 Reimbursable Expenses              Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257   12/22/2017     $14,240.19 Payroll                            Chief Executive Officer
Won, John        3 Westminster Ct               San Antonio   TX      78257     1/5/2018     $13,121.08 Payroll                            Chief Executive Officer
Won, John        12460 Network Blvd., Ste 106   San Antonio   TX      78249     1/6/2018      $3,229.17 Reimbursable Expenses              Chief Executive Officer
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    1/20/2017      $2,682.90 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     2/3/2017      $2,682.90 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    2/17/2017      $2,683.05 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     3/3/2017      $2,683.05 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/17/2017      $2,683.04 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    3/31/2017      $3,053.56 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/14/2017      $2,760.93 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    4/28/2017      $2,760.93 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/12/2017      $2,760.93 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    5/26/2017      $2,894.75 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     6/9/2017      $2,805.54 Payroll                            David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    6/23/2017      $2,805.54 Payroll                            David Won's son in law


                                                                               Page 4 of 5                                                                  2/22/2018 1:46 PM
                                                                                                                                                               AGACI SOFA 4
                                                                         In re: A'GACI, L.L.C.
                                                                          Case No. 18-50049
                                                                            Attachment 4
                               Payments or other transfers of property made within 1 year before filing this case that benefited any insider

                                                                                         Total amount      Reasons for payment or
Insider's name   Address 1                      City          State   Zip     Date       or value          transfer                        Relationship to debtor
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     7/7/2017      $2,805.54     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    7/21/2017      $2,740.91     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     8/4/2017      $2,740.91     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    8/18/2017      $2,740.91     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     9/1/2017      $2,740.91     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/15/2017      $2,740.92     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    9/29/2017      $2,740.91     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/13/2017      $2,740.90     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249   10/27/2017      $2,779.87     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/10/2017      $2,779.86     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249   11/24/2017      $2,779.87     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249    12/8/2017      $2,808.29     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249   12/22/2017      $2,779.86     Payroll                        David Won's son in law
Yoo, Jeffrey     12460 Network Blvd., Ste 106   San Antonio   TX      78249     1/5/2018      $3,486.67     Payroll                        David Won's son in law




                                                                               Page 5 of 5                                                                 2/22/2018 1:46 PM
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